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                  EXHIBIT A-52
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KLINE & SPECTER, P.C.
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1525 Locust Street
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(215) 772-1000/(215) 772-1359 fax.                Attorney for Plaintiffs

             IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                               TRIAL DIVISION - CIVIL

                                                 IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as          PHILADELPHIA COUNTY
 Parent and Natural Guardian of J.C., a Minor,
                                                 CIVIL TRIAL DIVISION
                             Plaintiff,
                                                 MARCH TERM 2022
        v.
                                                 NO. 2588
 MEAD JOHNSON & COMPANY, LLC, et al.,

                       Defendants.

       PRAECIPE TO ATTACH VERIFICATION TO AMENDED COMPLAINT

       Please attach Plaintiff s Verifications to the Amended Complaint filed of record on

September 8, 2023, with regard to the above-captioned matter.

                                            Respectfully submitted,

                                            KLINE & SPECTER, P.C.
Dated: October 18, 2023

                                             s/ Timothy A. Burke
                                             TIMOTHY A. BURKE, ESQ.
                                             Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2023, I caused a true and correct copy of the

foregoing document to be served by electronic filing to all counsel of record.



Dated: October 18, 2023                      /s/ Timothy A. Burke
                                             TIMOTHY A. BURKE
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                                                                18 Pa. C.S. § 4904,
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                  EXHIBIT A-53
  Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 6 of 496 PageID #:1156




             IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                     FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                               TRIAL DIVISION - CIVIL

 HOLLI CARTER, on her behalf and as Parent
 and Natural Guardian of J.C., a minor,
                                                 March Term, 2022
                Plaintiff,
                                                 No. 02588
        v.

 MEAD JOHNSON & COMPANY, LLC,                     JURY TRIAL DEMANDED
 et al.

                Defendants.



                                         ORDER

       AND NOW this the ______ day of ______________________, 2023, upon consideration

of Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System and

                                             Preliminary Objections to the Plaintiffs Amended

Complaint, Plaintiffs Answer thereto, and all other appropriate considerations, it is hereby

ORDERED, ADJUDGED and DECREED that                              Preliminary Objections are

OVERRULED.

                                                 BY THE COURT



                                                 ____________________________
                                                       J.
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(215) 772-1000/(215) 772-1359 fax.               Attorney for Plaintiffs

              IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                TRIAL DIVISION - CIVIL

 HOLLI CARTER, on her behalf and as Parent
 and Natural Guardian of J.C., a minor,
                                                  March Term, 2022
                 Plaintiff,
                                                  No. 02588
         v.

 MEAD JOHNSON & COMPANY, LLC,                     JURY TRIAL DEMANDED
 et al.

                 Defendants.




PENNSYLVANIA HOSPITAL OF THE UNVIERSITY OF PENNSYLVANIA HEALTH
 SYSTEM AND THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA TO




                                                                                    y

Exhibits as follows:




                                             1
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       1.      Admitted.

       2.      Denied. The instant Plaintiffs have only one pending lawsuit in this Commonwealth

related to Minor J.C. development of NEC after ingesting co-                                    -

based infant formula.

       3.                                                            ached memorandum of law.

       4.      Admitted only that Plaintiffs have asserted Product Liability claims against

Manufacturing Defendants Mead and Abbott, and theories of Failure to Warn and Corporate

Liability against the



memorandum of law.

       5.                                                                                 f law.

       6.

       7.

       8.

characterizations thereof are denied.

       9.      Admitted only the Moving Defendants have filed the instant Preliminary

Objections.

       10.                                                                            itself. All

characterizations thereof are denied.

       11.

characterizations thereof are denied.

       12.

characterizations thereof are denied.



                                               2
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       13.     Denied as a conclusion of law to which no response is required. By way of further



and parents of infants of the increased risk of a serious and potentially fatal disease posed by the

infant formula they supplied.

       14.     Denied as a conclusion of law to which no response is required.

       15.     Denied as a conclusion of law to which no response is required. By way of further

response, a supplier of goods will be liable for their negligent failure to warn foreseeable users of

a chattel under Section 388 of the Second Restatement of Torts, which has been incorporated into

Pennsylvania law, if:

               One who supplies directly or through a third person a chattel for another to use is
               subject to liability to those whom the supplier should expect to use the chattel with
               the consent of the other or to be endangered by its probable use, for the physical
               harm caused by the use of the chattel in the manner for which and by a person for
               whose use it is supplied, if the supplier:
               (a) knows or has reason to know that the chattel is or is likely to be dangerous for
               the use for which it is supplied; and
               (b) has no reason to believe that those for whose use the chattel is supplied will
               realize its dangerous condition; and
               (c) fails to exercise reasonable care to inform them of its dangerous condition or of
               the facts which make it likely to be dangerous.
               RST 2 § 388.
See, e.g., Binder v. Jones & Laughlin Steel Corp., 360 Pa. Super. 390, 396 (1987) (applying RST

2 § 388 to a metal part supplier).

       16.     Denied as a conclusion of law to which no response is required. By way of further

response, the threshold inquiry is whether the product is unreasonably dangerous for the use for

which it is supplied. RST 2 § 388; Binder v. Jones & Laughlin Steel Corp., 360 Pa. Super. 390,

396 (1987). A supplier under this Section will be liable if they supply a chattel for use, which they

know or should have known is dangerous, and they fail to warn the user of that danger and to


                                                  3
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advise proper precautions. See Hopkins v. E.I. Du Pont De Nemours & Co., 199 F.2d 930, 932-33

(3d Cir. 1952) (applying Pennsylvania law) (citing Maize, 352 Pa. at 55). Under this Section, a

                                 fficient if they fall below the standard of care that would be taken

                                                 Binder, 360 Pa. Super. at 398. The greater the

potential danger of the instrumentality, the greater the duty to warn against foreseeable and known

dangers.                              , 424 Pa. 365, 369-

be exercised in a particular case must always be proportionate to the seriousness of the

consequences which are reasonably to be anticipated as a result of




duty to disclose by cavalierly relying on the [other actor] to somehow pass the information along

                   Id.

       17.     Denied as a conclusion of law to which no response is required.

       18.     Denied as a conclusion of law to which no response is required.

       19.     Denied as a conclusion of law to which no response is required. By way of further

response, in reviewing whether to sustain preliminary objections in the nature of a demurrer, all

material facts properly pled in the complaint, as well as all inferences reasonably deducible

therefrom, are to be deemed as admitted. Kohler v. McCrory Stores, 532 Pa. 130, 135 (1992). If a

doubt exists as to whether a demurrer should be sustained, this doubt should be resolved in favor

of overruling the demurrer. Mahoney v. Furches, 503 Pa. 60, 66 (1983) (citing Birl v. Phila. Elec.

Co.

numerous academic and scientific studies, which were known to Defendants, have established the




                                                4
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link between bovine-based formula and increased risk of NEC in premature infants. These well-



       20.     Denied as a conclusion of law to which no response is required. By way of further

response, in reviewing whether to sustain preliminary objections in the nature of a demurrer, all

material facts properly pled in the complaint, as well as all inferences reasonably deducible

therefrom, are to be deemed as admitted. Kohler v. McCrory Stores, 532 Pa. 130, 135 (1992). If a

doubt exists as to whether a demurrer should be sustained, this doubt should be resolved in favor

of overruling the demurrer. Mahoney v. Furches, 503 Pa. 60, 66 (1983) (citing Birl v. Phila. Elec.

Co.                                                      contains properly pled material facts that

numerous academic and scientific studies, which were known to Defendants, have established the

link between bovine-based formula and increased risk of NEC in premature infants. These well-

pled facts must be taken

       21.     Denied as a conclusion of law to which no response is required.

       22.     Denied as a conclusion of law to which no response is required. By way of further

response, Section 388 applies to any supp

accompanying comment:


       this Topic apply to determine the liability of any person who for any purpose or in
       any manner gives possession of a chattel for another's use, or who permits another
       to use or occupy it while it is in his own possession or control, without disclosing
       his knowledge that the chattel is dangerous for the use for which it is supplied or
       for which it is permitted to be used. These rules, therefore, apply to sellers, lessors,
       donors, or lenders, irrespective of whether the chattel is made by them or by a third
       person. They apply to all kinds of bailors, irrespective of whether the bailment is
       for a reward or gratuitous, and irrespective of whether the bailment is for use,
       transportation, safekeeping, or repair. They also apply to one who undertakes the
       repair of a chattel and who delivers it back with knowledge that it is defective
       because of the work which he is employed to do upon it. (See § 403.)
       RST 2 § 388 cmt. c.


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See also Maize v. Atlantic Refin. Co.

that any one who is responsible for the existence of any dangerous instrumentality or substance




       23.     Denied, Plaintiffs incorporate their response to the above paragraph.

       24.     Denied, Plaintiffs incorporate their response to ¶ 22.

       25.     Denied as a conclusion of law to which no response is required. In this case,

Defendants failed to adequately communicate the facts, risks, benefits, and alternatives associated

with the use of bovine-                                                                ngly choose



virtue of the fact that parents could not be expected to know the risk of NEC associated with

bovine-based formula and given the seriousness of NEC as a disease.

       26.     Denied as a conclusion of law, Plaintiffs incorporate their response to ¶ 25.

       27.     Denied as a conclusion of law, Plaintiffs incorporate their response to ¶ 25.

       28.     Denied as a conclusion of law, Plaintiffs incorporate their response to ¶ 25.

       29.     Denied as a conclusion of law to which no response is required. By way of further



       30.     Denied as a conclusion of law to which no response is required. By way of further

                                                 of law.

       31.     Denied as a conclusion of law to which no response is required. By way of further



       32.     Denied as a conclusion of law to which no response is required. By way of further

                          tached memorandum of law.


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       33.   Denied as a conclusion of law to which no response is required. By way of further



       34.   Denied as a conclusion of law to which no response is required. By way of further

response,

       35.   Denied as a conclusion of law to which no response is required. By way of further



       36.   Denied as a conclusion of law to which no response is required. By way of further



       37.   Denied as a conclusion of law to which no response is required. By way of further



       38.   Denied as a conclusion of law to which no response is required. By way of further



       39.   Denied as a conclusion of law to which no response is required. By way of further



       40.   Denied as a conclusion of law to which no response is required. By way of further



       41.   Denied as a conclusion of law to which no response is required. By way of further



       42.   Denied as a conclusion of law to which no response is required. By way of further



       43.   Denied as a conclusion of law to which no response is required. By way of further




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     44.   Denied as a conclusion of law to which no response is required. By way of further



     45.   Denied as a conclusion of law to which no response is required. By way of further

                                   randum of law.

     46.   Denied as a conclusion of law to which no response is required. By way of further



     47.   Denied as a conclusion of law to which no response is required. By way of further



     48.   Denied as a conclusion of law to which no response is required. By way of further



     49.   Denied as a conclusion of law to which no response is required. By way of further



     50.   Denied as a conclusion of law to which no response is required. By way of further



     51.   Denied as a conclusion of law to which no response is required. By way of further



     52.   Denied as a conclusion of law to which no response is required. By way of further



     53.   Denied as a conclusion of law to which no response is required. By way of further



     54.   Denied as a conclusion of law to which no response is required. By way of further

                                               law.




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       55.     Denied as a conclusion of law to which no response is required. By way of further



       56.     Denied as a conclusion of law to which no response is required. By way of further

                              ed memorandum of law.

       57.     Denied as a conclusion of law to which no response is required. By way of further



       58.     Denied as a conclusion of law to which no response is required. By way of further

response, see Pl

       59.     Denied as a conclusion of law to which no response is required. By way of further



       60.     Denied as a conclusion of law to which no response is required. By way of further



       61.     Denied. Instant Plaintiffs have one lawsuit.

       62.     Denied as a conclusion of law to which no response is required. By way of further



       63.     Denied as a conclusion of law to which no response is required. By way of further



       64.     Denied as a conclusion of law to which no response is required. By way of further



       65.     Denied as a conclusion of law to which no response is required. By way of further



       66.     Denied as a conclusion of law to which no response is required. By way of further

                                           dum of law.



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       67.   Denied as a conclusion of law to which no response is required. By way of further



       68.   Denied as a conclusion of law to which no response is required. By way of further

                      attached memorandum of law.

       69.   Denied as a conclusion of law to which no response is required. By way of further



       70.   Denied as a conclusion of law to which no response is required. By way of further

response,

       71.   Denied as a conclusion of law to which no response is required. By way of further



       72.   Denied as a conclusion of law to which no response is required. By way of further



       73.   Denied as a conclusion of law to which no response is required. By way of further



       74.   Denied as a conclusion of law to which no response is required. By way of further



       75.   Denied as a conclusion of law to which no response is required. By way of further



       76.   Denied as a conclusion of law to which no response is required. By way of further



       77.   Denied as a conclusion of law to which no response is required. By way of further




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       78.     Denied as a conclusion of law to which no response is required. By way of further



       79.     Denied as a conclusion of law to which no response is required. By way of further



       80.     Denied as a conclusion of law to which no response is required. By way of further



       81.     Denied as a conclusion of law to which no response is required. By way of further

                                                    law.

       82.     Denied as a conclusion of law to which no response is required. By way of further



       83.     Denied as a conclusion of law to which no response is required. By way of further

                              ed memorandum of law.

       84.     Denied as a conclusion of law to which no response is required. By way of further



       85.     Denied as a conclusion of law to which no response is required. By way of further

response, see Pl

       86.     Denied as a conclusion of law to which no response is required. By way of further



       87.     Denied as a conclusion of law to which no response is required. By way of further



       88.     Denied as a conclusion of law to which no response is required. By way of further




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       89.     Denied as a conclusion of law to which no response is required. By way of further



       90.     Denied as a conclusion of law to which no response is required. By way of further



       91.     Denied as a conclusion of law to which no response is required. By way of further



       92.     Denied as a conclusion of law to which no response is required. By way of further



       93.     Denied as a conclusion of law to which no response is required. By way of further



       94.     Denied as a conclusion of law to which no response is required. By way of further



       95.     Denied. Plaintiffs have filed a praecipe to supplement the necessary verification



       96.     Denied as a conclusion of law to which no response is required. By way of further




of Law, Plaintiff respectfully requests that this Honorab

Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their Complaint.

                                                      Respectfully submitted,

                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: October 18, 2023                        By:     /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE

                                                 12
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                                            TOBI MILLROOD, ESQUIRE
                                            ELIZABETH CRAWFORD, ESQUIRE
                                            TIMOTHY BURKE, ESQUIRE
                                            Attorneys for Plaintiffs


                                            KELLER POSTMAN
                                            BEN WHITING, ESQUIRE (Pro Hac Vice)
                                            MARK WEINSTEIN, ESQURIE
                                            Attorneys for Plaintiffs




                                       13
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(215) 772-1000/(215) 772-1359 fax.               Attorney for Plaintiffs

              IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                TRIAL DIVISION - CIVIL

 HOLLI CARTER, on her behalf and as Parent
 and Natural Guardian of J.C., a minor,
                                                  March Term, 2022
                  Plaintiff,
                                                  No. 02588
         v.

 MEAD JOHNSON & COMPANY, LLC,                     JURY TRIAL DEMANDED
 et al.

                  Defendants.



            MEMORANDUM OF LAW IN SUPPORT OF THEIR REPSONSE TO
PRELMINIARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNVIERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
    TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA TO
                       AMENDED COMPLAINT

   I.         Matter Before the Court




Exhibits as follows:

                                             1
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 II.        Counter Statement of Questions Involved

       1. Whether this Honorable Court should

                                            claims where Plaintiffs have adequately alleged that

            bovine-based formula is unreasonably dangerous and substantially increases the risk

            for the development of NEC in preterm infants, and where Plaintiffs are not required

            under the pleading standard to cite to evidence (such as medical studies) in their

            Complaint in support of ultimate issues that will have to be proven at trial?

            Suggested answer in the affirmative.

       2. Whether this Honorable Court should

                                              claims where Plaintiffs have adequately alleged

            Defendants breached their duty as the hospital system and/or healthcare provider by

            failing to adequately communicate the facts, risks, benefits, and alternatives associated

            with the use of bovine-                                           ts, so that the parents

            could knowingly choose whether to consent on behalf of preterm infants?

            Suggested answer in the affirmative.

       3. Whether this Honorable Court should

                                                       of action where Defendant hospital systems

            engaged in systemic negligence by failing to enact policies and procedures to prevent

            bovine-milk based formula from being fed to pre-term infants.

            Suggested answer in the affirmative.

       4.



            University of Pennsylvania are a governing body and overseer of the Hospital of the



                                                   2
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        University of Pennsylvania             , who are in charge of enacting the HUP policies



                                         claims.

        Suggested answer in the affirmative.

     5. Whether this Honorable Court should deny Defendants Preliminary Objections as to

        sufficiency of the pleadings where Plaintiffs have sufficient and adequately

        summarized material facts that inform and notify the Defendants of the claims which

        they must defendant?

        Suggested answer in the affirmative.

     6. Whether this Honorable Court should deny Defendants Preliminary Objections as to

        punitive damages where Plaintiffs have adequately plead facts providing a basis for

        punitive damages?

        Suggested answer in the affirmative.

     7. Whether this Honorable Court should deny Defendants Preliminary Objections for

        Plaintiff Parents claims where the Plaintiff parents have sufficient plead counts for

        individual harm as well as the harm on behalf of the Minor Plaintiff in the Amended

        Complaint and where those claims are not barred by the statute of limitations?

        Suggested answer in the affirmative.

     8. Whether this Honorable Court should deny Defendants Preliminary Objections where

                                                                                          h to



        Suggested answer in the affirmative.




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   III.       Plaintiffs Have Sufficiently Alleged that Pennsylvania Hospital and HUP Failed
              to Warn Healthcare Professionals and Parents of the Unreasonable Risk of NEC
              Posed by Bovine-Based Formula to Premature Infants under Count VI.
          The moving Hospital Defendants failed to warn parents of premature infants, and their

guardian parents, of the risk associated with goods they were supplying to those infants while

under their care. A supplier of goods will be liable for their negligent failure to warn foreseeable

users of that chattel under Section 388 of the Second Restatement of Torts, which has been

incorporated into Pennsylvania law, if:

          One who supplies directly or through a third person a chattel for another to use is
          subject to liability to those whom the supplier should expect to use the chattel with
          the consent of the other or to be endangered by its probable use, for the physical
          harm caused by the use of the chattel in the manner for which and by a person for
          whose use it is supplied, if the supplier
          (a) knows or has reason to know that the chattel is or is likely to be dangerous for
          the use for which it is supplied; and
          (b) has no reason to believe that those for whose use the chattel is supplied will
          realize its dangerous condition; and
          (c) fails to exercise reasonable care to inform them of its dangerous condition or of
          the facts which make it likely to be dangerous.
          RST 2 § 388.
See, e.g., Binder v. Jones & Laughlin Steel Corp., 360 Pa. Super. 390, 396 (1987) (applying RST

2 § 388 to a metal part supplier). Section 388 applies to any supplier of a chattel to another, as

explai


          this Topic apply to determine the liability of any person who for any purpose or in
          any manner gives possession of a chattel for another's use, or who permits another
          to use or occupy it while it is in his own possession or control, without disclosing
          his knowledge that the chattel is dangerous for the use for which it is supplied or
          for which it is permitted to be used. These rules, therefore, apply to sellers, lessors,
          donors, or lenders, irrespective of whether the chattel is made by them or by a third
          person. They apply to all kinds of bailors, irrespective of whether the bailment is
          for a reward or gratuitous, and irrespective of whether the bailment is for use,
          transportation, safekeeping, or repair. They also apply to one who undertakes the
          repair of a chattel and who delivers it back with knowledge that it is defective
          because of the work which he is employed to do upon it.

                                                     4
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See § 403 RST 2 § 388 cmt. C; see also Maize v. Atlantic Refin. Co.

court has laid down the rule that anyone who is responsible for the existence of any dangerous




       A supplier under this Section will be liable if they supply a chattel for use, which they

know or should have known is dangerous, and they fail to warn the user of that danger and to

advise proper precautions. See Hopkins v. E.I. Du Pont De Nemours & Co., 199 F.2d 930, 932-33

(3d Cir. 1952) (applying Pennsylvania law) (citing Maize, 352 Pa. at 55). Under this Section, a



                                                  Binder, 360 Pa. Super. at 398. The greater the

potential danger of the instrumentality, the greater the duty to warn against foreseeable and known

dangers.                              , 424 Pa. 365, 369-

be exercised in a particular case must always be proportionate to the seriousness of the

consequences which are reasonably

                                                                                                us



duty to disclose by cavalierly relying on the [other actor] to somehow pass the information along

                   Id.

       In this case, Defendants failed to adequately communicate the facts, risks, benefits, and

alternatives associated with the use of bovine-



was even greater by virtue of the fact that parents could not be expected to know the risk of NEC

associated with bovine-based formula and given the seriousness of NEC as a disease.



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       Defendants Pennsylvania Hospital and Hospital of the University of Pennsylvania argue

that Plaintiff cannot state a claim for failure to warn because they were not a manufacturer of

formula. However, since Plaintiffs claims sounds in negligence, Defendant does not need to be a

commercial manufacturer. Here, Defendants were responsible for providing the infant formula to

medical practitioners and the NICU at their hospitals and by extension, to patients, and were

therefore, suppliers for purposes of Section 388. Moreover, Plaintiff has alleged that the formula

caused an increased risk when fed to infants, in other words, when it was used for its intended

usage. Plaintiffs Amended Complaint alleges that hospitals, including HUP, entered into

financially advantageous relationships with codefendant manufacturers Abbott and Mead at

various times to purchase, supply, and distribute bovine-based formula to their medical

professionals, knowing that these products would then be provided to infants being treated by these

providers in their facilities. Hence, Defendants knowingly supplied these instrumentalities to end

users, who were not merely foreseeable, but the intended recipients of the formula. Further, the



negligently failed to warn their own providers of these risks and facilitated their providers

receiving inaccurate information, which inaccurately downplayed the risk of NEC, from the

                                                                                           and the

relevant academic and medical literature surrounding NEC and bovine-formula in pre-term infants,

Defendants knew or should have known that bovine-based formula posed an increased risk of NEC

to premature infants. Since NEC is a dangerous and potentially fatal disease, there was an even

greater duty on Defendants to adequately warn foreseeable users of this known risk or take steps

to make sure that the intermediaries they controlled, namely medical professionals, reliably

communicated these risks to parents. Hence, the Hospitals failed to warn parents of the dangerous



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conditions associated with the formula, which parents had no reason to suspect, while supplying

this formula for purposes of Section 388.

    IV.                                                cts That Support Their Claims of
             Corporate Liability of The Moving Health Care Provers, Thus These Claims
             Should not Be Dismissed

          In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.

          In considering whether the plaintiff could sustain corporate negligence claims based on

these allegations, the Edwards court analyzed the Thompson decision and delineated the standards

required to sustain such a claim:

          The Thompson theory of corporate liability will not be triggered every time
          something goes wrong in a hospital which harms a patient . . . To establish corporate
          negligence, a plaintiff must show more than an act of negligence by an individual
          for whom the hospital is responsible. Rather, Thompson requires a plaintiff to show
          that the hospital itself is breaching a duty and is somehow
          substandard

Id. at 1386-87 (citations omitted and emphasis added).




practice of entering into financially advantageous relationships with codefendant manufacturers

Abbott and Mead at various times to purchase, supply, and distribute bovine-based formula to their

medical professionals, knowing that these products would then be provided to infants being treated

                                                   7
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by these providers in their facilities. Hence, Defendants knowingly supplied these instrumentalities

to end users, who were not merely foreseeable, but the intended recipients of the formula. Further,

                                                                                        iaries when they

negligently failed to warn their own providers of these risks and facilitated their providers

receiving inaccurate information, which inaccurately downplayed the risk of NEC, from the

                                   , because it is alleged that the hospitals themselves decided which

                                                                                             -term infant

hospital facilities.

           Further, Plaintiffs allege in their Amended Complaint that:

           A reasonable hospital under the same or similar circumstances would have overseen
           and managed its healthcare professionals and medical staff to ensure that they

           milk-based formula to premature infants. Had Penn Medicine and Pennsylvania
           Hospital exercised reasonable care by satisfying its duty to oversee its healthcare
           professionals and medical staff who provide patient care, the Injured Infant would
                                                                                        -based
           products. As a direct and proximate result of Penn Medicine and Pennsylvania
                                oversee its healthcare professionals and medical staff on the
           danger posed by the Defendant
           milk-based products, the Injured Infant was fed the
                      -based products, which caused and/or increased the risk of developing
           NEC and significant injuries.

See                                               -164.

           Moreover, as shown by their own internal correspondence and the relevant academic and

medical literature surrounding NEC and bovine-formula in pre-term infants, Defendants knew or

should have known that bovine-based formula posed an increased risk of NEC to premature

infants.

           Finally, corporate liability can attach to a hospital system when there is a duty to formulate,

adopt and enforce adequate rules and policies to ensure quality care for patients. Here Moving



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Defendants are the responsible corporate entities of Pennsylvania Hospital and Hospital of the

University of Pennsylvania (HUP). Defendants had the duty to formulate, adopt, and enforce

adequate rules and policies regarding the administration of certain formulations of baby formulas

to pre-term infants in their care, and to not supply and/or have a policy of not administering bovine

based formula to preterm infants which is shown in the literature to increase risk of developing

NEC to those patients.                                                                        issed.

   V.
           and Sell Dangerous Products, and Failed to Warn Medical Practitioners of these
           Risks.
           Dismissed.



                                                                                Hutchison v. Luddy,

582 Pa. 114, 121 (2005) (quoting Feld v. Merriam, 506 Pa. 383, 395 (1984)). Punitive damages



Pennsylvania, to withstand preliminary objections, a plaintiff must allege that (1) a defendant had

a subjective appreciation of the risk of harm to which the plaintiff was exposed and that (2) he

acted, or failed to act, as the case may be, in conscious disregard of that risk. Id. Pennsylvania

courts have repeatedly held that a jury should determine whether punitive damages are warranted.

SHV

                                                                                         -finder and

will not be disturbed by an appellate court so long as that discr

Furthermore, to the extent that there is any doubt about whether the standard for punitive damages

                                                                                    See Theodore v.

Del. Valley Sch. Dist., 575 Pa. 321, 333 (2003).




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       For example, in Hall v. Episcopal Long Term Care, plaintiffs alleged that the neglect of a

                                        -                                    -95 (Pa. Super. 2012).

                                                  erstaffing, falsification of records, substandard

facility conditions, and improper treatment of the deceased' s pain, all of which Episcopal failed



punitive damages. Id. at 394-95. The trial court concluded that punitive damages were not



Id. at 397 (quoting the trial court opinion). The Superior court reversed the trial

verdict on the issue of punitive damages and held that the issue of punitive damages should have



outrageous fashion in reckless disregard to the rights of others and created an unreasonable risk of

                                                          Id. at 396-97. In so holding, the Court

discussed Scampone, where the Superior Court likewise held that the issue of punitive damages

against one defendant should have proceeded to a jury, since they jointly engaged in conduct with

a codefendant that warranted punitive damages against that defendant. Scampone v. Grane

Healthcare Co.                                                                                clude



employees in some of the actions that warranted imposition of punitive damages, i.e., the alteration



       In this case, Plaintiff has alleged that Penn Medicine and HUP purchased, supplied, and

distributed bovine-based products, manufactured by codefendants Abbott and Mead, which they

knew posed an increased risk of a serious and deadly disease to infants, in order to cut costs. The

Hospital Defendants colluded with codefendants to supply



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professionals at HUP and failed to warn these professionals about the known risks of these

products. Defendants failed to warn healthcare professionals of the known risks of NEC posed by

these products, and failed to establish a practice or policy of ensuring that these products were not

fed to premature infants, as established in scientific literature, and instead arranged for these

treaters to interact with Abbott and Mead

sales representatives from making misrepresentations about the increased risk of NEC posed by

bovine, instead of human-nutrition based products, and failed to correct these misrepresentations.

As a re

knew would provide them to patients, in order to save costs to the Hospitals. Hence, Defendants

colluded to pose an unreasonable risk of harm to minor Plaintiff and other infants.

   VI.       Plaintiff Has Adequately Pled the Facts and Damages at Issue

          Defendant asserts that Plaintiff     Amended Complaint fails to adequately plead facts

regarding liability and injuries claimed. Defendant is wrong and their Preliminary Objections

should be overruled.

summary of the material facts that support those claims. Pa. R.C.P. 1019(a). As the Superior Court

has noted:

          Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
          to disclose the material facts sufficient to enable the adverse party to prepare
          his case. A complaint therefore must do more than give the defendant fair notice of
          what the plaintiff's claim is and the grounds upon which it rests. It should formulate
          the issues by fully summarizing the material facts. Material facts are ultimate facts,
          i.e., those facts essential to support the claim. Evidence from which such facts
          may be inferred not only need not but should not be alleged. Allegations will
          withstand challenge under 1019(a) if (1) they contain averments of all of the
          facts a plaintiff will eventually have to prove in order to recover, and (2) they
          are sufficiently specific so as to enable defendant to prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

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        In assessing whether particular paragraphs in a complaint satisfy this requirement, they

must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord

Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine



it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is sought so that he may know without question                                               McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

        Defendants advance several arguments regarding the alleged deficiencies of facts and

injuries, all of which are incorrect:

                Defendants assert that Plaintiff Amended Complaint does not state whether the
                infant actually ingested the product at issue. In contrast, Plaintiffs have pled that
                                                                              -                  and
                                                                                                 See
                                                               11-12.

                Defendants
                product was ingested. However, Plaintiff has pled that the infant was fed the
                Defe                                                         -                 Id. at
                ¶ 11. Absent discovery, Plaintiff is limited to the detail provided in the medical
                records, the details of which are
                previously at oral argument, Plaintiff must be allowed to conduct full discovery to
                determine which manufacturer and brand each Hospital system had a distribution
                agreement with during certain periods of time, as that information, such as brand,
                is not often elicited in the medical records. Further, the Defendants themselves are
                the ones with the information such as purchasing receipts and or purchasing
                agreements with either Abbott or Mead.


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               Defendants argue that Plaintiffs have not met their burden under fact pleading to


                                      reliminary Objections, at 8. However, as noted above, the
               Superior Court has ruled that in relation to pleading facts, evidence from which
               such facts may be inferred not only need not but should not be alleged, which is
                                                 rguments herein. See Baker v. Rangos, 324 A.2d
               498, 505-506 (Pa. Super. 1974)

               Defendants assert that Plaintiff has not pled the period of time during which the
               product at issue was ingested. However, Plaintiff alleged in the Complaint that the
               infa                                                  -based products by [hospital
                                      Id.

               Defendants assert that Plaintiff failed to plead when the minor was diagnosed with

                                                                                    Id. at ¶ 13.
               Plaintiffs averments adequately summarize the material facts necessary such that
               the Defendants are on notice of the claim of which they must defend, and notably
               the moving Defendants are the exact hospitals where the Plaintiff was initially
               treated for NEC, thus they have access to the exact same medical as the Plaintiffs
               which show the exact dates of treatment which are summarily referred to in


               Defendants assert that Plaintiffs did not plead the treatment the infant received
               following the ingestion of the NEC and resulting injuries. Defendant cites no
               authority for the proposition that a plaintiff must describe the specific treatment an
               injured party underwent following injuries resulting from the tortious conduct of a
               defendant.

               Defendants assert that Plaintiffs have not adequately pled the injuries suffered as a
               result of the product. Plaintiff has adequately pled the injuries suffered by the infant

               with antibiotics, blood transfusions and surgery, feeding difficulties, developmental
               delays, neurological issues, gastrointestinal issues, growth issues, short bowel
               syndrome, heart/lung/liver/kidney issues, mobility and walking difficulties,
                                       Id. at ¶ 13.

                                                                                         as Plaintiffs

Allegations should withstand challenge under 1019(a) because they contain averments of all of the

facts a plaintiff will eventually have to prove in order to recover, and they are sufficiently specific

so as to enable Defendants to prepare their defense.


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   VII.    Plaintiff-                                                                       -Barred
           And Should Not Be Dismissed
       Plaintiffs have clearly plead claims sounding in negligence on behalf of all plaintiffs, not

just the injured minor plaintiff. Indeed, in the complaint, Plaintiff lists under Counts VI and VII,



negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of



                                                               Therefore, Defendants no additional



Complaint complies with Pa.R.C.P. 1020, which does not require Plaintiff Parents and Plaintiffs

Minors to plead separate claims for sperate Plaintiffs as Defendant suggests.

       Further, Plaintiff-

grounds. The discovery rule is an exception [to the statute of limitations] that tolls the statute of

limitations when an injury or its ca                                  In re Risperdal Litig., 656 Pa.



plaintiff knows, or reasonably should have known, that: (1) an injury has been sustained; and (2)

                                                          Ward v. Rice, 828 A.2d 1118, 1121 (Pa.

Super. 2003) (citing Citsay v. Reich, 380 Pa. Super. 366, 369 (1988)). For the discovery rule to

apply, the plaintiff must have exercised the due diligence that would be expected of a reasonable



                                                                                             who or

what caused it Romah v. Hygienic Sanitation Co., 705 A.2d 841, 857 (Pa. Super. 1997) (emphasis



account differences between persons, their capacity to meet certain situations and circumstances


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confronting them at the time in question. In short, the standard of conduct required is a uniform

                                                                                         -22 (quoting

                        -c). Whether someone has exerc

determined by the collective judgment, wisdom, and experience of jurors who have been selected

                                                                       Petri v. Smith, 307 Pa. Super.

261, 271-72 (1982).

       Under t

lull the patient into a false sense of security, this may toll the statute of limitations. See Acker v.

Palena, 260 Pa. Super. 214, 222 (1978); Barshady v. Schlosser, 226 Pa. Super. 260, 263-64 (1973).



layperson may be charged with knowledge greater than that which was communicated to her by

the medical professionals who provided t                               In re Risperdal Litig., 656 Pa.

at 662 (citing Wilson v. El-Daief, 600 Pa. 161, 179-180 (2009)). If a plaintiff alleges that their

delay was due to their reasonably relying upon the reassurances of their physicians, then, while

co

not be time-barred. Acker v. Palena, 260 Pa. Super. 214, 223-24 (1978).

       Likewise, the under the similar but distinct doctrine of fraudulent concealment, a form of



reliance on the fraudulent concealment of the defendant. Nesbitt v. Erie Coach Co., 416 Pa. 89,

95-                                                         fendant causes the plaintiff to relax his

vigilance or deviate from his right of inquiry, the defendant is estopped from invoking the bar of

                           Romah, 705 A.2d at 857 (internal quotations omitted). A defendant does

not need to intentionally deceive a plaintiff for the doctrine of fraudulent concealment to apply;



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                                                                                    der to determine

whether a defendant made representations that could have induced this reliance on the part of the

plaintiff. Id. For example, in Romah, the Superior Court held that the issue of whether the

                                                   ive damages were tolled because the defendant

concealed studies and other information from the EPA and the public that showed that the



the jury. 705 A.2d at 861.

       Plaintiffs have alleged that all of the medical providers that Plaintiff-parents interacted with

at the Hospital failed to provide them with any information regarding the increased risk of NEC to

premature infants posed by the bovine-based formula that the practitioners provided. Likewise,

plaintiffs have alleged that the parents were not presented with the comparative risk of NEC of

these products as compared to any other alternatives. Plaintiff-parents relied upon the

representations, or lack thereof, provided by the medical professionals who were treating their

infant. Further, Plaintiff alleged that Plaintiff-parents had no medical background or training and

therefore could not be expected to have greater medical knowledge than these providers. Plaintiff-

parents thereby reasonably relied upon, and were lulled into a false sense of security by, the

assurances of the physicians treating their children. Moreover, Plaintiff has alleged that Defendants

made false representations, in line with their financially advantageous relationship that they

possessed with codefendant manufacturers Abbott and Mead, about the relative risks of bovine-

based formula, in order to induce reliance on the part of Plaintiff-parents and thereby conceal the

true source and cause




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would mislead medical providers about the risk of NEC posed by its products. Thus, under both

the discovery rule and doctrine of fraudulent concealment, Plaintiff-                                -

barred.

    VIII. Plaintiffs Have Filed the Proper Verifications For Their Amended Complaint

          Pennsylvania Rule of Civil Procedure 1024 requires that pleadings containing averments



personal knowledge or information and belief and shall be verified. See Pa.R.C.P. 1024. Plaintiff



objection should be overruled. All such verifications have been or will be attached by way of a

praecipe to attach filed to Plai

    IX.      Request In The Alternative To Amend The Complaint

          Although Plaintiff strenuously maintains the sufficiency of all of the Counts contained



Preliminary Objections, Plaintiff respectfully requests permission to amend the pleadings.

          WHEREFORE

Memorandum of Law, Plaintiff respectfully requests that this Honorable Court deny

Preliminary Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their

Complaint.

                                                      Respectfully submitted,



                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: October 18, 2023                         By:    /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE

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                                            TOBI MILLROOD, ESQUIRE
                                            ELIZABETH CRAWFORD, ESQUIRE
                                            TIMOTHY BURKE, ESQUIRE
                                            Attorneys for Plaintiffs


                                            KELLER POSTMAN
                                            BEN WHITING, ESQUIRE (Pro Hac Vice)
                                            MARK WEINSTEIN, ESQURIE
                                            Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2023, I caused a true and correct copy of the foregoing

document to be served by electronic filing to all counsel of record.



                                                     Respectfully submitted,



                                                     KLINE & SPECTER,
                                                     A Professional Corporation
Date: October 18, 2023                        By:    /s/Timothy A. Burke, Esquire
                                                     TIMOTHY A. BURKE, ESQUIRE




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                   EXHIBIT A-54
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        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                          TRIAL DIVISION - CIVIL


HOLLI CARTER, et al.,                         :
          Plaintiff,                          : MARCH TERM, 2022
   v.                                         : No. 220302588
MEAD JOHNSON & COMPANY, LLC, et al.,          :
          Defendants.                         :

BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400208
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
BRANDY GOODMOND, et al.,                      :
         Plaintiff,                           : APRIL TERM, 2022
   v.                                         : No. 220400212
MEAD JOHNSON & COMPANY, LLC, et al.,          :
         Defendants.                          :
JANEE HENDERSON, et al.,                     :
          Plaintiff,                         : APRIL TERM, 2022
    v.                                       : No. 220400127
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
KRISTEN KAJUFFA, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302978
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
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             Plaintiff,                      : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
NATISHA THOMAS, et al.,                      :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
TRINA WALKER-SAVAGE and CLIFTON              :
ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
           Plaintiff,                        : No. 220400156
    v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
JEANNATE WATSON, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
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     v.                                            : No. 220302967
  MEAD JOHNSON & COMPANY, LLC, et al.,             :
           Defendants.                             :
  GINA WIEGER, et al.,                             :
            Plaintiff,                             : MARCH TERM, 2022
      v.                                           : No. 220302614
  MEAD JOHNSON & COMPANY, LLC, et al.,             :
            Defendants.                            :
  GINA WIEGER, et al.,                             :
            Plaintiff,                             : MARCH TERM, 2022
      v.                                           : No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,             :
            Defendants.                            :
  SHANITA WIGGINS, et al.,                         :
            Plaintiff,                             : MARCH TERM, 2022
     v.                                            : No. 220302986
  MEAD JOHNSON & COMPANY, LLC, et al.,             :
            Defendants.                            :
  MELVENIA WILLIAMS, et al.,                       :
            Plaintiff,                             : APRIL TERM, 2022
     v.                                            : No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,             :
            Defendants.                            :

                                        ORDER

      AND NOW this the ______ day of ______________________, 2023, upon consideration

of Defendant Abbott             Preliminary Objections to the Plaintiffs Amended Complaint,

Plaintiffs Answer thereto, and all other appropriate considerations, it is hereby ORDERED,

ADJUDGED and DECREED that                  Preliminary Objections are OVERRULED.

                                                BY THE COURT



                                                ____________________________
                                                      J.
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  HOLLI CARTER, et al.,                        :
            Plaintiff,                         : MARCH TERM, 2022
     v.                                        : No. 220302588
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                        :

  BRANDY GOODMOND, et al.,                    :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400208
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  BRANDY GOODMOND, et al.,                     :
           Plaintiff,                          : APRIL TERM, 2022
     v.                                        : No. 220400212
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                         :
  JANEE HENDERSON, et al.,                    :
            Plaintiff,                        : APRIL TERM, 2022
      v.                                      : No. 220400127
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  KRISTEN KAJUFFA, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
      v.                                      : No. 220302978

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MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :

                                       2
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NATISHA THOMAS, et al.,                      :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
TRINA WALKER-SAVAGE and CLIFTON              :
ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
           Plaintiff,                        : No. 220400156
    v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
JEANNATE WATSON, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302967
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302614
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SHANITA WIGGINS, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302986
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
MELVENIA WILLIAMS, et al.,                   :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400141
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :

                                                            PRELMINIARY




                                       3
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       Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant

                                   Objections and responds to Defendant Preliminary Objections

and Evidentiary Exhibits as follows:

       1.       Denied as a conclusion of law to which no response is required. By way of further



       2.       Admitted.

       3.       Admitted.

       4.       Denied as a conclusion of law to which no response is required. By way of further



       5.       Denied as a conclusion of law to which no response is required. By way of further



additional factual pleadings that were not contained in the initially filed Complaints.

       6.       Denied as a conclusion of law to which no response is required. By way of further



       7.       This is an incorporation paragraph to which no response is required.

       8.       Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately pled

                                                                                             uld

be overruled.




                                                 4
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        9.      Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately pled

that the product at issue is unr

be overruled.

        10.



dange



                                   -                                                            For

                                                                                             -based

                     the science clearly demonstrated to Defendants that these products cause NEC

and greatly increase the likelihood that a baby will develop NEC, leading to severe injury and often

         See



warn doctor and pa



including donor breast milk, pasteurized breast milk, breast milk fortifiers, and breast milk-based

products designed for pre-term infants. Id. at ¶ ¶ 16-20, 86-

Preliminary Objections should be denied.




                                                 5
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        11.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately pled



be overruled.

        12.     This is an incorporation paragraph to which no response is required.

        13.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately

identified the product t

be overruled.

        14.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately

identified the product that caused the injury at issue. Specifically, Plaintiff has pled that the infant

                                                                              -                     See

                                               11. Absent discovery, Plaintiff is limited to the detail



                                                   6
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cites Cummins v. Firestone Tire & Rubber Co. in support of their position. 495 A.2d 963 (Pa.

Super. Ct. 1985). In Cummins

                                                                                      Id. at 968. Here,

the manufacturer or sel

identified, and discovery will likely reveal even further detail about those products. As such,

                                                               This is an incorporation paragraph to

which no response is required.

        15.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately

identified the product that caused the injury at issue. Specifically, Plaintiff has pled that the infant

                                                                              -                     See

                                               11. Absent discovery, Plaintiff is limited to the detail



cites Cummins v. Firestone Tire & Rubber Co. in support of their position. 495 A.2d 963 (Pa.

Super. Ct. 1985). In Cummins, prelimina

                                                                                      Id. at 968. Here,



identified, and discovery will likely reveal even further detail about those products. As such,




                                                   7
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        16.     Denied as a conclusion of law to which no response is required. By way of further

response, see Plainti

        17.     This is an incorporation paragraph to which no response is required.

        18.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately



be overruled.

        19.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, Preliminary Objections may be sustained only when it appears with certainty

that the law permits no recovery according to the facts averred, and any doubts in that

determination must be resolved in favor of overruling the objections. Powell v. Drumheller, 539

Pa. 484, 489, 653 A.2d 619, 621 (1995). By way of further response, Plaintiff has adequately

identified the product that caused the injury at issue. Specifically, Plaintiff pled that the infant was

                                                                     -                   See

Second Amended Complaint at ¶ 11. Absent discovery, Plaintiff is limited to the detail provided



Cummins v. Firestone Tire & Rubber Co. in support of their position. 495 A.2d 963 (Pa. Super.

Ct. 1985). In Cummins

                                                                                     Id. at 968. Here,

                                                                             roducts at issue are also



                                                   8
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identified, and discovery will likely reveal even further detail about those products. As such,



       20.    Denied as a conclusion of law to which no response, is required. By way of further



       21.    This is an incorporation paragraph to which no response is required.

       22.    Denied as a conclusion of law to which no response, is required. By way of further

                                           um of law.

       23.    Denied as a conclusion of law to which no response, is required. By way of further



       24.    Denied as a conclusion of law to which no response, is required. By way of further

                       attached memorandum of law.

       25.    This is an incorporation paragraph to which no response is required.

       26.    Denied as a conclusion of law to which no response, is required. By way of further



       27.    Denied as a conclusion of law to which no response, is required. By way of further



       28.    Denied as a conclusion of law to which no response, is required. By way of further

                                                   law.

       29.    Denied as a conclusion of law to which no response, is required. By way of further



       30.    Denied as a conclusion of law to which no response, is required. By way of further

                           ched memorandum of law.




                                               9
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       31.     Denied as a conclusion of law to which no response, is required. By way of further



       32.     Denied as a conclusion of law to which no response, is required. By way of further

response, se

       33.     Denied as a conclusion of law to which no response, is required. By way of further



       34.     This is an incorporation paragraph to which no response is required.

       35.     Denied as a conclusion of law to which no response, is required. By way of further



       36.     Denied as a conclusion of law to which no response, is required. By way of further

                                             m of law.

       37.     Denied as a conclusion of law to which no response, is required. By way of further



       38.     Denied as a conclusion of law to which no response, is required. By way of further

                        attached memorandum of law.

       39.     Denied as a conclusion of law to which no response, is required. By way of further



       40.     This is an incorporation paragraph to which no response is required.

       41.     Denied as a conclusion of law to which no response, is required. By way of further



       42.     Denied as a conclusion of law to which no response, is required. By way of further




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       43.     Denied as a conclusion of law to which no response, is required. By way of further



       44.     Denied as a conclusion of law to which no response, is required. By way of further

                                          andum of law.

       45.     Denied as a conclusion of law to which no response, is required. By way of further



       46.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintif

       47.     Denied as a conclusion of law to which no response, is required. By way of further



       48.     Denied as a conclusion of law to which no response, is required. By way of further

resp

       49.     Denied as a conclusion of law to which no response, is required. By way of further



       50.     Denied as a conclusion of law to which no response, is required. By way of further



       51.     Denied as a conclusion of law to which no response, is required. By way of further



       52.     Denied as a conclusion of law to which no response, is required. By way of further




of Law, Plaintiff respectfully requests that this Honorable Court deny Defendant        Preliminary

Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their Complaint.


                                                 11
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                                             Respectfully submitted,

                                             KLINE & SPECTER,
                                             A Professional Corporation
Date: October 19, 2023               By:     /s/Timothy A. Burke, Esquire
                                             THOMAS KLINE, ESQUIRE
                                             TOBI MILLROOD, ESQUIRE
                                             ELIZABETH CRAWFORD, ESQUIRE
                                             TIMOTHY BURKE, ESQUIRE
                                             Attorneys for Plaintiffs


                                             KELLER POSTMAN
                                             BEN WHITING, ESQUIRE (Pro Hac Vice)
                                             MARK WEINSTEIN, ESQURIE
                                             Attorneys for Plaintiffs




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Attorneys for Plaintiffs

         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  HOLLI CARTER, et al.,                        :
            Plaintiff,                         : MARCH TERM, 2022
     v.                                        : No. 220302588
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                        :

  BRANDY GOODMOND, et al.,                    :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400208
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  BRANDY GOODMOND, et al.,                     :
           Plaintiff,                          : APRIL TERM, 2022
     v.                                        : No. 220400212
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                         :
  JANEE HENDERSON, et al.,                    :
            Plaintiff,                        : APRIL TERM, 2022
      v.                                      : No. 220400127
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  KRISTEN KAJUFFA, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
      v.                                      : No. 220302978

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MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :

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NATISHA THOMAS, et al.,                      :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
TRINA WALKER-SAVAGE and CLIFTON              :
ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
           Plaintiff,                        : No. 220400156
    v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
JEANNATE WATSON, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302967
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302614
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SHANITA WIGGINS, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302986
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
MELVENIA WILLIAMS, et al.,                   :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400141
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :


              MEMORANDUM OF LAW IN SUPPORT OF THEIR REPSONSE TO

                           AMENDED COMPLAINT



                                       3
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   I.         Matter Before the Court
         Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant



Exhibits as follows:

   II.        Counter Statement of Questions Involved

         1. Whether this Honorable Court should deny Defendant            Preliminary Objections as to

                         Counts I-V where Plaintiffs have adequately plead and alleged that bovine-

              based formula is unreasonably dangerous and substantially increases the risk for the

              development of NEC in preterm infants, and where Plaintiffs are not required under the

              pleading standard to cite to evidence (such as medical studies) in their Complaint in

              support of ultimate issues that will have to be proven at trial?

              Suggested answer in the affirmative.

         2. Whether this Honorable Court should deny Defendant            Preliminary Objections as to



              plead and legally sufficient?

              Suggested answer in the affirmative.

         3. Whether this Honorable Court should deny Defendant            Preliminary Objections as to



              legally sufficient.

              Suggested answer in the affirmative.

         4.



              claim is properly plead and legally sufficient?


                                                     4
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             Suggested answer in the affirmative.

        5.



             the Defendants when the tortious conduct alleged to have been perpetrated by the two

             manufacturing Defendants is identical in nature and actions?

             Suggested answer in the affirmative.

        6. Whether this Honorable Court should deny Defendants Preliminary Objections as to

             the Plaintiff Parents claims for Negligent Infliction of Emotional Distress where those

             claims are tolled and therefore not barred by the statute of limitations?

             Suggested answer in the affirmative.

        7. Whether this Honorable Court should deny Defendants Preliminary Objections as to

                                                               through V of the Amended Complaint

             where Plaintiffs have adequately plead conduct which is sufficiently plead and

             adequate for a subsequent finding by a jury for Punitive Damages?

             Suggested answer in the affirmative.

        8. Whether this Honorable Court should deny Defendants Preliminary Objections where

             Plaintiff   necessary verifications have been filed by way of a praecipe to attach to

                                             s?

             Suggested answer in the affirmative.



 III.                                                                          s Are Unreasonably
             Dangerous




                                                    5
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                                                            incorrect in this assertion, and their

Preliminary Objections should be overruled.



of the science cited by Plaintiff regarding the dangers of their products. This argument is

inappropriate at the Preliminary Objections stage. Rather, a complaint must only give a defendant



claims. Pa. R.C.P. 1019(a).                                ies cited in their amended complaint are

somehow inadequate to show the product is unreasonably dangers, Defendants fail to realize that

Pennylvania law does require Plaintiffs to support any pleadings with evidence to pass preliminary

objection. Indeed, the Superiour Court has previously held that [e]vidence from which such facts

[alleged in a complaint] may be inferred not only need not but should not be alleged. Allegations

will withstand challenge under 1019(a) if (1) they contain averments of all of the facts a plaintiff

will eventually have to prove in order to recover, and (2) they are sufficiently specific so as to

enable defendant to prepare his defense. Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super.

1974) (citations and internal quotations omitted)(emphasis added).

       Further, in assessing whether particular paragraphs in a complaint satisfy this requirement,

they must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord



                                                 6
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Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine

                                                                        nt to prepare his defense or [if

it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

                                                                                                McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).



                                                                                             Amended

Complaint includes dozens of paragraphs explaining t



seven factors:

                 (1) The usefulness and desirability of the product its utility to the
                 user and to the public as a whole.
                 (2) The safety aspects of a product the likelihood that it will cause
                 injury, and the probable seriousness of the injury.
                 (3) The availability of a substitute product which would meet the
                 same need and not be as unsafe.
                 (4) The manufacturer's ability to eliminate the unsafe character of
                 the product without impairing its usefulness or making it too
                 expensive to maintain its utility.
                 (5) The user's ability to avoid danger by the exercise of care in the
                 use of the product.
                 (6) The user's anticipated awareness of the dangers inherent in the
                 product and their avoidability, because of general public knowledge
                 of the obvious condition of the product, or of the existence of
                 suitable warnings or instructions.
                 (7) The feasibility on the part of the manufacturer, of spreading the
                 loss of setting the price of the product or carrying liability insurance.

Riley v. Warren Mfg., Inc., 688 A.2d 221, 225 (1997). The Court need not make a finding on all

seven factors to determine that a product is unreasonably dangerous. Id.

       Here, Plaintif




                                                    7
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                                  -                                                        Further,

                                                                                  -

           the science clearly demonstrated to Defendants that these products cause NEC and

greatly increase the likelihood that a baby will develop NEC, leading to severe injury and often

         See



product labels, failed to



eliminate the danger, including donor breast milk, pasteurized breast milk, breast milk fortifiers,

and breast milk-based products designed for pre-term infants. Id. at ¶¶ 16-20, 86-88.

       Defendant cites Orange Stones Co. v. City of Reading, a case involving violation of an

ordinance by a business in support of its contentions that Plaintiffs have not adequately plead that

their products are unreasonably dangerous. There, the party filing preliminary objections claimed

                                                                                 its contention that

                                                                                            Orange

Stones Co. v. City of Reading, 87 A.3d 1014, 1025 (Pa. Commw. Ct. 2014). The trial court

sustained the preliminary objections, agreeing that the plaintiff had pled no facts to support this

contention. Id. at 1                                                                             Id.

       Here, the instant Plaintiffs allegations are not merely bald assertions. As discussed above,

Plaintiffs have pled dozens of paragraphs to support their contention that the products at issue are

                             and specifically plead that medical studies show that feeding preterm

                       -based formula, as opposed to human breast milk (donor or othersise),

substantially increases the risk of them developing NEC and possibly dying or being otherwise



                                                 8
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seriously injured. Accordingly, because Plaintiff         Amended Complaint adequately pleads that



denied.

     IV.                Amended Complaints Have Adequately Identified The Products At
              Issue For Both Their Product Liability and Negligence Claims

                                                      Amended Complaint fails to identify the product

at issue. Defendant is wrong and their Preliminary Objections should be overruled.

           A complaint must give

of the material facts that support those claims. Pa. R.C.P. 1019(a). In assessing whether particular

paragraphs in a complaint satisfy this requirement, they must be read in context with all other

allegations in the complaint to determine whether the defendant has been provided adequate notice

of the claim against which it must defend. Yacoub v. Lehigh Valley Med. Associates, P.C., 805

A.2d 579, 589 (Pa. Super. Ct. 2002). When determining whether certain allegations are sufficiently

specific, Pennsylvania Law requires that the allegation be read in the context of the entire

Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69 D&C 2d 420 (1974); Duchess

Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord Cmwlth v. Bell Tel Co., 121 Pa.

Cmwlth 642, 649, 551 A2d 602

sufficiently clear to enable the Defendant to prepare his defense or [if it] informs the Defendant

with accuracy and completeness of the specific basis on which recovery is sought so that he may

k                                                                       McNeil v. Jordan, 814 A.2d 234,

237-38 (Pa. Super. 2002).

           Plaintiff has clearly and adequately identified the product that caused the injury at issue to

the best of their ability at this time. Specifically, Plaintiff pled that the infant was fed the

Defendants specific                                                 -                    See Plaintiff

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Amended Complaint at ¶ 11. Absent discovery on the supply of each particular brand to each

particular hospital, Plaintiff is limited to the detail provided in the medical records and the Plaintiff

parents recollection                                                        As advanced previously at

oral argument, Plaintiffs must be allowed to conduct full discovery to determine which of the two

manufacturers brand                   -based formula each Hospital system had a supply agreement

with during certain periods of time, as that information, such as the formula brand, is not often

elicited in the medical records. In fact, the hospital Defendants themselves are the ones with the

best access to the information needed such as purchasing receipts and or purchasing agreements

with either Abbott or Mead.

         Defendant cites Cummins v. Firestone Tire & Rubber Co. in support of their position that

Plaintiffs have not adequately identified the product at issue. 495 A.2d 963 (Pa. Super. Ct. 1985).

In Cummins, preliminary objections were sustained because the                                      could

not be determined, even if the plaintiff were afforded discovery. Id. at 968. Here, the manufacturer

                                                        he products at issue are also identified, and

discovery will likely reveal even further detail about those products and which brand was fed to

the Plaintiff during certain period of time, namely around the birth of each Plaintiff. As such,

                  iminary Objections should be overruled.

    V.      Plaintiffs Have Plead Their Misrepresentation Claims With Adequate
            Specificity, They Therefore Should Not Be Dismissed

                                                                                           with relation

to a misrepresentation claim are satisfied if a plaintiff pleads facts sufficient to permit defendants

to prepare a defense. Commonwealth v. National Apartment Leasing Company, 108

Pa.Commonwealth Ct. 300, 529 A.2d 1157 (1987); see also McGinn v. Valloti, 363 Pa.Superior

Ct. 88, 525 A.2d 732 (1987); see also Foster v. Peat Marwick Main & Co., 138 Pa. Cmwlth. 147,


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156, 587 A.2d 382, 387 (1991), aff'd sub nom. Foster v. Mut. Fire, Marine & Inland Ins. Co., 544

Pa. 387, 676 A.2d 652 (1996). Here, when the complaint is examined in its entirety, it clearly

describes a course of conduct alleged to be fraudulent or misrepresentative sufficient to notify

Abbott for purposes of defending the claim. National Apartment Leasing. In fact, Plaintiffs devotes

several pages of their Amended Complaint to facts describing the misrepresentation conduct of

Defendant Abbott wherein they allege, inter alia, that:

               Prior to             birth, Abbott sent sales representatives to Defendant
               Hospital. Those sales representative

               written pamphlets.
               safe to give to preterm infants like [Plaintiffs]. Abbott maintains call logs
               that detail which sales representatives visited the hospitals, which days they
               visited, and which products they discussed. These sales representatives did

               Mead Johnson and Abbott believed and intended that the misrepresentations
               that its sale representatives shared with Defendant Hospital would be used
               to make feeding decisions for preterm infants like                 Despite
               knowing of the risk of NEC, Abbott did not warn of the significantly
               increased risk of NEC (and resulting medical conditions, and/or death)
               associated with its products, or of the magnitude of this increased risk.
               Abbott likewise did not provide instructions or guidance for how to avoid
               NEC.


See                                          -62, 72 (emphasis added).
       Clearly, Plaintiffs have articulated their misrepresentation claims with sufficient

particularity to allow for Defendant Abbott to have adequate notice of their claim and know the

material

Complaint states 1) the misrepresentations of safety that were relayed by Abbott, 2) that those

misrepresentations were made by Abbott to the               healthcare providers, and thereafter to

the Plaintiff Parents, 3) who then relied upon the misrepresentation of safety to decide what

formula to feed their children, and finally 4) that Abbott was aware of the potential for their

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formula to case NEC prior to the misrepresentations being made.                   arguments that

Plaintiffs have failed to articulate what misrepresentations were made such that they can

adequately form a defense are spurious, and their preliminary objections should be summarily

denied.


   VI.       Plaintiffs Have Adequately Pleaded Facts Against Both Mead and Abbott For
             Conduct Which Is Sufficiently Similar Between The Two Manufacturing
             Defendants Such

          Defendant argues in its Preliminary Objections that Pla

to plead with particularity facts that differentiate between the two manufacturing Defendants,

Abbott and Mead. In support of this contention, Defendant cites to Coyne v. Holy Fam.

Apartments. See Coyne v. Holy Fam. Apartments, No. CV 19-4583, 2020 WL 2063475, at *4 (E.D.

Pa. Apr. 29, 2020). However, when one references the case cited by Defendant, and examines the

entire

Coyne Court held that,

plaintiff must differentiate between defendants[,] [and] [a]n allegation against multiple

defendants that is bereft of specific wrongdoing by those proposed defendants is insufficient to

state a claim Id., at 4.

          Here, although Plaintiffs            do often refer to both Abbott and Mead throughout

their complaint in tandem, this is because Plaintiffs allege that both Abbott and Mead engaged in

nearly identical conduct of concealing and misrepresenting the harmfulness of their bovine-based

infant formula, and instead marketed those products to hospitals and parents as a safe formula to

be fed to premature infants, despite knowing its propensity to increase the risk of development of

NEC in preterm infants. See

where both Defendants engaged in the same tortious activity, there is no pleading requirement that


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                                                                                        laims between

each Defendant as Abbott suggests. Indeed, as the Court in Coyne noted, where a Plaintiff has

pleaded allegations against multiple defendants that include specific wrongdoing attributable to

each of those proposed Defendants, the                 claims should not be dismissed as Defendants

are both adequately on notice of the Claims that they both must defend, respectively.

   VII.
           Disregarded the Risks Posed by the Products that they Manufactured,
           Distributed, and Sold Absent Adequate Warnings, Supporting Punitive Damages



                                                                                  Hutchison v. Luddy,

582 Pa. 114, 121 (2005) (quoting Feld v. Merriam, 506 Pa. 383, 395 (1984)). Punitive damages



Pennsylvania, to survive preliminary objections, a plaintiff must allege that (1) a defendant had a

subjective appreciation of the risk of harm to which the plaintiff was exposed and that (2) he acted,

or failed to act, as the case may be, in conscious disregard of that risk. Id. For instance, in Engle v.

BT Indus. AB, 41 Pa. D. & C.4th 25, 26, 33-34 (Pa.C.P. 1999), plaintiffs brought a products




a defective product into the stream of commerce with the knowledge of defects and the possible

harm that they would cause. Such conduct, if proven, may well be interpreted as exhibiting the

                                                                     Id. Hence, when a manufacturer

has a subjective appreciation of the risk of harm posed by a product, and then introduces said

product into the stream of commerce regardless, this conduct may rise to the level of conscious

disregard required to warrant punitive damages. Further, to the extent that there is any doubt about

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whether the stan

favor at this stage. See Theodore v. Del. Valley Sch. Dist., 575 Pa. 321, 333 (2003).

       Plaintiffs have alleged that Abbott and Mead knowingly distributed a product that they

knew posed an extreme danger to infants for profit. Abbott and Mead knew that the bovine-based

products they supplied posed an increased risk of NEC, an extremely serious disease which can

cause death, to premature infants, as compared to other economically and technologically feasible

alternatives, such as human nutrition-based alternatives. Instead, Abbott and Mead chose to

continue to produce bovine-based products, marketing them specifically towards pre-term infants,

and not formulate alternatives that they knew would reduce the risk of NEC to premature infants.

Hence, Abbott and Mead knowingly produced products that they knew could cause harm to infants

and chose to place them into the stream of commerce, in some cases marketing those products for

use with pre-term infants, in conscious disregard of the risk posed to infants.

       Abbott and Mead also knew that the ordinary consumer would not expect these products

to pose an increased risk of NEC and despite this, failed to warn consumers about the increased

risk of NEC posed by their bovine-based products. Plaintiff alleges that Abbott and Mead failed

to provide warnings to consumers that adequately and thoroughly described the increased risk of

NEC posed by their products, as demonstrated by significant scientific evidence, in a way that was

reasonably calculated to communicate these risks to parents of infants. Similarly, this failure to

disclose substantial risks and communicate them in a way that would adequately inform parents

was knowing and intentional conduct on the part of Abbott and Mead that evinces a conscious

disregard of the risk posed by their products. Therefore, these allegations rise to the level of

conscious disregard required to justify the issue of punitive damages proceeding at this stage.

   VIII. Plaintiff-                              Defendants Are Not Time-Barred And Should
         Not Be Dismissed

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                                       brought under the bystander theory of liability, conforms

with Pennsylvania legal precedent. Plaintiff-Parents contemporaneously observed a traumatic

event injuring their child which satisfies the requisite element of an NIED claim.

        Under Pennsylvania law, a plaintiff may pursue a claim for NIED in four different

                                                                   ry duty toward the plaintiff; (2)

where the plaintiff was subjected to a physical impact; (3) where the plaintiff was in a zone

of danger, thereby reasonably experiencing a fear of impending physical injury; or (4) where the

plaintiff observed a tortious i                         Toney v. Chester County Hosp., 961 A.2d

192, 197 98 (Pa. Super. 2008),        36 A.3d 83 (Pa. 2011). The fourth scenario

theory of liability                                                                    sing a loved

              See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).

        Based on the precedent set forth in Sinn v. Burd, Pennsylvania courts permit a plaintiff to

                                                                                            light of



one who was a distance away from it, (2) whether the shock resulted from a direct emotional

impact upon plaintiff from the sensory and contemporaneous observance of the accident, as

contrasted with learning of the accident from others after its occurrence, and (3) whether plaintiff

and the victim were closely related, as contrasted with an absence of any relationship or the

presence of only a distan                Sinn, 404 A.2d at 685 (quoting Dillon v. Legg, 441 P.2d



                                                        Turner v. Med. Ctr., Beaver, PA, Inc., 686

A.2d 830, 832 33 (Pa. Super. 1996) (quoting Love v. Cramer, 606 A.2d 1175, 1177 (Pa. Super.



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1992)). While interpreting Sinn, the Pennsylvania Superior Court has held the definition of

                                                                       her the emotional shock was

immediate and direct rather than distant and indirect, and not upon the sense employed in seeing

               Krysmalski by Krysmalski v. Tarasovich, 622 A.2d 298, 303 (Pa. Super. 1993). The

plaintiff alleging NIED must also assert a physical manifestation of the emotional harm. See

Banyas v. Lower Bucks County Hospital, 437 A.2d 1236, 1239 40 (Pa. Super. 1981).



physically present to witness the severely deteriorated and near-death state of their child resulting



contemporaneous observance of their child in the hospital. Finally, Plaintiffs and their child are



foreseeable and has resulted in physical manifestations including depression and other harms.

        In their Preliminary Objections, Defendants argue that Plaintiff did not assert a specific

cause of action. However, Defendants fail to recognize it is well-settled Pennsylvania law that a

complaint that contains facts that support a specific cause of action does, in fact, assert said action.

Bartanus v. Lis                                                              ven though appellant did

not separate his factual allegations into separate counts specifying the legal theories underlying the

complaint, the trial court was obligated to consider what causes of action were supported by the



                  ).

        Pennsylvania is a fact pleading state whereby the Complaint must provide defendants with

notice of the basis of the claim and a summary of the facts essential to support that claim. Alpha

Tau Omega Fraternity, 464 A.2d at 1352. Under the Pennsylvania Rules of Civil Procedure, a



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Pa.R.C.P. 1019(a); see Thompson Coal Co. v. Pike Cole Co., 412 A.2d 466, 468 (Pa. 1979).

        When read in the context of the Complaint as a whole, as required by law, Plaintiff clearly

asserts an NIED claim. Notably, Plaintiff includes extensive factual allegations in paragraphs

eleven (11) through eighty-two (82), the entirety of which must be considered when interpreting

every other paragraph of the Complaint. See                              82. Within those extensive

factual allegations, th                                                                    -



negligence. See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).

        In sum, Plainti

Plaintiffs were physically present to witness the severely deteriorated and near-death state of their



contemporaneous observance of their child in the hospital.

        Further, Plaintiff-                            -barred because Defendant Abbott prevented

Plaintiff-

exception [to the statute of limitations] that tolls the statute of limitations when an injury or its




should have known, that: (1) an injury has been sustained; and (2) the injury has been caused by

                              Ward v. Rice, 828 A.2d 1118, 1121 (Pa. Super. 2003) (citing Citsay v.

Reich, 380 Pa. Super. 366, 369 (1988)). For the discovery rule to apply, the plaintiff must have



position. 828 A.2d at 1121. A plaintiff must begin exercising reasonable diligence once they know



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                                                                                               Romah

v. Hygienic Sanitation Co., 705 A.2d 841, 857 (Pa. Super. 1997) (emphasis added). While



differences between persons, their capacity to meet certain situations and circumstances

confronting them at the time in question. In short, the standard of conduct required is a uniform

                                                                                         -22 (quoting

                      s b-

determined by the collective judgment, wisdom, and experience of jurors who have been selected

                                                                       Petri v. Smith, 307 Pa. Super.

261, 271-72 (1982).



lull the patient into a false sense of security, this may toll the statute of limitations. See Acker v.

Palena, 260 Pa. Super. 214, 222 (1978); Barshady v. Schlosser, 226 Pa. Super. 260, 263-64 (1973).



layperson may be charged with knowledge greater than that which was communicated to her by

the med

at 662 (citing Wilson v. El-Daief, 600 Pa. 161, 179-180 (2009)). If a plaintiff alleges that their

delay was due to their reasonably relying upon the reassurances of their physicians, then, while



not be time-barred. Acker v. Palena, 260 Pa. Super. 214, 223-24 (1978).

       Likewise, the under the similar but distinct doctrine of fraudulent concealment, a form of



reliance on the fraudulent concealment of the defendant. Nesbitt v. Erie Coach Co., 416 Pa. 89,



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95-                    ough fraud or concealment, the defendant causes the plaintiff to relax his

vigilance or deviate from his right of inquiry, the defendant is estopped from invoking the bar of

                           Romah, 705 A.2d at 857 (internal quotations omitted). A defendant does

not need to intentionally deceive a plaintiff for the doctrine of fraudulent concealment to apply;



                           Nesbitt, supra, 416 Pa. at 96 (citation omitted). It is for the factfinder to

determine whether a defendant made representations that could have induced this reliance on the

part of the plaintiff. Id. For example, in Romah, the Superior Court held that the issue of whether

the

concealed studies and other information from the EPA and the public that showed that the

                                                                             n was a factual issue for

the jury. Romah, supra, 705 A.2d at 861.

        Plaintiffs have alleged that manufacturers Abbott and Mead took numerous steps to prevent

Plaintiff-

materials to the public that intentionally misled parents about the risk of NEC posed by their

products, which affirmatively stated, and still state, that their products do not cause the disease, or

worse still, may reduce the risk of NEC. For instance, Abbott published numerous misleading

statements on its publicly available website that misrepresented the link between its bovine-based

formula and the risk of NEC in premature infants. In addition, Defendant manufacturers trained

and directed its sales personnel to mislead medical providers about the risk of NEC posed by its

products. Further, Defendant manufacturers did not provide warnings on their packaging or

products, thereby also concealing the known risk of NEC from parents. Thus, under both the




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discovery rule and doctrine of fraudulent concealment, Plaintiff-                                    -

barred.

   IX.       Plaintiffs Have Filed the Proper Verifications For Their Amended Complaints

          Pennsylvania Rule of Civil Procedure 1024 requires that pleadings containing averments

of fact not appearing

personal knowledge or information and belief and shall be verified. See Pa.R.C.P. 1024. Plaintiff

has obtained and produced proper ve

objection should be overruled. All such verifications have been and/or will immediately be



   X.        Request In The Alternative To Amend The Complaint

          Although Plaintiff strenuously maintains the sufficiency of all of the Counts contained



Preliminary Objections, Plaintiff respectfully requests permission to amend the pleadings.

          WHEREFORE



Preliminary Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their

Complaint.

                                                      Respectfully submitted,



                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: October 19, 2023                         By:    /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE
                                                      TOBI MILLROOD, ESQUIRE
                                                      ELIZABETH CRAWFORD, ESQUIRE

                                                 20
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                                            TIMOTHY BURKE, ESQUIRE
                                            Attorneys for Plaintiffs


                                            KELLER POSTMAN
                                            BEN WHITING, ESQUIRE (Pro Hac Vice)
                                            MARK WEINSTEIN, ESQURIE
                                            Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2023, I caused a true and correct copy of the foregoing

document to be served by electronic filing to all counsel of record.



                                                     Respectfully submitted,



                                                     KLINE & SPECTER,
                                                     A Professional Corporation
Date: October 19, 2023                        By:    /s/Timothy A. Burke, Esquire
                                                     TIMOTHY A. BURKE, ESQUIRE




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                   EXHIBIT A-55
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        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                          TRIAL DIVISION - CIVIL


HOLLI CARTER, et al.,                         :
          Plaintiff,                          : MARCH TERM, 2022
   v.                                         : No. 220302588
MEAD JOHNSON & COMPANY, LLC, et al.,          :
          Defendants.                         :

BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400208
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
BRANDY GOODMOND, et al.,                      :
         Plaintiff,                           : APRIL TERM, 2022
   v.                                         : No. 220400212
MEAD JOHNSON & COMPANY, LLC, et al.,          :
         Defendants.                          :
JANEE HENDERSON, et al.,                     :
          Plaintiff,                         : APRIL TERM, 2022
    v.                                       : No. 220400127
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
KRISTEN KAJUFFA, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302978
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
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             Plaintiff,                      : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
NATISHA THOMAS, et al.,                      :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
TRINA WALKER-SAVAGE and CLIFTON              :
ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
           Plaintiff,                        : No. 220400156
    v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
JEANNATE WATSON, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
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     v.                                              : No. 220302967
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
           Defendants.                               :
  GINA WIEGER, et al.,                               :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220302614
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  GINA WIEGER, et al.,                               :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  SHANITA WIGGINS, et al.,                           :
            Plaintiff,                               : MARCH TERM, 2022
     v.                                              : No. 220302986
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  MELVENIA WILLIAMS, et al.,                         :
            Plaintiff,                               : APRIL TERM, 2022
     v.                                              : No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :

                                          ORDER

       AND NOW this the ______ day of ______________________, 2023, upon consideration

of Defendant Mead Johnson & Company, LLC and Mead Johnson Nutrition Company’s

(collectively referred to as, “Mead Johnson” or “Moving Defendants”) Preliminary Objections to

the Plaintiffs’ Amended Complaint, Plaintiffs’ Answer thereto, and all other appropriate

considerations, it is hereby ORDERED, ADJUDGED and DECREED that Moving Defendants’

Preliminary Objections are OVERRULED.

                                                  BY THE COURT



                                                  ____________________________
                                                        J.
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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  HOLLI CARTER, et al.,                        :
            Plaintiff,                         : MARCH TERM, 2022
     v.                                        : No. 220302588
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                        :

  BRANDY GOODMOND, et al.,                    :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400208
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  BRANDY GOODMOND, et al.,                     :
           Plaintiff,                          : APRIL TERM, 2022
     v.                                        : No. 220400212
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                         :
  JANEE HENDERSON, et al.,                    :
            Plaintiff,                        : APRIL TERM, 2022
      v.                                      : No. 220400127
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  KRISTEN KAJUFFA, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
      v.                                      : No. 220302978

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MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :

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  NATISHA THOMAS, et al.,                            :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220400158
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  TRINA WALKER-SAVAGE and CLIFTON                    :
  ISAIAH SAVAGE, JR., et al.,                        : MARCH TERM, 2022
             Plaintiff,                              : No. 220400156
      v.                                             :
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
             Defendants.                             :
  JEANNATE WATSON, et al.,                           :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220302967
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  GINA WIEGER, et al.,                               :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220302614
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  GINA WIEGER, et al.,                               :
            Plaintiff,                               : MARCH TERM, 2022
      v.                                             : No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  SHANITA WIGGINS, et al.,                           :
            Plaintiff,                               : MARCH TERM, 2022
     v.                                              : No. 220302986
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :
  MELVENIA WILLIAMS, et al.,                         :
            Plaintiff,                               : APRIL TERM, 2022
     v.                                              : No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,               :
            Defendants.                              :

PLAINTIFFS’ REPSONSE TO MEAD JOHNSON’S PRELMINIARY OBJECTIONS TO
                  PLAINTIFFS’ AMENDED COMPLAINT

      Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant

Mead Johnson & Company, LLC and Mead Johnson Nutrition Company’s (collectively referred
                                             3
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to as, “Mead Johnson” or “Moving Defendants”) Preliminary Objections and responds to

Defendant’s Preliminary Objections and Evidentiary Exhibits as follows:

       1.      Denied as a conclusion of law to which no response is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       2.      Admitted.

       3.      Denied as a conclusion of law to which no response is required. By way of further

response, see Plaintiffs’’ attached memorandum of law.

       4.      Denied as a conclusion of law to which no response is required. By way of further

response, see Plaintiffs’’ attached memorandum of law.

       5.      Denied as a conclusion of law to which no response is required. By way of further

response, see Plaintiffs’’ attached memorandum of law. Plaintiffs amended complaints contain

additional factual pleadings that were not contained in the initially filed Complaints.

       6.      Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       7.      Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       8.      Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.




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       9.      Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       10.     Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       11.     Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       12.     Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       13.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       14.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       15.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       16.     Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.




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       17.     Denied as Plaintiffs’ Amended Complaint is a written document that speaks for

itself, and therefore no response is required. By way of further response, see Plaintiffs’ attached

memorandum of law.

       18.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       19.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       20.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       21.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       22.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       23.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       24.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       25.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       26.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       27.     Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.



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       28.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       29.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       30.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       31.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       32.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       33.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       34.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       35.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       36.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       37.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       38.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.




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       39.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       40.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       41.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       42.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       43.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       44.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       45.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       46.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       47.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       48.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       49.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.




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       50.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       51.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       52.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

       53.    Denied as a conclusion of law to which no response, is required. By way of further

response, see Plaintiffs’ attached memorandum of law.

   WHEREFORE, for the reasons more fully set forth in Plaintiffs’ accompanying Memorandum

of Law, Plaintiffs respectfully request that this Honorable Court deny Defendant’s Preliminary

Objections, or, in the alternative, Order that Plaintiffs are permitted leave to amend their

Complaint.

                                                   Respectfully submitted,

                                                   KLINE & SPECTER,
                                                   A Professional Corporation
Date: October 19, 2023                     By:     /s/Timothy A. Burke, Esquire
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                                                   ELIZABETH CRAWFORD, ESQUIRE
                                                   TIMOTHY BURKE, ESQUIRE
                                                   Attorneys for Plaintiffs


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                                                   MARK WEINSTEIN, ESQURIE
                                                   Attorneys for Plaintiffs




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         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  HOLLI CARTER, et al.,                        :
            Plaintiff,                         : MARCH TERM, 2022
     v.                                        : No. 220302588
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                        :

  BRANDY GOODMOND, et al.,                    :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400208
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  BRANDY GOODMOND, et al.,                     :
           Plaintiff,                          : APRIL TERM, 2022
     v.                                        : No. 220400212
  MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                         :
  JANEE HENDERSON, et al.,                    :
            Plaintiff,                        : APRIL TERM, 2022
      v.                                      : No. 220400127
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  KRISTEN KAJUFFA, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
      v.                                      : No. 220302978

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MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NAFEESAH MAYS, et al.,                       :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
CATHERINE McMILLIAN, et al.,                 :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
DAMEKA MOMENT, et al.,                       :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
NYDIA PARKER, et al.,
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
ALEXANDRIA ROSS, et al.,                     :
         Plaintiff,                          : MARCH TERM, 2022
   v.                                        : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
LOREN SANDERS, et al.,                       :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SAMAYA SHORT, et al.,                        :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
ALICE STILLS, et al.,                        :
           Plaintiff,                        : MARCH TERM, 2022
    v.                                       : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :

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NATISHA THOMAS, et al.,                      :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
TRINA WALKER-SAVAGE and CLIFTON              :
ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
           Plaintiff,                        : No. 220400156
    v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                       :
JEANNATE WATSON, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302967
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302614
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
GINA WIEGER, et al.,                         :
          Plaintiff,                         : MARCH TERM, 2022
    v.                                       : No. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
SHANITA WIGGINS, et al.,                     :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302986
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :
MELVENIA WILLIAMS, et al.,                   :
          Plaintiff,                         : APRIL TERM, 2022
   v.                                        : No. 220400141
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :


PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR REPSONSE TO
MEAD JOHNSON’S PRELMINIARY OBJECTIONS TO PLAINTIFFS’ AMENDED
                        COMPLAINT



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   I.       Matter Before the Court
         Plaintiffs, by and through their counsel, Kline & Specter, P.C., hereby oppose Defendant

Mead Johnson & Company, LLC and Mead Johnson Nutrition Company’s (collectively referred

to as, “Mead Johnson” or “Moving Defendants”) Preliminary Objections and respond to the

Moving Defendants’ Preliminary Objections and Evidentiary Exhibits as follows:

   II.      Counter Statement of Questions Involved

         1. Whether this Honorable Court should deny Defendant’s Preliminary Objections as to

            Plaintiffs’ Counts I-V where Plaintiffs have adequately plead and alleged that bovine-

            based formula is unreasonably dangerous and substantially increases the risk for the

            development of NEC in preterm infants, and where Plaintiffs are not required under the

            pleading standard to cite to evidence (such as any medical studies) in their Complaint

            in support of ultimate issues that will have to be proven at trial?

            Suggested answer in the affirmative.

         2. Whether this Honorable Court should deny Defendant’s Preliminary Objections as to

            Plaintiffs’ strict liability claims (Counts I and II) where Plaintiffs’ claims are properly

            plead and legally sufficient?

            Suggested answer in the affirmative.

         3. Whether this Honorable Court should deny Defendant’s Preliminary Objections as to

            Plaintiffs’ negligence claim (Count III) where Plaintiffs’ claim is properly plead and

            legally sufficient.

            Suggested answer in the affirmative.




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        4. Whether this Honorable Court should deny Defendant’s Preliminary Objections as to

           Plaintiffs’ negligent misrepresentation claims (Counts IV and V) where Plaintiffs’

           claim is properly plead and legally sufficient?

           Suggested answer in the affirmative.

        5. Whether this Honorable Court should deny Defendant’s Preliminary Objections as to

           Plaintiffs’ Amended Complaint where Plaintiff has adequately pleaded all necessary

           facts and damages to allow for Defendants to prepare their defense to Plaintiffs’ claims?

           Suggested answer in the affirmative.

        6. Whether this Honorable Court should deny Defendants Preliminary Objections as to

           the Plaintiff Parents claims for Negligent Infliction of Emotional Distress where those

           claims are tolled and therefore not barred by the statute of limitations?

           Suggested answer in the affirmative.

        7. Whether this Honorable Court should deny Defendants Preliminary Objections as to

           Plaintiffs’ Punitive Damages claims in Counts I through V of the Amended Complaint

           where Plaintiffs have adequately plead conduct which is sufficiently plead and

           adequate for a subsequent finding by a jury for Punitive Damages?

           Suggested answer in the affirmative.

        8. Whether this Honorable Court should deny Defendants Preliminary Objections where

           Plaintiffs’ necessary verifications have been filed by way of a praecipe to attach to

           Plaintiffs’ Amended Complaints?

           Suggested answer in the affirmative.



 III.      Plaintiff has Adequately Plead That Defendant’s Products Are Unreasonably
           Dangerous

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       Defendant asserts that Plaintiff’s Amended Complaint fails to plead that Defendant’s

products are “unreasonably dangerous.”        Defendant is incorrect in this assertion, and their

Preliminary Objections should be overruled.

       Defendant’s Preliminary Objections on this argument seem to rely heavily on their distrust

of the science cited by Plaintiff regarding the dangers of their products. This argument is

inappropriate at the Preliminary Objections stage. Rather, a complaint must only give a defendant

only fair notice of the plaintiff’s claims and a summary of the material facts that support those

claims. Pa. R.C.P. 1019(a). In arguing that Plaintiffs’ studies cited in their amended complaint are

somehow inadequate to show the product is unreasonably dangers, Defendants fail to realize that

Pennsylvania law does require Plaintiffs to support any pleadings with evidence to pass

preliminary objection. Indeed, the Superior Court has previously held that “[e]vidence from which

such facts [alleged in a complaint] may be inferred not only need not but should not be alleged.

Allegations will withstand challenge under 1019(a) if (1) they contain averments of all of the facts

a plaintiff will eventually have to prove in order to recover, and (2) they are sufficiently specific

so as to enable defendant to prepare his defense.” Baker v. Rangos, 324 A.2d 498, 505-506 (Pa.

Super. 1974) (citations and internal quotations omitted)(emphasis added).

       Further, in assessing whether particular paragraphs in a complaint satisfy this requirement,

they must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord



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Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine

“whether the complaint is sufficiently clear to enable the Defendant to prepare his defense or [if

it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is sought so that he may know without question upon what grounds to make his defense.” McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

       Defendant’s assertion that Plaintiffs’ Amended Complaint is “devoid of any facts showing”

Defendant’s products are “unreasonably dangerous” is patently incorrect. Plaintiffs’ Amended

Complaint includes dozens of paragraphs explaining the dangers of Defendant’s product.

       In determining whether a product is “unreasonably dangerous,” the Court must consider

seven factors:

                 (1) The usefulness and desirability of the product—its utility to the
                 user and to the public as a whole.
                 (2) The safety aspects of a product—the likelihood that it will cause
                 injury, and the probable seriousness of the injury.
                 (3) The availability of a substitute product which would meet the
                 same need and not be as unsafe.
                 (4) The manufacturer's ability to eliminate the unsafe character of
                 the product without impairing its usefulness or making it too
                 expensive to maintain its utility.
                 (5) The user's ability to avoid danger by the exercise of care in the
                 use of the product.
                 (6) The user's anticipated awareness of the dangers inherent in the
                 product and their avoidability, because of general public knowledge
                 of the obvious condition of the product, or of the existence of
                 suitable warnings or instructions.
                 (7) The feasibility on the part of the manufacturer, of spreading the
                 loss of setting the price of the product or carrying liability insurance.

Riley v. Warren Mfg., Inc., 688 A.2d 221, 225 (1997). The Court need not make a finding on all

seven factors to determine that a product is unreasonably dangerous. Id.

       Here, Plaintiff’s Second Amended Complaint has adequately pled that the products at issue

are unreasonably dangerous. For example, Plaintiff’s Second Amended Complaint includes an



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entire section titled “Cow’s Milk-Based Feeding Products Are Known to Cause NEC.” Further,

Plaintiff pleads that there is an “elevated risk of NEC associated with cow’s milk-based products”

and that “the science clearly demonstrated to Defendants that these products cause NEC and

greatly increase the likelihood that a baby will develop NEC, leading to severe injury and often

death.” See Plaintiffs’ Amended Complaint at ¶¶ 17, 20. Further, as relates the user’s awareness

of the danger, Plaintiff’s Complaint details how Defendant, including through their product labels,

failed to warn doctor and parents of the increased risk of NEC. Finally, Plaintiff’s Complaint

details several safer alternative designs that also speak to the manufacturer’s ability to eliminate

the danger, including donor breast milk, pasteurized breast milk, breast milk fortifiers, and breast

milk-based products designed for pre-term infants. Id. at ¶¶ 16-20, 86-88.

       Defendant cites Orange Stones Co. v. City of Reading, a case involving violation of an

ordinance by a business in support of its contentions that Plaintiffs have not adequately plead that

their products are unreasonably dangerous. There, the party filing preliminary objections claimed

that plaintiff’s complaint was deficient because it provided no facts to support its contention that

the defendant acted “maliciously,” “without probable cause,” and “with the specific intent. Orange

Stones Co. v. City of Reading, 87 A.3d 1014, 1025 (Pa. Commw. Ct. 2014). The trial court

sustained the preliminary objections, agreeing that the plaintiff had pled no facts to support this

contention. Id. at 10126. Thus, the Court reasoned, these contentions were “bald assertions.” Id.

       Here, the instant Plaintiffs’ allegations are not merely bald assertions. As discussed above,

Plaintiffs have pled dozens of paragraphs to support their contention that the products at issue are

“unreasonably dangerous” and specifically plead that medical studies show that feeding preterm

infants cow’s milk-based formula, as opposed to human breast milk (donor or otherwise),

substantially increases the risk of them developing NEC and possibly dying or being otherwise



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seriously injured. Accordingly, because Plaintiffs’ Amended Complaint adequately pleads that

Defendant’s products are unreasonably dangerous, Defendant’s Preliminary Objections should be

denied.

   IV.       Plaintiffs’ Amended Complaints Have Adequately Identified The Products At
             Issue For Both Their Product Liability and Negligence Claims

          Defendant asserts that Plaintiff’s Second Amended Complaint fails to identify the product

at issue. Defendant is wrong and their Preliminary Objections should be overruled.

          A complaint must give a defendant only fair notice of the plaintiff’s claims and a summary

of the material facts that support those claims. Pa. R.C.P. 1019(a). In assessing whether particular

paragraphs in a complaint satisfy this requirement, they must be read in context with all other

allegations in the complaint to determine whether the defendant has been provided adequate notice

of the claim against which it must defend. Yacoub v. Lehigh Valley Med. Associates, P.C., 805

A.2d 579, 589 (Pa. Super. Ct. 2002). When determining whether certain allegations are sufficiently

specific, Pennsylvania Law requires that the allegation be read in the context of the entire

Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69 D&C 2d 420 (1974); Duchess

Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord Cmwlth v. Bell Tel Co., 121 Pa.

Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine “whether the complaint is

sufficiently clear to enable the Defendant to prepare his defense or [if it] informs the Defendant

with accuracy and completeness of the specific basis on which recovery is sought so that he may

know without question upon what grounds to make his defense.” McNeil v. Jordan, 814 A.2d 234,

237-38 (Pa. Super. 2002).

          Plaintiff has clearly and adequately identified the product that caused the injury at issue to

the best of their ability at this time. Specifically, Plaintiff pled that the infant was fed the

Defendants’ specific “Similac and/or Enfamil cow’s milk-based products.” See Plaintiffs’

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Amended Complaint at ¶ 11. Absent discovery on the supply of each particular brand to each

particular hospital, Plaintiff is limited to the detail provided in the medical records and the Plaintiff

parents recollection, all of which are included in Plaintiff’s Complaint. As advanced previously at

oral argument, Plaintiffs must be allowed to conduct full discovery to determine which of the two

manufacturers’ brand of cow’s milk-based formula each Hospital system had a supply agreement

with during certain periods of time, as that information, such as the formula brand, is not often

elicited in the medical records. In fact, the hospital Defendants themselves are the ones with the

best access to the information needed such as purchasing receipts and or purchasing agreements

with either Abbott or Mead.

         Defendant cites Cummins v. Firestone Tire & Rubber Co. in support of their position that

Plaintiffs have not adequately identified the product at issue. 495 A.2d 963 (Pa. Super. Ct. 1985).

In Cummins, preliminary objections were sustained because the “manufacturer or seller” could

not be determined, even if the plaintiff were afforded discovery. Id. at 968. Here, the manufacturer

or seller is identified in Plaintiff’s Complaint, the products at issue are also identified, and

discovery will likely reveal even further detail about those products and which brand was fed to

the Plaintiff during certain period of time, namely around the birth of each Plaintiff. As such,

Defendant’s Preliminary Objections should be overruled.

    V.       Plaintiff Has Adequately Pled the Facts and Damages at Issue

         Defendant asserts that Plaintiffs’ Amended Complaint fails to adequately plead facts

regarding liability and injuries claimed. Defendant is wrong and their Preliminary Objections

should be overruled. A complaint must give a defendant fair notice of the plaintiff’s claims and a

summary of the material facts that support those claims. Pa. R.C.P. 1019(a). As the Superior Court

has noted:



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        Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
        to disclose the material facts sufficient to enable the adverse party to prepare
        his case. A complaint therefore must do more than give the defendant fair notice of
        what the plaintiff's claim is and the grounds upon which it rests. It should formulate
        the issues by fully summarizing the material facts. Material facts are ultimate facts,
        i.e., those facts essential to support the claim. Evidence from which such facts
        may be inferred not only need not but should not be alleged. Allegations will
        withstand challenge under 1019(a) if (1) they contain averments of all of the
        facts a plaintiff will eventually have to prove in order to recover, and (2) they
        are sufficiently specific so as to enable defendant to prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

        In assessing whether particular paragraphs in a complaint satisfy this requirement, they

must be read in context with all other allegations in the complaint to determine whether the

defendant has been provided adequate notice of the claim against which it must defend. Yacoub v.

Lehigh Valley Med. Associates, P.C., 805 A.2d 579, 589 (Pa. Super. Ct. 2002). When determining

whether certain allegations are sufficiently specific, Pennsylvania Law requires that the allegation

be read in the context of the entire Complaint and not in a vacuum. Hook v. L.B. Smith, Inc., 69

D&C 2d 420 (1974); Duchess Underwear Co. V. Sivan Manuf. Co., 75 D&C 185 (1950); accord

Cmwlth v. Bell Tel Co., 121 Pa. Cmwlth 642, 649, 551 A2d 602 (1988). The Court must determine

“whether the complaint is sufficiently clear to enable the Defendant to prepare his defense or [if

it] informs the Defendant with accuracy and 3 completeness of the specific basis on which recovery

is sought so that he may know without question upon what grounds to make his defense.” McNeil

v. Jordan, 814 A.2d 234, 237-38 (Pa. Super. 2002).

        Defendants advance several arguments regarding the alleged deficiencies of facts and

injuries, all of which are incorrect:

                Defendants assert that Plaintiffs’ Amended Complaint does not state whether the
                infant actually ingested the product at issue. In contrast, Plaintiffs have pled that
                the infant “was fed Similac and/or Enfamil cow’s milk-based products” and

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            developed NEC “after ingesting Defendant Manufacturers’ products.” See
            Plaintiff’s Second Amended Complaint at ¶¶ 11-12.

            Defendants assert that Plaintiffs’ Amended Complaint does not indicate which
            product was ingested. However, Plaintiff has pled that the infant was fed the
            Defendant’s products “Similac and/or Enfamil cow’s milk-based products.” Id. at
            ¶ 11. Absent discovery, Plaintiff is limited to the detail provided in the medical
            records, the details of which are included in Plaintiff’s Complaint. As advanced
            previously at oral argument, Plaintiff must be allowed to conduct full discovery to
            determine which manufacturer and brand each Hospital system had a distribution
            agreement with during certain periods of time, as that information, such as brand,
            is not often elicited in the medical records. Further, the Defendants themselves are
            the ones with the information such as purchasing receipts and or purchasing
            agreements with either Abbott or Mead.

            Defendants argue that Plaintiffs have not met their burden under fact pleading to
            show that the product was unreasonably dangerous because allegedly plaintiffs’
            claims are “unsupported by any specific studies or trials in the Amended
            Complaint.” See Def. Preliminary Objections, at 8. However, as noted above, the
            Superior Court has ruled that in relation to pleading facts, “evidence from which
            such facts may be inferred not only need not but should not be alleged,” which is
            entirely contrary to Defendants’ arguments herein. See Baker v. Rangos, 324 A.2d
            498, 505-506 (Pa. Super. 1974)

            Defendants assert that Plaintiff has not pled the period of time during which the
            product at issue was ingested. However, Plaintiff alleged in the Complaint that the
            infant “was fed Similac and/or Enfamil cow’s milk-based products by [hospital
            staff] after her birth.” Id. Plaintiff’s birth date is included in the Complaint.

            Defendants assert that Plaintiff failed to plead when the minor was diagnosed with
            NEC. However, Plaintiff pled that the infant’s “diagnosis of NEC occurred during
            [the infant’s] course of treatment at Defendant Hospital’s NICU.” Id. at ¶ 13.
            Plaintiffs’ averments adequately summarize the material facts necessary such that
            the Defendants are on notice of the claim of which they must defend, and notably
            the moving Defendants are the exact hospitals where the Plaintiff was initially
            treated for NEC, thus they have access to the exact same medical as the Plaintiffs
            which show the exact dates of treatment which are summarily referred to in
            Plaintiffs’ Amended Complaint.

            Defendants assert that Plaintiffs did not plead the treatment the infant received
            following the ingestion of the NEC and resulting injuries. Defendant cites no
            authority for the proposition that a plaintiff must describe the specific treatment an
            injured party underwent following injuries resulting from the tortious conduct of a
            defendant.



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                Defendants assert that Plaintiffs have not adequately pled the injuries suffered as a
                result of the product. Plaintiff has adequately pled the injuries suffered by the infant
                who ingested Defendant’s product, specifically “a diagnosis of NEC, treatment
                with antibiotics, blood transfusions and surgery, feeding difficulties, developmental
                delays, neurological issues, gastrointestinal issues, growth issues, short bowel
                syndrome, heart/lung/liver/kidney issues, mobility and walking difficulties,
                learning disabilities.” Id. at ¶ 13.

Accordingly, Defendant’s Preliminary Objections should be overruled as Plaintiffs Allegations

should withstand challenge under 1019(a) because they contain averments of all of the facts a

plaintiff will eventually have to prove in order to recover, and they are sufficiently specific so as

to enable Defendants to prepare their defense.

   VI.      Plaintiffs Have Plead Their Intentional and Negligent Misrepresentation Claims
            With Adequate Specificity, They Therefore Should Not Be Dismissed

         The requirements of Pennsylvania’s rules as to the sufficiency of pleadings with relation

to a misrepresentation claim are satisfied if a plaintiff pleads facts sufficient to permit defendants

to prepare a defense. Commonwealth v. National Apartment Leasing Company, 108

Pa.Commonwealth Ct. 300, 529 A.2d 1157 (1987); see also McGinn v. Valloti, 363 Pa.Superior

Ct. 88, 525 A.2d 732 (1987); see also Foster v. Peat Marwick Main & Co., 138 Pa. Cmwlth. 147,

156, 587 A.2d 382, 387 (1991), aff'd sub nom. Foster v. Mut. Fire, Marine & Inland Ins. Co., 544

Pa. 387, 676 A.2d 652 (1996). Here, when the complaint is examined in its entirety, it clearly

describes a course of conduct alleged to be fraudulent or misrepresentative sufficient to notify

Mead for purposes of defending the claim. National Apartment Leasing. In fact, Plaintiffs devotes

several pages of their Amended Complaint to facts describing the misrepresentation conduct of

Defendant Mead wherein they allege, inter alia, that:

                Prior to [Plaintiff’s] birth, Mead sent sales representatives to Defendant
                Hospital. Those sales representatives provided information about Mead’s
                products to Defendant Hospital’s staff via conversations, presentations, and
                written pamphlets. This information indicated that Mead’s products were
                safe to give to preterm infants like [Plaintiffs]. Mead maintains call logs

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               that detail which sales representatives visited the hospitals, which days they
               visited, and which products they discussed. These sales representatives did
               not disclose that Mead’s products could cause NEC in preterm infants…
               Mead Johnson and Mead believed and intended that the misrepresentations
               that its sale representatives shared with Defendant Hospital would be used
               to make feeding decisions for preterm infants like [Plaintiff]… Despite
               knowing of the risk of NEC, Mead did not warn of the significantly
               increased risk of NEC (and resulting medical conditions, and/or death)
               associated with its products, or of the magnitude of this increased risk. Mead
               likewise did not provide instructions or guidance for how to avoid NEC.
See Plaintiffs’ Amended Complaint, at ¶¶ 60-62, 72 (emphasis added).
       Clearly, Plaintiffs have articulated their misrepresentation claims with sufficient

particularity to allow for Defendant Mead to have adequate notice of their claim and know the

material facts such that they can formulate a defense. As seen above, Plaintiffs’ Amended

Complaint states 1) the misrepresentations of safety that were relayed by Mead, 2) that those

misrepresentations were made by Mead to the Plaintiffs’ healthcare providers, and thereafter to

the Plaintiff Parents, 3) who then relied upon the misrepresentation of safety to decide what

formula to feed their children, and finally 4) that Mead was aware of the potential for their formula

to case NEC prior to the misrepresentations being made. Defendants’ arguments that Plaintiffs

have failed to articulate what misrepresentations were made such that they can adequately form a

defense are spurious, and their preliminary objections should be summarily denied.

   VII.    Plaintiffs’ Complaint Sufficiently Alleges that Defendant Consciously
           Disregarded the Risks Posed by the Products that they Manufactured,
           Distributed, and Sold Absent Adequate Warnings, Supporting Punitive Damages
       Punitive damages may be awarded for “‘conduct that is outrageous, because of the

defendant’s evil motive or his reckless indifference to the rights of others.’ " Hutchison v. Luddy,

582 Pa. 114, 121 (2005) (quoting Feld v. Merriam, 506 Pa. 383, 395 (1984)). Punitive damages

must be based on conduct that is "wanton,” “willful,” or “reckless.” 582 Pa. at 121. As such, in

Pennsylvania, to survive preliminary objections, a plaintiff must allege that (1) a defendant had a


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subjective appreciation of the risk of harm to which the plaintiff was exposed and that (2) he acted,

or failed to act, as the case may be, in conscious disregard of that risk. Id. For instance, in Engle v.

BT Indus. AB, 41 Pa. D. & C.4th 25, 26, 33-34 (Pa.C.P. 1999), plaintiffs brought a products

liability suit based on the manufacturers’ negligence, strict liability claims, and breach of warranty.

The defendant’s motion to strike the plaintiff’s punitive damages claim was denied. In denying the

defendant’s motion, the Court stated that the “plaintiff has alleged that the defendants introduced

a defective product into the stream of commerce with the knowledge of defects and the possible

harm that they would cause. Such conduct, if proven, may well be interpreted as exhibiting the

type of reckless indifference that may trigger punitive damages.” Id. Hence, when a manufacturer

has a subjective appreciation of the risk of harm posed by a product, and then introduces said

product into the stream of commerce regardless, this conduct may rise to the level of conscious

disregard required to warrant punitive damages. Further, to the extent that there is any doubt about

whether the standard for punitive damages is met, that doubt must be resolved in the Plaintiff’s

favor at this stage. See Theodore v. Del. Valley Sch. Dist., 575 Pa. 321, 333 (2003).

        Plaintiffs have alleged that Abbott and Mead knowingly distributed a product that they

knew posed an extreme danger to infants for profit. Abbott and Mead knew that the bovine-based

products they supplied posed an increased risk of NEC, an extremely serious disease which can

cause death, to premature infants, as compared to other economically and technologically feasible

alternatives, such as human nutrition-based alternatives. Instead, Abbott and Mead chose to

continue to produce bovine-based products, marketing them specifically towards pre-term infants,

and not formulate alternatives that they knew would reduce the risk of NEC to premature infants.

Hence, Abbott and Mead knowingly produced products that they knew could cause harm to infants




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and chose to place them into the stream of commerce, in some cases marketing those products for

use with pre-term infants, in conscious disregard of the risk posed to infants.

       Abbott and Mead also knew that the ordinary consumer would not expect these products

to pose an increased risk of NEC and despite this, failed to warn consumers about the increased

risk of NEC posed by their bovine-based products. Plaintiff alleges that Abbott and Mead failed

to provide warnings to consumers that adequately and thoroughly described the increased risk of

NEC posed by their products, as demonstrated by significant scientific evidence, in a way that was

reasonably calculated to communicate these risks to parents of infants. Similarly, this failure to

disclose substantial risks and communicate them in a way that would adequately inform parents

was knowing and intentional conduct on the part of Abbott and Mead that evinces a conscious

disregard of the risk posed by their products. Therefore, these allegations rise to the level of

conscious disregard required to justify the issue of punitive damages proceeding at this stage.

   VIII. Plaintiff-Parents’ Claims Against Defendants Are Not Time-Barred And Should
         Not Be Dismissed
   Defendants’ Preliminary Objections should be denied because Plaintiff’s negligent infliction

of emotional distress (“NIED”) claim, brought under the bystander theory of liability, conforms

with Pennsylvania legal precedent. Plaintiff-Parents contemporaneously observed a traumatic

event injuring their child which satisfies the requisite element of an NIED claim.

       Under Pennsylvania law, a plaintiff may pursue a claim for NIED in four different

situations: “(1) where the defendant had a contractual or fiduciary duty toward the plaintiff; (2)

where the plaintiff was subjected to a physical impact; (3) where the plaintiff was in a zone

of danger, thereby reasonably experiencing a fear of impending physical injury; or (4) where the

plaintiff observed a tortious injury to a close relative.” Toney v. Chester County Hosp., 961 A.2d

192, 197–98 (Pa. Super. 2008), aff’d, 36 A.3d 83 (Pa. 2011). The fourth scenario—the “bystander”


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theory of liability—arises where the plaintiff’s distress is a foreseeable result of witnessing a loved

one’s injury. See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).

       Based on the precedent set forth in Sinn v. Burd, Pennsylvania courts permit a plaintiff to

recover for NIED as a “bystander” if the plaintiff’s injury was reasonably foreseeable in light of

three factors: “(1) whether plaintiff was located near the scene of the accident as contrasted with

one who was a distance away from it, (2) whether the shock resulted from a direct emotional

impact upon plaintiff from the sensory and contemporaneous observance of the accident, as

contrasted with learning of the accident from others after its occurrence, and (3) whether plaintiff

and the victim were closely related, as contrasted with an absence of any relationship or the

presence of only a distant relationship.” Sinn, 404 A.2d at 685 (quoting Dillon v. Legg, 441 P.2d

912, 920 (Cal. 1968)). To prevail, the plaintiff must show some form of “discrete and identifiable

traumatic event” which caused the plaintiff’s distress. Turner v. Med. Ctr., Beaver, PA, Inc., 686

A.2d 830, 832–33 (Pa. Super. 1996) (quoting Love v. Cramer, 606 A.2d 1175, 1177 (Pa. Super.

1992)). While interpreting Sinn, the Pennsylvania Superior Court has held the definition of

“sensory and contemporaneous observance” depends on “whether the emotional shock was

immediate and direct rather than distant and indirect, and not upon the sense employed in seeing

the accident.” Krysmalski by Krysmalski v. Tarasovich, 622 A.2d 298, 303 (Pa. Super. 1993). The

plaintiff alleging NIED must also assert a physical manifestation of the emotional harm. See

Banyas v. Lower Bucks County Hospital, 437 A.2d 1236, 1239–40 (Pa. Super. 1981).

       Here, Plaintiff has satisfied all prongs of the “bystander” theory of NIED. First, they were

physically present to witness the severely deteriorated and near-death state of their child resulting

from Defendants’ negligence. Second, Plaintiffs’ shock was a direct emotional impact from their

contemporaneous observance of their child in the hospital. Finally, Plaintiffs and their child are



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obviously closely related. Plaintiffs’ emotional distress from this negligence was completely

foreseeable and has resulted in physical manifestations including depression and other harms.

        In their Preliminary Objections, Defendants argue that Plaintiff did not assert a specific

cause of action. However, Defendants fail to recognize it is well-settled Pennsylvania law that a

complaint that contains facts that support a specific cause of action does, in fact, assert said action.

Bartanus v. Lis, 480 A.2d 1178, 1182 (Pa. Super. 1984) (ruling that “[e]ven though appellant did

not separate his factual allegations into separate counts specifying the legal theories underlying the

complaint, the trial court was obligated to consider what causes of action were supported by the

facts alleged” because “the complainant need only state the material facts upon which a cause of

action is based”).

        Pennsylvania is a fact pleading state whereby the Complaint must provide defendants with

notice of the basis of the claim and a summary of the facts essential to support that claim. Alpha

Tau Omega Fraternity, 464 A.2d at 1352. Under the Pennsylvania Rules of Civil Procedure, a

complainant must list the material facts underlying his claim “in a concise and summary form.”

Pa.R.C.P. 1019(a); see Thompson Coal Co. v. Pike Cole Co., 412 A.2d 466, 468 (Pa. 1979).

        When read in the context of the Complaint as a whole, as required by law, Plaintiff clearly

asserts an NIED claim. Notably, Plaintiff includes extensive factual allegations in paragraphs

eleven (11) through eighty-two (82), the entirety of which must be considered when interpreting

every other paragraph of the Complaint. See Plaintiff’s Complaint at 11–82. Within those extensive

factual allegations, the “bystander” theory of liability is clearly asserted as the plaintiff-parents’

distress is a foreseeable result of witnessing the injury of their child resulting from Defendants’

negligence. See Sinn v. Burd, 404 A.2d 672, 686 (Pa. 1979).




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       In sum, Plaintiff’s NIED claim under a “bystander” theory of liability is sufficiently pled.

Plaintiffs were physically present to witness the severely deteriorated and near-death state of their

child resulting from Defendants’ negligence. There was a direct emotional impact from this

contemporaneous observance of their child in the hospital.

       Further, Plaintiff-parents’ claims are not time-barred because Defendant Mead prevented

Plaintiff-parents from learning the true cause of their infant’s injury. The discovery rule is an

exception [to the statute of limitations] that tolls the statute of limitations when an injury or its

cause is not reasonably knowable.” In re Risperdal Litig., 656 Pa. 649, 661 (2019). “Under the

“discovery rule,” the statute of limitations begins to run when a plaintiff knows, or reasonably

should have known, that: (1) an injury has been sustained; and (2) the injury has been caused by

another party's conduct.” Ward v. Rice, 828 A.2d 1118, 1121 (Pa. Super. 2003) (citing Citsay v.

Reich, 380 Pa. Super. 366, 369 (1988)). For the discovery rule to apply, the plaintiff must have

exercised the due diligence that would be expected of a reasonable person in the plaintiff’s

position. 828 A.2d at 1121. A plaintiff must begin exercising reasonable diligence once they know

the “the salient facts concerning the occurrence of his injury and who or what caused it.” Romah

v. Hygienic Sanitation Co., 705 A.2d 841, 857 (Pa. Super. 1997) (emphasis added). While

reasonable diligence is an objective standard, “it is also flexible […] to take into account

differences between persons, their capacity to meet certain situations and circumstances

confronting them at the time in question. In short, the standard of conduct required is a uniform

one which takes “into account the fallibility of human beings.”” 828 A.2d at 1121-22 (quoting

RST 2d § 283 cmt’s b-c). Whether someone has exercised reasonable diligence “may be best

determined by the collective judgment, wisdom, and experience of jurors who have been selected




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at random from the community whose standard is to be applied.” Petri v. Smith, 307 Pa. Super.

261, 271-72 (1982).

       Under the discovery rule, if a plaintiff’s delay is because the assurances of their physicians

lull the patient into a false sense of security, this may toll the statute of limitations. See Acker v.

Palena, 260 Pa. Super. 214, 222 (1978); Barshady v. Schlosser, 226 Pa. Super. 260, 263-64 (1973).

The Pennsylvania Supreme Court has “expressly declined to hold, as a matter of law, that a

layperson may be charged with knowledge greater than that which was communicated to her by

the medical professionals who provided treatment and diagnosis.” In re Risperdal Litig., 656 Pa.

at 662 (citing Wilson v. El-Daief, 600 Pa. 161, 179-180 (2009)). If a plaintiff alleges that their

delay was due to their reasonably relying upon the reassurances of their physicians, then, while

construing the pleadings in the light most favorable to the moving party, a plaintiff’s claims will

not be time-barred. Acker v. Palena, 260 Pa. Super. 214, 223-24 (1978).

       Likewise, the under the similar but distinct doctrine of fraudulent concealment, a form of

equitable estoppel, the statute of limitations will be tolled if a plaintiff’s delay is induced by

reliance on the fraudulent concealment of the defendant. Nesbitt v. Erie Coach Co., 416 Pa. 89,

95-96 (1964). If, “through fraud or concealment, the defendant causes the plaintiff to relax his

vigilance or deviate from his right of inquiry, the defendant is estopped from invoking the bar of

the statute of limitations.” Romah, 705 A.2d at 857 (internal quotations omitted). A defendant does

not need to intentionally deceive a plaintiff for the doctrine of fraudulent concealment to apply;

instead, fraudulent concealment encompasses “fraud in the broadest sense which includes an

unintentional deception.” Nesbitt, supra, 416 Pa. at 96 (citation omitted). It is for the factfinder to

determine whether a defendant made representations that could have induced this reliance on the

part of the plaintiff. Id. For example, in Romah, the Superior Court held that the issue of whether



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the plaintiff’s claims for gross negligence and punitive damages were tolled because the defendant

concealed studies and other information from the EPA and the public that showed that the

defendant’s product caused increased risk of blood cell depression in men was a factual issue for

the jury. Romah, supra, 705 A.2d at 861.

          Plaintiffs have alleged that manufacturers Abbott and Mead took numerous steps to prevent

Plaintiff-parents from learning the cause of their infant’s injuries. Defendants disseminated

materials to the public that intentionally misled parents about the risk of NEC posed by their

products, which affirmatively stated, and still state, that their products do not cause the disease, or

worse still, may reduce the risk of NEC. For instance, Mead published numerous misleading

statements on its publicly available website that misrepresented the link between its bovine-based

formula and the risk of NEC in premature infants. In addition, Defendant manufacturers trained

and directed its sales personnel to mislead medical providers about the risk of NEC posed by its

products. Further, Defendant manufacturers did not provide warnings on their packaging or

products, thereby also concealing the known risk of NEC from parents. Thus, under both the

discovery rule and doctrine of fraudulent concealment, Plaintiff-parents’ claims are not time-

barred.

   IX.       Plaintiffs Have Filed the Proper Verifications For Their Amended Complaints

          Pennsylvania Rule of Civil Procedure 1024 requires that pleadings containing averments

of fact not appearing of record in the action shall state that the averment is true upon the signer’s

personal knowledge or information and belief and shall be verified. See Pa.R.C.P. 1024. Plaintiff

has obtained and produced proper verification as required by the Rules. Accordingly, Defendants’

objection should be overruled. All such verifications have been and/or will immediately be

attached by way of a praecipe to attach filed to Plaintiffs’ Amended Complaint.



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   X.        Request In The Alternative To Amend The Complaint

        Although Plaintiff strenuously maintains the sufficiency of all of the Counts contained

within the Complaint, should this Court be inclined to grant any of Defendants’ specific

Preliminary Objections, Plaintiff respectfully requests permission to amend the pleadings.

        WHEREFORE, for the reasons more fully set forth in Plaintiff’s accompanying

Memorandum of Law, Plaintiff respectfully requests that this Honorable Court deny Defendants’

Preliminary Objections, or, in the alternative, Order that Plaintiff is permitted leave to amend their

Complaint.

                                                      Respectfully submitted,



                                                      KLINE & SPECTER,
                                                      A Professional Corporation
Date: October 19, 2023                         By:    /s/Timothy A. Burke, Esquire
                                                      THOMAS KLINE, ESQUIRE
                                                      TOBI MILLROOD, ESQUIRE
                                                      ELIZABETH CRAWFORD, ESQUIRE
                                                      TIMOTHY BURKE, ESQUIRE
                                                      Attorneys for Plaintiffs


                                                      KELLER POSTMAN
                                                      BEN WHITING, ESQUIRE (Pro Hac Vice)
                                                      MARK WEINSTEIN, ESQURIE
                                                      Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2023, I caused a true and correct copy of the foregoing

document to be served by electronic filing to all counsel of record.



                                                     Respectfully submitted,



                                                     KLINE & SPECTER,
                                                     A Professional Corporation
Date: October 19, 2023                        By:    /s/Timothy A. Burke, Esquire
                                                     TIMOTHY A. BURKE, ESQUIRE




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                             PRO HAC VICE




      ro hac vice
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                pro hac vice
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                                                                pro hac vice
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                  Pro Hac Vice
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                               pro hac vice
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                                                            pro hac vice:




                                  pro hac vice




        pro hac vice

                                                                      pro hac vice
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                                                      pro hac vice
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                  pro hac vice




                                                                   pro hac vice
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                       pro hac vice




                      pro hac vice
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      IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
              FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                        TRIAL DIVISION – CIVIL


HOLLI CARTER, et al.,                        :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302588
MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                        :

BRANDY GOODMOND, et al.,                    :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400208
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.                        :
BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400212
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.                         :
JANEE HENDERSON, et al.,                    :
          Plaintiff,                        : APRIL TERM, 2022
    v.                                      : No. 220400127
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
KRISTEN KAJUFFA, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302978
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
NAFEESAH MAYS, et al.,                      :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302963
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
CATHERINE McMILLIAN, et al.,                :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
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DAMEKA MOMENT, et al.,                      :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.                        :
NYDIA PARKER, et al.,
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302983
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
ALEXANDRIA ROSS, et al.,                    :
         Plaintiff,                         : MARCH TERM, 2022
   v.                                       : No. 220302981
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.                        :
LOREN SANDERS, et al.,                      :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400153
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
SAMAYA SHORT, et al.,                       :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400159
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.                        :
ALICE STILLS, et al.,                       :
           Plaintiff,                       : MARCH TERM, 2022
    v.                                      : No. 220302617
MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                      :
CHRISTINA TAYLOR, et al.,                   :
           Plaintiff,                       : MARCH TERM, 2022
    v.                                      : No. 220302606
MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                      :
NATISHA THOMAS, et al.,                     :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220400158
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :




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TRINA WALKER-SAVAGE and CLIFTON             :
ISAIAH SAVAGE, JR., et al.,                 : MARCH TERM, 2022
           Plaintiff,                       : No. 220400156
    v.                                      :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                      :
JEANNATE WATSON, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302967
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302614
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
SHANITA WIGGINS, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302986
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :
MELVENIA WILLIAMS, et al.,                  :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400141
MEAD JOHNSON & COMPANY, LLC, et al.,        :
          Defendants.                       :




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              ABBOTT LABORATORIES’ REPLY IN SUPPORT OF
      PRELIMINARY OBJECTIONS TO PLAINTIFFS’ AMENDED COMPLAINTS

         Plaintiffs’ response only confirms that Abbott’s preliminary objections should be

sustained, and that the claims against Abbott should be dismissed.1 Rather than fixing the obvious

pleading defects recognized by this Court at the July conference, plaintiffs seek to justify them.

Flouting their second opportunity to plead specific facts supporting their claims, plaintiffs once

again fail to identify the specific product that allegedly caused their infant’s injuries, fail to

differentiate between the product manufacturers, and fail to allege facts showing that plaintiffs

saw, heard, or were otherwise exposed to purportedly false representations made by Abbott about

its products, let alone that plaintiffs relied upon any such representations. Plaintiffs’ response brief

in no way justifies their repeated failure to plead the essential elements of their causes of action,

nor can plaintiff-parents save their untimely claims by invoking the term “negligent infliction of

emotional distress” for the very first time in their opposition. For these reasons, all of plaintiffs’

claims against Abbott should be dismissed.

I.   Plaintiffs’ Strict Liability and Negligence Claims (Count I-III) Should Be Dismissed For
     Repeated Failure to Identify the Specific Product That Allegedly Caused Their Infant’s
     Injuries

         Plaintiffs do not deny that they must identify the specific product that caused their infant’s

injuries under Pennsylvania law. Nor could they. Pennsylvania courts have uniformly upheld the

product identification requirement, confirming that to state a products liability claim, a plaintiff

must allege that a particular product of a particular defendant manufacturer caused their

injuries. See Cummins v. Firestone Tire & Rubber Co., 495 A.2d 963, 968–69 (1985) (holding that


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           Plaintiffs make a number of flawed claims and arguments in their response brief, all of which Abbott denies.
For purposes of brevity, however, Abbott focuses this reply on a few dispositive issues, as well as claims and
arguments that plaintiffs raised for the very first time. Abbott hereby incorporates and preserves all arguments made
in its opening brief, including that plaintiffs failed to plead facts sufficient to show an unreasonably dangerous defect,
and failed to plead a legally sufficient basis for punitive damages.

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plaintiff’s failure to identify the offending product was “a fatal deficiency to [strict liability]

claim”); Mellon v. Barre-Nat’l Drug Co., 636 A.2d 187, 191 (Pa. Super. Ct. 1993) (holding a

defendant must be identified as the manufacturer, distributor, or seller of the offending product

before the injuries suffered by the plaintiff may be found to be proximately caused by some

negligent act or omission of the defendant).

       Consistent with Pennsylvania law, this Court recognized that plaintiffs’ original complaints

failed to adequately identify the products administered to their infants, and allowed plaintiffs an

opportunity to cure this fatal deficiency. Plaintiffs made no attempt to do so.

       As in their original complaints, plaintiffs once again allege in their amended complaints

that their infants were administered “Similac and/or Enfamil” products. Compare Am. Compl. ¶

11 with Compl. ¶ 12. These allegations remain insufficient. As plaintiffs themselves recognize,

“Similac” and “Enfamil” are the brand names used by Abbott and Mead Johnson, respectively, to

market and sell multiple preterm infant nutrition products. See Am. Compl. ¶¶ 4-5, 48-48. In fact,

these are brands that apply to a large category of preterm and term nutrition products. Because

plaintiffs fail to specifically allege which brand – and which of the many products sold under the

“Similac” and “Enfamil” brand names were administered to their infants, their strict liability and

negligence claims against Abbott fail for lack of product identification. See Klein v. Council of

Chem. Assocs., 587 F. Supp. 213, 221 (E.D. Pa. 1984) (dismissing strict liability claim where

plaintiffs did not identify the specific product sold or distributed by the defendants that caused the

plaintiffs’ harm).

       Plaintiffs contend in their response brief that a plaintiff may be somehow excused from

satisfying Pennsylvania’s product identification requirement where future discovery might lead a

plaintiff to this information. This is a misreading of Pennsylvania law. As courts have made clear,



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plaintiffs cannot escape their obligation to identify the specific product from the specific

manufacturer that allegedly caused harm by mere pronouncements of their future “inten[t] to

conduct extensive industry-wide discovery.” Klein, 587 F. Supp. at 221 (holding that plaintiffs

cannot rely on theories of alternative liability or joint and several liability to excuse them from

identifying the specific product they claim caused their injuries); see also Abbott’s Preliminary

Objections at 13-15. This is particularly true in instances involving separate manufacturers, one of

whom may not be a proper defendant. See Section III, infra. And the present “inability of plaintiffs

to name specific products” is plaintiffs’ own fault—a result of “plaintiffs’ failure to investigate.”

Klein, 587 F. Supp. at 222

       There is no excuse for this critical pleading failure. Prior to filing their amended

complaints, nearly every plaintiff was provided medical records by the hospital defendant at which

their infant was born that contain information about which product their infant was administered.

As such, the failure in plaintiffs’ amended complaints to identify the specific product that allegedly

caused their infants’ injuries is entirely unjustified. In any event, a “plaintiff is not excused from

pleading the facts necessary to sustain [her] cause of action on the ground that the facts were known

to the defendant and not to the plaintiff,” particularly where, as is the case here, plaintiff has not

availed herself of available discovery. Gross v. United Engineers & Constructors Inc., 302 A.2d

370, 372 (1973) (affirming the trial court's dismissal for want of specificity in pleading where it

found that plaintiff failed to pursue available discovery or amend the complaint). Because plaintiffs

do not—and cannot—provide any principled justification for their repeated failure to identify the

specific product that allegedly caused harm, plaintiffs’ strict liability and negligence claims should

be dismissed.




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II. Plaintiffs’ Intentional and Negligent Misrepresentation Claims (Counts IV–V) Should
    Be Dismissed For Repeated Failure to Plead with Particularity

        Plaintiffs’ misrepresentation claims likewise warrant dismissal because plaintiffs have

repeatedly failed to plead specific facts supporting such fraud-based claims. Despite the concerns

the Court expressed at the July conference, plaintiffs again fail to allege with any specificity that

they saw or heard any Abbott representation, let alone a specific misrepresentation. Nor do

plaintiffs allege any facts to support justifiable reliance on any purported statement by Abbott.

        While plaintiffs generally allege that Abbott representatives did not warn hospital

defendants’ staff of the risk of NEC, see Pl.’s Memo. of Law at 11 (citing Am. Compl. ¶¶ 60-62,

72), such generalized allegations do not come anywhere close to satisfying Pennsylvania’s

heightened pleading requirements for fraud. See Pa. R. Civ. P. 1019(b). Tellingly, plaintiffs cannot

identify any actual statement made by any particular Abbott representative to any particular

hospital staff member—and any such statement would not have been made to plaintiffs in any

event. See Feudale v. Aqua Pa., Inc., 122 A.3d 462, 466 n.5 (Pa. Commw. Ct. 2015) (concluding

that plaintiff failed to “allege[ ] any justifiable reliance on his part on the [alleged false

representation], nor could he, as the alleged false representation was not made to him, but instead

to [a third party]”).

        Indeed, despite multiple opportunities, plaintiffs still have not alleged that Abbott made

any representations directly to them, or that they read, saw, heard, or were otherwise exposed to

any specific product label or any other specific representation from Abbott before their infant was

administered Abbott’s products. See Youndt v. First Nat’l Bank, 868 A.2d 539, 545 (Pa. Super. Ct.

2005) (holding, “at the very least, a plaintiff must set forth the exact statements or actions plaintiff

alleges constitute the fraudulent misrepresentations”). Further, even if alleged misrepresentations

to hospitals could provide the basis for a cognizable claim (they do not), plaintiffs have not alleged


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with specificity when these statements were made, who made them, to whom, and how they were

communicated. These factual deficiencies are fatal to plaintiffs’ misrepresentation claims.

III. Plaintiffs’ Claims Should Be Dismissed For Repeated Failure to Differentiate Between
     Abbott and Mead Johnson

         Plaintiffs concede that their amended complaints fail to differentiate between Abbott and

Mead Johnson. See Pl.’s Memo. of Law at 12 (“Plaintiffs’ Complaints do often refer to both Abbott

and Mead throughout their complaint in tandem”). But, despite clear guidance from the Court on

this issue, plaintiffs contend that they are not required to differentiate their claims because their

amended complaints allege that Abbott and Mead Johnson “engaged in nearly identical conduct.”

Id. In making this argument, plaintiffs wholly misconstrue Pennsylvania law.

         Pursuant to Rule 1020(a), plaintiffs are required to plead distinct, differentiated, and

separate causes of action against defendants who, as here, are not jointly and severally liable. See

Bouchon v. Citizen Care, Inc., 176 A.3d 244, 260–61 (2017). 2 In these 21 cases, plaintiffs’

amended complaints involve: [a] different infants born across different decades, [b] at four

different hospitals, who [c] allegedly suffered different injuries after being administered some

unidentified preterm infant formula or fortifier product, [d] manufactured by either Abbott or Mead

Johnson. Because Abbott and Mead Johnson are direct competitors who manufacture different

products at different locations, using different formulations and different ingredients, and market

their products differently, plaintiffs have no basis for asserting joint and several liability as a matter

of law. See Abbott’s Preliminary Objections at 19-20. Plaintiffs nonetheless continue to lump



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            See also Gen. State Auth. v. Lawrie & Green, 356 A.2d 851, 854 (1976) (holding that, although the
plaintiff’s allegations made clear that the form of action may be identical against both defendants, Rule 1020(a)
required dismissal because the plaintiff relied upon separate and distinct conduct to support their respective causes of
action); Bassaro v. de Levie, 236 A.3d 1069 (Pa. Super. Ct. 2020) (holding that a plaintiff must state clearly in a
separate count each individual cause of action asserted against each individual defendant, including the facts pertaining
to every element of that count).

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Abbott and Mead Johnson together without differentiating between the distinct acts or omissions

of these distinct corporations, and the distinct products they manufacture. As a result, Abbott lacks

clarity regarding its alleged role in these cases, and whether it is even a proper party. Accordingly,

plaintiffs’ claims against Abbott should be dismissed.

IV. Plaintiffs’ Amended Complaints Do Not Allege Viable Negligent Infliction of Emotional
    Distress Claims on Behalf of Plaintiff-Parents

       In their response, plaintiffs seek to save their untimely claims by arguing for the first time

in their response brief that they have stated negligent infliction of emotional distress (NIED) claims

on behalf of the plaintiff-parents under a “bystander” theory. See Pl.’s Memo. of Law at 15-19. In

Pennsylvania, a bystander can recover for NIED only if: (1) the plaintiff was located near the scene

of the accident; (2) the shock resulted from a direct emotional impact upon plaintiff from the

sensory and contemporaneous observance of the accident; and (3) the plaintiff and the victim were

closely related. See Huddleston v. Infertility Ctr. of Am., 700 A.2d 453, 462 (Pa. Super. Ct. 1997).

In addition to these three elements, a physical injury must be averred to sustain a cause of action

for NIED. See Armstrong v. Paoli Mem'l Hosp., 633 A.2d 605, 609 (Pa. Super. Ct. 1993); Abadie

v. Riddle Mem'l Hosp., 589 A.2d 1143, 1145 (Pa. Super. Ct. 1991).

       Here, as a threshold matter, plaintiffs fail to comply with the Rule 1020(a) requirement that

“each cause of action” be set forth in a “separate count containing a demand for relief.” Further,

even if plaintiff-parents had specifically set forth a NIED claim in their amended complaints (they

did not), these newly minted NIED claims would have failed as a matter of law. Plaintiff-parents

do not allege that they suffered any physical injury. Moreover, plaintiff-parents do not allege any

facts showing that they suffered “a direct emotional impact” from the “contemporaneous

observance” of their infants developing NEC. Under these circumstances, Pennsylvania courts

routinely dismiss NIED claims. See, e.g., Mazzagatti v. Everingham by Everingham, 516 A.2d


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672, 679 (1986) (holding where plaintiff has no contemporaneous sensory perception of the injury,

any claimed emotional distress results more from the particular emotional makeup of the plaintiff

rather than from the nature of defendant’s actions); Tackett v. Encke, 509 A.2d 1310, 1312 (Pa.

Super. Ct. 1986) (preliminary objections to parent’s claim for NIED damages properly sustained

where parent did not witness a “discrete and identifiable traumatic event,” but rather was injured

emotionally by witnessing, over time, her son’s reaction to a pulmonary fat embolism).

Accordingly, plaintiff-parents’ improperly-pled, time-barred NIED claims should be dismissed.

                                         CONCLUSION

       For all these reasons, as well as those set forth in Abbott’s opening brief, which is expressly

incorporated herein, Abbott’s preliminary objections should be sustained, and all claims against

Abbott should be dismissed.



Dated: November 2, 2023                               Respectfully Submitted:


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                                 CERTIFICATE OF SERVICE

       I hereby certify that I will serve a true and correct copy of the foregoing in accordance with

Pa. R. Civ. P. 440 on all parties not served electronically. All other parties will be electronically

served by the court in accordance with Pa. R. Civ. P. 205.4(g).



 Dated: November 2, 2023                           /s/ Ronni E. Fuchs
                                                   Ronni E. Fuchs
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                             CERTIFICATE OF COMPLIANCE

       I, Ronni E. Fuchs, hereby certify that this filing complies with the provisions of the Public

Access Policy of the Unified Judicial System of Pennsylvania: Case Records of the Appellate and

Trial Courts, that require filing confidential information and documents differently than non-

confidential information and documents.

                                                     /s/ Ronni E. Fuchs
                                                     Ronni E. Fuchs
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                   EXHIBIT A-58
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Discovery Deadline: February 5, 2024
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Subject:         NEC Infant Formula Litigation | The Pennsylvania Health System d/b/a Pennsylvania Hospital
Date:            Thursday, August 17, 2023 8:09:00 PM
Attachments:     2023-08-17 Letter to Penn Hospital re NoD.pdf
                 NEC Corp Designee NoD - UPH dba Penn Hospital.pdf


Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate Designee(s) of
The The Pennsylvania Health System d/b/a Pennsylvania Hospital.


Thank you,

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TO:
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                                     Attorney for Plaintiff
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Subject:         NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn Medicine
Date:            Thursday, August 17, 2023 8:07:00 PM
Attachments:     2023-08-17 Letter to Penn Medecine re NoD.pdf
                 NEC Corp Designee NoD - UPH dba Penn Medicine.pdf


Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate Designee(s) of
The Trustees of the University of Pennsylvania d/b/a Penn Medicine.


Thank you,

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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 176 of 496 PageID #:1326




TO:
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 177 of 496 PageID #:1327
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 178 of 496 PageID #:1328
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 179 of 496 PageID #:1329




                                     Attorney for Plaintiff
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 180 of 496 PageID #:1330




cmrecker@welshrecker.com
abcarver@welshrecker.com
rwalk@welshrecker.com




                                         dbrooks@eckertseamans.com
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 181 of 496 PageID #:1331




                                         dbrooks@eckertseamans.com
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 182 of 496 PageID #:1332
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 183 of 496 PageID #:1333
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 184 of 496 PageID #:1334


From:             Elizabeth Crawford
To:               Carol Lippmann; jayoung; rsmargulies; srengle@burnswhite.com
Cc:               Tobi Millrood; Melissa Merk; Timothy Burke; Jack O"Neill; Patrick Sidebotham; Ben Whiting; Mark Weinstein;
                  cmrecker@welshrecker.com; abcarver@welshrecker.com; rwalk@welshrecker.com; kmurphy@tlgattorneys.com;
                  holson@tlgattorneys.com; Sean.Fahey; Donald J. Brooks Jr.; Brooke Scicchitano; Jennifer V. Weachter
Subject:          Re: NEC Infant Formula Litigation | The Pennsylvania Health System d/b/a Pennsylvania
Date:             Wednesday, September 27, 2023 11:57:25 AM



Counsel: Following up on dates for our notice of deposition of the corporate designee(s) of the
Pennsylvania Health System. Please provide dates at your earliest opportunity. Thank you.

Elizabeth A. Crawford, Esquire
Partner
KLINE & SPECTER
1525 LOCUST STREET
PHILADELPHIA, PA 19102
P: 215-792-5619
E: ELIZABETH.CRAWFORD@KLINESPECTER.COM
W: WWW.KLINESPECTER.COM/ELIZABETHCRAWFORD



From: Carol Lippmann <Carol.Lippmann@klinespecter.com>
Sent: Thursday, August 17, 2023 8:09 PM
To: jayoung <jayoung@burnswhite.com>; rsmargulies <rsmargulies@burnswhite.com>;
srengle@burnswhite.com <srengle@burnswhite.com>
Cc: Tobi Millrood <Tobi.Millrood@klinespecter.com>; Melissa Merk
<Melissa.Merk@klinespecter.com>; Timothy Burke <Timothy.Burke@klinespecter.com>; Elizabeth
Crawford <Elizabeth.Crawford@KlineSpecter.com>; Jack O'Neill <Jack.ONeill@klinespecter.com>;
Patrick Sidebotham <Patrick.Sidebotham@klinespecter.com>; Ben Whiting
<ben.whiting@kellerpostman.com>; Mark Weinstein <mark.weinstein@kellerpostman.com>;
cmrecker@welshrecker.com <cmrecker@welshrecker.com>; abcarver@welshrecker.com
<abcarver@welshrecker.com>; rwalk@welshrecker.com <rwalk@welshrecker.com>;
kmurphy@tlgattorneys.com <kmurphy@tlgattorneys.com>; holson@tlgattorneys.com
<holson@tlgattorneys.com>; Sean.Fahey <Sean.Fahey@Troutman.com>; Donald J. Brooks Jr.
<dbrooks@eckertseamans.com>; Brooke Scicchitano <bscicchitano@eckertseamans.com>; Jennifer
V. Weachter <JWeachter@eckertseamans.com>
Subject: NEC Infant Formula Litigation | The Pennsylvania Health System d/b/a Pennsylvania
Hospital

Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate Designee(s) of
The The Pennsylvania Health System d/b/a Pennsylvania Hospital.


Thank you,

Carol Lippmann
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 185 of 496 PageID #:1335


Litigation Paralegal to Tobi Millrood, Esq.
Kline & Specter, P.C.
1525 Locust Street
Philadelphia, PA 19102
D. (215) 772-1392
F. (215) 792-5502
Carol.lippmann@klinespecter.com
www.klinespecter.com
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 186 of 496 PageID #:1336


From:             Elizabeth Crawford
To:               Carol Lippmann; jayoung; rsmargulies; srengle@burnswhite.com
Cc:               Tobi Millrood; Melissa Merk; Jack O"Neill; Helen Lawless; Ben Whiting; Mark Weinstein; Patrick Sidebotham;
                  Timothy Burke; Donald J. Brooks Jr.; Brooke Scicchitano; Jennifer V. Weachter; Sean.Fahey;
                  kmurphy@tlgattorneys.com; holson@tlgattorneys.com; cmrecker@welshrecker.com; abcarver@welshrecker.com;
                  rwalk@welshrecker.com
Subject:          Re: NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn Medicine
Date:             Wednesday, September 27, 2023 11:58:03 AM



Counsel: Following up on dates for our notice of deposition of the corporate designee(s) of
Penn Medicine. Please provide dates at your earliest opportunity. Thank you.

Elizabeth A. Crawford, Esquire
Partner
KLINE & SPECTER
1525 LOCUST STREET
PHILADELPHIA, PA 19102
P: 215-792-5619
E: ELIZABETH.CRAWFORD@KLINESPECTER.COM
W: WWW.KLINESPECTER.COM/ELIZABETHCRAWFORD



From: Carol Lippmann <Carol.Lippmann@klinespecter.com>
Sent: Thursday, August 17, 2023 8:07 PM
To: jayoung <jayoung@burnswhite.com>; rsmargulies <rsmargulies@burnswhite.com>;
srengle@burnswhite.com <srengle@burnswhite.com>
Cc: Tobi Millrood <Tobi.Millrood@klinespecter.com>; Melissa Merk
<Melissa.Merk@klinespecter.com>; Jack O'Neill <Jack.ONeill@klinespecter.com>; Elizabeth
Crawford <Elizabeth.Crawford@KlineSpecter.com>; Helen Lawless
<Helen.Lawless@klinespecter.com>; Ben Whiting <ben.whiting@kellerpostman.com>; Mark
Weinstein <mark.weinstein@kellerpostman.com>; Patrick Sidebotham
<Patrick.Sidebotham@klinespecter.com>; Timothy Burke <Timothy.Burke@klinespecter.com>;
jayoung <jayoung@burnswhite.com>; rsmargulies <rsmargulies@burnswhite.com>;
srengle@burnswhite.com <srengle@burnswhite.com>; Donald J. Brooks Jr.
<dbrooks@eckertseamans.com>; Brooke Scicchitano <bscicchitano@eckertseamans.com>; Jennifer
V. Weachter <JWeachter@eckertseamans.com>; Sean.Fahey <Sean.Fahey@Troutman.com>;
kmurphy@tlgattorneys.com <kmurphy@tlgattorneys.com>; holson@tlgattorneys.com
<holson@tlgattorneys.com>; cmrecker@welshrecker.com <cmrecker@welshrecker.com>;
abcarver@welshrecker.com <abcarver@welshrecker.com>; rwalk@welshrecker.com
<rwalk@welshrecker.com>
Subject: NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn
Medicine

Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate Designee(s) of
The Trustees of the University of Pennsylvania d/b/a Penn Medicine.
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 187 of 496 PageID #:1337



Thank you,

Carol Lippmann
Litigation Paralegal to Tobi Millrood, Esq.
Kline & Specter, P.C.
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Carol.lippmann@klinespecter.com
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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 188 of 496 PageID #:1338
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 189 of 496 PageID #:1339


From:           Amanda Bee
To:             jayoung; rsmargulies; srengle@burnswhite.com
Cc:             Tobi Millrood; Timothy Burke; Elizabeth Crawford; Melissa Merk; Philip Pasquarello; Helen Lawless; Jack O"Neill;
                Patrick Sidebotham; ben.whiting@kellerpostman.com; mark.weinstein@kellerpostman.com;
                cmrecker@welshrecker.com; abcarver@welshrecker.com; rwalk@welshrecker.com; kmurphy@tlgattorneys.com;
                holson@tlgattorneys.com; Sean.Fahey; Donald J. Brooks Jr.; bscicchitano@eckertseamans.com; Jennifer V.
                Weachter; Carol Lippmann
Subject:        NEC Infant Formula Litigation | The Pennsylvania Health System d/b/a Pennsylvania Hospital
Date:           Wednesday, October 11, 2023 3:33:41 PM
Attachments:    NEC Corp Designee NoD - UPH dba Penn Hospital 10.11.23.pdf
                2023-10-11 Letter to Penn Hospital re NoD.pdf


Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate
Designee(s) of The Pennsylvania Health System d/b/a Pennsylvania Hospital.

Thank you,

Amanda L. Bee
Legal Assistant to Jack O'Neill, Esquire and Richard Gorman, Esquire
Kline & Specter, P.C.
1525 Locust Street
Philadelphia, PA 19102
215.772.1000
215.772.0563 direct dial
www.klinespecter.com
 Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 190 of 496 PageID #:1340




                                     KLINE & SPECTER PC
                                                 ATTORNEYS AT LAW
                                                1525 LOCUST STREET
                                         PHILADELPHIA, PENNSYLVANIA 19102
                                              WWW.KLINESPECTER.COM
TOBIAS L. MILLROOD                                   ________               TOBI.MILLROOD@KLINESPECTER.COM
                                                  215-772-1358
                                                  800-597-9585
                                               FAX: 215-792-5502


                                     October 11, 2023
Via Email Only
James A. Young, Esquire
Richard S. Margulies, Esquire
Susan R. Engle, Esquire
BURNS WHITE LLC
1880 John F. Kennedy Boulevard, 10th FL
Philadelphia, PA 19103

         Re:         Abdullah, et al.. v. Mead Johnson & Company, et al., Case No. 2203025832
                     Carter, et al., v. Mead Johnson & Company, et al., Case No. 220302588
                     Drayton et al., v. Mead Johnson & Company, et al., Case No.220302594
                     Stills, et al., v. Mead Johnson & Company, et al., Case No. 220302617
                     Taylor, et al., v. Mead Johnson & Company, et al., Case No. 220302606
                     Wieger, et al., v. Mead Johnson & Company, et al., Case No.220302614
                     Wieger, et al., v. Mead Johnson & Company, et al., Case No. 220302601
                     Henderson, et al., v. Mead Johnson & Company, et al., Case No. 220400127
Dear Counsel:

       Attached is a Notice of Video Deposition of the Corporate Designee(s) of Defendant The
Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania
Hospital. This notice applies to the following the following cases pending against The
Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania
Hospital in the infant formula litigation.

                     Abdullah, et al.. v. Mead Johnson & Company, et al., Case No. 2203025832
                     Carter, et al., v. Mead Johnson & Company, et al., Case No. 220302588
                     Drayton et al., v. Mead Johnson & Company, et al., Case No.220302594
                     Stills, et al., v. Mead Johnson & Company, et al., Case No. 220302617
                     Taylor, et al., v. Mead Johnson & Company, et al., Case No. 220302606
                     Wieger, et al., v. Mead Johnson & Company, et al., Case No.220302614
                     Wieger, et al., v. Mead Johnson & Company, et al., Case No. 220302601
                     Henderson, et al., v. Mead Johnson & Company, et al., Case No. 220400127
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 191 of 496 PageID #:1341




Page 2

                                                Very truly yours,



                                                Tobias L. Millrood


Enclosure
cc:    All Counsel of Record (via email only)
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 192 of 496 PageID #:1342




KLINE & SPECTER, P.C.
THOMAS R. KLINE, ESQUIRE
Attorney I.D. No. 28895
TOBIAS MILLROOD, ESQUIRE
Attorney I.D. No. 77764
ELIZABETH CRAWFORD, ESQUIRE
Attorney I.D. No. 313702
MELISSA MERK, ESQUIRE
Attorney I.D. No. 90363
TIMOTHY A. BURKE, ESQUIRE
Attorney I.D. No.320927
1525 Locust Street, 19th Floor
Philadelphia, PA 19102
(215) 772-1000/(215) 772-1359 fax.
Attorneys for Plaintiffs

         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  TERRAINE ABDULLAH, et al.,                  :
            Plaintiff,                        : MARCH TERM, 2022
      v.                                      : No. 220302583
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  HOLLI CARTER, et al.,                       :
            Plaintiff,                        : MARCH TERM, 2022
     v.                                       : No. 220302588
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :

  SHONDERA DRAYTON, et al.,                   :
           Plaintiff,                         : MARCH TERM, 2022
     v.                                       : No. 220302594
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  ALICE STILLS, et al.,                       :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                      : No. 220302617
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
             Defendants.                      :
  CHRISTINA TAYLOR, et al.,                   :
             Plaintiff,                       : MARCH TERM, 2022
      v.                                      : No. 220302606

                                       1
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 193 of 496 PageID #:1343



  MEAD JOHNSON & COMPANY, LLC, et al.,                 :
           Defendants.                                 :
  GINA WIEGER, et al.,                                 :
            Plaintiff,                                 : MARCH TERM, 2022
      v.                                               : No. 220302614
  MEAD JOHNSON & COMPANY, LLC, et al.,                 :
            Defendants.                                :
  GINA WIEGER, et al.,                                 :
            Plaintiff,                                 : MARCH TERM, 2022
      v.                                               : No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,                 :
            Defendants.                                :
  JANEE HENDERSON, et al.,                             :
              Plaintiff,                               : APRIL TERM, 2022
       v.                                                No. 220400127
                                                       :
  MEAD JOHNSON & COMPANY, LLC, et al.,                 :
  Defendants.




      NOTICE OF VIDEO DEPOSITION OF CORPORATE DESIGNEE(S) OF THE
       PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF PENNSYLVANIA
              HEALTH SYSTEM d/b/a PENNSYLVANIA HOSPITAL

TO:    James A. Young, Esquire
       Burns White LLC
       1880 John F. Kennedy Blvd., 10th Floor
       Philadelphia, PA 19103

        KINDLY TAKE NOTICE that Plaintiffs in the above-captioned matter will take

 the deposition(s) of one or more Corporate Designees of The Pennsylvania Hospital of

 the University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively,

 “Defendants”) on November 1, 2023 at 10:00 a.m. at the office of Kline & Specter, P.C. at 1525

 Locust Street, Philadelphia, PA 19102.

       The deposition will be taken before a person duly authorized to administer oaths and

will be recorded by video and stenographic means.

       Defendants are requested to designate one or more officers, directors, managing agents, or

                                                2
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other persons who shall be authorized to testify to matters known or reasonably available to the

organization and who is the individual most knowledgeable about the Neonatal Intensive Care

Unit at The Pennsylvania Hospital of the University of Pennsylvania Health System from 2002

to the present, and specifically including the following subjects:

   1. All policies and procedures relating to premature babies and/or babies in the Neonatal
       Intensive Care Unit;
   2. All policies and procedures relating to the feeding of premature babies and/or babies in
       the Neonatal Intensive Care Unit from 2002 to the present;
   3. All policies and procedures relating to when commercial milk/bovine milk should be
       given to premature babies and/or babies in the Neonatal Intensive Care Unit from 2002 to
       the present;
   4. Knowledge of what year donor breast milk became available to mothers of premature
       babies and/or babies in the Neonatal Intensive Care Unit;
   5. All policies and procedures as to when donor breast milk should be given to premature
       babies and/or babies in the Neonatal Intensive Care Unit from 2002 to the present;
   6. Knowledge of what commercial formula/bovine formula(s) were given to premature
       babies and/or babies in the Neonatal Intensive Care Unit from 2002 to the present;
   7. Knowledge of all of Defendants’ policies and procedures relating to lactation consultants
       from 2002 to the present;
   8. Knowledge of all policies and procedures pertaining to additional monitoring for
       premature babies and/or babies in the Neonatal Intensive Care Unit who receive
       commercial milk/bovine milk from 2002 to the present;
   9. Knowledge of any policies and procedures pertaining to consent forms relating to giving
       commercial milk/bovine milk to premature babies and/or babies in the Neonatal Intensive
       Care Unit from 2002 to the present;
   10. Knowledge of any policies and procedures pertaining to consent forms relating to giving
       donor breast milk to premature babies and/or babies in the Neonatal Intensive Care Unit
       from 2002 to the present;
   11. Knowledge of any policies and procedures pertaining to preventing necrotizing
       enterocolitis from 2002 to the present;
   12. Knowledge of when it was known to Defendants that commercial milk/bovine milk can
       increase the risk of necrotizing enterocolitis from 2002 to the present;
   13. Knowledge of any communications received by Defendants from Mead Johnson and
       Company LLC, Mead Johnson Nutrition Company, and/or Abbott Laboratories from
       2002 to the present.
   14. Knowledge of any communications from Defendants to Mead Johnson and Company
       LLC, Mead Johnson Nutrition Company, and/or Abbott Laboratories from 2002 to the
       present;
   15. Knowledge of any marketing, training, and/or promotional materials relating to Mead
       Johnson and Company LLC, Mead Johnson Nutrition Company, Abbott Laboratories
       and/or any products marketed, manufactured, and/or sold by same that were in the
       possession of Defendants from 2002 to the present.

                                                 3
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  16. Knowledge of the costs to and/or profits generated from Defendants provision of
      commercial milk/ bovine formula(s) to premature babies and/or babies in the Neonatal
      Intensive Care Unit from 2002 to the present; and/or
  17. Knowledge of any scholarly, educational, training and/or other materials relating to the
      dangers of giving commercial milk/bovine milk to premature babies and/or babies in the
      Neonatal Intensive Care Unit that were in the possession of Defendants from 2002 to the
      present

      Please consider this a request to produce any and all records, and/or documents that refer,

relate, and/or pertain to the to the above-listed categories.

      The deponent is also instructed to bring with him/her the following: (1) any and all

communications and/or other documents involving Defendants and relating to when commercial

milk/bovine milk should be given to premature babies and/or babies in the Neonatal Intensive

Care Unit from 2002 to the present; (2) any and all documents relating to communications

between Defendants Mead Johnson and Company LLC, Mead Johnson Nutrition Company,

and/or Abbott Laboratories from 2002 to the present; (3) any and all documents relating to the

dangers of giving commercial milk/bovine milk to premature babies and/or babies in the

Neonatal Intensive Care Unit that were in the possession of Defendants from 2002 to the present;

(4) any and all documents relating to any marketing, training, and/or promotional materials

relating to Mead Johnson and Company LLC, Mead Johnson Nutrition Company, Abbott

Laboratories and/or any products marketed, manufactured, and/or sold by same that were in the

possession of Defendants from 2002 to the present. (5) any and all documents related to the

costs to and/or profits generated from Defendants provision of commercial milk/bovine

formula(s) to premature babies and/or babies in the Neonatal Intensive Care Unit from 2002 to

the present; (6) any and all documents regarding any complaints and/or warnings related to the

provision of commercial milk/bovine formula(s) to premature babies and/or babies in the

Neonatal Intensive Care Unit from 2002 to the present whether or not initiated or settled through



                                                 4
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lawsuits, (7) all reports of injuries allegedly arising from the provision of commercial

milk/bovine formula(s) to premature babies and/or babies in the Neonatal Intensive Care Unit

from 2002 to the present; and (9) any and all other documents relative to or responsive to this

Notice of Deposition.

       The deponent must also bring with him/her complete copies of all prior deposition

transcripts where he/she has offered sworn testimony in cases involving similar or comparable

products and/or allegations. The deponent shall also bring a copy of his or her CV or resume.

The deposition will continue from day to day until completed.

                                           KLINE & SPECTER, P.C.



                                           TOBIAS L. MILLROOD, ESQUIRE

                                           Attorney for Plaintiff




                                              5
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 197 of 496 PageID #:1347




                                CERTIFICATE OF SERVICE

       I, Tobias L. Millrood, hereby certify that on the date below, I served a true and correct

copy of the foregoing Notice of Deposition on the following counsel of records:



 Catherine M. Recker (PA Bar No. 56813)             James A. Young, Esquire
 Amy B. Carver (PA Bar No. 84819)                   Richard S. Margulies, Esquire
 Richard D. Walk, III (PA Bar No. 329420)           Susan R. Engle, Esquire
 WELSH & RECKER, P.C.                               BURNS WHITE LLC
 306 Walnut Street                                  Attorney ID Nos. 00213/62306/81671
 Philadelphia, PA 19106                             1880 John F. Kennedy Boulevard, 10th FL
 Tel: (215) 972-6430                                Philadelphia, PA 19103
 cmrecker@welshrecker.com                           Tel: (215) 587-1625/1628/1669
 abcarver@welshrecker.com                           jayoung@burnswhite.com
 rwalk@welshrecker.com                              rsmargulies@burnswhite.com
                                                    srengle@burnswhite.com
 Kenneth A. Murphy, Esquire
 Heather R. Olson, Esquire                          Attorneys for Defendant University of
 TUCKER LAW GROUP, LLC                              Pennsylvania Hospital of the University of
 Ten Penn Center                                    Pennsylvania Health System d/b/a
 1801 Market Street, Suite 2500                     Pennsylvania Hospital and University of
 Philadelphia, PA 19103                             Pennsylvania Hospital of the University of
 kmurphy@tlgattorneys.com                           Pennsylvania Health System d/b/a Penn
 holson@tlgattorneys.com                            Medicine

                                                    Kathleen M. Kramer, Esquire
 Attorneys for Defendant Mead Johnson &             Gabor Ovari, Esquire
 Company LLC and Mead Johnson Nutrition             MARSHALL DENNEHEY, P.C.
 Company                                            2000 Market Street, Suite 2300
                                                    Philadelphia, PA 19103
                                                    Tel: (215) 575-2600
                                                    kmkramer@mdwcg.com
                                                    ggovari@mdwcg.com

                                                    Attorneys for Defendant, The Trustees of the
                                                    University of Pennsylvania d/b/a The
                                                    Hospital of the University of Pennsylvania


 Sean P. Fahey, Esquire                             Donald J. Brooks, Jr., Esquire
 TROUTMAN PEPPER HAMILTON                           Brooke A. Scicchitano, Esquire
 SANDERS LLP                                        ECKERT SEAMANS CHERIN & MELOTT
 3000 Two Logan Square                              Two Liberty Place

                                                6
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 198 of 496 PageID #:1348




Philadelphia, PA 19103-2799                       50 South 16th Street, 22nd Floor
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                                                  dbrooks@eckertseamans.com
Ronn E. Fuchs, Esquire                             bscicchitano@eckertseamans.com
TROUTMAN PEPPER HAMILTON                          Jennifer V. Weachter
SANDERS LLP                                       JWeachter@eckertseamans.com
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Tel: (609) 951-4184                               Medical Center a/k/a Einstein Medical Center
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JONES DAY
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Atlanta, GE 30361
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jbflannery@jonesday.com


Attorneys for Defendant Abbott Laboratories


James A. Young, Esquire                           Donald J. Brooks, Jr., Esquire
                                              7
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 Richard S. Margulies, Esquire                      Brooke A. Scicchitano, Esquire
 Susan R. Engle, Esquire                            ECKERT SEAMANS CHERIN & MELOTT
 BURNS WHITE LLOC                                   Two Liberty Place
 Attorney ID Nos. 00213/62306/81671                 50 South 16th Street, 22nd Floor
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 Philadelphia, PA 19103                             Tel: (215) 851-8400
 Tel: (215) 587=1625/1628/1669                      dbrooks@eckertseamans.com
 jayoung@burnswhite.com                             bscicchitano@eckertseamans.com
 rsmargulies@burnswhite.com                         Jennifer V. Weachter
 srengle@burnswhite.com                             JWeachter@eckertseamans.com

 Attorneys for Defendant, Temple University         Attorney for Defendants, Thomas Jefferson
 Health System, Inc., d/b/a Temple University       University Hospitals, Inc., d/b/a Thomas
 Hospital                                           Jefferson University Hospital, and Thomas
                                                    Jefferson University d/b/a Jefferson Health
                                                    System




                                                      KLINE & SPECTER, P.C.

                                                By:
                                                      Tobias L. Millrood
                                                      1525 Locust Street
                                                      Philadelphia, PA 19102
                                                      Phone: 215-772-1000
                                                      Fax: 215-772-1359
                                                      tobi.millrood@klinespecter.com


Dated: October 11, 2023                               Plaintiff’s’ Counsel




                                                8
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 200 of 496 PageID #:1350


From:           Amanda Bee
To:             jayoung; rsmargulies; srengle@burnswhite.com
Cc:             Tobi Millrood; Timothy Burke; Elizabeth Crawford; Melissa Merk; Helen Lawless; Philip Pasquarello; Jack O"Neill;
                Patrick Sidebotham; Donald J. Brooks Jr.; ben.whiting@kellerpostman.com; mark.weinstein@kellerpostman.com;
                bscicchitano@eckertseamans.com; Jennifer V. Weachter; Sean.Fahey; kmurphy@tlgattorneys.com;
                holson@tlgattorneys.com; cmrecker@welshrecker.com; abcarver@welshrecker.com; rwalk@welshrecker.com;
                Carol Lippmann
Subject:        NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn Medicine
Date:           Wednesday, October 11, 2023 3:33:38 PM
Attachments:    2023-10-11 Letter to Penn Medecine re NoD.pdf
                NEC Corp Designee NoD - UPH dba Penn Medicine 10.11.23.pdf
                2023-10-11 Letter to Penn Medecine re NoD.pdf
                NEC Corp Designee NoD - UPH dba Penn Medicine 10.11.23.pdf


Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate
Designee(s) of The Trustees of the University of Pennsylvania d/b/a Penn Medicine.

 Thank you,

Amanda L. Bee
Legal Assistant to Jack O'Neill, Esquire and Richard Gorman, Esquire
Kline & Specter, P.C.
1525 Locust Street
Philadelphia, PA 19102
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215.772.0563 direct dial
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 Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 201 of 496 PageID #:1351




                                     KLINE & SPECTER PC
                                                 ATTORNEYS AT LAW
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                                         PHILADELPHIA, PENNSYLVANIA 19102
                                              WWW.KLINESPECTER.COM
TOBIAS L. MILLROOD                                   ________               TOBI.MILLROOD@KLINESPECTER.COM
                                                  215-772-1358
                                                  800-597-9585
                                               FAX: 215-792-5502


                                     October 11, 2023
Via Email Only
James A. Young, Esquire
Richard S. Margulies, Esquire
Susan R. Engle, Esquire
BURNS WHITE LLC
1880 John F. Kennedy Boulevard, 10th FL
Philadelphia, PA 19103

         Re:         Johnson, et al.. v. Mead Johnson & Company, et al., Case No. 220400162
                     McMillian, et al., v. Mead Johnson & Company, et al., Case No. 220400140
                     Moment, et al., v. Mead Johnson & Company, et al., Case No.220400142
                     Sanders, et al., v. Mead Johnson & Company, et al., Case No. 220400153
                     Short, et al., v. Mead Johnson & Company, et al., Case No. 220400159
                     Thomas, et al., v. Mead Johnson & Company, et al., Case No.220400158
                     Walker-Savage, et al., v. Mead Johnson & Company, et al., Case No. 220400156
                     Whitfield, et al., v. Mead Johnson & Company, et al., Case No. 220400145
                     Williams, et al., v. Mead Johnson & Company, et al., Case No. 220400141
                     Hines, et al., v. Mead Johnson & Company, et al., Case No. 220400136
                     Witherspoon, et al., v. Mead Johnson & Company, et al., Case No. 220400138

Dear Counsel:

       Attached is a Notice of Video Deposition of the Corporate Designee(s) of Defendant the
Trustees of the University of Pennsylvania d/b/a Penn Medicine. This notice applies to the
following the following cases pending against the Trustees of the University of Pennsylvania
d/b/a Penn Medicine in the infant formula litigation.

                     Johnson, et al.. v. Mead Johnson & Company, et al., Case No. 220400162
                     McMillian, et al., v. Mead Johnson & Company, et al., Case No. 220400140
                     Moment, et al., v. Mead Johnson & Company, et al., Case No.220400142
                     Sanders, et al., v. Mead Johnson & Company, et al., Case No. 220400153
                     Short, et al., v. Mead Johnson & Company, et al., Case No. 220400159
                     Thomas, et al., v. Mead Johnson & Company, et al., Case No.220400158
                     Walker-Savage, et al., v. Mead Johnson & Company, et al., Case No. 220400156
                     Whitfield, et al., v. Mead Johnson & Company, et al., Case No. 220400145
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 202 of 496 PageID #:1352




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              Williams, et al., v. Mead Johnson & Company, et al., Case No. 220400141
              Hines, et al., v. Mead Johnson & Company, et al., Case No. 220400136
              Witherspoon, et al., v. Mead Johnson & Company, et al., Case No. 220400138



                                                 Very truly yours,



                                                 Tobias L. Millrood


Enclosure
cc:    All Counsel of Record (via email only)
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 203 of 496 PageID #:1353




KLINE & SPECTER, P.C.
THOMAS R. KLINE, ESQUIRE
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TOBIAS MILLROOD, ESQUIRE
Attorney I.D. No. 77764
ELIZABETH CRAWFORD, ESQUIRE
Attorney I.D. No. 313702
MELISSA MERK, ESQUIRE
Attorney I.D. No. 90363
TIMOTHY A. BURKE, ESQUIRE
Attorney I.D. No.320927
1525 Locust Street, 19th Floor
Philadelphia, PA 19102
(215) 772-1000/(215) 772-1359 fax.
Attorneys for Plaintiffs

         IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                           TRIAL DIVISION - CIVIL


  SHEMIKA JOHNSON, et al.,                    :
            Plaintiff,                        : APRIL TERM, 2022
     v.                                       : No. 220400162
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  CATHERINE McMILLIAN, et al.,                :
            Plaintiff,                        : APRIL TERM, 2022
     v.                                       : No. 220400140
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  DAMEKA MOMENT, et al.,                      :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400142
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
           Defendants.                        :
  LOREN SANDERS, et al.,                      :
            Plaintiff,                        : APRIL TERM, 2022
     v.                                       : No. 220400153
  MEAD JOHNSON & COMPANY, LLC, et al.,        :
            Defendants.                       :
  SAMAYA SHORT, et al.,                       :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400159


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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 204 of 496 PageID #:1354



  MEAD JOHNSON & COMPANY, LLC, et al.,            :
           Defendants.                            :
  NATISHA THOMAS, et al.,                         :
            Plaintiff,                            : MARCH TERM, 2022
      v.                                          : No. 220400158
  MEAD JOHNSON & COMPANY, LLC, et al.,            :
            Defendants.                           :
  TRINA WALKER-SAVAGE and CLIFTON                 :
  ISAIAH SAVAGE, JR., et al.,                     : MARCH TERM, 2022
             Plaintiff,                           : No. 220400156
      v.                                          :
  MEAD JOHNSON & COMPANY, LLC, et al.,            :
             Defendants.                          :
  ROBERT WHITFIELD, et al.,                       :
            Plaintiff,                            : APRIL TERM, 2022
     v.                                           : No. 220400145
  MEAD JOHNSON & COMPANY, LLC, et al.,            :
            Defendants.                           :
  MELVENIA WILLIAMS, et al.,                      :
            Plaintiff,                            : APRIL TERM, 2022
     v.                                           : No. 220400141
  MEAD JOHNSON & COMPANY, LLC, et al.,            :
            Defendants.                           :
  DELQUAN HINES, et al.,
            Plaintiff,                            : APRIL TERM, 2022
     v.                                           : No. 220400136
  MEAD JOHNSON & COMPANY, LLC, et al.,            :
            Defendants.                           :
 IVYANN WITHERSPOON, et al.,                      :
           Plaintiff,                             : APRIL TERM, 2022
           v.                                     : No. 220400138
 MEAD JOHNSON & COMPANY, LLC, et al.,             :
           Defendants.                            :


       NOTICE OF VIDEO DEPOSITION OF CORPORATE DESIGNEE(S) OF THE
      TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA d/b/a PENN MEDICINE
TO:     James A. Young, Esquire
        Richard S. Margulies, Esquire
        Susan R. Engle, Esquire
        BURNS WHITE LLC
        1880 John F. Kennedy Boulevard, 10th FL

                                             2
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 205 of 496 PageID #:1355




       Philadelphia, PA 19103

        KINDLY TAKE NOTICE that Plaintiffs in the above-captioned matter will take

 the deposition(s) of one or more Corporate Designees of the Trustees of the University of

 Pennsylvania d/b/a Penn Medicine (collectively, “Defendants”) on November 1, 2023 at 10:00

 a.m. at the office of Kline & Specter, P.C. at 1525 Locust Street, Philadelphia, PA 19102.

       The deposition will be taken before a person duly authorized to administer oaths and

will be recorded by video and stenographic means.

       Defendants are requested to designate one or more officers, directors, managing agents, or

other persons who shall be authorized to testify to matters known or reasonably available to the

organization and who is the individual most knowledgeable about the Neonatal Intensive Care

Unit at The Pennsylvania Hospital of the University of Pennsylvania Health System from 2002

to the present, and specifically including the following subjects:

   1. All policies and procedures relating to premature babies and/or babies in the Neonatal
      Intensive Care Unit;
   2. All policies and procedures relating to the feeding of premature babies and/or babies in
      the Neonatal Intensive Care Unit from 2002 to the present;
   3. All policies and procedures relating to when commercial milk/bovine milk should be
      given to premature babies and/or babies in the Neonatal Intensive Care Unit from 2002 to
      the present;
   4. Knowledge of what year donor breast milk became available to mothers of premature
      babies and/or babies in the Neonatal Intensive Care Unit;
   5. All policies and procedures as to when donor breast milk should be given to premature
      babies and/or babies in the Neonatal Intensive Care Unit from 2002 to the present;
   6. Knowledge of what commercial formula/bovine formula(s) were given to premature
      babies and/or babies in the Neonatal Intensive Care Unit from 2002 to the present;
   7. Knowledge of all of Defendants’ policies and procedures relating to lactation consultants
      from 2002 to the present;
   8. Knowledge of all policies and procedures pertaining to additional monitoring for
      premature babies and/or babies in the Neonatal Intensive Care Unit who receive
      commercial milk/bovine milk from 2002 to the present;
   9. Knowledge of any policies and procedures pertaining to consent forms relating to giving
      commercial milk/bovine milk to premature babies and/or babies in the Neonatal Intensive
      Care Unit from 2002 to the present;



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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 206 of 496 PageID #:1356




  10. Knowledge of any policies and procedures pertaining to consent forms relating to giving
      donor breast milk to premature babies and/or babies in the Neonatal Intensive Care Unit
      from 2002 to the present;
  11. Knowledge of any policies and procedures pertaining to preventing necrotizing
      enterocolitis from 2002 to the present;
  12. Knowledge of when it was known to Defendants that commercial milk/bovine milk can
      increase the risk of necrotizing enterocolitis from 2002 to the present;
  13. Knowledge of any communications received by Defendants from Mead Johnson and
      Company LLC, Mead Johnson Nutrition Company, and/or Abbott Laboratories from
      2002 to the present.
  14. Knowledge of any communications from Defendants to Mead Johnson and Company
      LLC, Mead Johnson Nutrition Company, and/or Abbott Laboratories from 2002 to the
      present;
  15. Knowledge of any marketing, training, and/or promotional materials relating to Mead
      Johnson and Company LLC, Mead Johnson Nutrition Company, Abbott Laboratories
      and/or any products marketed, manufactured, and/or sold by same that were in the
      possession of Defendants from 2002 to the present.
  16. Knowledge of the costs to and/or profits generated from Defendants provision of
      commercial milk/ bovine formula(s) to premature babies and/or babies in the Neonatal
      Intensive Care Unit from 2002 to the present; and/or
  17. Knowledge of any scholarly, educational, training and/or other materials relating to the
      dangers of giving commercial milk/bovine milk to premature babies and/or babies in the
      Neonatal Intensive Care Unit that were in the possession of Defendants from 2002 to the
      present

      Please consider this a request to produce any and all records, and/or documents that refer,

relate, and/or pertain to the to the above-listed categories.

      The deponent is also instructed to bring with him/her the following: (1) any and all

communications and/or other documents involving Defendants and relating to when commercial

milk/bovine milk should be given to premature babies and/or babies in the Neonatal Intensive

Care Unit from 2002 to the present; (2) any and all documents relating to communications

between Defendants Mead Johnson and Company LLC, Mead Johnson Nutrition Company,

and/or Abbott Laboratories from 2002 to the present; (3) any and all documents relating to the

dangers of giving commercial milk/bovine milk to premature babies and/or babies in the

Neonatal Intensive Care Unit that were in the possession of Defendants from 2002 to the present;

(4) any and all documents relating to any marketing, training, and/or promotional materials

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relating to Mead Johnson and Company LLC, Mead Johnson Nutrition Company, Abbott

Laboratories and/or any products marketed, manufactured, and/or sold by same that were in the

possession of Defendants from 2002 to the present. (5) any and all documents related to the

costs to and/or profits generated from Defendants provision of commercial milk/bovine

formula(s) to premature babies and/or babies in the Neonatal Intensive Care Unit from 2002 to

the present; (6) any and all documents regarding any complaints and/or warnings related to the

provision of commercial milk/bovine formula(s) to premature babies and/or babies in the

Neonatal Intensive Care Unit from 2002 to the present whether or not initiated or settled through

lawsuits, (7) all reports of injuries allegedly arising from the provision of commercial

milk/bovine formula(s) to premature babies and/or babies in the Neonatal Intensive Care Unit

from 2002 to the present; and (9) any and all other documents relative to or responsive to this

Notice of Deposition.

       The deponent must also bring with him/her complete copies of all prior deposition

transcripts where he/she has offered sworn testimony in cases involving similar or comparable

products and/or allegations. The deponent shall also bring a copy of his or her CV or resume.

The deposition will continue from day to day until completed.

                                            KLINE & SPECTER, P.C.



                                            TOBIAS L. MILLROOD, ESQUIRE

                                            Attorney for Plaintiff




                                               5
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 208 of 496 PageID #:1358




                                CERTIFICATE OF SERVICE

       I, Tobias L. Millrood, hereby certify that on the date below, I served a true and correct

copy of the foregoing Notice of Deposition on the following counsel of records:



 Catherine M. Recker (PA Bar No. 56813)             James A. Young, Esquire
 Amy B. Carver (PA Bar No. 84819)                   Richard S. Margulies, Esquire
 Richard D. Walk, III (PA Bar No. 329420)           Susan R. Engle, Esquire
 WELSH & RECKER, P.C.                               BURNS WHITE LLC
 306 Walnut Street                                  Attorney ID Nos. 00213/62306/81671
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 Tel: (215) 972-6430                                Philadelphia, PA 19103
 cmrecker@welshrecker.com                           Tel: (215) 587-1625/1628/1669
 abcarver@welshrecker.com                           jayoung@burnswhite.com
 rwalk@welshrecker.com                              rsmargulies@burnswhite.com
                                                    srengle@burnswhite.com
 Kenneth A. Murphy, Esquire
 Heather R. Olson, Esquire                          Attorneys for Defendant University of
 TUCKER LAW GROUP, LLC                              Pennsylvania Hospital of the University of
 Ten Penn Center                                    Pennsylvania Health System d/b/a
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 Philadelphia, PA 19103                             Pennsylvania Hospital of the University of
 kmurphy@tlgattorneys.com                           Pennsylvania Health System d/b/a Penn
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 Attorneys for Defendant Mead Johnson &
 Company LLC and Mead Johnson Nutrition
 Company


 Sean P. Fahey, Esquire                             Donald J. Brooks, Jr., Esquire
 TROUTMAN PEPPER HAMILTON                           Brooke A. Scicchitano, Esquire
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 Sean.Fahey@troutman.com                            Tel: (215) 851-8400
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 Ronn E. Fuchs, Esquire                              bscicchitano@eckertseamans.com


                                                6
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 209 of 496 PageID #:1359




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                                                  Einstein Healthcare Network
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Attorneys for Defendant Abbott Laboratories


James A. Young, Esquire                           Donald J. Brooks, Jr., Esquire
Richard S. Margulies, Esquire                     Brooke A. Scicchitano, Esquire
Susan R. Engle, Esquire                           ECKERT SEAMANS CHERIN & MELOTT
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jayoung@burnswhite.com                             bscicchitano@eckertseamans.com


                                              7
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 210 of 496 PageID #:1360




 rsmargulies@burnswhite.com                         Jennifer V. Weachter
 srengle@burnswhite.com                             JWeachter@eckertseamans.com

 Attorneys for Defendant, Temple University         Attorney for Defendants, Thomas Jefferson
 Health System, Inc., d/b/a Temple University       University Hospitals, Inc., d/b/a Thomas
 Hospital                                           Jefferson University Hospital, and Thomas
                                                    Jefferson University d/b/a Jefferson Health
                                                    System




                                                      KLINE & SPECTER,

                                                P.C. By:
                                                    Tobias L. Millrood
                                                    1525 Locust Street
                                                    Philadelphia, PA 19102
                                                    Phone: 215-772-1000
                                                    Fax: 215-772-1359
                                                    tobi.millrood@klinespecter.com


Dated: October 11, 2023                               Plaintiff’s’ Counsel




                                                8
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 211 of 496 PageID #:1361
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 212 of 496 PageID #:1362


From:            Engle, Susan R.
To:              Amanda Bee; jayoung; rsmargulies
Cc:              Tobi Millrood; Timothy Burke; Elizabeth Crawford; Melissa Merk; Helen Lawless; Philip Pasquarello; Jack O"Neill;
                 Patrick Sidebotham; Donald J. Brooks Jr.; ben.whiting@kellerpostman.com; mark.weinstein@kellerpostman.com;
                 bscicchitano@eckertseamans.com; Jennifer V. Weachter; Sean.Fahey; kmurphy@tlgattorneys.com;
                 holson@tlgattorneys.com; cmrecker@welshrecker.com; abcarver@welshrecker.com; rwalk@welshrecker.com;
                 Carol Lippmann
Subject:         RE: NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn Medicine
Date:            Monday, October 30, 2023 1:17:02 PM
Attachments:     image569267.PNG
                 image5c0afc.PNG


Good afternoon all,
We are in receipt corporate designee notices to our clients unilaterally scheduling depositions for
November 1, 2023. We write to advise that we will not be able to produce corporate designees on
behalf of our clients on that date, but we are working diligently to obtain the information requested
via discovery and the corporate designee notices and will be in contact regarding promptly
rescheduling these depositions. Please feel to reach out with any questions or concerns.
Best,
Susan Engle




Susan R. Engle, Esq.
Member




1880 John F. Kennedy Boulevard, 10th Floor Philadelphia, PA 19103
215-587-1669 (O) 215-587-1699 (F)
srengle@burnswhite.com burnswhite.com




From: Amanda Bee <Amanda.Bee@klinespecter.com>
Sent: Wednesday, October 11, 2023 3:34 PM
To: Young, James A. <jayoung@burnswhite.com>; Margulies, Richard S.
<rsmargulies@burnswhite.com>; Engle, Susan R. <srengle@burnswhite.com>
Cc: Tobi Millrood <Tobi.Millrood@klinespecter.com>; Timothy Burke
<Timothy.Burke@klinespecter.com>; Elizabeth Crawford <Elizabeth.Crawford@KlineSpecter.com>;
Melissa Merk <Melissa.Merk@klinespecter.com>; Helen Lawless
<Helen.Lawless@klinespecter.com>; Philip Pasquarello <Philip.Pasquarello@KlineSpecter.com>; Jack
O'Neill <Jack.ONeill@klinespecter.com>; Patrick Sidebotham
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 213 of 496 PageID #:1363


<Patrick.Sidebotham@klinespecter.com>; Donald J. Brooks Jr. <dbrooks@eckertseamans.com>;
ben.whiting@kellerpostman.com; mark.weinstein@kellerpostman.com;
bscicchitano@eckertseamans.com; Jennifer V. Weachter <JWeachter@eckertseamans.com>;
Sean.Fahey <Sean.Fahey@Troutman.com>; kmurphy@tlgattorneys.com; holson@tlgattorneys.com;
cmrecker@welshrecker.com; abcarver@welshrecker.com; rwalk@welshrecker.com; Carol Lippmann
<Carol.Lippmann@klinespecter.com>
Subject: NEC Infant Formula Litigation | The Trustees of the University of Pennsylvania d/b/a Penn
Medicine

Dear Counsel:

Please see the attached correspondence and Notice of Video Deposition of Corporate
Designee(s) of The Trustees of the University of Pennsylvania d/b/a Penn Medicine.

 Thank you,

Amanda L. Bee
Legal Assistant to Jack O'Neill, Esquire and Richard Gorman, Esquire
Kline & Specter, P.C.
1525 Locust Street
Philadelphia, PA 19102
215.772.1000
215.772.0563 direct dial
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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 214 of 496 PageID #:1364




                   EXHIBIT A-59
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 215 of 496 PageID #:1365




       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                         TRIAL DIVISION – CIVIL


HOLLI CARTER, et al.,                        :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302588
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
BRANDY GOODMOND, et al.,                    :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400208
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400212
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
JANEE HENDERSON, et al.,                    :
          Plaintiff,                        : APRIL TERM, 2022
    v.                                      : No. 220400127
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
KRISTEN KAJUFFA, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302978
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NAFEESAH MAYS, et al.,                      :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302963
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CATHERINE McMILLIAN, et al.,                :
          Plaintiff,                        : APRIL TERM, 2022
                                            : No. 220400140
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    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,
         Defendants.
DAMEKA MOMENT, et al.,                      :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400142
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NYDIA PARKER, et al.,
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302983
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALEXANDRIA ROSS, et al.,                    :
         Plaintiff,                         : MARCH TERM, 2022
   v.                                       : No. 220302981
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
LOREN SANDERS, et al.,                      :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400153
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SAMAYA SHORT, et al.,                       :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400159
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALICE STILLS, et al.,                       :
           Plaintiff,                       : MARCH TERM, 2022
    v.                                      : No. 220302617
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CHRISTINA TAYLOR, et al.,                   :
           Plaintiff,                       : MARCH TERM, 2022
                                            : No. 220302606

                                       2
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    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,
         Defendants.
NATISHA THOMAS, et al.,                     :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220400158
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
TRINA WALKER-SAVAGE and CLIFTON             :
ISAIAH SAVAGE, JR., et al.,                 : MARCH TERM, 2022
           Plaintiff,                       : No. 220400156
    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
JEANNATE WATSON, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302967
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302614
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302601
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SHANITA WIGGINS, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302986
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
MELVENIA WILLIAMS, et al.,                  :
          Plaintiff,                        : APRIL TERM, 2022

                                       3
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        v.                                               : No. 220400141
                                                         :
MEAD JOHNSON & COMPANY, LLC, et al.,                     :
         Defendants.


                                    ORDER OF THE COURT

         On this ____ day of ___________________, 2023, upon consideration of defendant Abbott

Laboratories’ motion to compel and to strike improper objections and insufficient answers to

Abbott’s discovery requests, its brief in support, and any response thereto, it is hereby ORDERED

that:

         1.     Plaintiffs’ objections to all Standard Form Interrogatories, Interrogatory Nos. 1

through 41, are stricken.

         2.     Plaintiffs’ insufficient answers to Standard Form Interrogatory Nos. 1, 2, 3, 4, 5, 6,

7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33,

34, 35, 36, 37, 39, 40, and 41 are stricken.

         3.     Plaintiffs’ objections to Supplemental Interrogatory Nos. 42, 48, 51, 52, 55, 56, 57,

58, 59, 60, 61, 62, 64, and 67 are stricken.

         4.     Plaintiffs’ insufficient answers to Supplemental Interrogatory Nos. 42, 43, 44, 45,

46, 47, 48, 50, 51, 53, and 63 are stricken.

         5.     Plaintiffs’ objections and insufficient responses to Requests for Production 1, 2, 5,

6, 8, 9, 17, 19, 20, 21, 22, 23, 24, 38, 39, 42, 44, and 45 are stricken.

         6.     Plaintiffs are directed to respond to all Interrogatories and Requests for Production

identified in paragraphs 1 through 5 above within twenty (20) days of the date of this Order or risk

sanctions.




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       7.      Plaintiffs are further directed to provide complete sets of relevant medical

authorizations for both infant and parent, as well as insurance and education authorizations for the

infant and – to the extent parent claims any economic or psychologic injury due to the infant’s

NEC, employment, and psychiatric authorizations for the parent to Abbott within twenty (20) days

of the date of this Order or otherwise obtain the records themselves and produce them to Abbott

within twenty (20) days of the date of this Order.



                                                     BY THE COURT:




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       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                         TRIAL DIVISION – CIVIL


HOLLI CARTER, et al.,                        :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302588
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
BRANDY GOODMOND, et al.,                    :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400208
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400212
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
JANEE HENDERSON, et al.,                    :
          Plaintiff,                        : APRIL TERM, 2022
    v.                                      : No. 220400127
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
KRISTEN KAJUFFA, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302978
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NAFEESAH MAYS, et al.,                      :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302963
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CATHERINE McMILLIAN, et al.,                :
          Plaintiff,                        : APRIL TERM, 2022
                                            : No. 220400140

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    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,
         Defendants.
DAMEKA MOMENT, et al.,                      :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400142
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NYDIA PARKER, et al.,
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302983
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALEXANDRIA ROSS, et al.,                    :
         Plaintiff,                         : MARCH TERM, 2022
   v.                                       : No. 220302981
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
LOREN SANDERS, et al.,                      :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400153
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SAMAYA SHORT, et al.,                       :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400159
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALICE STILLS, et al.,                       :
           Plaintiff,                       : MARCH TERM, 2022
    v.                                      : No. 220302617
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CHRISTINA TAYLOR, et al.,                   :
           Plaintiff,                       : MARCH TERM, 2022
                                            : No. 220302606

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    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,
         Defendants.
NATISHA THOMAS, et al.,                     :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220400158
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
TRINA WALKER-SAVAGE and CLIFTON             :
ISAIAH SAVAGE, JR., et al.,                 : MARCH TERM, 2022
           Plaintiff,                       : No. 220400156
    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
JEANNATE WATSON, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302967
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302614
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302601
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SHANITA WIGGINS, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302986
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
MELVENIA WILLIAMS, et al.,                  :
          Plaintiff,                        : APRIL TERM, 2022

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      v.                                                : No. 220400141
                                                        :
MEAD JOHNSON & COMPANY, LLC, et al.,                    :
         Defendants.


        DEFENDANT ABBOTT LABORATORIES’ MOTION TO COMPEL,
    AND TO STRIKE IMPROPER OBJECTIONS AND INSUFFICIENT ANSWERS
                   TO ABBOTT’S DISCOVERY REQUESTS

       Defendant Abbott Laboratories (“Abbott”) files the instant motion after several

unsuccessful attempts to obtain discovery from plaintiffs that is critical to the parties’ claims and

defenses. Plaintiffs’ repeated failure to produce medical records, lists of treaters, full and complete

authorizations, and to otherwise supplement their deficient discovery responses has stalled this

litigation, and prevented Abbott from commencing plaintiffs’ depositions—which this Court

suggested should occur by the end of this year.

       By way of background, in March and April of 2020, plaintiffs filed 29 actions in this Court,

alleging their infants, born prematurely and at low birthweights, were injured after they were

administered preterm infant nutrition products manufactured by Abbott or Mead Johnson &

Company LLC, Mead Johnson Nutrition Company (together, “Mead Johnson”) shortly after their

birth. Each complaint alleges that the infant suffers from “long-term health effects.” See, e.g.,

Carter Compl. ¶ 14. More than half of the infants are now over 10 years old. Regardless of their

age, Abbott is entitled to know their current condition, their medical course from the time of birth

through the present, and their psychologic and/or educational course.             Moreover, because

alternative causes of the children’s injuries might only be found in parent medical records, these

cases place the parents’ health at issue as well. Finally, to the extent the parents claim any

psychologic injury or wage loss, Abbott is also entitled to those records.




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       The cases were removed to federal court and transferred to a Multidistrict Litigation

(MDL), where they remained pending for months until they were remanded to this Court. On July

24, 2023, the parties appeared before the Honorable Linda Carpenter for a “one-year status

conference” (though the cases had been pending in the MDL for a good portion of that year). At

the conference, Judge Carpenter encouraged the parties to move ahead with depositions of the

plaintiffs expeditiously. Following the conference, Judge Carpenter issued a Case Management

Order that set a discovery cutoff date of June 3, 2024.

       On August 9, 2023, two weeks after the conference, Abbott served interrogatories and

requests for production of documents on plaintiffs. Plaintiffs requested, and Abbott granted, an

extension of time for the responses, but with an understanding that plaintiffs’ counsel would be

providing authorizations, lists of treaters and records in their possession expeditiously in order to

permit Abbott to collect records and prepare for plaintiffs’ depositions. Plaintiffs produced none

of these records and, on October 11 and 12, 2023, plaintiffs provided significantly deficient

responses to the discovery. Exemplar interrogatory responses and request for production responses

are attached hereto as Exhibit A and Exhibit B, respectively. Despite several efforts to discuss

these deficiencies, plaintiffs failed to respond, necessitating this Court’s intervention. Because

plaintiffs’ actions have, among other things, prevented Abbott from being able to begin plaintiffs’

depositions, Abbott files the instant motion to strike plaintiffs’ improper objections and insufficient

discovery responses and seeks an order requiring plaintiffs to timely provide sufficient responses.

In support of its motion, Abbott states the following:

       1.      In the above-captioned cases, plaintiffs attack—without basis—specialized infant

formulas and fortifiers essential to the survival and development of premature infants in Neonatal

Intensive Care Units (“NICUs”). Plaintiffs filed these cases against defendants Mead Johnson,



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Abbott, and the infants’ hospitals of birth (collectively, “defendants”), alleging that medical

professionals at the hospital defendants administered Abbott’s and/or Mead Johnson’s cow’s milk-

based infant nutrition products to plaintiffs, and that plaintiffs were injured, and suffer long-term

health effects, as a result.

        2.      Plaintiffs allege seven causes of action, five of which were asserted against Abbott

and Mead Johnson: strict products liability design defect (Count I), strict products liability failure

to warn (Count II), negligence (Count III), intentional misrepresentation (Count IV), and negligent

misrepresentation (Count V). The remaining claims (Counts VI and VII) were asserted against the

hospital defendant. The complaints were filed by parents (“plaintiff-parents”) on their own behalf,

and also as parent and natural guardians of the infant plaintiffs (“plaintiff”) (together “plaintiffs”).

        3.      On July 24, 2024, the Court held a status conference in all actions. During that

conference, the Court expressed a preference that the parties begin taking plaintiffs’ depositions

before the end of the calendar year.

        4.      To that end, on August 9, 2023, Abbott served a set of interrogatories and a set of

requests for production on all plaintiffs. The interrogatories consisted of both Standard Form

Interrogatories, propounded pursuant to Phila. Cnty. Loc. R. 4005, as well as supplemental

interrogatories.

        5.      On August 30, 2023, plaintiffs emailed Abbott, seeking a 4-week extension of time

to respond to Abbott’s discovery requests. In that communication, plaintiffs suggested that, if it

would help support the extension, plaintiffs would serve as many authorizations as possible by the

original September 9 deadline.

        6.      That same day, Abbott responded, asking whether plaintiffs could provide

authorizations, lists of treaters, and any medical records in their possession. Abbott followed up



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the next day, making clear that – in order not to lose time on the collection and analysis of medical

records, it would need plaintiffs to provide authorizations, lists of treaters, and any medical records

in their possession.

         7.       On August 31, plaintiffs responded, agreeing to provide Abbott with the records in

their possession, a list of treaters, and medical, education, and insurance authorizations. Plaintiffs

also agreed to supply employment records, if pursuing a wage loss claim, and psychiatric

authorizations, if pursuing a psychiatric injury claim.

         8.       Notwithstanding plaintiffs’ representations, both the original deadline for

plaintiffs’ discovery responses and the extension deadline came and went without the provision of

any authorizations, treater lists, or medical records.

         9.       On October 11, 2023, plaintiffs provided the deficient set of discovery responses

at issue here, along with a very limited number of authorizations. Plaintiffs did not provide a single

medical record or treater list.

         10.      After reviewing the limited authorizations and discovery responses, Abbott sent an

email to plaintiffs on October 16, identifying several significant deficiencies. See Email of

10/16/2023, Ex. C. Abbott indicated that plaintiffs had wholly failed to hold up their end of the

bargain in producing authorizations, treater lists, and medical records in advance of the October 9

deadline. Abbott also pointed out that, as of October 16, plaintiffs had wholly failed to produce

medical records or treater lists for any of the 21 plaintiffs and failed to serve any authorizations

for 7 of the 21 plaintiffs.1 Abbott also explained that the authorizations received to date were




         1
           While plaintiffs initially filed 29 actions, on September 8, plaintiffs filed amended complaints in only 21 of
the 29 original actions. Plaintiffs have indicated they will be voluntarily dismissing the other 8 actions, and
accordingly, plaintiffs did not respond to any of Abbott’s discovery requests directed to those 8 plaintiffs.
Notwithstanding, over two months later, plaintiffs have yet to petition the Court for dismissal of these actions, and
indeed, on November 3 and November 7, plaintiffs filed several motions to compel in actions that they had previously

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themselves insufficient, as they pertained to very limited providers and omitted relevant treaters

as well as insurance, employment, and education authorizations. See id. Finally, with respect to

the discovery responses, Abbott notified plaintiffs that they had improperly objected to all

Standard Form Interrogatories, in violation of Phila. Cnty. Loc. R. 4005(D), and had only provided

limited substantive responses to only approximately 10 of the 68 interrogatories propounded.

        11.      Abbott received no response to this email communication.

        12.      On October 26, 2023, without addressing Abbott’s issues, plaintiffs produced some

additional authorizations, but these still clearly omitted authorizations for relevant treaters. As

Abbott pointed out in follow-up communications to plaintiffs’ counsel, the authorizations do not

include a single infant’s pediatrician(s), gastroenterologist(s) or the mother’s OB/GYN.

        13.      In 15 of the 21 cases, plaintiffs provided two or fewer authorizations for each infant,

all relating to hospitals. Again, there are no authorizations for doctors who provided ongoing care,

or authorizations relating to insurance, psychologic or educational records, or even insurance

records (which often serve as the source to identify other care). In all 20 cases in which plaintiffs

produced authorizations, plaintiffs provided only one authorization for each parent. Plaintiffs

failed to provide any authorizations whatsoever in Wiggins and failed to produce any infant

authorizations whatsoever in Williams.

        14.      On October 27, 2023, Abbott sent plaintiffs a detailed deficiency letter that

identified numerous deficiencies in plaintiffs’ discovery responses and authorizations.                        See

Deficiency Letter, Ex. D. Abbott requested that plaintiffs respond on or before November 3 and




represented would be dismissed. To the extent plaintiffs continue to pursue these actions despite purporting to seek
their dismissal, Abbott will move to compel answers to the discovery it has propounded on those plaintiffs.


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either (a) amend or supplement their insufficient discovery responses or (b) provide a date on

which the parties can meet and confer during the week of November 6.

          15.   Abbott received no response to this deficiency letter.

          16.   To date, plaintiffs have failed to respond to Abbott’s email communications or

deficiency letter, have failed to supplement their discovery responses, and have failed to produce

a single list of treaters, or produce a single medical record (as they agreed they would do).

          17.   In light of plaintiffs’ unwillingness to meet their discovery obligations, the

intervention of this Court is necessary to resolve the deficiencies outlined below.             Abbott

respectfully requests that the Court strike plaintiffs’ improper objections and insufficient answers

to Abbott’s discovery requests for the following reasons:

I.   MOTION TO STRIKE PLAINTIFFS’ IMPROPER                                AND     INSUFFICIENT
     RESPONSES TO CERTAIN INTERROGATORIES.

          18.   Abbott incorporates the foregoing paragraphs as if set forth herein.

          19.   Abbott propounded both Standard Form Interrogatories (Interrogatory Nos. 1

through 41) and supplemental interrogatories (Interrogatory Nos. 42 through 68) on plaintiffs.

          20.   In total, plaintiffs provided only limited substantive answers to approximately 10

of the 68 interrogatories.

     A.    Standard Form Interrogatories

          21.   Pursuant to Phila. Cnty. Loc. Rule 4005, a party may propound “Standard Form

Interrogatories” on another party, which have been adopted by the Court.

          22.   Rule 4005(D) provides that “[t]he Court will not entertain objections to the standard

interrogatories and parties who file such objections will be subject to sanctions including

imposition of counsel fees.”

          23.   Abbott propounded a total of 41 Standard Form Interrogatories in each action.


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          24.      Despite the clear instruction of Rule 4005(D), plaintiffs universally objected to each

and every one of the Standard Form Interrogatories propounded by Abbott in all 21 cases.

Accordingly, all objections to Interrogatory No. 1 through Interrogatory No. 41 should be stricken

in all 21 cases.

          25.      Moreover, plaintiffs wholly failed to provide any response to at least 26 of the 41

Standard Form Interrogatories.2 These include Interrogatory Nos. 2, 3, 5, 7, 8, 9, 10, 11, 12, 14,

15, 16, 17, 18, 19, 20, 24, 28, 29, 33, 34, 35, 36, 37, 39, and 40.

          26.      Additionally, with respect to the Standard Form Interrogatories to which plaintiffs

“responded,” the responses are entirely insufficient. These include Interrogatory Nos. 4, 6, 13, 21,

23, 25, 26, 27, 30, and 41 (to which plaintiffs responded by referring to incomplete sets of

authorizations and unproduced medical records); Nos. 1 and 22 (to which plaintiffs responded by

providing incomplete biographical information); and Nos. 31 and 32 (to which only some plaintiffs

responded and did so by providing vague and limited information regarding potential witnesses).

     B.       Supplemental Interrogatories

          27.      In addition to the Standard Form Interrogatories, Abbott propounded 27

supplemental interrogatories on each plaintiff. Plaintiffs outright objected and wholly failed to

respond to certain of these interrogatories. In other instances, plaintiffs’ responses to these

supplemental interrogatories were wholly insufficient.

          28.      First, plaintiffs universally objected to, and failed to provide any response for, 14

of the 27 supplemental interrogatories. These include Interrogatory Nos. 42, 48, 51, 52, 55, 56,




          2
            Whereas all 21 plaintiffs failed to respond to 26 of the 41 Standard Form Interrogatories, approximately
half of the plaintiffs failed to respond to two additional Standard Form Interrogatory—Nos. 31 and 32—as well.


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57, 58, 59, 60, 61, 62, 64, and 67. These interrogatories seek information relevant—indeed,

critical—to these actions.

       29.     Second, plaintiffs responded to several supplemental interrogatories by suggesting

that discovery is “early or ongoing” or that the interrogatory was “premature.” These include

Interrogatory Nos. 42, 43, 44, 45, 46, 47, 48, 50, 51, 53, and 63. This response is wholly

unsupportable. These supplemental interrogatories seek information uniquely within plaintiffs’

possession; indeed, much of this information should have been in plaintiffs’ possession prior to

filing their complaints.

II. MOTION TO STRIKE PLAINTIFFS’ IMPROPER AND                                      INSUFFICIENT
    RESPONSES TO CERTAIN REQUESTS FOR PRODUCTION.

       30.     Abbott incorporates the foregoing paragraphs as if set forth herein.

       31.     Pursuant to Pa. R. Civ. P. 4009.11, Abbott propounded 46 requests for production

on plaintiffs in all 21 cases. Plaintiffs’ responses to numerous of these requests are insufficient.

       32.     First, plaintiffs responded to several requests (Request Nos. 1, 6, 9, 17, 38, 39, 42,

and 44) by directing Abbott to incomplete sets of authorizations and medical records that have not

yet been produced. This response is entirely insufficient. Plaintiffs do not discharge their

obligation to respond to these requests by referring to incomplete set of authorizations and medical

records that they agreed yet failed to produce.

       33.       Second, plaintiffs objected to several requests (Request Nos. 1, 2, 5, 19, 21, 22,

23, 24, and 45) as premature. This objection is unsupportable. These requests were timely

propounded, and they seek information uniquely within plaintiffs’ possession—indeed, the

majority seek information that should have been in plaintiffs’ possession prior to filing their

complaints.




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       34.        Third, plaintiffs objected to several requests (Request Nos. 2, 20, 21, 22, 23, and

24) as seeking “health information protected by state and federal law.”               This objection is

unsupportable. Plaintiffs have brought suit against Abbott claiming physical injury; they have

placed their health and related information squarely at issue in this case, and accordingly, they

have waived any claim to protection over that information.

       35.        Fourth, plaintiffs objected to two requests—Request Nos. 8 and 9—as “not limited

in time and scope.” This is categorically incorrect. The very terms of both requests make clear

they are appropriately temporally limited.

III. MOTION TO COMPEL PLAINTIFFS TO PROVIDE COMPLETE SETS OF
     AUTHORIZATIONS FOR ALL INFANTS AND PARENTS OR OTHERWISE
     PRODUCE THE RELEVANT RECORDS THEMSELVES.

       36.        Abbott incorporates the foregoing paragraphs as if set forth herein.

       37.        As part of its requests for production, Abbott requested that plaintiffs execute

medical, insurance, employment, education, and psychiatric/psychotherapy authorizations for both

infant and parent.

       38.        On October 11, nearly 45 days after plaintiffs said they would produce

authorizations and medical records on a rolling basis, plaintiffs provided Abbott with a very limited

number of authorizations for only some of the plaintiffs.

       39.        Two weeks later, on October 26, plaintiffs provided another limited set of

authorizations.

       40.        To date, although plaintiffs provided at least one authorization in 20 of the 21 cases,

the authorizations provided remain incomplete.

       41.        Plaintiffs’ failure to timely provide complete sets of authorizations for all parents

and infants is compounded by plaintiffs’ deficient discovery responses. In particular, in response

to several interrogatories and requests for production, plaintiffs direct Abbott to the authorizations
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and medical records and fail to provide any substantive information. It is entirely inappropriate

for plaintiffs to direct Abbott to incomplete authorizations or unproduced medical records in

response to Abbott’s discovery requests.

       42.     Accordingly, Abbott respectfully requests that this Court direct plaintiffs to either

provide a complete set of authorizations for all infants and parents or otherwise direct plaintiffs to

obtain the medical records themselves for production to Abbott.

       WHEREFORE, Abbott respectfully requests that this Court strike plaintiffs’ improper and

insufficient objections and responses to Abbott’s discovery requests and direct plaintiffs to serve

complete and accurate responses thereto within 20 days of the entry of the Court’s order.

Dated: November 10, 2023                              Respectfully Submitted:

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       IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                         TRIAL DIVISION – CIVIL



HOLLI CARTER, et al.,                        :
          Plaintiff,                         : MARCH TERM, 2022
   v.                                        : No. 220302588
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
BRANDY GOODMOND, et al.,                    :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400208
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
BRANDY GOODMOND, et al.,                     :
         Plaintiff,                          : APRIL TERM, 2022
   v.                                        : No. 220400212
                                             :
MEAD JOHNSON & COMPANY, LLC, et al.,         :
         Defendants.
JANEE HENDERSON, et al.,                    :
          Plaintiff,                        : APRIL TERM, 2022
    v.                                      : No. 220400127
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
KRISTEN KAJUFFA, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302978
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NAFEESAH MAYS, et al.,                      :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302963
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CATHERINE McMILLIAN, et al.,                :
          Plaintiff,                        : APRIL TERM, 2022
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    v.                                      : No. 220400140
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
DAMEKA MOMENT, et al.,                      :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400142
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
NYDIA PARKER, et al.,
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302983
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALEXANDRIA ROSS, et al.,                    :
         Plaintiff,                         : MARCH TERM, 2022
   v.                                       : No. 220302981
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
LOREN SANDERS, et al.,                      :
          Plaintiff,                        : APRIL TERM, 2022
   v.                                       : No. 220400153
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SAMAYA SHORT, et al.,                       :
         Plaintiff,                         : APRIL TERM, 2022
   v.                                       : No. 220400159
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
ALICE STILLS, et al.,                       :
           Plaintiff,                       : MARCH TERM, 2022
    v.                                      : No. 220302617
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
CHRISTINA TAYLOR, et al.,                   :
           Plaintiff,                       : MARCH TERM, 2022
                                            : No. 220302606

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    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,
         Defendants.
NATISHA THOMAS, et al.,                     :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220400158
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
TRINA WALKER-SAVAGE and CLIFTON             :
ISAIAH SAVAGE, JR., et al.,                 : MARCH TERM, 2022
           Plaintiff,                       : No. 220400156
    v.                                      :
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
JEANNATE WATSON, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302967
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302614
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
GINA WIEGER, et al.,                        :
          Plaintiff,                        : MARCH TERM, 2022
    v.                                      : No. 220302601
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
SHANITA WIGGINS, et al.,                    :
          Plaintiff,                        : MARCH TERM, 2022
   v.                                       : No. 220302986
                                            :
MEAD JOHNSON & COMPANY, LLC, et al.,        :
         Defendants.
MELVENIA WILLIAMS, et al.,                  :
          Plaintiff,                        : APRIL TERM, 2022

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       v.                                                          : No. 220400141
                                                                   :
MEAD JOHNSON & COMPANY, LLC, et al.,                               :
         Defendants.


          DEFENDANT ABBOTT LABORATORIES’ BRIEF IN SUPPORT OF
        MOTION TO COMPEL, AND TO STRIKE IMPROPER OBJECTIONS AND
         INSUFFICIENT ANSWERS TO ABBOTT’S DISCOVERY REQUESTS

                                     MATTER BEFORE THE COURT

         The motion of Abbott Laboratories (“Abbott”) to compel and to strike improper objections

and insufficient answers to Abbott’s discovery requests is before this Court. Plaintiffs’ discovery

responses to Abbott’s discovery are entirely deficient, as borne out by a few simple facts:


    1. Plaintiffs improperly objected to each and every Standard Form Interrogatory Abbott

         propounded;

    2. Plaintiffs provided limited substantive responses to, at most, 10 of the 68 Interrogatories

         Abbott propounded;

    3. Plaintiffs failed to provide a full and complete set of authorizations for any plaintiff in any

         action;3 and

    4. Plaintiffs failed to produce a single document, let alone a single medical record, in any of

         the actions.




         3
           A full and complete set of authorizations would include (1) medical authorizations for all relevant treaters
of both parent and infant from the time of birth until the present day, (2) all relevant insurance authorizations, (3) all
relevant employment authorizations, (4) all relevant education authorizations, and (5) all relevant psychiatric
authorizations.


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       Abbott respectfully requests that this Court strike plaintiffs’ improper objections and

insufficient responses to Abbott’s discovery requests and direct plaintiffs to serve complete and

accurate responses thereto within 20 days of the entry of the Court’s order.

                        STATEMENT OF QUESTIONS INVOLVED

       1.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ objections to

all Standard Form Interrogatories as improper under Phila. Cnty. Loc. R. 4005(D)? Answer: Yes.

       2.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ insufficient

responses to the specified Standard Form Interrogatories? Answer: Yes.

       3.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ improper

objections to the specified supplemental interrogatories? Answer: Yes.

       4.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ insufficient

responses to the specified supplemental interrogatories? Answer: Yes.

       5.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ improper

objections to the specified requests for production? Answer: Yes.

       6.      Should the Court grant Abbott’s motion to strike and strike plaintiffs’ insufficient

responses to the specified requests for production? Answer: Yes.

       7.      Should the Court grant Abbott’s motion to strike and order plaintiffs to provide

complete responses to all insufficiently answered interrogatories and requests for production?

Answer: Yes.

                    INTRODUCTION AND FACTUAL BACKGROUND

       Mead Johnson & Company LLC, Mead Johnson Nutrition Company (together, “Mead

Johnson”) and Abbott develop and manufacture infant nutrition products, including products




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tailored to address the distinct, special nutritional needs of premature, low birthweight infants. 4

These infants face complex challenges and daunting odds. For one, they typically have

underdeveloped or maldeveloped gastrointestinal systems that are not prepared to receive the

nutrition necessary for the rapid growth these infants need. This poses a serious challenge for

NICU specialists caring for the infants. The best nutrition for a premature infant is the nutrition it

would have received in the womb. Once that is no longer possible, everything else falls short. Milk

from the infant’s mother is the closest natural substitute, but it may not be available or nutritionally

sufficient to meet the premature infant’s extraordinary needs. The same is true of donor milk.

Accordingly, NICU specialists use their judgment to fill the nutritional gap with specialized

formula and fortifier products designed to meet the needs of premature, low-birth-weight infants.

This litigation targets these life-saving products.

        Plaintiffs in these cases allege that the infants developed necrotizing enterocolitis (“NEC”),

a leading cause of death in premature infants in NICUs. NEC is an inflammatory gastrointestinal

condition that can result in death of intestinal tissue. Indeed, NEC affects up to 8% of infants in

NICUs, including infants who receive only human milk, as well as those who receive no “food” at

all. Neonatologists are experts in dealing with the risks of NEC and balancing them with numerous

other medical risks these premature infants face. They carefully balance these risks regardless of

how nutrition is administered, and regardless of whether it consists of the mother’s own milk,

human donor milk, specialized formula or fortifier, or a combination.




        4
          Abbott manufactures infant nutrition products under the “Similac” brand name. Mead Johnson
manufactures infant nutrition products under the “Enfamil” brand name.


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         Plaintiff-parents universally allege that their infants were born prematurely at Philadelphia-

area hospitals. They further allege the infants were administered Similac and/or Enfamil cow’s

milk-based products by medical professionals at the respective hospital after birth.

         Plaintiffs further claim that the infant developed NEC shortly after the administration of

Abbott and/or Mead Johnson’s product and experienced long-term health effects. Indeed, each

and every plaintiff alleges that the infant suffers from “long-term health effects.” See, e.g., Carter

Compl. ¶ 14. Regardless of their age, Abbott is entitled to know their current condition, their

medical course from the time of birth through the present, and their psychologic and/or educational

course.5 Moreover, because alternative causes of the children’s injuries might only be found in

parent medical records, these cases place the parents’ health at issue as well. Finally, to the extent

the parents claim any psychologic injury or wage loss, Abbott is also entitled to those records.

                           PROCEDURAL HISTORY OF THE DISPUTE

         On July 24, 2023, the Court held a status conference in all actions. During that conference,

the Court expressed a preference that the parties begin taking plaintiffs’ depositions before the end

of the calendar year.

         To that end, on August 9, 2023, Abbott served a set of interrogatories and a set of requests

for production of documents on plaintiffs. The interrogatories consisted of both Standard Form

Interrogatories, propounded pursuant to Phila. Cnty. Loc. R. 4005, as well as supplemental

interrogatories. On August 30, 2023, plaintiffs emailed Abbott, seeking a 4-week extension of the

time to respond to Abbott’s discovery requests. In that communication, plaintiffs suggested that,




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           While age is not determinative of Abbott’s need for these documents, the need is particularly obvious
given that all infants claim long-term injuries and over half of the infants are now over 10 years old.


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if it would help support the extension, plaintiffs would serve as many authorizations as possible

by the original September 9 deadline.

        That same day, Abbott responded, asking whether plaintiffs could provide authorizations,

lists of treaters, and any medical records in their possession. Abbott followed up the next day,

making clear that – in order not to lose time on the collection and analysis of medical records, it

would need plaintiffs to provide authorizations, lists of treaters, and any medical records in their

possession.

        On August 31, plaintiffs responded, agreeing to provide Abbott with the records in their

possession, a list of treaters, and medical, education, and insurance authorizations. Plaintiffs also

agreed to supply employment records, if pursuing a wage loss claim,                  and psychiatric

authorizations, if pursuing a psychiatric injury claim.

        Notwithstanding plaintiffs’ representations, both the original deadline for plaintiffs’

discovery response, and the extension deadline came and went without the provision of any

authorizations, treater lists, or medical records,

        On October 11, 2023, plaintiffs provided the deficient set of discovery responses at issue

here, along with a very limited number of authorizations. Plaintiffs did not provide a single medical

record or treater list.

        After reviewing the limited authorizations and deficient discovery responses, Abbott sent

an email to plaintiffs on October 16, identifying several significant deficiencies. See Email of

10/16/2023, Ex. C. For starters, plaintiffs had wholly failed to hold up their end of the bargain in

producing authorizations, treater lists, and medical records in advance of the October 9 deadline.

Indeed, plaintiffs missed the deadline altogether. Additionally, as of that time, plaintiffs had

wholly failed to serve any authorizations for 7 of the 21 plaintiffs, and had wholly failed to produce



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medical records for any of the 21 plaintiffs. 6 Importantly, the belated authorizations received to

date were also insufficient, insofar as it was clear that authorizations for relevant treaters had been

omitted. See id. Finally, with respect to the discovery responses, plaintiffs had improperly

objected to all Standard Form Interrogatories, in violation of Phila. Cnty. Loc. R. 4005(D), and,

perhaps more troublingly, had only provided limited substantive responses to approximately 10 of

the 68 interrogatories propounded. Abbott received no response to this email communication.

         On October 26, 2023, without addressing Abbott’s issues, plaintiffs produced a limited set

of additional authorizations, but these still clearly omitted authorizations for relevant treaters. As

Abbott pointed out in subsequent communications to plaintiffs’ counsel, the authorizations do not

include a single infant’s pediatrician(s), gastroenterologist(s) or the mother’s OB/GYN. In 15 of

the 21 cases, plaintiffs provided two or fewer authorizations for each infant. In all 20 cases in

which plaintiffs produced authorizations, plaintiffs provided only one authorization for each

parent. Plaintiffs failed to provide any authorizations whatsoever in Wiggins, and failed to provide

any infant authorizations whatsoever in Williams.

         On October 27, 2023, Abbott sent plaintiffs a detailed deficiency letter that identified

numerous deficiencies in plaintiffs’ discovery responses and authorizations. See Deficiency

Letter, Ex. D. Therein, Abbott requested that plaintiffs respond on or before November 3 and

either (a) amend or supplement their insufficient discovery responses or (b) provide a date on




         6
           While plaintiffs initially filed 29 actions, plaintiffs filed amended complaints in only 21 of the 29 original
actions on September 8. Plaintiffs have indicated they will be voluntarily dismissing the other 8 actions, and
accordingly, plaintiffs did not respond to any of Abbott’s discovery requests directed to those 8 plaintiffs.
Notwithstanding, over two months later, plaintiffs have yet to petition the Court for dismissal of any of these actions,
and indeed, on November 3 and November 7, plaintiffs filed several motions to compel in actions that they had
previously represented would be dismissed. To the extent plaintiffs continue to pursue these actions despite purporting
to seek their dismissal, Abbott will move to compel answers to the discovery it has propounded on those plaintiffs.


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which the parties can meet and confer the week of November 6. Abbott received no response to

this deficiency letter.

                                          Legal Standard

          Pennsylvania Rule of Civil Procedure 4003.1(a) provides that “a party may obtain

discovery regarding any matter, not privileged, which is relevant to the subject matter involved in

the pending action, whether it relates to the claim or defense of the party seeking discovery or to

the claim or defense of any other party . . . .” See Pa. R. Civ. P. 4003.1(a). Additionally, Rule

4019(a)(1)(i) provides that “[t]he court may, on motion, make an appropriate order if a party fails

to serve answers, sufficient answers, or objections to written interrogatories under Rule 4005.”

See id. R. 4019(a)(1)(i).

I.   PLAINTIFFS’   OBJECTIONS                   AND  RESPONSES                TO   ABBOTT’S
     INTERROGATORIES SHOULD                     BE STRICKEN AS               IMPROPER AND
     INSUFFICIENT.

          Abbott propounded both Standard Form Interrogatories (Interrogatory Nos. 1 through 41)

and supplemental interrogatories (Interrogatory Nos. 42 through 68) on plaintiffs. In total,

plaintiffs provided limited substantive responses to only approximately 10 of the 68

interrogatories.

          Plaintiffs’ responses to both types of interrogatories are insufficient and deficient for

several reasons, as discussed below.

     A.    Standard Form Interrogatories

          Pursuant to Phila. Cnty. Loc. Rule 4005, a party may propound “Standard Form

Interrogatories” on another party, which have been adopted by the Court. See Phila Cnty. Loc. R.

4005. Plaintiffs’ responses to these Standard Form Interrogatories should be stricken for several

reasons, each of which is discussed below.



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            1.   Plaintiffs improperly objected to each and every Standard Form Interrogatory.

        Rule 4005(D) provides that “[t]he Court will not entertain objections to the standard

interrogatories and parties who file such objections will be subject to sanctions including

imposition of counsel fees.” See Phila. Cnty. Loc. R. 4005(D) (emphasis added).

        Abbott propounded a total of 41 Standard Form Interrogatories in each case. Despite the

clear instruction of Rule 4005(D), plaintiffs universally objected to each and every one of the

Standard Form Interrogatories propounded by Abbott in all 21 cases.

        Accordingly, all objections to Interrogatory No. 1 through Interrogatory No. 41 should be

stricken in all 21 cases.

            2.   Plaintiffs failed entirely to respond to 26 of the 41 Standard Form
                 Interrogatories.

        Plaintiffs’ failure to comply with Loc. R. 4005(D) is compounded by the fact that plaintiffs

failed to provide any response to at least 26 of the 41 Standard Form Interrogatories. 7                    These

include Interrogatory Nos. 2, 3, 5, 7, 8, 9, 10, 11, 12, 14, 15, 16, 17, 18, 19, 20, 24, 28, 29, 33, 34,

35, 36, 37, 39, and 40. Plaintiffs’ lack of response generally fell into three categories: refusal to

respond, offers to meet and confer, and unspecific promises to supplement.

        In response to Interrogatory Nos. 3, 18, 19, 20, 24, 28, 29, 39, and 40, plaintiffs outright

objected to the interrogatory and provided no further response. This is a wholly inappropriate

response to Standard Form Interrogatories, which, by rule, may not be objected to.

        In response to Interrogatory Nos. 2, 5, 7, 8, 9, 10, 14, 15, 16, 33, 34, 35, and 36, plaintiffs

objected to the interrogatory and offered to meet and confer, providing no substantive response to




        7
            Whereas all 21 plaintiffs failed to respond to 26 of the 41 Standard Form Interrogatories, approximately
half of the plaintiffs failed to respond to two additional Standard Form Interrogatories—Nos. 31 and 32—as well.


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any part of the interrogatory.8 Despite plaintiffs’ unfounded objections, these requests are highly

relevant and appropriate, including, among others:

         Interrogatory No. 2: If you claim a permanent injury resulting from the treatment, surgery
         or examination upon which this action is based, describe such injury fully and in detail.

         Interrogatory No. 5: State in detail the injuries or diseases that you allege that you suffered
         as a result of treatment, surgery or examination upon which this action is based.

         Interrogatory No. 7: Either prior to or subsequent to the treatment, surgery or examination
         referred to in the complaint, have you ever suffered any injuries, illness or diseases in those
         portions of the body claimed by you to have been affected by the treatment, surgery or
         examination referred to in the complaint? If so, state: (a) A description of the injuries or
         diseases you suffered; (b) The date and place of any accident, if such an injury or disease
         was caused by an accident; and (c) The names and addresses of all hospitals, doctors or
         practitioners who rendered treatment or examinations because of any such injuries or
         diseases.

         Interrogatory No. 10: State whether you, subsequent to the date of the treatment, surgery
         or examination, have been unable to perform adequately any of your customary
         occupational duties or social or other activities, stating with particularity (a) the duties
         and/or activities you have been unable to perform, (b) the periods of time you have been
         unable to perform, and (c) the names and last known addresses of all persons who have
         personal knowledge thereof.

         Interrogatory Nos. 14 & 34: Have you given any statement concerning this action or its
         subject matter? If so, state: (a) The name and last known address of each person to whom
         a statement was given; (b) When and where each statement was given; and (c) Please
         consider this a Request to Produce the statements referred to in the above answer.

         In response to Interrogatory Nos. 11, 12, 17, and 37, plaintiffs objected to the interrogatory

and responded only that they will supplement their responses with unspecified information at some

unspecified time in the future. Notwithstanding, these interrogatories seek basic information about

cases that plaintiffs themselves brought, which plaintiffs should have had in their possession prior

to filing their complaints. For example, Interrogatory Nos. 11 and 12 inquire as to the names and



         8
          As the procedural history of this dispute demonstrates, plaintiffs’ “offer” to meet and confer was nothing
more than an effort to placate Abbott. Abbott attempted to engage plaintiffs in discussions regarding the insufficient
responses on October 16 and again on October 27. Plaintiffs wholly ignored both communications and have never
provided availability for a meet and confer.


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locations of witnesses and people with knowledge of the facts concerning the treatment, surgery,

examination, condition, or circumstances related to the allegations in the amended complaints.

Plaintiffs’ suggestion that the investigation as to each of these areas of inquiry is premature strains

credulity. Even if some information remains subject to investigation, plaintiffs must provide the

information they currently have.

         3.   Plaintiffs’ reference to medical authorizations and/or records in response to the
              Standard Form Interrogatories are insufficient.

       In response to several Standard Form Interrogatories (Interrogatory Nos. 4, 6, 13, 21, 23,

25, 26, 27, 30, and 41), plaintiffs responded only by referring to the incomplete medical

authorizations and unspecified medical records, none of which have been produced by plaintiffs.

. These responses are insufficient.

       Where a party responds to an interrogatory by reference to documents, “the answering

party must ‘specify the records from which the answer may be derived.’” See Northampton

Borough Mun. Auth. v. Remsco Assocs., Inc., 22 Pa. D. & C.3d 541, 544 (Ct. Comm. Pls. 1981)

(citing Pa. R. Civ. P. 4006(b)). Drawing on Federal Rule of Civil Procedure 33(c), the court in

Northampton Borough determined that “the specification shall be in sufficient detail to permit the

interrogating party to locate and to identify as readily as can the party served, the records from

which the answer may be ascertained.” See id. (quoting Fed. R. Civ. P. 33(c)); see also id. (holding

reference to “various letters of transmittal of Remsco and the engineer” to be an insufficiently

specific reference to documents in response to an interrogatory).

       Here, as in Northampton Borough, plaintiffs have insufficiently described the records that

they claim contains the responsive information.             Instead, plaintiffs vaguely reference

authorizations and medical records that “have been or will be produced.” But plaintiffs have yet

to produce a single medical record to Abbott. Accordingly, far from identifying a specific portion


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of a tangible document from which Abbott could glean the requested information, plaintiffs instead

refer broadly to unproduced records. This response does not satisfy plaintiffs’ obligations under

Rule 4006.

       Moreover, reference to incomplete authorizations does not constitute an adequate response

to these interrogatories. First, plaintiffs have failed to produce a complete set of authorizations in

any of the cases. In the 20 cases in which medical authorizations have been produced, plaintiff

provided no more than one medical authorization for each parent, which was universally

designated for the infant’s birth hospital. Plaintiffs have not produced a single authorization for

any OB/GYN or any other treating specialist.

       As noted above, each plaintiff alleges that the infant suffered long-term health effects

resulting from their NEC diagnosis. Yet, when asked about the infants’ long-term injuries in

Interrogatory No. 23, plaintiffs simply directed Abbott to authorizations. But, in 15 of the 21 of

the cases, plaintiffs provided two or fewer authorizations for each infant. Plaintiffs have not

produced an authorization for any pediatrician, primary care provider, or other treating specialists

in any case. Plaintiffs cannot allege, on one hand, that infants suffer long-term health effects,

while simultaneously failing to provide Abbott the authorizations necessary to take discovery on

those alleged health effects. Beyond the medical authorizations, plaintiffs have not produced a

single insurance, education, employment, or psychiatric/psychotherapy authorization in any of the

21 cases.

       Moreover, even if the authorizations were complete (they are not), they are hardly

responsive to these interrogatories. To begin, the authorizations do not provide any substantive

information besides the name of a single hospital, which is arguably only partially responsive to

Interrogatory Nos. 6 and 27 from the above list. Additionally, as described more fully below in



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section III, plaintiffs have yet to produce a full and complete set of authorizations for any parent

or infant, meaning, at best, the authorizations are only partially responsive. Furthermore, plaintiffs

have yet to turn over a single medical record in any of the 21 cases. 9 It is entirely inappropriate

for plaintiffs to rely on incomplete authorizations or unproduced records in response to the above-

listed interrogatories.

             4.   Plaintiffs’ “responses” to the Standard Form Interrogatories are insufficient.

         Plaintiffs provided limited substantive responses to no more than four Standard Form

Interrogatories, and, in most cases, only two Standard Form Interrogatories. Even in these limited

instances where plaintiffs provided a substantive response, the information is still insufficient and

incomplete.

         In Interrogatory Nos. 1 and 22, Abbott requested “(a) Your full name; (b) Any other names

you have used or been known by; (c) Your date and place of birth; (d) Your marital status at the

time of the incident; (e) Your present marital status; (f) Your present home address; and (g) Your

social security number.” In response, plaintiffs universally provided only parent’s home address,

infant’s home address, infant’s date and place of birth, and in one instance, infant’s date of death.

While plaintiffs agreed to produce social security numbers after entry of a protective order,

plaintiffs failed to respond to the remaining components of the request and instead objected, in

defiance of Rule 4005(D).

         Similarly, only 10 of the 21 plaintiffs provided any substantive response to Interrogatory

Nos. 31 and 32. These interrogatories sought information about the witnesses and people with




         9
          Yet, plaintiffs suggested in their response to Pennsylvania Hospital’s preliminary objections that they relied
on these medical records in preparing their amended complaints.


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knowledge of the facts concerning the treatment, surgery, examination, condition, or

circumstances related to the allegations in the amended complaints.

        Eleven of the 21 plaintiffs objected outright to both Interrogatory Nos. 31 and 32, noting

only that plaintiff would supplement “if necessary.” Six of the 21 plaintiffs responded to

Interrogatory No. 32 by providing only the name of the birth hospital and standing on their

objections to Interrogatory No. 31. Four of the 21 plaintiffs responded to Interrogatory Nos. 31

and 32 by only providing very limited information on potential witnesses, such as the name of the

infants’ father and/or grandfather (Henderson, McMillian), unnamed nurses in the NICU (Parker),

and unnamed employees of the Children’s Hospital of Philadelphia (Sanders).

        The responses provided to these four interrogatories are facially insufficient, and beyond

these very limited answers, plaintiffs provided no other substantive information in response to the

Standard Form Interrogatories.

             5.   Plaintiffs’ response regarding the ongoing nature of discovery is insufficient.

        Plaintiffs universally responded to Interrogatory Nos. 23, 26, and 27 by suggesting that, as

discovery is ongoing, “Infant may have additional injuries that are, at this time, not known because

Infant is continuing to develop and may face new, or worsened, injuries as time passes.” 10 The

potentially changing nature of infants’ injuries does not relieve plaintiffs of their discovery

obligation to respond to these Standard Form Interrogatories and identify any presently known

injuries that are responsive thereto. See Appleman v. Feathers, 79 Pa. D. & C.4th 353, 360-61 (Ct.

Comm. Pls. 2006) (“Referring to the complaint and stating that discovery is ongoing does not

constitute full and complete answers.”).


        10
           In one stark example, plaintiff Nafeesah Mays responded to Interrogatory No. 22 and indicated that infant
A.R. died on August 15, 2005. Yet, despite infant’s passing, plaintiff Mays responded to Interrogatory Nos. 23, 26,
and 27 by claiming that “Infant is continuing to develop and may face new, or worsened, injuries as time passes.”


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                                              *        *      *

         Accordingly, for the foregoing reasons, Abbott respectfully requests that plaintiffs’

objections and responses to all aforementioned Standard Form Interrogatories be stricken and that

plaintiffs be ordered to provide full and complete responses to these interrogatories within 20 days

of the date of the Court’s order.

    B.    Supplemental Interrogatories

         In addition to the Standard Form Interrogatories, Abbott propounded 27 supplemental

interrogatories on each plaintiff. Plaintiffs outright objected and wholly failed to respond to more

than half of these interrogatories. In the other half, plaintiffs’ responses were wholly insufficient.

          1.   Plaintiffs universally objected and failed to provide a response to 14 of the 27
               supplemental interrogatories.

         Plaintiffs failed to respond to more than half of the supplemental interrogatories Abbott

propounded (Interrogatory Nos. 42, 48, 51, 52, 55, 56, 57, 58, 59, 60, 61, 62, 64, and 67). This

non-response is wholly inappropriate. These interrogatories seek fundamental information that is

highly relevant to plaintiffs’ claims and Abbott’s defenses, including, among others, the identity

of the formula product administered to infant (Interrogatory No. 42), what additional/different

warnings plaintiffs contend Abbott should have provided regarding its preterm infant nutrition

products (Interrogatory No. 48), the date on which infant was diagnosed with NEC (Interrogatory

No. 52), the identity of other pregnancies the plaintiff-parent has experienced and whether those

infants received preterm infant formula (Interrogatory Nos. 55 and 56), the identity of persons who

maintain relevant records (Interrogatory No. 57), infant’s non-NEC diagnoses, if any

(Interrogatory No. 58), and parent and infant’s educational background and employment

(Interrogatory Nos. 61 and 62).




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         These issues are central to the case at hand. Plaintiffs themselves placed these questions

squarely at issue in this litigation. Plaintiffs allege their infant ingested Abbott’s formula, was

diagnosed with NEC, and suffered injuries as a result. Abbott is entitled to investigate and test

these allegations by requesting fundamental information from plaintiffs regarding the nature of

their claims.

              2.   Plaintiffs’ response regarding the ongoing nature of discovery is insufficient.

         Similar to their response to the Standard Form Interrogatories, plaintiffs objected or

responded to several supplemental interrogatories (Interrogatory Nos. 42, 43, 44, 45, 46, 47, 48,

50, 51, 53, and 63), asserting that discovery is “early and ongoing” or that the interrogatory itself

was “premature.” These objections and responses are unsupportable, as the ongoing nature of

discovery does not excuse plaintiffs from satisfying their discovery obligations. See Appleman,

79 Pa. D. & C.4th at 360-61 (“Referring to the complaint and stating that discovery is ongoing

does not constitute full and complete answers.”).

         These interrogatories seek basic information about cases that plaintiffs themselves brought,

which plaintiffs should have had in their possession prior to filing their complaints. For example,

Interrogatory No. 42 simply seeks identification of the product infant was administered.

Additionally, Interrogatory No. 50 seeks information regarding the mechanism by which plaintiffs

assert Abbott’s preterm infant nutrition products allegedly cause NEC. Plaintiffs have initiated

these cases and allege these very claims. Plaintiffs cannot continue to avoid answering basic

questions that go to the heart of their claims by continuously asserting that their investigation is

“ongoing.”11



         11
            Plaintiffs also objected to Interrogatory No. 42 as requiring expert opinion. This objection, too, is
unsupportable. The information required to respond to Interrogatory No. 42 would be uniquely in plaintiffs’ possession
or, at worst, readily available to plaintiffs through their medical records. These deficiencies are not cured by any

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        Despite having 60 days to respond to Abbott’s discovery requests, plaintiffs nonetheless

responded that discovery was ongoing or that the request was premature to additional relevant

interrogatories, including:

        Interrogatory No. 43: STATE whether YOU and/or PARENTS saw or read any label,
        packaging, product guide, or other DOCUMENTS RELATED TO the PRETERM
        INFANT FORMULA PRODUCTS before they were administered to the INFANT and, if
        so, IDENTIFY the label, packaging, or product guide, or other DOCUMENTS you saw or
        read and IDENTIFY the time, place, and manner in which YOU saw or read such materials.

        Interrogatory No. 44: STATE whether YOU and/or PARENTS had any
        COMMUNICATIONS with any HEALTH CARE PRACTITIONERS regarding the
        decision to administer any nutrition, including but not limited to breast milk, donor milk,
        or PRETERM INFANT FORMULA PRODUCTS, to the INFANT and, if so, IDENTIFY
        all persons with whom YOU and/or PARENTS had such COMMUNICATIONS, the
        date(s), time, place, and manner of those COMMUNICATIONS, and DESCRIBE the
        content of those COMMUNICATIONS.

        Interrogatory No. 46: IDENTIFY any gifts, coupons, PRETERM INFANT FORMULA
        PRODUCTS, or OTHER INFANT FORMULA PRODUCTS that YOU and/or PARENTS
        received from any HEALTH CARE PROVIDER, including without limitation the
        PERSON who provided any such items to YOU and/or PARENTS, the date YOU and/or
        PARENTS received such items, and the substance of any discussions about such items.

        To the extent plaintiffs provided any response to these interrogatories, the responses were

generic, lacked substantive information, and failed to answer all components of the interrogatories.

For example, in response to Interrogatory No. 44, regarding communications with healthcare

providers regarding the decision to administer nutrition to infant, including the persons involved,

as well as the time, place, manner, and content of the communication, plaintiffs’ responses

included generic phrases such as:

        “Plaintiff recalls discussing the benefits of feeding premature babies with human milk but
        does not recall having conversations related to consent to feed her child.” (Goodmond Rya
        G., Goodmond Ryh G.);




vague promise to supplement at a later date. Rather, plaintiffs have a plain discovery obligation to provide
contemporaneous responses to these relevant requests.


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         “Plaintiff recalls signing a consent form for her child to be given formula or fortifier.”
         (Kajuffa);

         “Plaintiff recalls being consulted about nutrition . . . .” (Moment); and

         “Plaintiff recalls having conversations related to consent to feed her child.” (Taylor).

In each of these instances, plaintiffs fail to provide basic information that is central to the claims

they brought, including the location, time, content, and participants of these conversations. 12 And

plaintiffs’ failure to produce this basic information has prevented Abbott from being in a position

to take plaintiffs’ depositions.

                                                     *        *        *

         Accordingly, for the foregoing reasons, Abbott respectfully requests that plaintiffs’

objections and responses to all aforementioned supplemental interrogatories be stricken and that

plaintiffs be ordered to provide full and complete responses to these interrogatories within 20 days

of the date of the Court’s order.

II. SEVERAL OF PLAINTIFFS’ OBJECTIONS AND RESPONSES TO ABBOTT’S
    REQUESTS FOR PRODUCTION ARE IMPROPER AND INSUFFICIENT, AND
    THEREFORE, THEY SHOULD BE STRICKEN.

         Abbott propounded 46 requests for production on plaintiffs in all 21 cases. Plaintiffs’

responses to numerous of these requests are insufficient.

              1.   Plaintiffs’ reference to medical authorizations, medical records, or unspecified
                   third-party productions in response to several requests is insufficient.

         In response to numerous requests (e.g., Request Nos. 1, 6, 9, 17, 38, 39, 42, and 44),

plaintiffs responded only by directing Abbott to incomplete medical authorizations, unproduced

medical records, and unspecified third-party productions. For the reasons already discussed above,




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           These same failures and lack of substantive information similarly plague plaintiffs’ responses to
Interrogatory Nos. 42, 45, 46, 47 and 53.


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this response is entirely insufficient. As described more fully above, plaintiffs failed to provide

complete sets of authorizations for any parent or infant and similarly failed to produce a single

medical record. In 15 of the 21 of the cases, plaintiffs provided two or fewer authorizations for

each infant. In 20 cases, plaintiffs provided only one authorization for each parent, failing entirely

to produce any parent or infant authorization in Wiggins. Plaintiffs in no way discharge their

discovery obligations by referring to incomplete, unproduced, or unspecified documents.

       Moreover, plaintiffs’ manner of response, by simply referring to the authorizations, is

deficient for yet another reason. In particular, neither the authorizations, nor the medical records

that they authorize Abbott to obtain, would result in documents responsive to a majority of these

requests, including, for example:

       Request No. 1: All DOCUMENTS and COMMUNICATIONS that support, refute, or
       relate to any of YOUR allegations in the COMPLAINT.

       Request No. 6: All DOCUMENTS or evidence of any kind supporting each and every act
       and/or omission by ABBOTT that YOU allege supports the causes of action against
       ABBOTT in the COMPLAINT.

       Request No. 17: All DOCUMENTS identified in connection with YOUR or INFANT’s
       responses to any Interrogatories in this LAWSUIT, or referenced or used in preparing such
       responses.

       Request No. 38: All DOCUMENTS that constitute, reflect, refer to, or relate to any articles,
       journals, notes, news alerts, or other information about PRETERM INFANT FORMULA
       PRODUCTS or OTHER INFANT FORMULA PRODUCTS.

       Request No. 39: All DOCUMENTS that constitute, reflect, refer to, or relate to any articles,
       journals, notes, news alerts, or other information about ABBOTT or any other
       manufacturer of PRETERM INFANT FORMULA PRODUCTS or OTHER INFANT
       FORMULA PRODUCTS.

       Request No. 42: All non-privileged COMMUNICATIONS and DOCUMENTS between
       YOU and any PERSON related to YOUR decision to initiate this LAWSUIT.

       Request No. 44: All YOUR calendars, journals, or other DOCUMENTS that reflect YOUR
       daily activities for the ten (10) years preceding the events giving rise to this LAWSUIT to
       the present.


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          2.     Plaintiffs’ objection to certain requests as premature is unsupportable and thus
                 insufficient.

        Plaintiffs objected to several requests (Request Nos. 1, 2, 5, 19, 21, 22, 23, 24, and 45) as

premature. This objection is unsupportable. These requests were timely propounded, and they

seek information uniquely within plaintiffs’ possession—indeed, the majority seek information

that should have been in plaintiffs’ possession prior to filing their complaints.

        To provide a stark example, plaintiffs universally objected that it was premature of Abbott

to seek authorizations for medical records from plaintiffs. Notwithstanding, plaintiffs responded

to eight additional requests by referring Abbott to authorizations and medical records. Plaintiffs

cannot have it both ways. Plaintiffs’ failure to provide this critical and relevant information, or

otherwise authorize Abbott to obtain it itself, prevents Abbott from preparing for the depositions

of plaintiffs.

          3.     Plaintiffs’ objection that certain requests seek health-related information is
                 unsupportable and thus insufficient.

        Plaintiffs objected to several requests, suggesting they sought “health information

protected by state and federal law.” This objection is unsupportable for multiple reasons. First,

plaintiffs have brought suit against Abbott claiming physical injury; they have placed their health

and related information squarely at issue in this case, and accordingly, they have waived any claim

to protection over that information.

        Courts in this Commonwealth have held that “[b]y filing actions for personal injuries, the

plaintiff-patients waive their privilege and, in effect, implicitly consent to disclosures by their

physicians concerning matters relating to the plaintiff-patients’ medical conditions.” See Moses v.

Williams, 549 A.2d 950, 956 (Pa. Super. Ct. 1988). Indeed, courts have similarly found that

“privileges protecting records for mental health treatment, drug and alcohol rehabilitation, and

communications to psychiatrists/psychologists are waived by filing a personal injury lawsuit

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placing such conditions at issue.” See Gormley v. Edgar, 995 A.2d 1197, 1205 (Pa. Super. Ct.

2010) (“[O]ur legislature could not have intended the miscarriage of justice that would result if a

plaintiff could file a lawsuit and then deny a defendant relevant evidence that would mitigate

defendant's liability.”).

         Here, plaintiffs, both parents and infants, have squarely placed their physical condition at

issue in this litigation, and, by bringing the instant actions for the recovery of damages based on

personal injury, they have waived any right to claim a privilege over this critical and central

information.

         In any event, as each of Request Nos. 20, 21, 22, 23, and 24 makes clear, the authorizations

through which Abbott seeks permission to collect this health-related information are HIPAA-

compliant.

          4.   Plaintiffs’ scope-related objections to Request Nos. 8 and 9 are unsupportable
               and thus insufficient.

         Plaintiffs object to Request Nos. 8 and 9 as “not limited in time and scope.” This is

categorically incorrect. Request No. 8, by its very terms, seeks documents “in the ten (10) years

preceding the events giving rise to this LAWSUIT to the present.” In addition, Request No. 9

seeks medical bills, statements, or invoices “for which YOU seek damages in this LAWSUIT.”

This request is clearly limited to and targeted at documents which detail the amount of plaintiffs’

alleged damages. There is no colorable argument that these documents are outside of the temporal

scope of this litigation or otherwise “not related or relevant to the issues in this case,” as plaintiffs

claim.

III. PLAINTIFFS FAILED TO SATISFY THEIR DISCOVERY OBLIGATIONS BY
     PROVIDING INCOMPLETE AUTHORIZATIONS.

         As part of its requests for production, Abbott requested that plaintiffs execute medical,

insurance, employment, education, and psychiatric/psychotherapy authorizations for both infant

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and parent. Plaintiffs initially agreed to “serve as many authorizations as possible by 9/8.”

Plaintiffs also agreed to provide us with the medical records they had, as well as “med, education,

[and] insurance auths.” Notwithstanding, as of October 9, the date on which plaintiffs’ discovery

responses were due pursuant to the extension, not one authorization had been received.

        On October 11, nearly 45 days after plaintiffs said they would produce authorizations and

medical records on a rolling basis, plaintiffs provided Abbott with a very limited number of

authorizations for only some of the plaintiffs. Two weeks later, on October 26, plaintiffs provided

another limited set of authorizations..

        To date, plaintiffs have not provided a complete set of authorizations in any of the 21

actions, insofar as each is (1) missing medical authorizations relating to additional relevant treaters,

and (2) missing any and all insurance, education, and psychiatric/psychotherapy authorizations.

In particular, for all 20 parents for whom an authorization have been produced, plaintiffs provided

only a single authorization, designated for the infant’s birth hospital. Plaintiffs did not provide

any authorizations directed at other treaters, notably the parent’s OB/GYN or other treating

specialists. Additionally, plaintiffs did not provide any insurance, employment, education, or

psychiatric/psychotherapy authorizations for any parent. Plaintiffs have failed to provide any

parent authorization whatsoever in the Wiggins action (Case No. 220302986).

        Similarly, in 15 of the 21 cases, parents provided two or fewer authorizations for each

infant. Where plaintiffs did provide two authorizations for an infant, one was universally

designated for the birth hospital and another was designated for a different treating hospital. In

only rare instances, plaintiffs provided authorizations for more than 2 hospitals. Yet, across all 21

cases, plaintiffs provided no authorizations for other types of treaters, including pediatricians or

other treating specialists.   Additionally, plaintiffs did not provide any insurance, employment,



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education, or psychiatric/psychotherapy authorizations for any infant in any case. Plaintiffs have

failed to provide any infant authorizations whatsoever in the Wiggins (Case No. 220302986) and

Williams actions (Case No. 220400141).

       Plaintiffs’ failure to timely provide complete sets of authorizations for all parents and

infants is compounded by plaintiffs’ deficient discovery responses. In particular, in response to

several interrogatories and requests for production, plaintiffs improperly respond by simply

directing Abbott to incomplete authorizations and unproduced medical records, and otherwise

failing to provide any substantive information. .

       Accordingly, Abbott respectfully requests that this Court direct plaintiffs to either provide

a complete set of authorizations for all infants and parents or otherwise direct plaintiffs to obtain

the medical records themselves for production to Abbott.

                                         CONCLUSION

       For the foregoing reasons, Abbott respectfully requests that this Court strike plaintiffs’

improper and insufficient objections and responses to Abbott’s discovery requests and direct

plaintiffs to serve complete and accurate responses thereto within 20 days of the entry of the

Court’s order.


Dated: November 10, 2023                              Respectfully Submitted:


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                       EXHIBIT A
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                                                    :
 HOLLI CARTER, ON HER OWN BEHALF AND AS             :   IN THE COURT OF COMMON PLEAS
 PARENT AND NATURAL GUARDIAN OF J.C., A             :   PHILADELPHIA COUNTY
 MINOR,                                             :
                                                    :   CIVIL TRIAL DIVISION
                               Plaintiff,           :
                                                    :   MARCH TERM 2022
        v.                                          :   NO. 2588
                                                    :
 MEAD JOHNSON & COMPANY, LLC, ET AL.                :
                                                    :
                                                    :
                               Defendants.          :

 PLAINTIFF HOLLI CARTER’S RESPONSE TO ABBOTT LABORATORIES’ FIRST
SET OF INTERROGATORIES DIRECTED TO PLAINTIFF HOLLI CARTER ON HER
         OWN BEHALF AND ON BEHALF OF HER MINOR CHILD J.C.

       Plaintiff Holli Carter, on her own behalf and as Parent and Natural Guardian of J.C., a

Minor, through counsel, hereby objects and responds to Defendant Abbott Laboratories

Interrogatories, as follows:




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                                   GENERAL OBJECTIONS

       1.       Plaintiff objects to the Requests to the extent that they seek information that is

protected from disclosure by the attorney-client privilege, the attorney work product doctrine or

any other recognized privilege.

       2.       Plaintiff objects to the Requests to the extent that they require Respondents to

search for and produce documents or information that are not within their possession, custody, or

control.

       3.       Plaintiff objects to the Requests to the extent they seek information or documents

that cannot be located by Respondents after reasonably diligent inquiry, are readily available from

public sources, or are available to Complaint Counsel from another source or by other means that

are more convenient, more appropriate, less burdensome, or less expensive.

       4.       Plaintiff objects to the Requests to the extent they seek legal conclusions and/or

would require Respondents to reach a legal conclusion in order to prepare a response.

                           RESPONSES TO INTERROGATORIES

   STANDARD FORM INTERROGATORIES TO PLAINTIFF HOLLI CARTER

INTERROGATORY NO. 1 (Medical Malpractice Case Standard Interrogatory No. 1):

       State:

                (a)    Your full name;

                (b)    Any other names you have used or been known by;

                (c)    Your date and place of birth;

                (d)    Your marital status at the time of the incident;

                (e)    Your present marital status;

                (f)    Your present home address; and



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               (g)      Your social security number.

        RESPONSE: Plaintiff objects to this Interrogatory because it is overbroad and seeks

information that is irrelevant and immaterial because it is not limited to the time period or products

relevant to the claims and defenses in this case. Subject to and without waiving any objections,

Holli Carter resides at 16 Carmen Dr, Cape May Court House, NJ 08210. Once a protective order

has been entered in this case, Plaintiffs will duly supplement its response to this interrogatory with

additional information.

INTERROGATORY NO. 2 (Medical Malpractice Case Standard Interrogatory No. 2):

        If you claim a permanent injury resulting from the treatment, surgery or examination upon

which this action is based, describe such injury fully and in detail.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Without waiving this objection, Plaintiff is

willing to meet and confer with Defendant or whether a more limited request would suffice.

INTERROGATORY NO. 3 (Medical Malpractice Case Standard Interrogatory No. 3):

        Were you ever in the Armed Forces? If so, state: the dates, branch of service, rank at

discharge, whether you had any infirmities at discharge, whether you have any claim or are

receiving benefits for any infirmities from said service, your Armed Forces service number, and

your Veterans “C” number.

        RESPONSE: Plaintiff objects to this Interrogatory because it is overbroad and seeks

information that is irrelevant and immaterial as it is not limited to the time period and not relevant

to the claims and defenses in this case. Plaintiff also objects to the extent that the term “infirmities”

is vague and/or undefined.




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INTERROGATORY NO. 4 (Medical Malpractice Case Standard Interrogatory No. 4):

        State the name and address of your family physician at the time of the treatment, surgery

or examination upon which this action is based.

        RESPONSE: Plaintiff objects to this Interrogatory because the term “upon which this

action is based” is vague and/or undefined. Plaintiff further objects that this Interrogatory is

incomprehensible. Subject to and without waiving any objections, Plaintiff directs Defendant to

the medical authorizations and medical records that have been or will be produced.

INTERROGATORY NO. 5 (Medical Malpractice Case Standard Interrogatory No. 5):

        State in detail the injuries or diseases that you allege that you suffered as a result of

treatment, surgery or examination upon which this action is based.

        RESPONSE: Plaintiff objects to this Interrogatory because the term “upon which this

action is based” is vague and/or undefined. Plaintiff further objects that this Interrogatory is

incomprehensible to the extent it is directed to Plaintiff, not Infant. Plaintiff further objects to this

Interrogatory because it is overbroad and seeks irrelevant information regarding medical providers

and treatment that is unrelated to Infant’s injuries. Plaintiff is willing to confer with Defendant

about the scope of this Interrogatory.

INTERROGATORY NO. 6 (Medical Malpractice Case Standard Interrogatory No. 6):

        If you received medical treatment, tests, or examinations (including x-rays) because of

injuries or diseases you suffered as a result of the treatment, surgery, or examination referred to in

the complaint, state:

                (a)     The name and address of each hospital at which you were treated or

                        examined;

                (b)     The dates on which each such treatment or examination at



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                        a hospital was rendered and the charges by the hospital

                        for each;

                (c)     The name and address of each doctor or practitioner by whom

                        you were treated or examined;

                (d)     The dates on which each such treatment or examination by

                        a doctor or practitioner was rendered and the charges for

                        each;

                (e)     The identity of all reports regarding any medical treatment

                        or examination, setting forth the author and date of such

                        reports; and

                (f)     Please consider this as a request to produce copies of all

                        reports referred to in the above answer.

        RESPONSE: Plaintiff objects to this Interrogatory as incomprehensible to the extent it is

directed to Plaintiff, not Infant. Plaintiff further objects to this Interrogatory because it is overbroad

and may seek irrelevant information regarding medical providers and treatment that is unrelated

to Infant’s injuries. Plaintiff also objects that the Interrogatory is compound and overly

burdensome in that it requires a narrative response and is more properly the subject of a document

production request.

        Subject to and without waiving any objections, Plaintiff directs Defendant to the medical

authorizations and medical records that have been or will be produced.

INTERROGATORY NO. 7 (Medical Malpractice Case Standard Interrogatory No. 7):

        Either prior to or subsequent to the treatment, surgery or examination referred to in the

complaint, have you ever suffered any injuries, illness or diseases in those portions of the body



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claimed by you to have been affected by the treatment, surgery or examination referred to in the

complaint?

                 If so, state:

                 (a)     A description of the injuries or diseases you suffered;

                 (b)     The date and place of any accident, if such an injury or disease was caused

                         by an accident; and

                 (c)     The names and addresses of all hospitals, doctors or practitioners who

                         rendered treatment or examinations because of any such injuries or

                         diseases.

        RESPONSE: Plaintiff objects to this Interrogatory as incomprehensible to the extent it is

directed to Plaintiff, not Infant. Plaintiff further objects to this Interrogatory because it is overbroad

and may seek irrelevant information regarding medical providers and treatment that is unrelated

to Infant’s injuries. Plaintiff also objects that the Interrogatory is compound and overly

burdensome in that it requires a narrative response and is more properly the subject of a document

production request. Plaintiff is willing to confer with Defendant about the scope of this

Interrogatory.

INTERROGATORY NO. 8 (Medical Malpractice Case Standard Interrogatory No. 8):

        For the period of three years immediately preceding the date of the treatment, surgery or

examination referred to in the complaint, state:

                 (a)     The name and address of each of your employers or, if you were self-

                         employed during that period, each of your business addresses and the name

                         of the business while self-employed;

                 (b)     The dates of commencement and termination of each of your periods of



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                       employment or self-employment;

               (c)     A detailed description of the nature of your occupation and the services

                       performed by you in each employment or self-employment; and

               (d)     Your average weekly earnings from each employment or self- employment;

                       the average number of hours worked by you per week in each employment

                       or self-employment; and the amount of income from employment or self-

                       employment reported on your Federal Income Tax Return for each year.

       RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.

       Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case. Plaintiff is willing to confer with Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 9 (Medical Malpractice Case Standard Interrogatory No. 9):

       If you have engaged in one or more gainful occupations subsequent to the date of the

treatment, surgery or examination referred to in the complaint, state:

               (a)     The name and address of each of your employers or, if you were self-

                       employed, each of your business addresses and the name of the business

                       while self- employed;

               (b)     The dates of commencement and termination of each of your periods of

                       employment or self-employment;

               (c)     A detailed description of the nature of your occupation and the services

                       performed by you in each employment or self-employment;



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                (d)     The wage, salary or rate of earnings received by you in each employment

                        or self-employment and the amount of income reported on your Federal

                        Income Tax Return for each year subsequent to the accident; and

                (e)     The dates of all absences from your occupation, the reasons therefor and the

                        amount of any earnings lost by you because of such absences.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.

        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case. Plaintiff is willing to confer with Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 10 (Medical Malpractice Case Standard Interrogatory No. 10):

        State whether you, subsequent to the date of the treatment, surgery or examination, have

been unable to perform adequately any of your customary occupational duties or social or other

activities, stating with particularity (a) the duties and/or activities you have been unable to perform,

(b) the periods of time you have been unable to perform, and (c) the names and last known

addresses of all persons who have personal knowledge thereof.

        RESPONSE: Plaintiff objects to this Interrogatory as incomprehensible to the extent it is

directed to Plaintiff, not Infant. Plaintiff also objects that the Interrogatory is compound and overly

burdensome. Plaintiff is willing to confer with Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 11 (Medical Malpractice Case Standard Interrogatory No. 11):

        State the name and last known address of each person who (a) was a witness to the

treatment, surgery or examination through sight or hearing and/or (b) has knowledge of facts



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concerning the happening of the treatment, surgery or examination or conditions or circumstances

at the time of the treatment, surgery or examination prior to, after, or at the time of the accident,

excepting those persons who acquired such knowledge during the course of this litigation.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it is premature.

        Subject to the foregoing objections, as discovery is ongoing, Plaintiff will supplement the

response to this Interrogatory.

INTERROGATORY NO. 12 (Medical Malpractice Case Standard Interrogatory No. 12):

        With respect to each person identified in the answer to interrogatory 11(a), state that

person’s exact location and activity at the time of the treatment, surgery or examination.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it is premature.

        Subject to the foregoing objections, as discovery is ongoing, Plaintiff will supplement the

response to this Interrogatory.

INTERROGATORY NO. 13 (Medical Malpractice Case Standard Interrogatory No. 13):

        Have you or anyone acting on your behalf obtained from any person any statement

concerning this action or its subject matter? If so, state:

                (a)     The name and last known address of each such person;

                (b)     When, where, by whom and to whom each statement was made, and whether

                        it was reduced to writing or otherwise recorded;

                (c)     The name and address of any person who has custody of any such statements

                        that were reduced to writing or otherwise recorded; and

                (d)     Please consider this a Request to Produce those statements referred to in the

                        above answer.




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       RESPONSE: Plaintiff objects to this Interrogatory because it is vague. Plaintiff objects to

this Interrogatory because it seeks opinions or contentions relating to fact, or the application of

law to facts, as to which discovery has yet to be completed, and requires Plaintiff to anticipate or

assume factual information that has not been established or that may be forthcoming in discovery.

Plaintiff also objects that this Interrogatory is premature because discovery is ongoing. Plaintiff

further objects that this Interrogatory seeks premature disclosure of expert opinion.

       Subject to and without waiving said objections, Plaintiff directs Defendant to all relevant

documents that will be produced during the course of discovery. As discovery is ongoing, Plaintiff

will supplement Plaintiff’s response to this Interrogatory.

INTERROGATORY NO. 14 (Medical Malpractice Case Standard Interrogatory No. 14):

       Have you given any statement concerning this action or its subject matter? If so, state:

               (a)     The name and last known address of each person to whom a statement was

                       given;

               (b)     When and where each statement was given; and

               (c)     Please consider this a Request to Produce the statements referred to in the

                       above answer.

       RESPONSE: Plaintiff objects to this Interrogatory because the term “any statement

concerning this action or its subject matter” is overbroad and vague. Plaintiff is willing to confer

with Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 15 (Medical Malpractice Case Standard Interrogatory No. 15):
     Do you know of the existence of any photographs, diagrams or models of the surrounding

area or the areas of the treatment, surgery or examination or any other matters or things involved

in this treatment, surgery or examination.

               If the answer is in the affirmative, state:

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               (a)     The date(s) when such photographs, diagrams or models were made;

               (b)     The name and address of the party making them;

               (c)     Where they were made;

               (d)     The object(s) or subject(s) each photograph, diagram or model represents;

                       and

               (e)     Please consider this a request to produce the photographs, diagrams and/or

                       models referred to in the above answer.

       RESPONSE: Plaintiff objects to this Interrogatory because the Interrogatory is vague.

Plaintiff is willing to confer with Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 16 (Medical Malpractice Case Standard Interrogatory No. 16):

               (a)     Have you, or anyone on your behalf, conducted any investigations of the

                       treatment, surgery or examination which is the subject matter of the

                       complaint?

               (b)     If the answer to (a) is in the affirmative, state:

                       (1)     the name, address, and employer of all persons who conducted any

                               investigations;

                       (2)     The dates of the investigation;

                       (3)     The dates of any reports of any investigations and the identity of the

                               persons who have possession thereof; and

                       (4)     Please consider this a request to produce your investigation reports,

                               except those portions which are protected from discovery by

                               Pennsylvania Rule of Civil Procedure 4003.3.



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       RESPONSE: Plaintiff objects to this Interrogatory because the term “any investigations of

the treatment, surgery or examination” is overbroad and vague. Plaintiff further objects based upon

attorney-client privilege and the attorney work product doctrine. Plaintiff is willing to confer with

Defendant about the scope of this Interrogatory.

INTERROGATORY NO. 17 (Medical Malpractice Case Standard Interrogatory No. 17):

               (a)     State the name and address of each person whom you expect to call as expert

                       witnesses at trial and state the subject matter on which the expert is expected

                       to testify.

               (b)     For each such expert, state, or have the expert state, the substance of the

                       facts and opinions to which the expert is expected to testify and summarize

                       the grounds for each such opinion. (Experts’ reports containing the same

                       information may be attached in lieu of an answer.)

               (c)     If the expert is employed and/or self-employed, identify the employer and

                       the nature of employment hereof.

               (d)     Identify all documents submitted to the expert and all products and/or

                       locales inspected by the expert in connection with preparations for his/her

                       testimony.

               (e)     Set forth the qualifications of each expert, listing the schools attended, years

                       of attendance, degrees received, experience in any particular field of

                       specialization or expertise, all publications authored, including the title of

                       the work and the book in which it was printed giving the date of publication.

       RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff also

objects to the extent that she does not yet know the identities of the experts likely to be called at



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trial. Further, the Interrogatory is premature to the extent that Plaintiff does not yet have sufficient

information to enable an expert to analyze and formulate a comprehensive opinion with respect to

the facts and issues involved in this action. Plaintiff acknowledges her affirmative duty to identify

the expert witnesses, including rebuttal witnesses, as soon as feasible.

        Subject to the foregoing, Plaintiff will amend and/or supplement this response.

INTERROGATORY NO. 18 (Medical Malpractice Case Standard Interrogatory No. 18):

        State the specific facts known to you or anyone acting on your behalf upon which you base

each claim of negligence or malpractice alleged in this action.

        RESPONSE: Plaintiff objects to this Interrogatory as premature because discovery is

ongoing, and documents related to this Interrogatory are in Defendant’s possession and have not

yet been produced to Plaintiff. Plaintiff further objects that this Interrogatory improperly seeks

legal conclusions. Plaintiff also objects to this Interrogatory to the extent that it seeks opinions or

contentions relating to fact, or the application of law to facts, as to which discovery has yet to be

completed, and requires Plaintiff to anticipate or assume factual information that has not been

established or that may be forthcoming in discovery. Plaintiff reserves the right amend this

response.

INTERROGATORY NO. 19 (Medical Malpractice Case Standard Interrogatory No. 19):

                (a)     Were the injuries you allege in this action caused in part by sickness,

                        disease, abnormality or injury other than the injuries you claim resulted from

                        the treatment, surgery or examination upon which this action is based?

                (b)     If so, state specifically the nature of each such sickness, disease, abnormality

                        or injury and how each affected you.

                (c)     Are there any medical, x-rays, hospital or other reports which indicate the



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                        nature of each such sickness, disease or abnormality or injury and how each

                        affected you.

                (d)     If so, where and when was each report made and what is the name and

                        present or last known address of the person who made each such report and

                        each such person who has custody or possession of each such report or any

                        copy thereof?

                (e)     Have you been furnished with any such information in any way other than

                        by the documents referred to in this interrogatory? If so, how, when and

                        where and by whom?

        RESPONSE: Plaintiff objects to this Interrogatory as incomprehensible to the extent it is

directed to Plaintiff, not Infant. Plaintiff further objects to this Interrogatory because it is overbroad

and may seek irrelevant information regarding medical providers and treatment that is unrelated

to Infant’s injuries. Plaintiff also objects that the Interrogatory is compound and overly

burdensome in that it requires a narrative response and is more properly the subject of a document

production request. Plaintiff also objects that the Interrogatory requires expert opinion.

INTERROGATORY NO. 20 (Product Liability Standard Interrogatory No. 1):

        Identify all instruction, operating, repair, maintenance and safety manuals regarding the

product actually involved in the accident and any other documents which describe the product and

its use stating: titles, dates of publication, general description and amendments thereto and identify

the persons who have custody thereof.

        RESPONSE: Plaintiff objects to this Interrogatory as premature because discovery is

ongoing, and documents related to this Interrogatory are in Defendant’s possession and have not

yet been produced to Plaintiff. Plaintiff further objects that this Interrogatory improperly seeks



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legal conclusions. Plaintiff also objects to this Interrogatory to the extent that it seeks opinions or

contentions relating to fact, or the application of law to facts, as to which discovery has yet to be

completed, and requires Plaintiff to anticipate or assume factual information that has not been

established or that may be forthcoming in discovery.

INTERROGATORY NO. 21 (Personal Injury Case Standard Interrogatory No. 3):

       If you have incurred any bills or expenses in connection with the injuries or diseases which

you suffered because of the accident referred to in the complaint, and such bills or expenses are

not otherwise listed in answer to these interrogatories, set forth the amount of each such bill or

expense, the service for which the bill or expense was incurred, and the identity of the person who

rendered the bill or who was involved in the expense.

       RESPONSE: Plaintiff objects to this Interrogatory because it seeks opinions or contentions

relating to fact, or the application of law to facts, as to which discovery has yet to be completed,

and requires Plaintiff to anticipate or assume factual information that has not been established or

that may be forthcoming in discovery. Plaintiff also objects that this Interrogatory is premature

because discovery is ongoing. Plaintiff further objects that this Interrogatory seeks premature

disclosure of expert opinion.

       Subject to and without waiving said objections, Plaintiff directs Defendant to all relevant

documents that will be produced during the course of discovery. As discovery is ongoing, Plaintiff

will supplement Plaintiff’s response to this Interrogatory.

                STANDARD FORM INTERROGATORIES TO PLAINTIFF J.C.

INTERROGATORY NO. 22 (Medical Malpractice Case Standard Interrogatory No. 1):

       State:

                  (a)    Your full name;



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                  (b)      Any other names you have used or been known by;

                  (c)      Your date and place of birth;

                  (d)      Your marital status at the time of the incident;

                  (e)      Your present marital status;

                  (f)      Your present home address; and

                  (g)      Your social security number.

          RESPONSE: H.C. was born on October 6, 2014, at Pennsylvania Hospital. H.C. resides

  at 16 Carmen Dr, Cape May Court House, NJ 08210.

          Plaintiff will provide H.C.’s social security number after this Court enters a protective

  order for this litigation.

INTERROGATORY NO. 23 (Medical Malpractice Case Standard Interrogatory No. 2):

        If you claim a permanent injury resulting from the treatment, surgery or examination upon

which this action is based, describe such injury fully and in detail.

        RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff also

objects that the interrogatory is vague as to “treatment” and “examination.” Plaintiff further objects

that this Interrogatory seeks premature disclosure of expert opinion.

        Subject to and without waiving any objections, Plaintiff directs Defendant to the medical

authorizations and medical records that have been or will be produced. Plaintiff further refers

Defendant to any documents produced by and/or that will be produced by Defendant or any third-

party in this case.

        As discovery is ongoing, Plaintiff will supplement the response to this Interrogatory. In

addition, Plaintiff and Infant may have additional injuries that are, at this time, not known because

Infant is continuing to develop and may face new, or worsened, injuries as time passes.



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INTERROGATORY NO. 24 (Medical Malpractice Case Standard Interrogatory No. 3):

        Were you ever in the Armed Forces? If so, state: the dates, branch of service, rank at

discharge, whether you had any infirmities at discharge, whether you have any claim or are

receiving benefits for any infirmities from said service, your Armed Forces service number, and

your Veterans “C” number.

        RESPONSE: Plaintiff objects to this Interrogatory because it is overbroad and seeks

information that is irrelevant and immaterial as it is not limited to the time period and not relevant

to the claims and defenses in this case. Plaintiff also objects to the extent that the term “infirmities”

is vague and/or undefined.

INTERROGATORY NO. 25 (Medical Malpractice Case Standard Interrogatory No. 4):

        State the name and address of your family physician at the time of the treatment, surgery or

examination upon which this action is based.

        RESPONSE: Plaintiff objects to this Interrogatory because the term “upon which this

action is based” is vague and/or undefined. Plaintiff further objects that this Interrogatory is

incomprehensible. Subject to and without waiving any objections, Plaintiff directs Defendant to

the medical authorizations and medical records that have been or will be produced.

INTERROGATORY NO. 26 (Medical Malpractice Case Standard Interrogatory No. 5):

        State in detail the injuries or diseases that you allege that you suffered as a result of

treatment, surgery or examination upon which this action is based.

        RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff further

objects that this Interrogatory seeks premature disclosure of expert opinion. Plaintiff further

objects to this Interrogatory as compound and overly burdensome in that it requires a narrative

response and is more properly the subject of a document production request.



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        Subject to and without waiving any objections, Plaintiff directs Defendant to the medical

authorizations and medical records that have been or will be produced. Plaintiff further refers

Defendant to any documents produced by and/or that will be produced by Defendant or any third-

party in this case.

        As discovery is ongoing, Plaintiff will supplement the response to this Interrogatory. In

addition, Plaintiff and Infant may have additional injuries that are, at this time, not known because

Infant is continuing to develop and may face new, or worsened, injuries as time passes.

INTERROGATORY NO. 27 (Medical Malpractice Case Standard Interrogatory No. 6):

        If you received medical treatment, tests, or examinations (including x-rays) because of

injuries or diseases you suffered as a result of the treatment, surgery, or examination referred to in

the complaint, state:

                (a)     The name and address of each hospital at which you were treated or

                        examined;

                (b)     The dates on which each such treatment or examination at a hospital was

                        rendered and the charges by the hospital for each;

                (c)     The name and address of each doctor or practitioner by whom you were

                        treated or examined;

                (d)     The dates on which each such treatment or examination by a doctor or

                        practitioner was rendered and the charges for each;

                (e)     The identity of all reports regarding any medical treatment or examination,

                        setting forth the author and date of such reports; and

                (f)     Please consider this as a request to produce copies of all reports referred to

                        in the above answer.



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        RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff further

objects that this Interrogatory seeks premature disclosure of expert opinion. Plaintiff further

objects to this Interrogatory as compound and overly burdensome in that it requires a narrative

response and is more properly the subject of a document production request.

        Subject to and without waiving any objections, Plaintiff directs Defendant to the medical

authorizations and medical records that have been or will be produced. Plaintiff further refers

Defendant to any documents produced by and/or that will be produced by Defendant or any third-

party in this case.

        As discovery is ongoing, Plaintiff will supplement the response to this Interrogatory. In

addition, Plaintiff and Infant may have additional injuries that are, at this time, not known because

Infant is continuing to develop and may face new, or worsened, injuries as time passes.

INTERROGATORY NO. 28 (Medical Malpractice Case Standard Interrogatory No. 7):

        Either prior to or subsequent to the treatment, surgery or examination referred to in the

complaint, have you ever suffered any injuries, illness or diseases in those portions of the body

claimed by you to have been affected by the treatment, surgery or examination referred to in the

complaint?

        If so, state:

                (a)     A description of the injuries or diseases you suffered;

                (b)     The date and place of any accident, if such an injury or disease was caused

                        by an accident; and

                (c)     The names and addresses of all hospitals, doctors or practitioners who

                        rendered treatment or examinations because of any such injuries or

                        diseases.



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       RESPONSE: Plaintiff objects to this Interrogatory because it is overbroad and may seek

irrelevant information regarding medical providers and treatment that is unrelated to Infant’s

injuries. Plaintiff further objects that the Interrogatory is compound and overly burdensome in

that it requires a narrative response and is more properly the subject of a document production

request.

INTERROGATORY NO. 29 (Medical Malpractice Case Standard Interrogatory No. 9):

       If you have engaged in one or more gainful occupations subsequent to the date of the

treatment, surgery or examination referred to in the complaint, state:

               (a)     The name and address of each of your employers or, if you were self-

                       employed, each of your business addresses and the name of the business

                       while self- employed;

               (b)     The dates of commencement and termination of each of your periods of

                       employment or self-employment;

               (c)     A detailed description of the nature of your occupation and the services

                       performed by you in each employment or self-employment;

               (d)     The wage, salary or rate of earnings received by you in each employment

                       or self-employment and the amount of income reported on your Federal

                       Income Tax Return for each year subsequent to the accident; and

               (e)     The dates of all absences from your occupation, the reasons therefor and

                       the amount of any earnings lost by you because of such absences.

       RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.



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        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 30 (Medical Malpractice Case Standard Interrogatory No. 10):

        State whether you, subsequent to the date of the treatment, surgery or examination, have

been unable to perform adequately any of your customary occupational duties or social or other

activities, stating with particularity (a) the duties and/or activities you have been unable to perform,

(b) the periods of time you have been unable to perform, and (c) the names and last known

addresses of all persons who have personal knowledge thereof.

        RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “unable to

perform adequately any of her customary social or other activities.” Plaintiff further objects that

this Interrogatory seeks premature disclosure of expert opinions.

        Subject to and without waiving any objections, Plaintiff directs Defendant to the medical

authorizations and medical records that have been or will be produced. Plaintiff further refers

Defendant to any documents produced by and/or that will be produced by Defendant or any third-

party in this case. As discovery is ongoing, Plaintiff will supplement the response to this

Interrogatory.

INTERROGATORY NO. 31 (Medical Malpractice Case Standard Interrogatory No. 11):

        State the name and last known address of each person who (a) was a witness to the

treatment, surgery or examination through sight or hearing and/or (b) has knowledge of facts

concerning the happening of the treatment, surgery or examination or conditions or circumstances

at the time of the treatment, surgery or examination prior to, after, or at the time of the accident,

excepting those persons who acquired such knowledge during the course of this litigation.



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        RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “has

knowledge of facts concerning the happening of the incident, treatment, surgery or examination or

conditions or circumstances.” Plaintiff also objects that this Interrogatory to the extent it seeks

information outside of Plaintiff’s knowledge.

INTERROGATORY NO. 32 (Medical Malpractice Case Standard Interrogatory No. 12):

        With respect to each person identified in the answer to interrogatory 11(a), state that

person’s exact location and activity at the time of the treatment, surgery or examination.

        RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “has

knowledge of facts concerning the happening of the incident, treatment, surgery or examination

or conditions or circumstances.” Plaintiff also objects to this Interrogatory to the extent it seeks

information outside of Plaintiff’s knowledge.

        Subject to and without waiving any objections, Pennsylvania Hospital. Plaintiff will

supplement the response to this interrogatory, if needed.

INTERROGATORY NO. 33 (Medical Malpractice Case Standard Interrogatory No. 13):

        Have you or anyone acting on your behalf obtained from any person any statement

concerning this action or its subject matter? If so, state:

                (a)     The name and last known address of each such person;

                (b)     When, where, by whom and to whom each statement was made, and whether

                        it was reduced to writing or otherwise recorded;

                (c)     The name and address of any person who has custody of any such statements

                        that were reduced to writing or otherwise recorded; and

                (d)     Please consider this a Request to Produce those statements referred to in the

                        above answer.



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        RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “any statement

concerning this action or its subject matter.” Plaintiff further objects to the extent the Interrogatory

is overbroad and not limited in time or scope. Plaintiff also objects to this interrogatory because it

seeks information protected by the attorney-client privilege and work product doctrine. Plaintiff

also objects to this Interrogatory to the extent it seeks information outside of Plaintiff’s knowledge.

Plaintiff is willing to confer with Defendant about the scope of this interrogatory.

INTERROGATORY NO. 34 (Medical Malpractice Case Standard Interrogatory No. 14):

        Have you given any statement concerning this action or its subject matter? If so, state:

                (a)     The name and last known address of each person to whom

                        a statement was given;

                (b)     When and where each statement was given; and

                (c)     Please consider this a Request to Produce the statements referred

                        to in the above answer.

        RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “any statement

concerning this action or its subject matter.” Plaintiff further objects to the extent the Interrogatory

is overbroad and not limited in time or scope. Plaintiff also objects to this interrogatory because it

seeks information protected by the attorney-client privilege and work product doctrine. Plaintiff

also objects to this Interrogatory to the extent it seeks information outside of Plaintiff’s knowledge.

Plaintiff is willing to confer with Defendant about the scope of this interrogatory.

INTERROGATORY NO. 35 (Medical Malpractice Case Standard Interrogatory No. 15):

        Do you know of the existence of any photographs, diagrams or models of the surrounding

area or the areas of the treatment, surgery or examination or any other matters or things involved

in this treatment, surgery or examination.



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       If the answer is in the affirmative, state:

               (a)     The date(s) when such photographs, diagrams or models were made;

               (b)     The name and address of the party making them;

               (c)     Where they were made;

               (d)     The object(s) or subject(s) each photograph, diagram or model represents;

                       and

               (e)     Please consider this a request to produce the photographs, diagrams and/or

                       models referred to in the above answer.

       RESPONSE: Plaintiff objects to this Interrogatory because it is vague as to “any other

matters or things involved in this treatment, surgery or examination.” Plaintiff further objects to

the extent the Interrogatory is overbroad and not limited in time or scope. Plaintiff also objects to

this Interrogatory to the extent it seeks information outside of Plaintiff’s knowledge. Plaintiff is

willing to confer with Defendant about the scope of this interrogatory.

INTERROGATORY NO. 36 (Medical Malpractice Case Standard Interrogatory No. 16):

               (a)     Have you, or anyone on your behalf, conducted any investigations of the

                       treatment, surgery or examination which is the subject matter of the

                       complaint?

               (b)     If the answer to (a) is in the affirmative, state:

                       (1)     the name, address, and employer of all persons who conducted any

                               investigations;

                       (2)     The dates of the investigation;

                       (3)     The dates of any reports of any investigations and the identity of

                               the persons who have possession thereof; and



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                       (4)     Please consider this a request to produce your investigation

                               reports, except those portions which are protected from discovery

                               by Pennsylvania Rule of Civil Procedure 4003.3.

       RESPONSE: Plaintiff objects to this Interrogatory because the term “any investigations of

the treatment, surgery or examination” is vague. Plaintiff further objects based upon attorney-client

privilege and the attorney work product doctrine. Plaintiff is willing to confer with Defendant

about the scope of this interrogatory.

INTERROGATORY NO. 37 (Medical Malpractice Case Standard Interrogatory No. 17):

               (a)     State the name and address of each person whom you expect to call as expert

                       witnesses at trial and state the subject matter on which the expert is expected

                       to testify.

               (b)     For each such expert, state, or have the expert state, the substance of the

                       facts and opinions to which the expert is expected to testify and summarize

                       the grounds for each such opinion. (Experts’ reports containing the same

                       information may be attached in lieu of an answer.)

               (c)     If the expert is employed and/or self-employed, identify the employer and

                       the nature of employment hereof.

               (d)     Identify all documents submitted to the expert and all products and/or

                       locales inspected by the expert in connection with preparations for his/her

                       testimony.

               (e)     Set forth the qualifications of each expert, listing the schools attended, years

                       of attendance, degrees received, experience in any particular field of

                       specialization or expertise, all publications authored, including the title of



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                       the work and the book in which it was printed giving the date of publication.

       RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff also

objects to the extent that she does not yet know the identities of each of the experts likely to be

called at trial. Further, because discovery is just beginning in this litigation, the Interrogatory is

premature to the extent that Plaintiff does not yet have sufficient information to enable an expert

to finalize a comprehensive opinion with respect to the facts and issues involved in this action.

       Subject to the foregoing, Plaintiff will amend and/or supplement this response.

INTERROGATORY NO. 38 (Medical Malpractice Case Standard Interrogatory No. 18):

       State the specific facts known to you or anyone acting on your behalf upon which you base

each claim of negligence or malpractice alleged in this action.

       RESPONSE: Plaintiff objects to this Interrogatory as premature because discovery is

ongoing, and documents related to this Interrogatory are in Defendant’s possession and have not

yet been produced to Plaintiff. Plaintiff further objects that this Interrogatory improperly seeks

legal conclusions. Plaintiff also objects to this Interrogatory to the extent that it seeks opinions or

contentions relating to fact, or the application of law to facts, as to which discovery has yet to be

completed, and requires Plaintiff to anticipate or assume factual information that has not been

established or that may be forthcoming in discovery.

       Subject to these objections, Plaintiff directs Defendant to the complaint filed in this case.

Plaintiff reserves the right amend this response.

INTERROGATORY NO. 39 (Medical Malpractice Case Standard Interrogatory No. 19):

               (a)     Were the injuries you allege in this action caused in part by sickness,

                       disease, abnormality or injury other than the injuries you claim resulted from

                       the treatment, surgery or examination upon which this action is based?



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               (b)     If so, state specifically the nature of each such sickness, disease, abnormality

                       or injury and how each affected you.

               (c)     Are there any medical, x-rays, hospital or other reports which indicate the

                       nature of each such sickness, disease or abnormality or injury and how each

                       affected you.

               (d)     If so, where and when was each report made and what is the name and

                       present or last known address of the person who made each such report and

                       each such person who has custody or possession of each such report or any

                       copy thereof?

               (e)     Have you been furnished with any such information in any way other than

                       by the documents referred to in this interrogatory? If so, how, when and

                       where and by whom?

       RESPONSE: Plaintiff objects to this Interrogatory because it is overbroad and may seek

irrelevant information regarding medical providers and treatment that is unrelated to Infant’s

injuries. Plaintiff also objects that the Interrogatory is compound and overly burdensome in that it

requires a narrative response and is more properly the subject of a document production request.

Plaintiff also objects that the Interrogatory requires expert opinion.

INTERROGATORY NO. 40 (Product Liability Case Standard Interrogatory No. 1):

       Identify all instruction, operating, repair, maintenance and safety manuals regarding the

product actually involved in the accident and any other documents which describe the product and

its use stating: titles, dates of publication, general description and amendments thereto and identify

the persons who have custody thereof.




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       RESPONSE: Plaintiff objects to this Interrogatory as premature because discovery is

ongoing, and documents related to this Interrogatory are in Defendant’s possession and have not

yet been produced to Plaintiff. Plaintiff reserves the right amend this response.

INTERROGATORY NO. 41 (Personal Injury Case Standard Interrogatory No. 3):

       If you have incurred any bills or expenses in connection with the injuries or diseases which

you suffered because of the accident referred to in the complaint, and such bills or expenses are

not otherwise listed in answer to these interrogatories, set forth the amount of each such bill or

expense, the service for which the bill or expense was incurred, and the identity of the person who

rendered the bill or who was involved in the expense.

       RESPONSE: Plaintiff objects to this Interrogatory because it seeks opinions or contentions

relating to fact, or the application of law to facts, as to which discovery has yet to be completed,

and requires Plaintiff to anticipate or assume factual information that has not been established or

that may be forthcoming in discovery. Plaintiff also objects that this Interrogatory is premature

because discovery is ongoing. Plaintiff further objects that this Interrogatory seeks premature

disclosure of expert opinion.

       Subject to and without waiving said objections, Plaintiff directs Defendant to all relevant

documents that will be produced during the course of discovery. As discovery is ongoing, Plaintiff

will supplement Plaintiff’s response to this Interrogatory.

                SUPPLEMENTAL INTERROGATORIES TO PLAINTIFFS
                          HOLLI CARTER AND J.C.

INTERROGATORY NO. 42:

       IDENTIFY all PRETERM INFANT FORMULA PRODUCTS administered to the

INFANT prior to the INFANT’S alleged necrotizing enterocolitis (“NEC”) diagnosis, including

the full product name, manufacturer name of any IDENTIFIED PRETERM INFANT FORMULA


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PRODUCTS, the date(s) on which each identified PRETERM INFANT FORMULA PRODUCT

was allegedly administered to the INFANT, the approximate dosage/amount consumed on each of

the dates each PRETERM INFANT FORMULAPRODUCT was allegedly administered to the

INFANT, and the identity of any HEALTH CARE PROVIDER who administered the PRETERM

INFANT FORMULA PRODUCT to the INFANT. If the PRETERM INFANT FORMULA

PRODUCT was administered to the INFANT by someone other than a HEALTH CARE

PROVIDER, STATE as much and IDENTIFY the administering individual.

       RESPONSE: Plaintiff objects to this Request as premature. Plaintiff further objects to this

Request as it requires expert testimony. Discovery is early and ongoing, and Plaintiff reserves the

right to amend and/or supplement this Answer.

INTERROGATORY NO. 43:

       STATE whether YOU and/or PARENTS saw or read any label, packaging, product guide,

or other DOCUMENTS RELATED TO the PRETERM INFANT FORMULA PRODUCTS before

they were administered to the INFANT and, if so, IDENTIFY the label, packaging, or product

guide, or other DOCUMENTS you saw or read and IDENTIFY the time, place, and manner in

which YOU saw or read such materials.

       RESPONSE: Plaintiff does not remember seeing any packaging and has no other responsive

information related to this Interrogatory. Discovery is early and ongoing, and Plaintiff reserves the

right to amend and/or supplement this Answer.

INTERROGATORY NO. 44:

       STATE whether YOU and/or PARENTS had any COMMUNICATIONS with any

HEALTH CARE PRACTITIONERS regarding the decision to administer any nutrition, including

but not limited to breast milk, donor milk, or PRETERM INFANT FORMULA PRODUCTS, to



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the INFANT and, if so, IDENTIFY all persons with whom YOU and/or PARENTS had such

COMMUNICATIONS, the date(s), time, place, and manner of those COMMUNICATIONS, and

DESCRIBE the content of those COMMUNICATIONS.

       RESPONSE: Plaintiff does not recall having conversations related to consent to feed her

child. Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or supplement

this Answer.

INTERROGATORY NO. 45:

       IDENTIFY any DOCUMENTS YOU and/or PARENTS received from any HEALTH

CARE PROVIDER RELATING TO infant nutrition, any PRETERM INFANT FORMULA

PRODUCTS, and any OTHER INFANT FORMULA PRODUCTS, including without limitation

the name or title of the DOCUMENT, the PERSON who provided the DOCUMENT to YOU

and/or PARENTS, the date YOU and/or PARENTS received the DOCUMENT, and the substance

of any discussions about the DOCUMENT.

       RESPONSE: Plaintiff does not recall seeing any documents responsive to this Interrogatory.

Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or supplement this

Answer.

INTERROGATORY NO. 46:

       IDENTIFY any gifts, coupons, PRETERM INFANT FORMULA PRODUCTS, or

OTHER INFANT FORMULA PRODUCTS that YOU and/or PARENTS received from any

HEALTH CARE PROVIDER, including without limitation the PERSON who provided any such

items to YOU and/or PARENTS, the date YOU and/or PARENTS received such items, and the

substance of any discussions about such items.




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        RESPONSE: Plaintiff does not recall seeing any materials responsive to this Interrogatory.

Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or supplement this

Answer.

INTERROGATORY NO. 47:

        IDENTIFY any and all advertising RELATING TO infant nutrition, any PRETERM

INFANT FORMULA PRODUCTS, and any OTHER INFANT FORMULA PRODUCTS that

YOU and/or PARENTS saw at or before the time the INFANT was allegedly diagnosed with NEC,

including without limitation the date(s), time, place, and manner YOU and/or PARENTS saw the

advertising, and the substance of the advertising.

        RESPONSE: Plaintiff recalls seeing promotional posters relating to infant formula products.

Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or supplement this

Answer.

INTERROGATORY NO. 48:

        If YOU contend that ABBOTT should have provided different, additional, and/or other

instructions and warnings relating to the use of the PRETERM INFANT FORMULA

PRODUCTS, please IDENTIFY what different, additional, or other instructions and warnings

ABBOTT should have given, and why it should have given those different, additional, or other

instructions.

        RESPONSE: Plaintiff objects to this Interrogatory as premature because discovery is

ongoing, and documents related to this Interrogatory are in Defendant’s possession and have not

yet been produced to Plaintiff. Plaintiff further objects that this Interrogatory improperly seeks

legal conclusions. Plaintiff also objects to this Interrogatory to the extent that it seeks opinions or

contentions relating to fact, or the application of law to facts, as to which discovery has yet to be



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completed, and requires Plaintiff to anticipate or assume factual information that has not been

established or that may be forthcoming in discovery. Plaintiff reserves the right amend this

response.

INTERROGATORY NO. 49:

        DESCRIBE how and when YOU and/or PARENTS first believed there to be a connection

between PRETERM INFANT FORMULA PRODUCTS and NEC, including the source(s) from

which YOU and/or PARENTS learned of such information, a DESCRIPTION of the information

relayed or cited by each source, and the date(s) on which YOU and/or PARENTS heard or spoke

to those sources.

        RESPONSE: Plaintiff objects based upon attorney-client privilege and the attorney work-

product doctrine. Plaintiff refers Defendant to the amended complaint.

INTERROGATORY NO. 50:

        IDENTIFY, with particularity, the mechanism(s) or interaction(s) unique to PRETERM

INFANT FORMULA PRODUCTS that YOU allege cause or otherwise increase the risk for

development of NEC, including the sources(s) from which YOU and/or PARENTS learned of the

mechanism(s) or interaction(s), a DESCRIPTION of the information relayed or cited by each

source, the date(s) on which YOU and/or PARENTS heard or spoke to these sources, and the

results of any confirmatory testing that YOU and/or PARENTS are aware RELATED TO the

unique mechanism or interaction.

        RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff also

objects to the extent that she does not yet know the identities of the experts likely to be called at

trial. Further, the Interrogatory is premature to the extent that Plaintiff does not yet have sufficient

information to enable an expert to analyze and formulate a comprehensive opinion with respect to



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the facts and issues involved in this action. Plaintiff acknowledges her affirmative duty to identify

the expert witnesses, including rebuttal witnesses, as soon as feasible.

       Subject to the foregoing, Plaintiff will amend and/or supplement this response.

INTERROGATORY NO. 51:

       STATE whether donor milk, breast milk, or OTHER INFANT FORMULA PRODUCTS

were available to be administered to INFANT at the time INFANT was in the Neonatal Intensive

Care Unit. If yes, IDENTIFY which milk or formula products were available to be administered

to INFANT and whether any such products were actually administered to INFANT.

       RESPONSE: Plaintiff objects that this Interrogatory is directed to the wrong party.

Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or supplement this

Answer.

INTERROGATORY NO. 52:

       STATE the date on which INFANT was diagnosed with NEC, whether such diagnosis was

made during the INFANT’s admission in the Neonatal Intensive Care Unit, and whether any

HEALTH CARE PROVIDER suggested any cause of INFANT’s NEC. To the extent INFANT

has not been diagnosed with NEC, so STATE.

       RESPONSE: Plaintiff directs Defendant to her response to Request for Production No. 1.

INTERROGATORY NO. 53:

       IDENTIFY all PERSONS, including HEALTH CARE PROVIDERS and any other

PERSON, with whom YOU and/or PARENTS have had any COMMUNICATION(S) regarding

the cause(s) of INFANT’s NEC and DESCRIBE the contents of those COMMUNICATION(S).

DESCRIBE the contents of all COMMUNICATIONS that YOU IDENTIFY.




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         RESPONSE: Plaintiff does not recall being told by healthcare providers that NEC is related

to prematurity. Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or

supplement this Answer.

INTERROGATORY NO. 54:

         STATE whether YOU and/or PARENTS had any COMMUNICATIONS with any

PERSONS, including but not limited to any manufacturer of PRETERM INFANT FORMULA

PRODUCTS or OTHER INFANT FORMULA PRODUCTS, and if so, IDENTIFY all persons

with whom YOU and/or PARENTS had such COMMUNICATIONS, the date(s), time, place, and

manner     of   those   COMMUNICATIONS,            and    DESCRIBE       the   content    of   those

COMMUNICATIONS.

         RESPONSE: Plaintiff objects that this Interrogatory is vague and overbroad because it seeks

all communications ever had by the Infant and the Parent. Plaintiff is willing to discuss an

appropriately scoped Interrogatory.

INTERROGATORY NO. 55:

         IDENTIFY any and all pregnancies that INFANT’s mother has experienced, and for each

pregnancy, STATE the date of conception, IDENTIFY whether the pregnancy resulted in an

abortion, a miscarriage, a stillbirth, or a live birth, and for still- and/or live-births, STATE the

name, birthdate, birth weight, and the gestational week at birth for each child, and IDENTIFY any

and all breast milk, donor milk, PRETERM INFANT FORMULA PRODUCTS or OTHER

INFANT FORMULA PRODUCTS that were fed or administered to each child.

         RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.



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        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 56:

        For each child IDENTIFIED in Interrogatory No. 55 above, IDENTIFY all PRETERM

INFANT FORMULA PRODUCTS or OTHER INFANT FORMULA PRODUCTS administered

to each child, including the full product name and manufacturer name of any such products and the

dates of administration.

        RESPONSE: Plaintiff directs Defendant to her response to Interrogatory No. 55.

INTERROGATORY NO. 57:

        IDENTIFY all PERSONS, including HEALTH CARE PROVIDERS and any other

PERSON, who maintains or who has maintained any MEDICAL RECORDS regarding the

provision of any medical care to YOU or INFANT, and IDENTIFY any COMMUNICATIONS

you have had with those IDENTIFIED PERSONS.

        RESPONSE: Plaintiff directs Defendant to her response to Request for Production No. 1.

INTERROGATORY NO. 58:

        IDENTIFY all non-NEC diagnoses that INFANT has received from time of birth through

the present. For each diagnosis, IDENTIFY the condition diagnosed, the date of diagnosis, the

HEALTH CARE PROVIDER who rendered the diagnosis, any course of treatment undertaken for

the condition, and the identity of any HEALTHCARE PROVIDER who administered that course

of treatment.

        RESPONSE: Plaintiff directs Defendant to her response to Request for Production No. 1.




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INTERROGATORY NO. 59:

        STATE whether YOU and/or PARENTS ever purchased PRETERM INFANT

FORMULA PRODUCTS from any online site or retail store. For each product purchased,

IDENTIFY the product name, manufacturer name, date of purchase, and location of purchase.

Purchase records of the specified products may be produced in lieu of a written response.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.

        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 60:

        IDENTIFY each home address where YOU have resided and provide the dates YOU lived

at the address and IDENTIFY the persons, if any, who lived with YOU for the ten (10) years

preceding the events giving rise to this LAWSUIT to the present. If INFANT has not resided with

YOU at any time during that period, IDENTIFY the address(es) where INFANT has resided,

provide the dates INFANT lived at the address and IDENTIFY the persons, if any, who lived with

INFANT.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.




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        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 61:

        IDENTIFY YOUR educational background, identifying all high school, secondary

schools, colleges, and vocational training schools that YOU have attended. IDENTIFY INFANT’s

educational background, including all primary schools, secondary schools, colleges, and vocational

training schools that INFANT has attended.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.

        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 62:

        IDENTIFY any position of employment that YOU or INFANT have held during the ten

(10) years preceding the events giving rise to this LAWSUIT to the present, whether full-time or

part-time, and DESCRIBE each position of employment, including the name of the employer,

compensation received, location, and dates (range) of the employment.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.




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        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 63:

        Apart from the present LAWSUIT, DESCRIBE any prior legal proceedings in which YOU

or INFANT have been a party (including administrative charges, unemployment claims, and

bankruptcy petitions) including the court which handled the proceeding, the case name, the civil

action or docket number associated with the legal proceeding, a description of the claims asserted

in the legal proceeding, and the final result, outcome, or adjudication of the claims (e.g. whether

dismissed by parties, dismissed by court, judgment granted in favor of a party).

        RESPONSE: Plaintiff does not recall any prior legal proceeding responsive to this

Interrogatory. Discovery is early and ongoing, and Plaintiff reserves the right to amend and/or

supplement this Answer.

INTERROGATORY NO. 64:

        IDENTIFY all social media accounts (e.g. LinkedIn, Facebook, MySpace, Twitter,

Tumbler, Pinterest, Instagram, Snapchat, etc.) and electronic accounts (including but not limited

to e-mail, text messages, or messaging accounts, such as Gmail, Yahoo, Comcast, Verizon, iChat,

Apple FaceTime, AOL Instant Messenger, BlackBerry Messenger, chat rooms) that YOU or

INFANT have created, hosted, maintained, used and/or had access to at any time during the period

of two years prior to the INFANT’s birth through the present.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks information irrelevant

and immaterial to the claims and defenses in this case. Plaintiff also objects that the Interrogatory

is compound and overly burdensome.


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        Plaintiff objects to this Interrogatory because it is overbroad and seeks information that is

irrelevant and immaterial as it is not limited to the time period relevant to the claims and defenses

in this case.

INTERROGATORY NO. 65:

        IDENTIFY and itemize any damages YOU seek to recover from ABBOTT in this

LAWSUIT (on behalf of YOU or others, including the INFANT), whether economic, non-

economic, punitive or other and DESCRIBE each element of damage or component of recovery

that YOU are seeking from ABBOTT, STATE the specific dollar amounts YOU are claiming, the

manner in which each amount was computed, the dates(s) each such loss or damage was incurred,

the name of the person, firm and/or company to whom such amounts are owed, whether the expense

and/or loss in question has been paid and, if so, by whom it was so paid.

        RESPONSE: Plaintiff objects to this Interrogatory because it seeks opinions or contentions

relating to fact, or the application of law to facts, as to which discovery has yet to be completed,

and requires Plaintiff to anticipate or assume factual information that has not been established or

that may be forthcoming in discovery. Plaintiff also objects that this Interrogatory is premature

because discovery is ongoing. Plaintiff further objects that this Interrogatory seeks premature

disclosure of expert opinion.

        Subject to and without waiving said objections, Plaintiff directs Defendant to all relevant

documents that will be produced during the course of discovery. As discovery is ongoing, Plaintiff

will supplement Plaintiff’s response to this Interrogatory.

INTERROGATORY NO. 66:

        IDENTIFY every life, health, or disability insurance company or government entity

(including Medicare and Medicaid) to which YOU or INFANT or anyone on his behalf, ever



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applied for insurance coverage, and include the type of insurance for which she applied, the date

she applied, the identity of any agency or broker through which such application was made,

whether a policy was issued or denied, and, if issued, any policy numbers assigned to her/him.

         RESPONSE: Plaintiff objects to this Interrogatory because it is not limited in time or

scope.

         Subject to and without waiving said objections, Plaintiff directs Defendant to all relevant

documents produced during the course of discovery. As discovery is ongoing, Plaintiff will

supplement this response.

INTERROGATORY NO. 67:

         IDENTIFY all persons with whom YOU and/or PARENTS have communicated for the

purpose of considering, investigating, pursuing, arranging, or obtaining LITIGATION FUNDING

and for any such third-party PERSON or entity: STATE the date(s) YOU had such

COMMUNICATIONS; STATE the amount of payments or cash advances YOU have received

from such third-party PERSON or entity; STATE the IDENTITY of any DOCUMENTS that YOU

provided to any such third-party PERSON or entity; STATE any facts or information YOU shared

with such third-party PERSON or entity relating to the above-captioned litigation including, but

not limited to, impressions of YOUR likelihood of receiving a monetary reward; and STATE the

results of any evaluation, assessment, valuation, and/or other analysis by such third party PERSON

or entity of the claims asserted against ABBOTT in the COMPLAINT, any claims that were

contemplated against ABBOTT but not asserted in the COMPLAINT, and/or any claims

contemplated by YOU against any other third party, including but not limited to other

manufacturers of PRETERM INFANT FORMULA PRODUCTS and HEALTH CARE

PRACTITIONERS, that YOU believe may have been responsible for YOUR alleged INJURIES


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and the INFANT’s alleged INJURIES.

        RESPONSE: Plaintiff objects to this Request on the ground that it seeks information that

is irrelevant and immaterial to Plaintiff’s claims.

INTERROGATORY NO. 68:

        For each expert identified in response to Interrogatory Nos. 17 and 37, STATE the

following information:

                (a)     The amount of any compensation to be paid to the expert;

                (b)     Any and all cases in which the expert witness has testified, either at

                        deposition or trial, within the last four (4) years; and

                (c)     A list of all publications authored by the expert witness over the last ten (10)

                        years.

        RESPONSE: Plaintiff objects to this Interrogatory because it is premature. Plaintiff also

objects to the extent that she does not yet know the identities of the experts likely to be called at

trial. Further, the Interrogatory is premature to the extent that Plaintiff does not yet have sufficient

information to enable an expert to analyze and formulate a comprehensive opinion with respect to

the facts and issues involved in this action. Plaintiff acknowledges her affirmative duty to identify

the expert witnesses, including rebuttal witnesses, as soon as feasible.

        Subject to the foregoing, Plaintiff will amend and/or supplement this response.


                                                        Respectfully submitted,

                                                        KLINE & SPECTER, P.C.

                                                        By: /s/ Tobias L. Millrood
                                                        Tobias L. Millrood, Esq.

Dated: October 12, 2023



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                        EXHIBIT B
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                                                    :
 HOLLI CARTER, ON HER OWN BEHALF AND AS             :   IN THE COURT OF COMMON PLEAS
 PARENT AND NATURAL GUARDIAN OF J.C., A             :   PHILADELPHIA COUNTY
 MINOR,                                             :
                                                    :   CIVIL TRIAL DIVISION
                              Plaintiff,            :
                                                    :   MARCH TERM 2022
        v.                                          :   NO. 2588
                                                    :
 MEAD JOHNSON & COMPANY, LLC, ET AL.                :
                                                    :
                                                    :
                              Defendants.           :

 PLAINTIFF’S RESPONSE TO ABBOTT LABORATORIES’ FIRST REQUESTS FOR
   PRODUCTION DIRECTED TO PLAINTIFF HOLLI CARTER, ON HER OWN
           BEHALF AND ON BEHALF OF HER MINOR CHILD J.C.

       Plaintiff Holli Carter, on her own behalf and as Parent and Natural Guardian of J.C., a

Minor, through counsel, hereby objects and responds to Defendant Abbott Laboratories’ Requests

for Production, as follows:




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                                   GENERAL OBJECTIONS

       1.      Plaintiff objects to the Requests to the extent that they seek information that is

protected from disclosure by the attorney-client privilege, the attorney work product doctrine or

any other recognized privilege.

       2.      Plaintiff objects to the Requests to the extent that they require Respondents to

search for and produce documents or information that are not within their possession, custody, or

control.

       3.      Plaintiff objects to the Requests to the extent they seek information or documents

that cannot be located by Respondents after reasonably diligent inquiry, are readily available from

public sources, or are available to Complaint Counsel from another source or by other means that

are more convenient, more appropriate, less burdensome, or less expensive.

       4.      Plaintiff objects to the Requests to the extent they seek legal conclusions and/or

would require Respondents to reach a legal conclusion in order to prepare a response.

                      ANSWERS TO REQUESTS FOR PRODUCTION

                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All DOCUMENTS and COMMUNICATIONS that support, refute, or relate to any of

YOUR allegations in the COMPLAINT.

       RESPONSE: Plaintiff objects to this Request for Production because it is premature.

Plaintiff further objects to the extent that relevant documents are in the possession, custody, and

control of Defendants. Plaintiff objects to this Request because the term “support, refute, or relate

to any of YOUR allegations in the COMPLAINT” is overbroad, vague, and unduly burdensome.




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Plaintiff further objects based upon attorney-client privilege and the attorney work product

doctrine.

       Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA

regulations. The parties are working toward an agreeable Protective Order that would cover these

Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 2:

       All DOCUMENTS that constitute, refer to, or relate in any way to COMMUNICATIONS

related to any INJURIES or medical conditions claimed in the COMPLAINT.

       RESPONSE: Plaintiff objects to this Request for Production because it is premature.

Plaintiff further objects to the extent that relevant documents are in the possession, custody, and

control of Defendants. Plaintiff also objects that this request seeks health information protected by

state and federal law and may exceed the scope of discovery. Plaintiff further objects based upon

attorney-client privilege and the attorney work product doctrine.

       Subject to the foregoing objections, once a protective order has been entered in this

litigation, Plaintiff will at the appropriate time produce documents in Plaintiff’s possession,

custody, or control that are responsive to this request. Plaintiff reserves the right to amend and/or

supplement this response.

REQUEST FOR PRODUCTION NO. 3:

       All DOCUMENTS (including, but not limited to, email or other electronic forms)

containing, reflecting, or relating to any COMMUNICATIONS between YOU and any treating

physician and/or other HEALTH CARE PRACTITIONER whom YOU intend to call as a witness



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to offer any medical opinion in this action.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 4:

       All DOCUMENTS produced to YOU by any third-party in response to a subpoena or other

formal or informal request for DOCUMENTS related to this LAWSUIT.

       RESPONSE: At this time, Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 5:

       Any written or recorded statements obtained by YOU in connection with the allegations

of the COMPLAINT or regarding any facts underlying the allegations of the COMPLAINT.

       RESPONSE: Plaintiff objects to this Request for Production because it is overbroad and

vague and is premature. Plaintiff also objects to this Request for Production because it seeks

statements protected by attorney-client privilege and the work product doctrine.

       Subject to the foregoing objections, once a protective order has been entered in this

litigation, Plaintiff will produce any documents in Plaintiff’s possession, custody, or control that

are responsive to this request.

REQUEST FOR PRODUCTION NO. 6:

       All DOCUMENTS or evidence of any kind supporting each and every act and/or

omission by ABBOTT that YOU allege supports the causes of action against ABBOTT in the

COMPLAINT.

       RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 1.

REQUEST FOR PRODUCTION NO. 7:

       Each of the PARENTS’ federal, state, and local income tax returns for the ten (10) years

preceding the events giving rise to this LAWSUIT to the present, whether filed individually or


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jointly, including all attachments, schedules, and Wage or Earnings Statements (Forms W-2). To

the extent INFANT has independently filed any federal, state, or local income tax return since birth,

provide those returns as well, including all attachments, schedules, and Wages or Earnings

Statements (Forms W-2).

        RESPONSE: Plaintiff objects to this Request for Production because it seeks confidential

tax records, which are deemed to be private communications with the government.

        Subject to the foregoing objections, once a protective order has been entered in this

litigation, Plaintiff will produce any documents in Plaintiff’s possession, custody, or control that

are responsive to this request.

REQUEST FOR PRODUCTION NO. 8:

        All DOCUMENTS which refer or relate to any welfare benefits or claims, worker’s

compensation benefits or claims, social security benefits or claims, health or disability benefits

or claims, or any other governmental benefits or claims that were provided to or made by or on

behalf of YOU, PARENTS, or INFANT in the ten (10) years preceding the events giving rise to

this LAWSUIT to the present.

        RESPONSE: Plaintiff objects to this Request for Production because it is overbroad and

not limited in time or scope, and calls for the production of documents that are not related or

relevant to the issues in this case.

        Subject to the foregoing objections, once a protective order has been entered in this

litigation, Plaintiff will produce any documents in Plaintiff’s possession, custody, or control that

are responsive to this request.

REQUEST FOR PRODUCTION NO. 9:

        All medical bills, statements, or invoices from any hospital, medical facility, doctor,



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therapist, social worker, counselor, psychologist, or other physical or mental health care provider

for goods or services for which YOU seek damages in this LAWSUIT, and any other bills,

statements, or invoices, of any nature, for which YOU seek damages.

        RESPONSE: Plaintiff objects to this Request for Production because it is overbroad and

not limited in time or scope, and calls for the production of documents that are not related or

relevant to the issues in this case.

        Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA

regulations. The parties are working toward an agreeable Protective Order that would cover these

Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 10:

        All DOCUMENTS supporting or in any way relating to YOUR claim for damages in this

LAWSUIT, including but not limited to medical and hospital expenses, burial and funeral expenses,

mental anguish, pain, suffering, loss of earnings, earning capacity, society, support, services, care,

assistance, attention, protection, advice, guidance, counsel, instruction, training, education,

solace, companionship, and prospective inheritance.

        RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 11:

        All DOCUMENTS that constitute, refer to, or relate to any out-of-pocket expenses which

YOU contend are RELATED TO any INJURY as alleged in this LAWSUIT.

        RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 2.




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REQUEST FOR PRODUCTION NO. 12:

       All DOCUMENTS reflecting, referring to, or relating to any claim, lawsuit, and/or legal

proceeding for alleged personal injuries in which YOU, PARENTS, or INFANT were involved

in the ten (10) years preceding the events giving rise to this LAWSUIT to the present, including,

but not limited to, copies of claim forms, statements, correspondence, depositions or sworn

testimony of any type given by YOU and/or PARENTS related to any claim, including claims to

governmental agencies or under the terms of an insurance policy, lawsuit, or proceeding.

       RESPONSE: Plaintiff objects to this Request because it is compound, overbroad, and

seeks information irrelevant and immaterial to the claims and defenses in this case.

       Subject to and without waiving any objections, at this time, Plaintiff does not recall being

involved in a prior lawsuit or litigation relating to Infant’s diagnosis of, or treatment for, NEC or

NEC-like symptoms. Plaintiff notes that there are multiple parties in this litigation. Beyond that,

Plaintiff is willing to confer with Defendant about the scope of this Request.

REQUEST FOR PRODUCTION NO. 13:

       All DOCUMENTS relating to monetary payments received by YOU, PARENTS, or

INFANT from any person, entity, or governmental body as a result of the INJURIES or medical

conditions claimed in the COMPLAINT.

       RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 14:

       Any insurance lien letter or correspondence related to the allegations of the COMPLAINT

or regarding any facts underlying the allegations of the COMPLAINT.

       RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 2.




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REQUEST FOR PRODUCTION NO. 15:

       All DOCUMENTS relating to any liens or any subrogation interest or claims held or

asserted against YOU or PARENTS by any third-party.

       RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 16:

       Any contract or DOCUMENT evidencing an agreement of compromise, settlement,

release, covenant not to sue, “Mary Carter” agreement, or any other kind of settlement,

agreement, understanding, or deal which any party or potential party to this LAWSUIT has with

any other person, firm, corporation, party, or potential party with respect to the events associated

with the subject matter of this LAWSUIT. This Request includes any past, present, and future

settlements, deals, agreements, arrangements, understandings, or conduct by or between YOU,

YOUR attorneys, agents, or representatives and any other person, entity, or such person’s or

entity’s attorneys whatsoever, including any agreements to produce or withhold any evidence,

exhibits, witnesses, or testimony.

       RESPONSE: At this time, Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 17:

       All DOCUMENTS identified in connection with YOUR or INFANT’s responses to any

Interrogatories in this LAWSUIT, or referenced or used in preparing such responses.

       RESPONSE: In response, Plaintiff refers Defendant to her response to Request No. 1.

REQUEST FOR PRODUCTION NO. 18:

       All DOCUMENTS referenced, cited, consulted, or used in preparing the COMPLAINT.




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       RESPONSE: Plaintiff objects to this Request as overbroad and vague. Plaintiff further

objects based upon attorney-client privilege and the attorney work product doctrine. Plaintiff is

willing to confer with Defendant about the scope of this Request.

REQUEST FOR PRODUCTION NO. 19:

       All DOCUMENTS YOU intend to introduce as exhibits at trial.

       RESPONSE: Plaintiff objects to this Request as premature. Plaintiff further objects at this

time based upon attorney-client privilege and the attorney work product doctrine.

REQUEST FOR PRODUCTION NO. 20:

       The attached HIPAA-compliant Authorization to Disclose Medical Information and

Authorization to Disclose Psychiatric Records and Psychotherapy Notes Information signed by

YOU or INFANT for any hospital, medical facility, doctor, pharmacy, therapist, social worker,

counselor, psychologist, or other physical or mental health care provider that has treated INFANT.

Exhibit A includes the authorizations to be signed by YOU or INFANT if INFANT is not a minor

and has capacity to sign the authorizations; Exhibit B includes the authorizations to be signed by

YOU on behalf of INFANT if INFANT is a minor and/or does not have capacity to sign the

authorizations).

       RESPONSE: Plaintiff objects to this Request for Production because it is premature and

may exceed the scope of discovery. Plaintiff further objects to the extent that relevant documents

are in the possession, custody, and control of Defendants. Plaintiff also objects that this request

seeks health information protected by state and federal law.

       Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA

regulations. The parties are working toward an agreeable Protective Order that would cover these



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Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 21:

       The attached HIPAA-compliant Authorization to Disclose Medical Information (signed

by YOU) directed to each hospital, medical facility, doctor, pharmacy, therapist, social worker,

or other physical or mental health care provider that treated YOU in the ten (10) years preceding

the events giving rise to this LAWSUIT to the present (Exhibit A).

       RESPONSE: Plaintiff objects to this Request for Production because it is premature and

may exceed the scope of discovery. Plaintiff further objects to the extent that relevant documents

are in the possession, custody, and control of Defendants. Plaintiff also objects that this request

seeks health information protected by state and federal law.

       Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA

regulations. The parties are working toward an agreeable Protective Order that would cover these

Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 22:

       The attached HIPAA-compliant Authorization to Disclose Psychiatric Records and

Psychotherapy Notes Information authorization (signed by YOU) directed to each hospital,

medical facility, medical practitioner, doctor, pharmacy, therapist, social worker, or other physical

or mental health care provider (including any psychiatric or psychological practitioner or facility)




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who treated YOU on or after INFANT’s date of birth for any psychiatric, psychological, and/or

emotional injuries for which YOU seek recovery in the COMPLAINT (Exhibit A).

       RESPONSE: Plaintiff objects to this Request for Production because it is premature and

may exceed the scope of discovery. Plaintiff further objects to the extent that relevant documents

are in the possession, custody, and control of Defendants. Plaintiff also objects that this request

seeks health information protected by state and federal law.

       Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA

regulations. The parties are working toward an agreeable Protective Order that would cover these

Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 23:

       The attached Authorization to Release Insurance Information, Authorization to Release

Education Information and Authorization to Release Employment Information signed by YOU

or INFANT directed to each insurance company, educational institution and employer identified

in response to ABBOTT’s Interrogatories to PLAINTIFF and any amendments thereto (Exhibits

A and B).

       RESPONSE: Plaintiff objects to this Request for Production because it is premature and

may exceed the scope of discovery. Plaintiff further objects to the extent that relevant documents

are in the possession, custody, and control of Defendants. Plaintiff also objects that this request

seeks health information protected by state and federal law.

       Subject to the foregoing objections, see Plaintiff’s Authorizations. Plaintiff is producing

Authorizations on the condition that Defendants have agreed to comply with all applicable HIPAA



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regulations. The parties are working toward an agreeable Protective Order that would cover these

Authorizations and records as well. Plaintiff reserves the right to amend and/or supplement this

response.

REQUEST FOR PRODUCTION NO. 24:

        To the extent YOU identified in your Interrogatory Responses any twin or other sibling

of the INFANT carried in the same pregnancy, the attached HIPAA-compliant Authorization to

Disclose Medical Information and Authorization to Disclose Psychiatric Records and

Psychotherapy Notes Information (signed by YOU or the sibling of the INFANT on his or her own

behalf) directed to each hospital, medical facility, doctor, pharmacy, therapist, social worker,

counselor, psychologist, or other physical or mental health care provider that treated INFANT’s

sibling (Exhibits A and B).

        RESPONSE: Plaintiff objects to this Request for Production because it is premature and

may exceed the scope of discovery. Plaintiff further objects to the extent that relevant documents

are in the possession, custody, and control of Defendants. Plaintiff also objects that this request

seeks health information protected by state and federal law.

        Subject to the foregoing objections, once a protective order has been entered in this

litigation, Plaintiff will at the appropriate time execute relevant authorizations for records. Plaintiff

reserves the right to amend and/or supplement this response.

REQUEST FOR PRODUCTION NO. 25:

        All DOCUMENTS that constitute, refer to, or relate to INFANT’s personal medical

history and/or treatment throughout INFANT’s lifetime, including any MEDICAL RECORDS,

correspondence with HEALTH CARE PRACTITIONERS, research on health conditions, and

personal notes.



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       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 26:

       All DOCUMENTS that constitute, refer to, or relate to YOUR personal medical history

and/or treatment in the ten (10) years preceding the events giving rise to this LAWSUIT to the

present, including any MEDICAL RECORDS, correspondence with HEALTH CARE

PRACTITIONERS, research on health conditions, and personal notes.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 27:

       All DOCUMENTS and COMMUNICATIONS, including those sent through a patient-

portal system, between YOU and any HEALTH CARE PRACTITIONER, or any PERSON acting

on behalf of or assisting a HEALTH CARE PRACTITIONER, in the ten (10) years preceding

the events giving rise to this LAWSUIT to the present relating to YOUR personal medical history

and/or treatment or INFANT’s personal medical history and/or treatment.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 28:

       All DOCUMENTS and COMMUNICATIONS that constitute, refer to, or relate to YOUR

use of, or treatment for, drugs or alcohol.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 29:

       All DOCUMENTS and COMMUNICATIONS from health, medical, disability, and life

insurance providers, including, but not limited to, private providers, COBRA, Medicaid, and any

plan of supplemental insurance from which INFANT has received insurance coverage.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.



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REQUEST FOR PRODUCTION NO. 30:

       All DOCUMENTS and COMMUNICATIONS from health, medical, disability, and life

insurance providers, including, but not limited to, private providers, COBRA, Medicaid, and any

plan of supplemental insurance from which YOU have received insurance coverage.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 31:

       All DOCUMENTS that EVIDENCE YOUR and/or PARENTS’ purchase of or payment

for, or contemplated purchase of or contemplated payment for, any PRETERM INFANT

FORMULA PRODUCTS and/or OTHER INFANT FORMULA PRODUCTS.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 2.

REQUEST FOR PRODUCTION NO. 32:

       All DOCUMENTS that constitute MARKETING that YOU and/or PARENTS saw or

read about PRETERM INFANT FORMULA PRODUCTS and/or OTHER INFANT

FORMULA PRODUCTS.

       RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 33:

       All DOCUMENTS that constitute, contain, refer to, or relate to any packaging or labeling

that YOU and/or PARENTS reviewed for PRETERM INFANT FORMULA PRODUCTS and/or

OTHER INFANT FORMULA PRODUCTS.

       RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 34:

       All DOCUMENTS that constitute, contain, refer to, or relate to any COMMUNICATIONS

between YOU and ABBOTT.


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      RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 35:

      All   DOCUMENTS          that   constitute,    contain,   refer   to,   or   relate   to   any

COMMUNICATIONS between YOU and any seller, manufacturer, or supplier of PRETERM

INFANT FORMULA PRODUCTS or OTHER INFANT FORMULA PRODUCTS.

      RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 36:

      All   DOCUMENTS          that   constitute,    contain,   refer   to,   or   relate   to   any

COMMUNICATIONS between YOU and any governmental or public agency about PRETERM

INFANT FORMULA PRODUCTS or OTHER INFANT FORMULA PRODUCTS.

      RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 37:

      All   DOCUMENTS          that   constitute,    contain,   refer   to,   or   relate   to   any

COMMUNICATIONS between YOU and any governmental or public agency about ABBOTT

or any other manufacturer of PRETERM INFANT FORMULA PRODUCTS or OTHER

INFANT FORMULA PRODUCTS.

      RESPONSE: Plaintiff has no documents responsive to this request.

REQUEST FOR PRODUCTION NO. 38:

      All DOCUMENTS that constitute, reflect, refer to, or relate to any articles, journals, notes,

news alerts, or other information about PRETERM INFANT FORMULA PRODUCTS or

OTHER INFANT FORMULA PRODUCTS.

      RESPONSE: Plaintiff refers Defendant to her response to Request No. 1.




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REQUEST FOR PRODUCTION NO. 39:

       All DOCUMENTS that constitute, reflect, refer to, or relate to any articles, journals, notes,

news alerts, or other information about ABBOTT or any other manufacturer of PRETERM

INFANT FORMULA PRODUCTS or OTHER INFANT FORMULA PRODUCTS.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 1.

REQUEST FOR PRODUCTION NO. 40:

       All DOCUMENTS and COMMUNICATIONS contained within YOUR, PARENTS’ or

INFANT’s social media accounts that constitute, refer to, or relate to ABBOTT or any other

manufacturer of PRETERM INFANT FORMULA PRODUCTS or OTHER INFANT

FORMULA PRODUCTS.

       RESPONSE: Plaintiff has no documents responsive to this request. As discovery is ongoing,

Plaintiff will supplement this request if needed.

REQUEST FOR PRODUCTION NO. 41:

       All DOCUMENTS and COMMUNICATIONS contained within YOUR, PARENTS’ or

INFANT’S social media accounts that constitute, refer to, or relate to INFANT or any alleged

INJURY.

       RESPONSE: Plaintiff objects to this Request as vague and overbroad because it seeks all

social media posts and documents related to Plaintiff’s child. As discovery is ongoing, Plaintiff will

supplement this request if needed.

REQUEST FOR PRODUCTION NO. 42:

       All non-privileged COMMUNICATIONS and DOCUMENTS between YOU and any

PERSON related to YOUR decision to initiate this LAWSUIT.

       RESPONSE: Plaintiff refers Defendant to her response to Request No. 1.



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REQUEST FOR PRODUCTION NO. 43:

       All DOCUMENTS and COMMUNICATIONS relating to LITIGATION FUNDING IN

CONNECTION WITH this LAWSUIT.

       RESPONSE: Plaintiff objects to this Request on the ground that it seeks information that

is irrelevant and immaterial to Plaintiff’s claims.

REQUEST FOR PRODUCTION NO. 44:

       All YOUR calendars, journals, or other DOCUMENTS that reflect YOUR daily activities

for the ten (10) years preceding the events giving rise to this LAWSUIT to the present.

       RESPONSE: Plaintiff objects that this Request is overbroad because it seeks ten years of

information and contains no limitation for subject matter or relevance. Plaintiff also refers Defendant

to her response to Request No. 1.

REQUEST FOR PRODUCTION NO. 45:

       For each expert identified in response to Abbott’s First Set of Interrogatories to Plaintiffs,

produce ALL DOCUMENTS and/or COMMUNICATIONS that reflect or contain facts or data

they generated, created, or considered, along with all notes, files, literature, and other

DOCUMENTS and things created, received, examined, or considered by the witness.

       RESPONSE: Plaintiff objects to this Request because it is premature. Plaintiff also objects

to the extent that she does not yet know the identities of the experts likely to be called at trial.

Further, because discovery is just beginning in this litigation, the Request is premature to the extent

that Plaintiff does not yet have sufficient information to enable an expert to finalize a

comprehensive opinion with respect to the facts and issues involved in this action.

       Subject to the foregoing, Plaintiff will amend and/or supplement this response.




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REQUEST FOR PRODUCTION NO. 46:

        All DOCUMENTS that constitute, reflect, reference, or relate in any way to any tests or

analyses that YOU or any experts identified in response to Abbott’s First Set of Interrogatories,

consultants, other retained agents, or anyone acting on YOUR behalf have performed on or with

PRETERM INFANT FORMULA PRODUCTS. This Request includes but is not limited to any

draft or final protocols, all data collected or generated, all photographs or videotapes taken or made,

and all DOCUMENTS reflecting or recording the results and interpretations of these tests or

analyses.

        RESPONSE: Plaintiff refers Defendant to her response to Request No. 45.




                                                        Respectfully submitted,

                                                        KLINE & SPECTER, P.C.
                                                        By: /s/ Tobias L. Millrood
                                                        Tobias L. Millrood, Esq.


Dated: October 12, 2023




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                       EXHIBIT C
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From:                               Fuchs, Ronni E. <Ronni.Fuchs@Troutman.com>
Sent:                               Monday, October 16, 2023 4:04 PM
To:                                 Timothy Burke
Cc:                                 Fahey, Sean P.
Subject:                            RE: NEC Phila Cases

Follow Up Flag:                     Follow up
Flag Status:                        Flagged


Tim,

I am writing to let you know that the authorizations and responses to discovery are entirely inadequate, and not
consistent with what plaintiffs agreed to provide. In August, Abbott served discovery, which included requests for lists of
treating physicians and blank authorizations. We granted plaintiffs an extension of time to respond to our discovery with
the understanding that plaintiffs would be providing us with records in your possession, and authorizations sufficient to
permit record collection. In fact, in an August email exchange (included below) regarding plaintiffs’ request that Abbott
provide a four week extension on discovery responses, Tobi said that plaintiffs would be providing us with records you
have, and – on a rolling basis – with lists of treaters, medical, education, and insurance authorizations. He also stated
that plaintiffs would provide employment records (if seeking a wage loss claim) and psychiatric authorizations (if
claiming emotional injury). We received nothing until last week. And what we received was not what we were told we
would receive.

First, we did not receive any medical records. Second, we did not receive any authorizations for 7 cases of the 21 in
which amended complaints were filed; in 14 cases, we received authorizations to permit collection of parent records
from the birth hospital only; and, in only 12 cases, we received authorizations to permit collection of child records from
birth hospitals and, at most, one or two other hospitals. Your discovery responses do not list any treaters, but just refer
us to the authorizations. Surely, you are not suggesting that these children did not have pediatric or other medical care,
or that the mothers received no obstetric care other than in the birth hospital?

As you know, the Court entered a schedule requiring all discovery to be completed by the beginning of June 2024 and
suggested we begin plaintiffs’ depositions as soon as possible. The process we were discussing, where you provide either
lists of treaters and blank authorizations (or even a reasonably complete set of designated authorizations) for all 21
cases, along with records in your possession, would have given us a chance to meet that deadline. But we cannot do so
with what you provided.

I also ask you to review the discovery responses. The majority of the interrogatories were Standard Form Interrogatories
propounded pursuant to Local Rule 4005. Despite the prohibition on objections to standard form interrogatories,
plaintiffs objected to each of them. Moreover, plaintiffs only provided substantive information in response about 10 of
the 68 interrogatories for each plaintiff (limited to information such as the infant’s address, date of birth, and hospital of
birth). We will send you a letter detailing the deficiencies in plaintiffs’ responses, but I ask that we have a call later this
week about these issues.

Finally, when we spoke, you indicated you were surprised that defendants filed preliminary objections to the amended
complaints. I want to make it clear that defendants’ preliminary objections are not filed to preserve the record but
because plaintiffs did not address the critical deficiencies in the initial pleadings. For example, Judge Carpenter pointed
out during the last status conference that plaintiffs had not identified the formula products administered to each infant,
suggesting that plaintiffs amend their complaints to identify the product administered or otherwise explain why such
identification was not possible. But universally across the amended complaints, plaintiffs use the exact same phrasing as

                                                               1
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had appeared in the initial complaints regarding the product used: “Abbott and/or Mead Johnson,” without explaining
why product identification is impossible in any case. Likewise, even with the benefit of amendment, plaintiffs still failed
to plead the existence of a misrepresentation by either Mead Johnson or Abbott, let alone whether any plaintiff saw,
heard, or relied on any such misrepresentation to their detriment. These are just two examples of substantive
deficiencies that existed in the initial complaints and have not been remedied in plaintiffs’ pleadings.

Please let me know when you are available to discuss plaintiffs’ responses to discovery.

--Ronni

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Troutman Pepper is a Mansfield Certified Plus Firm




Ron ni, thanks for following u p. I just got out of a hearing and wa s intendi ng to write you, so I a ppre ciate your initiative here. We will provide yo u with records we have. We will asse mble a list o f treaters. We will sup ply me d, edu cation,
ZjQcmQRYFp fptBa nnerStart




                                                                                                                                                                                                                                                              2
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                       EXHIBIT D
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October 27, 2023
VIA E-MAIL

Tobi Millrood
Tobi.Millrood@klinespecter.com

Timothy Burke
Timothy.Burke@klinespecter.com

Re:     Preterm Infant Nutrition Litigation (PCCP Case Numbers PCCP Case Nos.
        220302583, 220302588, 220302594, 220302601, 220302606, 220302614, 220302617,
        220302963, 220302967, 220302969, 220302978, 220302981, 220302983, 220302986,
        220400127, 220400136, 220400138, 220400140, 220400141, 220400142, 220400145,
        220400153, 220400156, 220400158, 220400159, 220400162, 220400208, 220400212,
        and 220400216) Discovery Deficiency Letter


Counsel:

I write on behalf of Defendant Abbott Laboratories (“Abbott”). This letter pertains to Plaintiffs’
deficient Responses to Abbott’s First Set of Interrogatories (“INTs”), Plaintiffs’ deficient
Responses to Abbott’s First Set of Requests for Production of Documents (“RFPs”), and the
limited Authorizations that Plaintiffs have provided to date.1 Abbott propounded these INTs and
RFPs on August 9, 2023, and agreed to Plaintiffs’ request for an extension of time to respond
until October 9, 2023. In the discussion regarding the extension, Abbott made clear that it would
grant the extension but that it needed authorizations, lists of treaters, and any records in Plaintiffs’
possession sooner than October 9 in order to prepare for Plaintiffs’ depositions. In response, on
August 31st, you said “[w]e will provide you with records we have. We will assemble a list of
treaters. We will supply med, education, insurance auths. We will supply employment records if
a wage loss claim is pursued and psych auth if we are claiming psych injury.”

Despite that assurance, Abbott received nothing – no records, authorizations, or lists of treaters
prior to October 9. On October 11 and 12, Plaintiffs provided responses to INTs and RFPs, with
a small set of authorizations for about half of the cases. On October 16, 2023, Abbott informed
Plaintiffs of the significant deficiencies in its responses, including missing authorizations,
incomplete sets of authorizations, lack of treater lists and lack of any records from Plaintiffs. We

        1 Abbott uses the term “Plaintiffs” to refer to all Plaintiffs across the 21 cases in which Amended

Complaints have been filed. We understand that you will be filing petitions for the dismissal of the eight
cases in which Amended Complaints were not filed.
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received no response until October 26, when we received limited authorizations in most (but not
all) of the remaining cases. At the Case Management Conference before Judge Carpenter in July
2023, there was discussion about beginning to take Plaintiffs’ depositions by the end of this year.
This was always going to be challenging, but in light of Plaintiffs’ failure to produce any medical
records, sufficient authorizations to permit the collection of records, or meaningful responses to
written discovery, Plaintiffs have almost ensured that Defendants will not be in a position even to
begin these depositions this calendar year.

As discussed below and in our October 16th email to you, Plaintiffs’ responses are deficient, and
we request that they be promptly supplemented no later than November 3, 2023. If you disagree
and believe that any response is not deficient, we request a telephonic meet and confer. Please
let us know your availability for a call during the week of November 6. We appreciate Plaintiffs’
anticipated cooperation in resolving these deficiencies.

   I.      Authorizations

In Request for Production Nos. 20-24, Abbott requested signed medical, insurance,
employment, education, and psychiatric/psychotherapy authorizations for both Infant and Parent,
to permit Abbott to begin the collection of relevant medical records. Plaintiffs corresponded with
Abbott in late August, seeking an extension of time to respond to the discovery. Abbott agreed
to provide Plaintiffs with a 30-day extension of time to respond to the discovery, but with an
agreement that Plaintiffs would be providing Abbott with (1) signed authorizations, (2) lists of
treaters, and (3) medical records in Plaintiffs’ possession.

Yet, it was not until October 11, 2023 that Plaintiffs first provided Abbott with any authorizations
– and then, only in about half of the cases. Plaintiffs then provided limited authorizations in seven
additional cases on October 26, 2023 (after Abbott sent correspondence following up). Plaintiffs’
delay in providing even these limited authorizations – and continued delay in providing full and
complete authorizations – prevented Abbott from adequately preparing to take Plaintiffs’
depositions by the end of this year.

The medical authorizations provided are “designated” authorizations; that is, they are directed to
single specific entities and therefore cannot be used to collect records from any additional
providers. Abbott requested Plaintiffs to provide blank authorizations along with lists of treaters.
This would have permitted Abbott to efficiently collect records. Instead, by providing
authorizations for only limited providers, Plaintiffs have ensured further delay in the collection of
records.

Beyond the reasons noted above, the authorizations are deficient in several other respects:

First, with regard to Infant authorizations that have been produced, Plaintiffs provided a single
authorization in five cases, which was directed to the Infant’s birth hospital. As discussed with
the Court in July, the birth records do not provide information about the child’s ongoing course or
current condition. In ten more cases, Plaintiffs provided only two authorizations, one directed to
the Infant’s birth hospital and one additional hospital. In three cases, Plaintiffs provided
authorizations for three or more hospitals, which consisted of the Infant’s birth hospital and two
or more additional hospitals. Plaintiff provided an authorization for pediatric care in only one case.
In no other instance did Plaintiffs provide any medical authorizations for the Infant’s pediatrician,
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GI treating physician, or any other medical provider. Plaintiffs also did not provide any insurance,
education, or psychiatric/psychotherapy authorizations. Plaintiffs failed to produce any Infant
authorizations in Wiggins and Williams.

Second, with regard to Parent authorizations that have been produced, Plaintiff-Parents provided
only one authorization in 19 cases – that for the birth hospital. Plaintiffs did not provide any
authorizations for Plaintiff-Parents’ obstetrician/ gynecologist or any other treaters. Plaintiffs also
did not provide any insurance, employment, or psychiatric/psychotherapy authorizations.
Plaintiffs failed to produce any Parent authorizations in Wiggins.

Finally, Plaintiffs failed to produce lists of treaters or a single medical record in their possession.
Abbott expects Plaintiffs to produce (1) full and complete authorizations in all 21 cases, (2) lists
of treaters, and (3) all medical records in Plaintiffs possession, no later than November 3, 2023.

      II.        Interrogatories (INTs)

Plaintiffs’ responses to Abbott’s INTs are almost entirely deficient. Abbott first discusses
deficiencies in the Standard INT responses, before reviewing deficiencies in the Supplemental
INT responses. As a threshold issue, Plaintiffs failed to verify any of their INT responses as
required by Pa. R. Civ. P. 4006(a)(1).

            A.      Standard Interrogatories Pursuant to Phila. Cnty. Loc. R. 4005 (INT Nos. 1 through
41)

First, Plaintiffs improperly objected to each and every Standard INT. Abbott propounded 21
Standard INTs on each Infant and Parent. Abbott clearly indicated in the introductory paragraph
that these INTs were propounded pursuant to Phila. Cnty. Loc. R. 4005. Additionally, Abbott even
cited the Standard Interrogatory category and Interrogatory Number next to each Standard INT.

Pursuant to the plain text of that rule, “The Court will not entertain objections to the standard
interrogatories and parties who file such objections will be subject to sanctions including
imposition of counsel fees.” See Phila. Cnty. Loc. R. 4005(D) (emphasis added). Notwithstanding
this clear instruction and caution, Plaintiffs universally objected to each and every one of the
Standard INTs that Abbott propounded in all 21 cases.

The failure to comply with Loc. R. 4005(D) is compounded by the fact that, in response to at least
26 of the 42 Standard INTs, Plaintiffs provided absolutely no response at all.2 These non-
responses fall into three categories: refusal to respond, offers to meet and confer, and unspecific
promises to supplement. Each type of non-response is discussed below.

In response to INT Nos. 3, 18, 19, 20, 24, 28, 29, 39, and 40, Plaintiffs outright objected to the
Standard INT and provided no further response. This is an especially inappropriate response to
Standard INTs, which, by rule, may not be objected to.



            2 About half of the Plaintiffs failed to respond to Standard INTs 31 and 32 as well.
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In response to INT Nos. 2, 5, 7, 8, 9, 10, 14, 15, 16, 33, 34, 35, and 36, Plaintiffs objected to the
Standard INT and offered to meet and confer. Plaintiffs provided absolutely no other substantive
response to any part of the INTs that Plaintiffs did not find objectionable. Despite Plaintiffs’
unfounded objections, these requests are highly relevant and appropriate, including:

       INT No. 2: If you claim a permanent injury resulting from the treatment, surgery or
       examination upon which this action is based, describe such injury fully and in detail.

       INT No. 5: State in detail the injuries or diseases that you allege that you suffered as a
       result of treatment, surgery or examination upon which this action is based.

       INT No. 7: Either prior to or subsequent to the treatment, surgery or examination referred
       to in the complaint, have you ever suffered any injuries, illness or diseases in those
       portions of the body claimed by you to have been affected by the treatment, surgery or
       examination referred to in the complaint? If so, state: (a) A description of the injuries or
       diseases you suffered; (b) The date and place of any accident, if such an injury or disease
       was caused by an accident; and (c) The names and addresses of all hospitals, doctors or
       practitioners who rendered treatment or examinations because of any such injuries or
       diseases.

       INT No. 10: State whether you, subsequent to the date of the treatment, surgery or
       examination, have been unable to perform adequately any of your customary occupational
       duties or social or other activities, stating with particularity (a) the duties and/or activities
       you have been unable to perform, (b) the periods of time you have been unable to perform,
       and (c) the names and last known addresses of all persons who have personal knowledge
       thereof.

       INT Nos. 14 & 34: Have you given any statement concerning this action or its subject
       matter? If so, state: (a) The name and last known address of each person to whom a
       statement was given; (b) When and where each statement was given; and (c) Please
       consider this a Request to Produce the statements referred to in the above answer.

In response to INT Nos. 11, 12, 17, and 37, Plaintiffs objected to the INTs and responded only
that they will supplement their responses with unspecified information at some unspecified time
in the future. This response is wholly inappropriate. These INTs seek basic information about
cases that Plaintiffs themselves brought, which Plaintiffs should have had in their possession prior
to filing their complaints.

Moreover, the information responsive to each of these interrogatories is uniquely within Plaintiffs’
possession and relevant to the cases. For example, INT Nos. 11 and 12 inquire as to the names
and locations of witnesses and people with knowledge of the facts concerning the treatment,
surgery, examination, condition, or circumstances related to the allegations in the Amended
Complaints. Plaintiffs’ suggestion that the investigation as to each of these areas of inquiry is
premature strains credulity. Even if some information remains subject to investigation, Plaintiffs
must provide the information they currently have.
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Second, with respect to the Standard INTs to which Plaintiffs arguably “responded,” the
responses are overwhelmingly deficient. In response to INT Nos. 4, 6, 13, 21, 23, 25, 26, 27, 30,
and 41, Plaintiffs generically refer to medical authorizations, medical records, and/or other
unspecified productions by Defendants or third parties. These responses are wholly insufficient.
To begin, the authorizations do not provide any substantive information besides the name of a
single hospital, which is arguably only partially responsive to INT Nos. 6 and 27 from the above
list. Further, Plaintiffs have yet to turn over a single medical record in any of the 21 cases, despite
suggesting in their response to Pennsylvania Hospital’s preliminary objections that they relied on
these records in preparing their Amended Complaints. See Pls. Resp. to Penn POs, at pg. 13.
Lastly, Plaintiffs’ vague reference to “all relevant documents that will be produced during the
course of discovery” is wholly insufficient.

Third, Plaintiffs provided substantive information in response to no more than four Standard INTs,
and, in most cases, only two Standard INTs. In INT Nos. 1 and 22, Abbott requested “(a) Your
full name; (b) Any other names you have used or been known by; (c) Your date and place of birth;
(d) Your marital status at the time of the incident; Your present marital status; (f) Your present
home address; and (g) Your social security number.” In response, Plaintiffs provided only
Parent’s home address, Infant’s home address, Infant’s date and place of birth, and in one
instance, Infant’s date of death. While Plaintiffs agreed to produce social security numbers after
entry of a protective order, Plaintiffs failed to respond to the remaining components of the request
and instead, objected in defiance of Rule 4005(D).

Similarly, only 10 of the 21 Plaintiffs provided any substantive response to INT Nos. 31 and 32.
INT Nos. 31 and 32 sought information about the witnesses and people with knowledge of the
facts concerning the treatment, surgery, examination, condition, or circumstances related to the
allegations in the Amended Complaints. Eleven of the 21 Plaintiffs objected outright to both INT
Nos. 31 and 32, noting only that Plaintiff would supplement “if necessary.” Six of the 21 Plaintiffs
responded to INT No. 32 by providing only the name of the birth hospital and standing on their
objections to INT No. 31. Four of the 21 Plaintiffs responded to INT Nos. 31 and 32 by only
providing very limited information on potential witnesses, such as the name of the Infants’ father
and/or grandfather (Henderson, McMillian), unnamed nurses in the NICU (Parker), and unnamed
employees of the Children’s Hospital of Philadelphia (Sanders). Beyond these very limited
answers, Plaintiffs provided no other substantive information in response to the Standard INTs.

Fourth, Plaintiffs responded to Standard INT Nos. 23, 26, and 27 by suggesting that, as discovery
is ongoing, “Infant may have additional injuries that are, at this time, not known because Infant is
continuing to develop and may face new, or worsened, injuries as time passes.” The potentially
changing nature of Infants’ injuries does not relieve Plaintiffs of their discovery obligation to
respond to this Standard INT and identify any presently known injuries that are responsive thereto.
Moreover, Plaintiff Mays responded to INT No. 22 and indicated that Infant A.R. died on August
15, 2005. Yet, despite Infant’s passing, Plaintiff Mays responded to INT Nos. 23, 26, and 27 by
claiming that “Infant is continuing to develop and may face new, or worsened, injuries as time
passes.”

Abbott requests that Plaintiffs amend and supplement their deficient INT responses, and withdraw
all objections, so as to cure the deficiencies indicated above, no later than November 3, 2023.
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        B.      Supplemental Interrogatories

Abbott also propounded 27 Supplemental INTs on Plaintiffs. Much like the Standard INTs,
Plaintiffs responded with a mixture of pure objections, offers to meet and confer, vague references
to authorizations and medical records not yet produced, and extraordinarily limited substantive
information. Each deficiency is reviewed below.

First, Plaintiffs objected or responded to several INTs, asserting that discovery is “early and
ongoing” or “premature” (INT Nos. 42, 43, 44, 45, 46, 47, 48, 50, 51, 53, and 63). This objection
is unfounded and does not excuse Plaintiffs from satisfying their discovery obligations. These
INTs seek basic information about cases that Plaintiffs themselves brought, which Plaintiffs
should have had in their possession prior to filing their complaints. Additionally, Plaintiffs’ failure
to produce this basic information has prevented Defendants from being in a position to take
Plaintiffs’ depositions.

For example, INT No. 42 simply seeks identification of the product Infant was administered.
Plaintiffs cannot continue to avoid answering basic questions that go to the heart of their claims
by continuously asserting that their investigation is “ongoing.”3

Moreover, Abbott served these requests on August 9, 2023. Despite an extension to October 9,
2023, Plaintiffs provided substantively deficient responses. These requests sought information
that is particularly and uniquely within Plaintiffs’ possession. For example:

        STATE whether YOU and/or PARENTS saw or read any label, packaging, product guide,
        or other DOCUMENTS RELATED TO the PRETERM INFANT FORMULA PRODUCTS
        before they were administered to the INFANT and, if so, IDENTIFY the label, packaging,
        or product guide, or other DOCUMENTS you saw or read and IDENTIFY the time, place,
        and manner in which YOU saw or read such materials. (INT No. 43)

        STATE whether YOU and/or PARENTS had any COMMUNICATIONS with any HEALTH
        CARE PRACTITIONERS regarding the decision to administer any nutrition, including but
        not limited to breast milk, donor milk, or PRETERM INFANT FORMULA PRODUCTS, to
        the INFANT and, if so, IDENTIFY all persons with whom YOU and/or PARENTS had such
        COMMUNICATIONS, the date(s), time, place, and manner of those COMMUNICATIONS,
        and DESCRIBE the content of those COMMUNICATIONS. (INT No. 44).

        IDENTIFY any gifts, coupons, PRETERM INFANT FORMULA PRODUCTS, or OTHER
        INFANT FORMULA PRODUCTS that YOU and/or PARENTS received from any HEALTH
        CARE PROVIDER, including without limitation the PERSON who provided any such items



         3 Plaintiffs also objected to INT No. 42 as requiring expert opinion.        This objection, too, is
unsupportable. The information required to respond INT No. 42 would be uniquely in Plaintiffs’ possession
or, at worst, readily available to Plaintiffs through their medical records. These deficiencies are not cured
by any vague promise to supplement at a later date. Rather, Plaintiffs have a plain discovery obligation to
provide contemporaneous responses to these relevant requests.
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        to YOU and/or PARENTS, the date YOU and/or PARENTS received such items, and the
        substance of any discussions about such items. (INT No. 46)

To the extent Plaintiffs provided any response to these interrogatories, the responses were wholly
generic, lacking substantive information, and failed to answer all components of the INTs. For
example, in response to INT No. 44 about communications with HCPs regarding the decision to
administer nutrition to Infant, including the persons involved, as well as the time, place, manner,
and content of the communication, Plaintiffs’ responses included generic phrases such as:

        “Plaintiff recalls discussing the benefits of feeding premature babies with human milk but
        does not recall having conversations related to consent to feed her child.” (Goodmond
        Rya G., Goodmond Ryh G.);

        “Plaintiff recalls signing a consent form for her child to be given formula or fortifier.”
        (Kajuffa);

        “Plaintiff recalls being consulted about nutrition . . . .” (Moment); and

        “Plaintiff recalls having conversations related to consent to feed her child.” (Taylor).

In each of these instances, Plaintiffs fail to provide basic information that is central to the claims
they brought, including the location, time, content, and participants of these conversations. 4

Second, Plaintiffs universally objected and failed to provide any further response to 14 of the 27
Supplemental INTs. (INT Nos. 42, 48, 51, 52, 55, 56, 57, 58, 59, 60, 61, 62, 64, and 67). Plaintiffs’
failure to provide any responses to these INTs is wholly unacceptable. These INTs seek
information that is highly relevant to Plaintiffs’ claims and Abbott’s defenses, including, among
others, the identity of the formula product administered to Infant (INT No. 42), what
additional/different warnings Plaintiffs contend Abbott should have provided regarding its preterm
infant nutrition products (INT No. 48), the date on which Infant was diagnosed with NEC (INT No.
52), the identity of other pregnancies the Plaintiff-Parent has experienced and whether those
Infants received preterm Infant formula (INT Nos. 55 and 56), the identity of persons who maintain
relevant records (INT No. 57), Infant’s non-NEC diagnoses, if any (INT No. 58), and Parent and
Infant’s educational background and employment (INT Nos. 61 and 62). These issues are central
to the case at hand. Plaintiffs themselves placed these questions squarely at issue in this
litigation. Plaintiffs have alleged their Infant ingested Abbott’s formula; Plaintiffs have alleged their
Infant was diagnosed with NEC; and Plaintiffs have alleged that there are alternative forms of
nutrition available. Abbott is entitled to investigate and test these allegations by requesting
information from Plaintiffs regarding these allegations, and Plaintiffs’ claim that discovery is
“ongoing” in no way relieves them of their obligation to provide complete and accurate responses
to these INTs that detail the information presently known to Plaintiffs.




        4Note that these same failures and lack of substantive information similarly plague Plaintiffs’
responses to INT Nos. 42, 45, 46, 47 and 53.
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Abbott requests that Plaintiffs amend and supplement their deficient responses, and withdraw all
unsupportable objections, so as to cure the deficiencies described above, no later than November
3, 2023.

   III.      Requests for Production of Documents (RFPs)

All Plaintiffs across all 21 cases provided identical deficient responses to each of the 46 Requests
for Production propounded by Abbott. The deficiencies in Plaintiffs’ responses to these RFPs are
detailed below.

First, in response to RFP Nos. 1, 6, 9, 17, 38, 39, 42, and 44, Plaintiffs directed Abbott to
unspecified medical authorizations, medical records that have been or will be produced, and, in
some instances, third-party productions. To date, Plaintiffs have not produced a single medical
record to Abbott. Even in the cases in which Plaintiffs provided Infant authorizations, Plaintiffs
generally provided authorizations for only the Infant’s birth hospital and one other treating hospital,
entirely omitting authorizations for pediatricians and other treaters. For Parents, Plaintiffs
generally only provided authorizations for the Infant’s birth hospital, omitting any OB/GYN or other
treaters.   Plaintiffs also failed to provide any insurance, educational, employment, or
psychiatric/psychotherapy authorizations. Accordingly, in light of Plaintiffs’ failure to timely provide
Abbott with complete authorizations for all 21 cases, Plaintiffs’ referral to those limited set of
authorizations in an effort to respond to the above-mentioned RFPs is wholly insufficient.

Moreover, Plaintiffs’ manner of response, by simply referring to the authorizations, is deficient for
yet another reason. In particular, neither the authorizations, nor the medical records that they
authorize Abbott to obtain, would result in documents responsive to a majority of these requests,
including, for example:

          RFP No. 1: All DOCUMENTS and COMMUNICATIONS that support, refute, or relate to
          any of YOUR allegations in the COMPLAINT.

          RFP No. 6: All DOCUMENTS or evidence of any kind supporting each and every act
          and/or omission by ABBOTT that YOU allege supports the causes of action against
          ABBOTT in the COMPLAINT.

          RFP No. 17: All DOCUMENTS identified in connection with YOUR or INFANT’s responses
          to any Interrogatories in this LAWSUIT, or referenced or used in preparing such
          responses.

          RFP No. 38: All DOCUMENTS that constitute, reflect, refer to, or relate to any articles,
          journals, notes, news alerts, or other information about PRETERM INFANT FORMULA
          PRODUCTS or OTHER INFANT FORMULA PRODUCTS.

          RFP No. 39: All DOCUMENTS that constitute, reflect, refer to, or relate to any articles,
          journals, notes, news alerts, or other information about ABBOTT or any other
          manufacturer of PRETERM INFANT FORMULA PRODUCTS or OTHER INFANT
          FORMULA PRODUCTS.
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       RFP No. 42: All non-privileged COMMUNICATIONS and DOCUMENTS between YOU
       and any PERSON related to YOUR decision to initiate this LAWSUIT.

       RFP No. 44: All YOUR calendars, journals, or other DOCUMENTS that reflect YOUR daily
       activities for the ten (10) years preceding the events giving rise to this LAWSUIT to the
       present.

Second, in response to RFP Nos. 1, 2, 5, 19, 21, 22, 23, 24, and 45, Plaintiffs objected to each
RFP as “premature.” This objection is unsupportable. The information responsive to each of
these RFPs is uniquely within Plaintiffs’ possession. These RFPs seek basic information, much
of which Plaintiffs should have had in their possession at the time the Initial Complaints were filed,
and none of which requires any lengthy investigation to uncover. To provide a stark example,
Plaintiffs universally objected that it was premature of Abbott to seek authorizations for medical
records from Plaintiffs. Notwithstanding, Plaintiffs responded to eight additional RFPs by referring
Abbott to those very authorizations and medical records. Plaintiffs cannot have it both ways.
Plaintiffs’ failure to provide this critical and relevant information, or otherwise authorize Abbott to
obtain it itself, prevents Abbott from preparing for the depositions of Plaintiffs.

Third, in response to RFP Nos. 2, 20, 21, 22, 23, and 24, Plaintiffs objected to each RFP as
seeking “health information protected by state and federal law.” This objection is unsupportable
for several reasons. Plaintiffs have brought suit against Abbott claiming physical injury; they have
placed their health and related information squarely at issue in this case, and accordingly, they
have waived any claim to protection over that information. Moreover, as each of RFP Nos. 20,
21, 22, 23, and 24 makes clear, the authorizations through which Abbott seeks permission to
collect this information are HIPAA-compliant.

Fourth, Plaintiffs object to RFP Nos. 8 and 9 as “not limited in time and scope.” This is
categorically incorrect. RFP No. 8, by its very terms, seeks documents “in the ten (10) years
preceding the events giving rise to this LAWSUIT to the present.” In addition, RFP No. 9 seeks
medical bills, statements, or invoices “for which YOU seek damages in this LAWSUIT.” This
request is clearly limited to and targeted at documents which detail the amount of Plaintiffs’
alleged damages. There is no colorable argument that these documents are outside of the
temporal scope of this litigation or otherwise “not related or relevant to the issues in this case” as
Plaintiffs claim.

Abbott requests that Plaintiffs amend and supplement their deficient responses, and withdraw all
unsupportable objections, so as to cure the deficiencies indicated above, no later than November
3, 2023.

                                       *       *       *
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Deficiency Letter
October 27, 2023
Page 10



It is Abbott’s hope that the parties can resolve most, if not all, of the above deficiencies, or at least
significantly narrow the issues that will need to be raised with the Court. Abbott requests a prompt
response to this letter by November 3, 2023 and, in the absence of remediation of all deficiencies,
a meet and confer during the week of November 6.


Very truly yours,




Ronni E. Fuchs

cc:     All counsel of record (via email)
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I will serve a true and correct copy of the foregoing in accordance with

Pa. R. Civ. P. 440 on all parties not served electronically. All other parties will be electronically

served by the court in accordance with Pa. R. Civ. P. 205.4(g).



 Dated: November 10, 2023                          /s/ Ronni E. Fuchs
                                                   Ronni E. Fuchs
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                             CERTIFICATE OF COMPLIANCE

       I, Ronni E. Fuchs, hereby certify that this filing complies with the provisions of the Public

Access Policy of the Unified Judicial System of Pennsylvania: Case Records of the Appellate and

Trial Courts, that require filing confidential information and documents differently than non-

confidential information and documents.

                                                     /s/ Ronni E. Fuchs
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                   EXHIBIT A-60
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 339 of 496 PageID #:1489



           IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
               FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                         TRIAL DIVISION - CIVIL

 TERRAINE ABDULLAH, et al.,                   :
           Plaintiff,                         : MARCH TERM, 2022
     v.                                       : No. 220302583
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
 HOLLI CARTER, et al.,                        :
           Plaintiff,                         : MARCH TERM, 2022
    v.                                        : No. 220302588
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :

 SHONDERA DRAYTON, et al.,                    :
          Plaintiff,                          : MARCH TERM, 2022
    v.                                        : No. 220302594
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                         :
 JANEE HENDERSON, et al.,                     :
           Plaintiff,                         : APRIL TERM, 2022
     v.                                       : No. 220400127
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
 DELQUAN HINES, et al.,
           Plaintiff,                          APRIL TERM, 2022
    v.                                         No. 220400136
 MEAD JOHNSON & COMPANY, LLC, et al.,
           Defendants.
 SHEMIKA JOHNSON, et al.,                     :
           Plaintiff,                         : APRIL TERM, 2022
    v.                                        : No. 220400162
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
CATHERINE McMILLIAN, et al.,
          Plaintiff,                           APRIL TERM, 2022
    v.                                         No. 220400140
MEAD JOHNSON & COMPANY, LLC, et al.,
          Defendants.
DAMEKA MOMENT, et al.,                        :
          Plaintiff,                          : APRIL TERM, 2022
    v.                                        : No. 220400142
MEAD JOHNSON & COMPANY, LLC, et al.,          :
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 340 of 496 PageID #:1490



              Defendants.                     :
 LOREN SANDERS, et al.,                       :
           Plaintiff,                         : APRIL TERM, 2022
    v.                                        : No. 220400153
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
 SAMAYA SHORT, et al.,                        :
          Plaintiff,                          : APRIL TERM, 2022
    v.                                        : No. 220400159
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                         :
 ALICE STILLS, et al.,                        :
            Plaintiff,                        : MARCH TERM, 2022
     v.                                       : No. 220302617
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                       :
 CHRISTINA TAYLOR, et al.,                    :
            Plaintiff,                        : MARCH TERM, 2022
     v.                                       : No. 220302606
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                       :
 NATISHA THOMAS, et al.,                      :
           Plaintiff,                         : MARCH TERM, 2022
     v.                                       : No. 220400158
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
 TRINA WALKER-SAVAGE and CLIFTON              :
 ISAIAH SAVAGE, JR., et al.,                  : MARCH TERM, 2022
            Plaintiff,                        : No. 220400156
     v.                                       :
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
            Defendants.                       :
 ROBERT WHITFIELD, et al.,                    :
          Plaintiff,                          : APRIL TERM, 2022
    v.                                        : No. 220400145
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
          Defendants.                         :
 GINA WIEGER, et al.,                         :
           Plaintiff,                         : MARCH TERM, 2022
     v.                                       : No. 220302614
 MEAD JOHNSON & COMPANY, LLC, et al.,         :
           Defendants.                        :
 GINA WIEGER, et al.,                         :
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                  Plaintiff,                           : MARCH TERM, 2022
     v.                                                : No. 220302601
  MEAD JOHNSON & COMPANY, LLC, et al.,                 :
           Defendants.                                 :

 MELVENIA WILLIAMS, et al.,                            :
     Plaintiff,                                        : APRIL TERM, 2022
 v.                                                    : No. 220400141
 MEAD JOHNSON & COMPANY, LLC, et al.,                  :
  Defendants.                                          :
 IVYANN WITHERSPOON, et al.,                           :
       Plaintiff,                                      : APRIL TERM, 2022
  v.                                                   : No. 220400138
 MEAD JOHNSON & COMPANY, LLC, et al.,                  :
  Defendants.                                          :

                               Attorney Certification of Good Faith
                                Pursuant to Phila.Civ.R. * 208.2(e)

       The undersigned counsel for movant hereby certifies and attests that:

                  a.   He or she has had the contacts described below with opposing counsel or
unrepresented party regarding discovery matter contained in the foregoing discovery motion in an
effort to resolve the specific discovery dispute(s) at issue and, further, that de
good faith attempts to resolve the dispute(s), counsel have been unable to do so.

                Description:




provided dates for said deposition.



provided dates for said deposition.


Corporate Designee for deposition on November 1, 2023.

       To date, Defense counsel has not provided any available dates for the deposition of

                                                           obtain the information requested via
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   discovery and the corporate designee notices and will in contact regarding promptly
   rescheduling these depositions, but it has failed to do so to date.

               _ b.   He or she has made good faith but unsuccessful efforts described below to
                      contact opposing counsel or unrepresented party in effort to resolve the
                      discovery dispute.


Description:

               N/A. See above.



                                           CERTIFIED TO THE COURT BY:

                                           KLINE & SPECTER, P.C.


Date: November 10, 2023             By:
                                           JOHN P.
                                           TIMOTHY A. BURKE, ESQUIRE
                                           Attorney ID Nos. 205677 / 320927
                                           KLINE & SPECTER, P.C.
                                           1525 Locust Street
                                           Philadelphia, PA 19102
                                           Tel: (215) 772-1000
                                           Fax: (215) 772-1359

                                           Attorneys for Plaintiffs
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 343 of 496 PageID #:1493




                   EXHIBIT A-61
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 344 of 496 PageID #:1494




        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                      TRIAL DIVISION – CIVIL SECTION

HOLLI CARTER, on her own behalf and as Parent :
and Natural Guardian of J.C., a Minor,        : MARCH TERM, 2022
              Plaintiff,                      : No. 2203002588
     v.                                       :
MEAD JOHNSON & COMPANY, LLC, MEAD             :
JOHNSON NUTRITION COMPANY, ABBOTT             :
LABORATORIES, PENNSYLVANIA HOSPITAL :
OF THE UNIVERSITY OF PENNSYLVANIA             :
HEALTH SYSTEM, d/b/a/ PENNSYLVANIA            :
HOSPITAL, and THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN :
MEDICINE.                                     :
              Defendants.                     :

                                ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

      Kindly enter the appearance of Noël B. Ix in the above-captioned matter as counsel for
Defendant Abbott Laboratories.


 November 14, 2023                               Respectfully Submitted,


                                                 /s/ Noël B. Ix
                                                 Noël B. Ix
                                                 PA Bar #70077
                                                 Troutman Pepper Hamilton Sanders LLP
                                                 301 Carnegie Center, Suite 400
                                                 Princeton, NJ 08540
                                                 609.951.4102
                                                 Noel.Ix@troutman.com
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 345 of 496 PageID #:1495




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that he caused a copy of the foregoing Entry of

Appearance to be served upon all counsel of record via electronic filing on November 14, 2023.


                                            /s/ Noël B. Ix
                                            Noël B. Ix (PA 70077)
                                            TROUTMAN PEPPER
                                            HAMILTON SANDERS LLP
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                   EXHIBIT A-62
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 347 of 496 PageID #:1497




Holli Carter, on her own behalf and as Parent and Natural   :
Guardian of J.C., a minor                                   :
                                   Plaintiff                :
                                                                MARCH TERM, 2022
                  v.                                        :
                                                                NO. 220302588
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :

TERRAINE ABDULLAH, on her own behalf and as                 :
Parent and Natural Guardian of H.S., a Minor,               :
                                  Plaintiffs,               :
                                                                MARCH TERM 2022
                 v.                                         :
                                                                NO. 220302583
MEAD JOHNSON & COMPANY, LLC, et al.,                        :
                                  Defendants.               :

Shondera Drayton, on her own behalf and as Parent and       :
Natural Guardian of A.D., a minor,                          :
                                   Plaintiffs               :   MARCH TERM, 2022
                 v.                                         :   NO. 220302594
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :

Gina Wieger, on her own behalf and as Parent and            :
Natural Guardian of M.P., a minor,                          :
                                   Plaintiffs,              :
                                                                MARCH TERM, 2022
                 v.                                         :
                                                                NO. 220302614
Mead Johnson & Company, LLC, et al.,                        :
                                   Defendants.              :

Gina Wieger, on her own behalf and as Parent and            :
Natural Guardian of S.P., a minor,                          :
                                   Plaintiffs,              :   MARCH TERM, 2022
                 v.                                         :   NO. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :

Alice Stills, on her own behalf and as Parent and Natural   :   MARCH TERM, 2022
Guardian of M.E., a minor,                                  :   NO. 220302617
                                    Plaintiffs,             :
                   v.                                       :
MEAD JOHNSON & COMPANY, LLC, et al..                        :
                                    Defendants.


Christina Taylor, on her own behalf and as Parent and       :   MARCH TERM, 2022
Natural Guardian of I.H., a minor,                          :   NO. 220302606
                                   Plaintiff,               :
                  v.                                        :
MEAD JOHNSON & COMPANY, LLC, et al.,                        :
                                   Defendants.              :
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                                           ORDER

       AND NOW, this          ______ day of ___________________________ 2023, upon

consideration of Defendants The Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine’s Response to Plaintiffs’ Motion to Compel the Deposition of Corporate Designee, it is

hereby ORDERED, ADJUDGED, and DECREED that Plaintiffs’ Motion to Compel the

Deposition of Corporate Designee is DENIED.




                                                                                            J.
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 349 of 496 PageID #:1499




BURNS WHITE LLC                                             Attorneys For Defendants,
By:    James A. Young, Esq.                                 The Pennsylvania Hospital of the University of
       Richard S. Margulies, Esq.                           Pennsylvania Health System d/b/a
       Susan R. Engle, Esq.                                 Pennsylvania Hospital and The Trustees of the
       Attorney ID Nos. 00213/62306/81671                   University of Pennsylvania d/b/a Penn
1880 John F. Kennedy Boulevard, 10th Floor                  Medicine
Philadelphia, PA 19103
215-587-1625/1628
jayoung@burnswhite.com
rsmargulies@burnswhite.com


Holli Carter, on her own behalf and as Parent and Natural   :
Guardian of J.C., a minor                                   :
                                   Plaintiff                :
                                                                MARCH TERM, 2022
                  v.                                        :
                                                                NO. 220302588
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :

TERRAINE ABDULLAH, on her own behalf and as                 :
Parent and Natural Guardian of H.S., a Minor,               :
                                  Plaintiffs,               :
                                                                MARCH TERM 2022
                 v.                                         :
                                                                NO. 220302583
MEAD JOHNSON & COMPANY, LLC, et al.,                        :
                                  Defendants.               :

Shondera Drayton, on her own behalf and as Parent and       :
Natural Guardian of A.D., a minor,                          :
                                   Plaintiffs               :   MARCH TERM, 2022
                 v.                                         :   NO. 220302594
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :

Gina Wieger, on her own behalf and as Parent and            :
Natural Guardian of M.P., a minor,                          :
                                   Plaintiffs,              :
                                                                MARCH TERM, 2022
                 v.                                         :
                                                                NO. 220302614
Mead Johnson & Company, LLC, et al.,                        :
                                   Defendants.              :

Gina Wieger, on her own behalf and as Parent and            :
Natural Guardian of S.P., a minor,                          :
                                   Plaintiffs,              :   MARCH TERM, 2022
                 v.                                         :   NO. 220302601
MEAD JOHNSON & COMPANY, LLC, et al.                         :
                                   Defendants.              :
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 Alice Stills, on her own behalf and as Parent and Natural   :
 Guardian of M.E., a minor,                                  :
                                     Plaintiffs,             :
                                                                 MARCH TERM, 2022
                    v.                                       :
                                                                 NO. 220302617
 MEAD JOHNSON & COMPANY, LLC, et al.,                        :
                                     Defendants.


 Christina Taylor, on her own behalf and as Parent and       :
 Natural Guardian of I.H., a minor,                          :
                                    Plaintiff,               :   MARCH TERM, 2022
                   v.                                        :   NO. 220302606
 MEAD JOHNSON & COMPANY, LLC, et al.,                        :
                                    Defendants.              :



      DEFENDANTS, THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY
     OF PENNSYLVANIA HEALTH SYSTEM D/B/A PENNSYLVANIA HOSPITAL
      AND THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA D/B/A
      PENN MEDICINE, RESPONSE TO PLAINTIFFS’ MOTION TO COMPEL
               THE DEPOSITION OF CORPORATE DESIGNEE

        Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine (hereinafter “Responding Defendants”), by and through their counsel, Burns White LLC,

hereby file the instant Response to Plaintiffs’ Motion to Compel the Deposition of Corporate

Designee, and aver in support as follows:

        1. It is admitted that this paragraph summarizes the allegations made in Plaintiffs’

Complaints. The substance of the allegations is denied.

        2. It is admitted that this paragraph summarizes the allegations made in Plaintiffs’

Complaints. The substance of the allegations is denied.

        3. Admitted.

        4. Admitted that Exhibit “A” was sent to defense counsel.

        5. Admitted that Exhibit “B” was sent to defense counsel.

        6. Admitted that Exhibit “C” was sent to defense counsel.

        7. Denied as stated. It is admitted that defense counsel send the email marked as Exhibit
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“D.” It is denied that Responding Defendant refused to produce a witness. The deposition was

unilaterally noticed and Responding Defendant was not able to coordinate a witness on such short

notice without regard for the schedules of all counsel and the witness.

       8. Denied. Responding Defendant has provided dates for two of its three clients, and has

advised Plaintiffs’ counsel that it is actively working to schedule the last of the depositions. It is

expected a date will be agreed upon by all parties imminently.

       9. Admitted.

       10. Denied.

       WHEREFORE, Defendants request that this Honorable Court sustain Defendants’

Objections to Plaintiff’s Motion to Compel and enter the attached proposed Order.

                                                      Respectfully submitted,

                                                      BURNS WHITE LLC


                                               BY:    /s/ Susan R. Engle
                                                      JAMES A. YOUNG, ESQ.
                                                      RICHARD S. MARGULIES, ESQ.
                                                      SUSAN R. ENGLE, ESQ.

                                                      Attorneys for Defendants,
                                                      The Pennsylvania Hospital of the University
                                                      of Pennsylvania Health System d/b/a
                                                      Pennsylvania Hospital and The Trustees of
                                                      the University of Pennsylvania d/b/a Penn
                                                      Medicine
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 352 of 496 PageID #:1502




                                 CERTIFICATE OF SERVICE

       I, Susan R. Engle, Esquire, do hereby certify that on this day I caused a true and correct

copy of the foregoing Response of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Motion to Compel the Deposition of Corporate

Designee to be served via the electronic filing system to all counsel of record.




                                              BY:     /s/ Susan R. Engle


Dated: November 27, 2023
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                   EXHIBIT A-63
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 354 of 496 PageID #:1504
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                   EXHIBIT A-64
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 356 of 496 PageID #:1506




               COURT OF COMMON PLEAS OF PHILADELPHIA
                        TRIAL DIVISION – CIVIL

TERRAINE ABDULLAH, on her own behalf and as :
Parent and Natural Guardian of H.S., a Minor, :
                                              : Case No.: 220302583
              Plaintiffs,                     :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :
MEAD JOHNSON & COMPANY LLC;                   :
MEAD JOHNSON NUTRITION COMPANY;               :
ABBOTT LABORATORIES; THE                      :
PENNSYLVANIA HOSPITAL OF THE                  :
UNIVERSITY OF PENNSYLVANIA HEALTH             :
SYSTEM, d/b/a PENNSYLVANIA HOSPITAL; and :
THE TRUSTEES OF THE UNIVERSITY OF             :
PENNSYLVANIA, d/b/a PENN MEDICINE,            :
                                              :
              Defendants.                     :

HOLLI CARTER, on her own behalf and as Parent   :
and Natural Guardian of J.C., a Minor,          :
                                                : Case No.: 220302588
            Plaintiffs,                         :
                                                : JURY TRIAL DEMANDED
v.                                              :
                                                :
MEAD JOHNSON & COMPANY LLC; MEAD                :
JOHNSON NUTRITION COMPANY; ABBOTT               :
LABORATORIES; THE PENNSYLVANIA                  :
HOSPITAL OF THE UNIVERSITY OF                   :
PENNSYLVANIA HEALTH SYSTEM, d/b/a               :
PENNSYLVANIA HOSPITAL; and THE                  :
TRUSTEES OF THE UNIVERSITY OF                   :
PENNSYLVANIA, d/b/a PENN MEDICINE,              :
                                                :
            Defendants.                         :

SHONDERA DRAYTON, on her own behalf and as :
Parent and Natural Guardian of A.D., a Minor, :
                                              : Case No.: 220302594
              Plaintiffs,                     :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :


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MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE PENNSYLVANIA                    :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA HEALTH SYSTEM, d/b/a                 :
PENNSYLVANIA HOSPITAL; and THE                    :
TRUSTEES OF THE UNIVERSITY OF                     :
PENNSYLVANIA, d/b/a PENN MEDICINE,                :
                                                  :
             Defendants.                          :

BRANDY GOODMOND, on her own behalf and as:
Parent and Natural Guardian of RYA G., a Minor,
                                         :
                                         : Case No.: 220400208
           Plaintiffs,                   :
                                         : JURY TRIAL DEMANDED
v.                                       :
                                         :
MEAD JOHNSON & COMPANY LLC; MEAD         :
JOHNSON NUTRITION COMPANY; ABBOTT        :
LABORATORIES; THOMAS JEFFERSON           :
UNIVERSITY HOSPITALS, INC., d/b/a THOMAS :
JEFFERSON UNIVERSITY HOSPITAL, and       :
THOMAS JEFFERSON UNIVERSITY, d/b/a,      :
JEFFERSON HEALTH SYSTEM,                 :
                                         :
           Defendants.                   :

BRANDY GOODMOND, on her own behalf and as:
Parent and Natural Guardian of RYH G., a Minor,
                                         :
                                         : Case No.: 220400212
           Plaintiffs,                   :
                                         : JURY TRIAL DEMANDED
v.                                       :
                                         :
MEAD JOHNSON & COMPANY LLC; MEAD         :
JOHNSON NUTRITION COMPANY; ABBOTT        :
LABORATORIES; THOMAS JEFFERSON           :
UNIVERSITY HOSPITALS, INC., d/b/a THOMAS :
JEFFERSON UNIVERSITY HOSPITAL, and       :
THOMAS JEFFERSON UNIVERSITY, d/b/a,      :
JEFFERSON HEALTH SYSTEM,                 :
                                         :
           Defendants.                   :

TONYA GRAY, on her own behalf and as Parent and :


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Natural Guardian of J.M., a Minor,       :
                                         : Case No.: 220400216
           Plaintiffs,                   :
                                         : JURY TRIAL DEMANDED
v.                                       :
                                         :
MEAD JOHNSON & COMPANY LLC; MEAD         :
JOHNSON NUTRITION COMPANY; ABBOTT        :
LABORATORIES; THOMAS JEFFERSON           :
UNIVERSITY HOSPITALS, INC., d/b/a THOMAS :
JEFFERSON UNIVERSITY HOSPITAL, and       :
THOMAS JEFFERSON UNIVERSITY, d/b/a,      :
JEFFERSON HEALTH SYSTEM,                 :
                                         :
           Defendants.                   :

JANEE HENDERSON, on her own behalf and as        :
Parent and Natural Guardian of S.C., a Minor,    :
                                                 : Case No.: 220400127
              Plaintiffs,                        :
                                                 : JURY TRIAL DEMANDED
v.                                               :
                                                 :
MEAD JOHNSON & COMPANY LLC; MEAD                 :
JOHNSON NUTRITION COMPANY; ABBOTT                :
LABORATORIES; THE TRUSTEES OF THE                :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE            :
HOSPITAL OF THE UNIVERSITY OF                    :
PENNSYLVANIA; and THE TRUSTEES OF THE            :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN           :
MEDICINE,                                        :
                                                 :
              Defendants.                        :

SHEMIKA JOHNSON, on her own behalf and as        :
Parent and Natural Guardian of W.J., a Minor,    :
                                                 : Case No.: 220400162
              Plaintiffs,                        :
                                                 : JURY TRIAL DEMANDED
v.                                               :
                                                 :
MEAD JOHNSON & COMPANY LLC; MEAD                 :
JOHNSON NUTRITION COMPANY; ABBOTT                :
LABORATORIES; THE TRUSTEES OF THE                :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE            :
HOSPITAL OF THE UNIVERSITY OF                    :


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PENNSYLVANIA; and THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN            :
MEDICINE,                                         :
                                                  :
              Defendants.                         :

KRISTEN KAJUFFA, on her own behalf and as         :
Parent and Natural Guardian of B.K., a Minor,     :
                                                  : Case No.: 220302978
              Plaintiffs,                         :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; TEMPLE UNIVERSITY                   :
HEALTH SYSTEM, d/b/a TEMPLE UNIVERSITY            :
HOSPITAL,                                         :
                                                  :
              Defendants.                         :

NAFEESAH MAYS, on her own behalf and as Parent :
and Natural Guardian of A.R., a Minor,         :
                                               : Case No.: 220302963
             Plaintiffs,                       :
                                               : JURY TRIAL DEMANDED
v.                                             :
                                               :
MEAD JOHNSON & COMPANY LLC; MEAD               :
JOHNSON NUTRITION COMPANY; ABBOTT              :
LABORATORIES; ALBERT EINSTEIN MEDICAL :
CENTER, a/k/a EINSTEIN MEDICAL CENTER, and :
ALBERT EINSTEIN HEALTHCARE NETWORK, :
d/b/a, EINSTEIN HEALTHCARE NETWORK,            :
                                               :
             Defendants.                       :
                                               :

CATHERINE MCMILLIAN, on her own behalf and as:
Parent and Natural Guardian of T.M., a Minor, :
                                              : Case No.: 220400140
              Plaintiffs,                     :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :
MEAD JOHNSON & COMPANY LLC; MEAD              :


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JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE TRUSTEES OF THE                 :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE             :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA; and THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN            :
MEDICINE,                                         :
                                                  :
             Defendants.                          :

DAMEKA MOMENT, on her own behalf and as           :
Parent and Natural Guardian of A.M., a Minor,     :
                                                  : Case No.: 220400142
             Plaintiffs,                          :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE TRUSTEES OF THE                 :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE             :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA; and THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN            :
MEDICINE,                                         :
                                                  :
             Defendants.                          :

NYDIA PARKER, on her own behalf and as Parent     :
and Natural Guardian of M.H., a Minor,            :
                                                  : Case No.: 220302983
             Plaintiffs,                          :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; TEMPLE UNIVERSITY                   :
HEALTH SYSTEM, d/b/a TEMPLE UNIVERSITY            :
HOSPITAL,                                         :
                                                  :
             Defendants.                          :

ALEXANDRIA ROSS, on her own behalf and as         :
Parent and Natural Guardian of B.M., a Minor,     :
                                                  : Case No.: 220302981


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            Plaintiffs,                       :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :
MEAD JOHNSON & COMPANY LLC; MEAD              :
JOHNSON NUTRITION COMPANY; ABBOTT             :
LABORATORIES; TEMPLE UNIVERSITY               :
HEALTH SYSTEM, d/b/a TEMPLE UNIVERSITY        :
HOSPITAL,                                     :
                                              :
            Defendants.                       :

LOREN SANDERS, on her own behalf and as Parent :
and Natural Guardian of Q.S., a Minor,         :
                                               : Case No.: 220400153
             Plaintiffs,                       :
                                               : JURY TRIAL DEMANDED
v.                                             :
                                               :
MEAD JOHNSON & COMPANY LLC; MEAD               :
JOHNSON NUTRITION COMPANY; ABBOTT              :
LABORATORIES; THE TRUSTEES OF THE              :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE          :
HOSPITAL OF THE UNIVERSITY OF                  :
PENNSYLVANIA; and THE TRUSTEES OF THE :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN :
MEDICINE,                                      :
                                               :
             Defendants.                       :

SAMAYA SHORT, on her own behalf and as Parent :
and Natural Guardian of S.M., a Minor,        :
                                              : Case No.: 220400159
              Plaintiffs,                     :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :
MEAD JOHNSON & COMPANY LLC; MEAD              :
JOHNSON NUTRITION COMPANY; ABBOTT             :
LABORATORIES; THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE         :
HOSPITAL OF THE UNIVERSITY OF                 :
PENNSYLVANIA; and THE TRUSTEES OF THE :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN :
MEDICINE,                                     :
                                              :


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              Defendants.                         :

ALICE STILLS, on her own behalf and as Parent and :
Natural Guardian of M.E., a Minor,                :
                                                  : Case No.: 220302617
             Plaintiffs,                          :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE PENNSYLVANIA                    :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA HEALTH SYSTEM, d/b/a                 :
PENNSYLVANIA HOSPITAL; and THE                    :
TRUSTEES OF THE UNIVERSITY OF                     :
PENNSYLVANIA, d/b/a PENN MEDICINE,                :
                                                  :
             Defendants.                          :

CHRISTINA TAYLOR, on her own behalf and as        :
Parent and Natural Guardian of I.H., a Minor,     :
                                                  : Case No.: 220302606
              Plaintiffs,                         :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE PENNSYLVANIA                    :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA HEALTH SYSTEM, d/b/a                 :
PENNSYLVANIA HOSPITAL; and THE                    :
TRUSTEES OF THE UNIVERSITY OF                     :
PENNSYLVANIA, d/b/a PENN MEDICINE,                :
                                                  :
              Defendants.                         :

NATISHA THOMAS, on her own behalf and as          :
Parent and Natural Guardian of R.T., a Minor,     :
                                                  : Case No.: 220400158
              Plaintiffs,                         :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :


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JOHNSON NUTRITION COMPANY; ABBOTT                :
LABORATORIES; THE TRUSTEES OF THE                :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE            :
HOSPITAL OF THE UNIVERSITY OF                    :
PENNSYLVANIA; and THE TRUSTEES OF THE            :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN           :
MEDICINE,                                        :
                                                 :
             Defendants.                         :

TRINA WALKER-SAVAGE and CLIFTON ISAIAH :
WALKER-SAVAGE, JR.,                    :
                                       : Case No.: 220400156
          Plaintiffs,                  :
                                       : JURY TRIAL DEMANDED
v.                                     :
                                       :
MEAD JOHNSON & COMPANY LLC; MEAD       :
JOHNSON NUTRITION COMPANY; ABBOTT      :
LABORATORIES; THE TRUSTEES OF THE      :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE  :
HOSPITAL OF THE UNIVERSITY OF          :
PENNSYLVANIA; and THE TRUSTEES OF THE :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN :
MEDICINE,                              :
                                       :
          Defendants.                  :

JEANNATE WATSON, on her own behalf and as  :
Parent and Natural Guardian of B.L., a Minor,
                                           :
                                           : Case No.: 220302967
             Plaintiffs,                   :
                                           : JURY TRIAL DEMANDED
v.                                         :
                                           :
MEAD JOHNSON & COMPANY LLC; MEAD           :
JOHNSON NUTRITION COMPANY; ABBOTT          :
LABORATORIES; ALBERT EINSTEIN MEDICAL :
CENTER, a/k/a EINSTEIN MEDICAL CENTER, and :
ALBERT EINSTEIN HEALTHCARE NETWORK, :
d/b/a, EINSTEIN HEALTHCARE NETWORK,        :
                                           :
             Defendants.                   :

GINA WIEGER, on her own behalf and as Parent and :
Natural Guardian of M.P., a Minor,               :


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                                                  : Case No.: 220302614
             Plaintiffs,                          :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; THE PENNSYLVANIA                    :
HOSPITAL OF THE UNIVERSITY OF                     :
PENNSYLVANIA HEALTH SYSTEM, d/b/a                 :
PENNSYLVANIA HOSPITAL; and THE                    :
TRUSTEES OF THE UNIVERSITY OF                     :
PENNSYLVANIA, d/b/a PENN MEDICINE,                :
                                                  :
             Defendants.                          :

GINA WIEGER, on her own behalf and as Parent and :
Natural Guardian of S.P., a Minor,               :
                                                 : Case No.: 220302601
             Plaintiffs,                         :
                                                 : JURY TRIAL DEMANDED
v.                                               :
                                                 :
MEAD JOHNSON & COMPANY LLC; MEAD                 :
JOHNSON NUTRITION COMPANY; ABBOTT                :
LABORATORIES; THE PENNSYLVANIA                   :
HOSPITAL OF THE UNIVERSITY OF                    :
PENNSYLVANIA HEALTH SYSTEM, d/b/a                :
PENNSYLVANIA HOSPITAL; and THE                   :
TRUSTEES OF THE UNIVERSITY OF                    :
PENNSYLVANIA, d/b/a PENN MEDICINE,               :
                                                 :
             Defendants.                         :

SHANITA WIGGINS, on her own behalf and as         :
Parent and Natural Guardian of T.B., a Minor,     :
                                                  : Case No.: 220302986
             Plaintiffs,                          :
                                                  : JURY TRIAL DEMANDED
v.                                                :
                                                  :
MEAD JOHNSON & COMPANY LLC; MEAD                  :
JOHNSON NUTRITION COMPANY; ABBOTT                 :
LABORATORIES; TEMPLE UNIVERSITY                   :
HEALTH SYSTEM, d/b/a TEMPLE UNIVERSITY            :
HOSPITAL,                                         :


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                                                          :
                 Defendants.                              :

MELVENIA WILLIAMS, on her own behalf and as               :
Parent and Natural Guardian of R.W., a Minor,             :
                                                          : Case No.: 220400141
                 Plaintiffs,                              :
                                                          : JURY TRIAL DEMANDED
v.                                                        :
                                                          :
MEAD JOHNSON & COMPANY LLC; MEAD                          :
JOHNSON NUTRITION COMPANY; ABBOTT                         :
LABORATORIES; THE TRUSTEES OF THE                         :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE                     :
HOSPITAL OF THE UNIVERSITY OF                             :
PENNSYLVANIA; and THE TRUSTEES OF THE                     :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN                    :
MEDICINE,                                                 :
                                                          :
                 Defendants.                              :

IVYANN WITHERSPOON, on her own behalf and as :
Parent and Natural Guardian of A.H., a Minor, :
                                              : Case No.: 220400138
             Plaintiffs,                      :
                                              : JURY TRIAL DEMANDED
v.                                            :
                                              :
MEAD JOHNSON & COMPANY LLC, MEAD              :
JOHNSON NUTRITION COMPANY, ABBOTT             :
LABORATORIES, THE TRUSTEES OF THE             :
UNIVERSITY OF PENNSYLVANIA, d/b/a THE         :
HOSPITAL OF THE UNIVERSITY OF                 :
PENNSYLVANIA and THE TRUSTEES OF THE          :
UNIVERSITY OF PENNSYLVANIA, d/b/a PENN :
MEDICINE,                                     :
                                              :
             Defendants.                      :


                     [PROPOSED] STIPULATED PROTECTIVE ORDER

            To expedite the flow of discovery material, facilitate the prompt resolution of disputes

     over confidentiality, adequately protect material entitled to be kept confidential, and ensure


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   that protection is afforded only to material so entitled, plaintiffs in the above-captioned

   litigation (“Plaintiffs”) and defendants Mead Johnson & Company, LLC, Mead Johnson

   Nutrition Company; Abbott Laboratories; Albert Einstein Medical Center, a/k/a Einstein

   Medical Center; Albert Einstein Healthcare Network, d/b/a, Einstein Healthcare Network;

   Mead Johnson & Company LLC; Mead Johnson Nutrition Company; Temple University

   Health System, d/b/a Temple University Hospital; The Pennsylvania Hospital of the

   University of Pennsylvania Health System, d/b/a Pennsylvania Hospital; The Trustees of the

   University Of Pennsylvania, d/b/a Penn Medicine; The Trustees of the University of

   Pennsylvania, d/b/a The Hospital of the University of Pennsylvania; Thomas Jefferson

   University Hospitals, Inc., d/b/a Thomas Jefferson University Hospital; Thomas Jefferson

   University, d/b/a, Jefferson Health System (“Defendants”), by and through their respective

   counsel, and pursuant to Pa. R.C.P. No. 4012, hereby stipulate and agree to the terms of this

   Stipulated Protective Order as follows:

            IT IS HEREBY STIPULATED, subject to the approval of the Court that:

       1.         APPLICABILITY OF THE PROTECTIVE ORDER. This Stipulated

Order Governing the Designation and Handling of Confidential Materials (hereinafter “Order”)

shall govern for pre-trial purposes the handling of documents, depositions, deposition exhibits,

interrogatory responses, responses to requests for admissions, responses to requests for production

of documents, and all other discovery obtained pursuant to the Pennsylvania Rules of Civil

Procedure and Rules of Evidence by or from a Party in connection with the Action (this information

hereinafter referred to as “Discovery Material”). Except where federal law applies, Pennsylvania

law and rules shall govern this order. All references to “Party,” “Receiving Party,” “Producing

Party” or “Designating Party” throughout this Order are intended to include Non-parties.



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                The Parties acknowledge that this Order does not confer blanket protections on

     all disclosures, responses to discovery, or testimony and that the protection it affords

     extends only to the information or items that are entitled to protection under the terms of

     this Order and any other applicable law. Furthermore, the Parties acknowledge that neither

     this Order—nor the confidentiality designations thereunder—constitutes a ruling by this

     Court that any specific information is, in fact, confidential.

     2.         OTHER DEFINITIONS

                a. Action: The above-captioned actions and any other Pennsylvania Court

                    action coordinated with them for any purposes, including discovery

                    purposes, and any other related actions in the Philadelphia Court of

                    Common Pleas, provided additional or different Parties to those actions

                    agree to be bound by the terms of this Order, and those other courts that

                    enter this Order or a substantively identical order in reciprocal fashion.

                b. Party: any party to this Action.

                c. Non-party: any individual, corporation, association, or other natural

                    person or entity that is not a Party to this Action.

                d. Receiving Party: a Party or Non-party that receives Discovery Material

                    from a Producing Party.

                e. Producing Party: a Party or Non-party that produces Discovery Material

                    in this Action.

                f. Designating Party: a Party or Non-party that designates information or

                    items that it produces in disclosures or in responses to discovery or provides

                    in the form of deposition testimony as Covered Information (as defined



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                      below). The Designating Party bears the burden of establishing good cause

                      for the protection of all such information or items.

                  g. Challenging Party: a Party that elects to initiate a challenge to a

                      Designating Party’s confidentiality designation.

                  h. TIFF: A widely used and supported graphic file format for storing bit-

                      mapped images, with many different compression formats and resolutions.

                  i. Native Format: An electronic document’s associated file structure defined

                      by the original creating application. For example, the native format of an

                      Excel workbook is a .xls or .xslx file.

       3.         DESIGNATION          OF     MATERIAL          AS    “CONFIDENTIAL”           OR

“HIGHLY CONFIDENTIAL”. Any Producing Party may designate Discovery Material as

“Confidential” or “Highly Confidential” under the terms of this Order if the Producing Party in

good faith reasonably believes that such Discovery Material contains non-public, confidential,

personal, proprietary or commercially sensitive information that requires protections provided in

this Order (hereinafter referred to as “Confidential Material” or “Highly Confidential Material” as

set forth below). Confidential Material and Highly Confidential Material are collectively defined

as “Covered Information.”

                  a. “Confidential Material.” “Confidential Material” means material or

                      information that constitutes, reflects, discloses or contains (i) information

                      protected from disclosure by any applicable State or federal statute or

                      regulation; (ii) research, design, development, financial, technical,

                      marketing, planning, manufacturing or commercial information that the

                      Designating Party has maintained as confidential, as such terms are used in



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                 Pa. R.C.P. 4012(a)(9), and any applicable case law interpreting these rules;

                 and (iii) trade secrets as defined by the Restatement of Torts § 757 comment.

                 Confidential Material shall also include any Protected Data (defined below).

                 For avoidance of all doubt, all medical records produced in this case shall be

                 designated Confidential and treated as personal health information (“PHI”)

                 in accordance with the Health Insurance Portability and Accountability Act

                 (“HIPAA”).

                      (i)     “Protected Data.” Protected Data shall refer to any

                              information that a Party believes in good faith to be subject to

                              federal, state, or foreign Data Protection Laws or other

                              regulatory privacy obligations, including but not limited to

                              Personal Health Information (“PHI”) and Personally

                              Identifiable Information (“PII”). Protected Data constitutes

                              highly sensitive materials requiring special protection.

                              Examples of such Data Protection Laws include, without

                              limitation, The Gramm-Leach-Bliley Act, 15 U.S.C. § 6801

                              et seq. (financial information); The Health Insurance

                              Portability and Accountability Act and the regulations

                              thereunder, 45 CFR Part 160 and Subparts A and E of Part

                              164 (medical information); and the General Data Protection

                              Regulation (GDPR): Regulation (EU) 2016/679 of the

                              European Parliament and of the Council of 27 April 2016 on

                              the protection of natural persons with regard to the processing



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                               of personal data and on the free movement of such data, and

                               repealing Directive 95/46/EC (General Data Protection

                               Regulation), OJ 2016 L 119/1. Certain Protected Data may

                               compel alternative or additional protections beyond those

                               afforded Confidential Material, in which event the Parties

                               shall meet and confer in good faith, and, if unsuccessful, shall

                               move the Court for appropriate relief.


           b. “Highly Confidential Material.” For purposes of this Order, Highly

              Confidential Material shall include, but is not limited to, Confidential Material

              as defined herein containing non-public product design, development, research,

              or testing information or extremely sensitive, highly confidential, non-public

              information, consisting either of trade secrets or proprietary or other highly

              confidential business, financial, regulatory, research, marketing, manufacturing,

              or other strategic information (including without limitation information

              regarding business plans, technical data, and non-public designs), the disclosure

              of which would create a substantial risk of competitive or business injury to the

              Producing Party. It is possible that Defendants may view certain Highly

              Confidential Information as requiring additional protections beyond those

              afforded Highly Confidential Material, in which event the Parties shall meet and

              confer in good faith about potential additional protections, and, if unsuccessful,

              Defendants shall move the Court for appropriate relief before producing the

              information.

                  (i). Certain Highly Confidential Information that contains trade secrets or


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                          proprietary or other highly confidential business, financial, regulatory,

                          research, marketing, manufacturing or other strategic information that, if

                          shared with Defendants’ competitors (including each other) would result in

                          competitive harm, will bear the additional designation “Highly Confidential

                          – Outside Counsel Only.” Material designated by one Defendant as “Highly

                          Confidential – Outside Counsel Only” shall be afforded the same protections

                          afforded to documents designated as “Highly Confidential,” and in addition,

                          shall not be made available to the other Defendants’ in-house counsel or

                          other current employees, absent written agreement by the Producing Party or

                          by order of the Court after in camera review.


       4.         MARKING OF DOCUMENTS. The designation of Discovery Material as

Confidential Material or Highly Confidential Material for purposes of this Order shall be made in

the following manner:

              a. TIFF Documents. In the case of documents or other materials containing

                  Covered Information produced in TIFF format (apart from depositions or other

                  pre-trial testimony), designation shall be made by affixing the legend

                  “Confidential” or “Highly Confidential” to all pages in each document

                  containing any Confidential Material or Highly Confidential Material

                  respectively.

              b. Native Documents. With respect to documents or materials containing

                  Covered Information produced in Native Format, the Designating Party shall

                  include the highest level of confidentiality designation in the filename and/or

                  on a slip sheet placeholder produced along with the native document.

              c. Designating Depositions. With respect to any deposition, confidential


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                  treatment may be invoked on the record (before the deposition or proceeding

                  is concluded) or within twenty-one (21) days following receipt of the transcript

                  by identifying the specific portions of the testimony as to which protection is

                  sought and the level of protection sought (Confidential or Highly Confidential).

                  If that right is invoked, the deposition transcripts shall be treated as Confidential

                  or Highly Confidential, as appropriate, for 21 days following receipt of the

                  transcript. After the expiration of that period, the transcript shall be treated

                  only as specific portions are actually designated.

              d. Non-Written Materials. Any non-text Covered Information (e.g., videotape,

                  audio tape, computer disk, etc.) may be designated as such by labeling the

                  outside of such material as “Confidential” or “Highly Confidential.” In the

                  event a Receiving Party generates any “hard copy” transcription or printout

                  from any such designated non-written materials, the person who generates such

                  “hard copy” transcription or printout shall take reasonable steps to maintain the

                  confidentiality of such materials and properly identify and stamp each page of

                  such material as “Confidential” or “Highly Confidential” consistent with the

                  original designation by the Producing Party.

       5.          ADVERSE EVENT PROTECTIONS. To protect against unauthorized

disclosure of Confidential Information, and to comply with all applicable state and federal laws

and regulations, the producing party will redact from produced documents, materials and other

things, the following items: the names, street addresses, Social Security numbers, tax identification

numbers, and other personal identifying information of patients and individuals in clinical studies

or adverse event reports (unless the above-referenced information relates to named plaintiffs in



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these Actions, except that Social Security numbers and tax identification numbers of named

plaintiffs will be redacted as to any documents produced in accordance with this provision).

Moreover, no disclosure of Confidential Information will be required to the extent that it is

prohibited by an executed research or clinical trial consent form or applicable state and federal law

and regulations. Other general identifying information, however, such as patient or health provider

numbers, health provider names, and adverse event reporter names, may not be redacted unless

required by state or federal law. Nothing in this paragraph shall require any Party to produce

personal identifying information or personal health information in a manner that does not comply

with federal or state law. Further, nothing in this agreement prevents either party from moving this

court to compel the production of redacted information. Pursuant to 21 C.F.R. §§ 314.430(e) & (f)

and 20.63.(f), the names and other information which would identify any patients who were

reported as experiencing adverse events that are not redacted shall be treated as Confidential,

regardless of whether the document containing such names is designated as Confidential.

       6.         DISCLOSURE OF COVERED INFORMATION. The failure to designate

Covered Information does not constitute a waiver of such claim and may be remedied by prompt

supplemental written notice upon discovery of the disclosure, with the effect that such Covered

Information will be subject to the protections of this Order. The Receiving Party shall exercise

good faith efforts to ensure that copies made of Covered Information produced to it, and copies

made by others who obtained such Covered Information directly or indirectly from the Receiving

Party, include the appropriate confidentiality legend, to the same extent that the Covered

Information has been marked with the appropriate confidentiality legend by the Producing Party.

       7.         MATERIALS             PREPARED            BASED         UPON          COVERED

INFORMATION. Any notes, lists, memoranda, indices, compilations, or other materials prepared



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or based on an examination of Covered Information, that quote from or paraphrase Covered

Information with such specificity that the Covered Information can be identified shall be accorded

the same status of confidentiality as the underlying Covered Information from which they are

made, and to the extent those materials are disclosed to other Parties or Non-parties, or produced

or filed in this matter, shall be designated with the appropriate confidentiality legend, and shall be

subject to all of the terms of this Protective Order.

       8.          NOTICE TO NON-PARTIES. Any Party issuing a subpoena to a Non-party

shall include a reference to this Protective Order with an offer to provide a copy to the Non-party

upon request.

       9.          GOOD-FAITH BELIEF. For purposes of this Order, the Designating Party

bears the burden of establishing the appropriate designation of all such Discovery Material. The

designation of any Discovery Material as “Confidential” or “Highly Confidential” pursuant to this

Order shall constitute the verification by the Designating Party and its counsel that the material

constitutes “Confidential” or “Highly Confidential” as defined above.

       If at any time prior to the trial of these Actions, a Designating Party realizes that

previously produced Discovery Material should be designated as “Confidential” or “Highly

Confidential” the Designating Party may so designate by advising all other Parties in writing and

by producing replacement documents or material with the appropriate “Confidential” or

“Highly Confidential” designation as described above. The designated documents or material

will thereafter be treated as “Confidential” or “Highly Confidential” pursuant to this Order.

Upon receipt of such designation in writing and re-production of the material with the

“Confidential” or “Highly Confidential” legend, the Parties and other persons subject to this

Order shall take reasonable and appropriate steps to notify any and all recipients of the



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Discovery Material about the protected status of the newly designated “Confidential” or

“Highly Confidential” Discovery Material and to retrieve the newly designated “Confidential”

or “Highly Confidential” Discovery Material from any person who is not permitted by this

Order to have Confidential Information.

       10.         PERSONS           AUTHORIZED          TO      RECEIVE         CONFIDENTIAL

MATERIAL. Confidential Material may be disclosed only to the following “Qualified Persons”:

              a. the Court, including attorneys, employees, judges, magistrates, secretaries,

                   special masters, stenographic reporters, staff, transcribers and all other

                   personnel necessary to assist the Court in its function, and the jury (and any

                   appellate court or other court (and their personnel) before which the Parties

                   appear in this Action);

              b. mediators or other individuals engaged or consulted in settlement of all or part

                   of this Action;

              c. Court reporters, stenographers, and videographers retained to record testimony

                   taken in this Action and those persons, if any, specifically engaged for the

                   limited purpose of making photocopies of documents or otherwise assisting in

                   e-discovery;

              d. counsel for the Parties other than in-house counsel, and such counsel’s

                   employees who have responsibility for the preparation and trial of the Action;

              e. in-house counsel for the Parties, and such in-house counsel’s employees who

                   have responsibility for the preparation and trial of the Action;

              f.   Parties and employees or former employees of a Party to this Order but only

                   to the extent that the specifically named individual Party’s or employee’s or



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              former employee’s assistance or testimony is necessary to this Action;

           g. litigation support services, including outside copying services, court reporters,

              stenographers or companies engaged in the business of supporting

              computerized or electronic litigation discovery or trial preparation, retained by

              a Party or its counsel, provided that they execute Exhibit A as described in

              Paragraph 12 of this Order;

           h. any individual expert, consultant, investigator, or expert consulting firm

              retained by counsel of record in connection with this Action to the extent

              necessary for the individual expert, consultant, investigator, or expert

              consulting firm to prepare a written opinion, to prepare to testify, or to assist

              counsel of record in the prosecution or defense of this Action, provided,

              however, that: (i) the disclosure shall be made only to an individual expert, or

              to members, partners, employees or agents of an expert consulting firm as the

              expert consulting firm shall designate as the persons who will undertake the

              engagement on behalf of the expert consulting firm (the “Designated Expert

              Personnel”); (ii) the individual expert or Designated Expert Personnel use the

              information solely in connection with this Action; (iii) the individual and/or a

              representative of each expert consulting firm sign the Attestation attached on

              Exhibit A on behalf of any Designated Expert Personnel associated with that

              firm; (iv) absent notice and consent of the Designating Party or on application

              to and order of the Court, excluding any retention for this Action, the individual

              expert and each of the Designated Expert Personnel is neither a current nor

              former (within the past three years from the date of this Order) employee of



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              any Party or any entity which directly competes with any of the Defendants as

              to infant formula; and (v) the terms of Paragraph 17 of this Order are satisfied;

           i. Any person (i) who created, authored, received or reviewed such Covered

              Information; (ii) is or was a custodian of the Covered Information; (iii) is

              identified on such Covered Information; or (iv) is or was an employee of the

              Producing Party and is reasonably believed to have knowledge of the matters

              in the Covered Information (provided that any former employee agrees to be

              bound by the provisions of the Order by signing a copy of Exhibit A prior to

              being shown any Covered Information);

           j. Any employees of Defendants who are involved with the receipt, review,

              evaluation, and/or reporting of adverse event reports and other patient-related

              information to governmental and regulatory agencies to whom Defendants are

              legally obligated to report such information, and the governmental and

              regulatory agencies to whom Defendants report such information.

           k. witnesses at depositions or who are noticed for depositions to whom disclosure

              is in good faith reasonably necessary to conduct the Action, with the limitations

              that (i) witnesses shall not retain a copy of documents containing Confidential or

              Highly Confidential Information, except witnesses may retain a copy of all exhibits

              marked at their depositions in connection with review of the transcripts; (ii)

              pages of transcribed deposition testimony or exhibits to depositions that are

              designated as Confidential or Highly Confidential Information pursuant to the

              process set out in this Order must be separately bound by the court reporter and

              may not be disclosed to anyone except as permitted under this Order; (iii)



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                      witnesses noticed for depositions who are shown Confidential or Highly

                      Confidential Information in advance of their deposition must agree to be bound

                      by the provisions of the Order by signing a copy of Exhibit A prior to being

                      shown Confidential or Highly Confidential Information; and (iv) witnesses at

                      depositions must either sign a copy of Exhibit A or, if they refuse, receive an

                      admonition that he or she will be subject to sanctions, including contempt, for

                      violating the terms of the Protective Order.

                   l. mock jurors who have agreed to be bound by the provisions of the Order by

                      signing a copy of Exhibit A;

                   m. auditors and insurers of the Parties; and

                   n. any other person as may be designated by written agreement by the Producing

                      Party or by order of the Court.

          11.         PERSONS AUTHORIZED TO RECEIVE HIGHLY CONFIDENTIAL

MATERIAL. Except as specifically provided for in this or subsequent Court orders, Highly

Confidential Material, or their contents may be disclosed, summarized, described, or otherwise

communicated or made available in whole or in part only to “Qualified Persons” (defined in

Paragraph 10). Highly Confidential Material produced by one Defendant may not be shown to

employees of any other infant formula manufacturer (other than those encompassed by Paragraph

10(e)), absent written agreement by the Producing Party or by order of the Court after in camera

review.         Highly Confidential Material that are contracts between a Defendant and one

organizational customer (e.g., hospitals, but not to include retailer or consumer purchasers of

Defendants’ products) may not be shown to a different organizational customer of Defendants,

unless the deponent is reasonably believed to have knowledge of the matter in that particular



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Highly Confidential document, absent written agreement by the Producing Party or by order of the

Court after in camera review. Further, the Producing Party may seek emergency relief at a

deposition if a Highly Confidential Document is presented to a witness and the Producing Party

believes in good faith that immediate protection is appropriate.

       12.         EXECUTING THE NON-DISCLOSURE AGREEMENT. Each person

as identified in Paragraphs 11(b), (c), (g), (h), (k) and 12(a) to whom Covered Information is

disclosed shall execute a non-disclosure agreement in the form annexed hereto as Exhibit A before

receiving Covered Information. Copies of the executed Exhibit A shall be retained by counsel

disclosing Covered Information to such person. Consistent with Paragraph 17, a non-disclosure

agreement executed by a consultant shall not be available to any other Party except on a court order

following a showing of exceptional circumstances.

       13.         CHALLENGING CONFIDENTIALITY DESIGNATIONS.                                 A Party

objecting in good faith to the designation of any material as Confidential or Highly Confidential

shall give written notice including a brief statement of the basis for the objection to the Designating

Party after receiving such material. Upon receipt of the written objection, counsel for the

Designating Party shall, within ten (10) business days, provide a written response to the objecting

Party explaining the basis and supporting authority for the designation. The Parties shall meet and

confer in good faith to attempt to resolve the dispute without resort to Court intervention. If the

objecting Party and the Designating Party cannot resolve their dispute through such meet and

confer discussions, within 15 business days after the Parties have reached an impasse after meet

and confer efforts, the Challenging Party shall move the Court for an order modifying or

removing such designation. The Designating Party shall have 14 business days to file a response.

The challenging party shall have 7 days to file a reply. The Designating Party has the burden of



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establishing that the document is entitled to protection. Any material so designated shall remain

Confidential or Highly Confidential, and shall be subject to all restrictions on its disclosure and

use set forth in this Order until one of the following occurs: (1) the Designating Party withdraws

such designation in writing; or (2) the Court rules that the challenged material should be re-

designated. In either event, the Designating Party shall reproduce copies of the re-designated

material with the appropriate confidentiality designations at the Designating Party’s expense

within ten business days.

       14.        SUBPOENA FOR COVERED INFORMATION. If any Party has obtained

Covered Information under the terms of this Order and receives a request to produce such Covered

Information by subpoena or other compulsory process commanding the production of such

Covered Information, such Party shall promptly notify the Designating Party, including in such

notice the date set for the production of such subpoenaed information. Prior to the response date,

the Designating Party shall provide written notice of any intent to seek a protective order. Upon

receipt of such notice, the Party or person receiving the subpoena shall inform the person seeking

the protected discovery material that such information is subject to the foregoing Order. No

production or other disclosure of such information pursuant to the subpoena or other process shall

occur until the deadline for the Designating Party to respond to written notice of the subpoena.

       If the Designating Party informs the Party served with the subpoena that it has filed a

motion seeking a protective order from the court where the subpoena or order issued, the Party

served with the subpoena or court order shall not produce any information designated in this action

as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL” before a determination by that court,

unless the Party has obtained the Designating Party’s permission. The Designating Party shall bear

the burden and expense of seeking protection in that court of its confidential material—and nothing



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in these provisions should be construed as authorizing or encouraging a Receiving Party in this

action to disobey a lawful directive from another court.

       15.        USE OF DISCOVERY MATERIAL. Covered Information shall be used

solely for purposes of prosecuting, defending or attempting to resolve this Action, including any

appeal (subject to any coordination order that is entered).

       16.         REDACTIONS ALLOWED.

              a. Any Producing Party may redact from documents (i) matter that the Producing

                  Party claims is privileged information; or (ii) any Protected Data. The Producing

                  Party shall mark each redaction with a legend stating “REDACTED,” and

                  specify the basis for the redaction as appropriate, consistent with the privilege

                  logging provisions of the stipulated order regarding the disclosure of privileged

                  information. Where a document consists of more than one page, at least each

                  page on which information has been redacted shall be so marked. If counsel for

                  the Producing Party agrees or if the Court orders that documents initially

                  redacted shall not be subject to redaction or shall receive alternative treatment,

                  and the documents are subsequently produced in unredacted form, then those

                  unredacted documents shall continue to receive the protections and treatment

                  afforded to documents bearing the confidentiality designation assigned to it by

                  the Producing Party.


              b. In addition to the foregoing, the following shall apply to redactions of Protected

                  Data:

                       i. Any Party may redact Protected Data that it claims, in good faith,

                           requires protections under the terms of this Order. Protected Data,


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                          however, shall not be redacted from documents to the extent it directly

                          relates to or identifies an individual named as a Party in connection

                          with the subject matter of this Action. Protected Data of an individual

                          named as a Party shall otherwise receive the same protections and

                          treatment afforded to other Protected Data under this Protective

                          Order.


                      ii. Protected Data shall be redacted from any public filing not filed under

                          seal.


              c. The right to challenge and process for challenging the designation of redactions

                  shall be the same as the right to challenge and process for challenging the

                  designation of Covered Information as set forth in Paragraph 13.


              d. Nothing herein precludes any Party from seeking the other Parties’ consent

                  or an order allowing the Party to redact nonresponsive matter from otherwise

                  responsive documents on a case-by-case basis.



       17.        PRIVILEGED MATERIALS. With respect to documents designated as

privileged and included in a privilege log in another jurisdiction, those documents need not be

added to a separate or additional privilege log in this Action. For those documents that have not

previously been logged as privileged, any party intending to assert a privilege over such documents

shall generate a privilege log compliant with the Pennsylvania Rules of Civil Procedure.

       18.        EXPERT MATERIALS. As to Plaintiffs and Defendants, a testifying expert’s

work product and communications between a Party's attorney and testifying expert, including


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drafts of any reports or disclosures, are protected from discovery except to the extent that the

communication (i) relates to compensation for the expert's study or testimony; (ii) identifies

facts or data that the Party's attorney provided and that the expert considered in forming the

opinions to be expressed; or (iii) identifies assumptions that the Party's attorney provided and

that the expert relied on in forming the opinions to be expressed. This paragraph, however,

shall not be construed to relieve either Party of the obligation to respond to Pennsylvania Rule

of Civil Procedure 4005 interrogatories. It will also not be construed to relieve the expert from

producing any data analyses, formulas, or other information relied upon, considered, or

generated by the testifying expert in forming his or her opinions. The identity, opinions, and

work product of a consultant are discoverable only to the extent specified in under

Pennsylvania law.

       19.        EXCLUSION OF INDIVIDUALS FROM DEPOSITIONS. Counsel shall

have the right to exclude any person who is not authorized by this Order to receive documents or

information designated as Covered Information from any deposition where testimony regarding

Covered Information or the use of Covered Information is likely to arise.

       20.        SECURITY OF COVERED INFORMATION. Any person in possession of

another Party's Covered Information shall exercise the same care with regard to the storage,

custody, or use of Covered Information as they would apply to their own material of the same or

comparable sensitivity. Receiving Parties must take reasonable precautions to protect Covered

Information from loss, misuse and unauthorized access, disclosure, alteration and destruction,

including but not limited to:

              a. Covered Information in electronic format shall be maintained in a secure

                  litigation support site(s) that applies standard industry practices regarding data



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              security, including but not limited to application of access control rights to

              those persons entitled to access Covered Information under this Order;

           b. To whatever extent the software tracks user access, an audit trail of use and

              access to litigation support site(s), to the extent the litigation support software

              tracks user access, shall be maintained while this Action, including any

              appeals, is pending;

           c. Any Covered Information downloaded from the litigation support site(s) in

              electronic format shall be stored only on device(s) (e.g. laptop, tablet,

              smartphone, thumb drive, portable hard drive) that are password protected

              and/or encrypted with access limited to persons entitled to access Covered

              Information under this Order. If the user is unable to password protect and/or

              encrypt the device, then the Covered Information shall be password protected

              and/or encrypted at the file level.

           d. Covered Information in paper format is to be maintained in a secure location

              with access limited to persons entitled to access Covered Information under

              this Order; and

           e. Summaries of Covered Information, including any lists, memorandum, indices

              or compilations prepared or based on an examination of Covered Information,

              that quote from or paraphrase Covered Information in a manner that enables it

              to be identified shall be accorded the same status of confidentiality as the

              underlying Covered Information.

           f. If the recipient of Covered Information is shipping data in electronic format,

              the recipient shall encrypt the data prior to shipping and provide the encryption



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                   key in separate correspondence. If hard copy documents are shipped, the

                   Receiving Party will ship the documents using secure packaging tape via

                   Federal Express or UPS and retain a tracking number for the materials. If the

                   Receiving Party learns at any time that the Covered Information has been

                   retrieved or viewed by unauthorized parties during shipment, it will

                   immediately notify the Producing Party and take all reasonable measures to

                   retrieve the improperly disclosed materials.

              g.   If the Receiving Party discovers a breach of security1 relating to the Covered

                   Information of a Producing Party, the Receiving Party shall: (1) provide written

                   notice to the Producing Party of the breach within 48 hours of the Receiving

                   Party's discovery of the breach; (2) investigate the effects of the breach,

                   undertake reasonable, industry-standard actions to remediate the effects of the

                   breach, and provide the Producing Party with assurance reasonably satisfactory

                   to the Receiving Party that the breach shall not recur; and (3) provide sufficient

                   information about the breach that the Producing Party can ascertain the size

                   and scope of the breach. The Receiving Party agrees to cooperate with the

                   Producing Party or law enforcement in investigating any such security incident.

       21.         USE IN FILINGS AND COURT PROCEEDINGS. Any Party seeking to file

or attach to a filing or introduce at a court proceeding any documents designated as “Confidential”

or “Highly Confidential” shall comply with the Court’s procedures for filing under seal.




   1
    Breach is defined to include, but is not limited to, the confirmed or suspected: (i) disclosure
   or use of Covered Information by or to an unauthorized person; and/or (ii) the loss, theft or
   hacking of a device containing Covered Information.

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       22.        IMPROPER DISCLOSURE OF COVERED INFORMATION. Disclosure

of Covered Information other than in accordance with the terms of this Order may subject a Party

to such sanctions and remedies as the Court may deem appropriate.

       23.        FINAL TERMINATION. Upon termination of the Action, including, for

example, a voluntary dismissal or an exhaustion of any and all appeals, counsel for each Party

shall, upon request of the Producing Party, return all Covered Information, including any copies,

excerpts and summaries thereof, or shall destroy the same at the option of the Receiving Party and

provide written confirmation of destruction, and shall purge all such information from all machine-

readable media on which the Covered Information resides. Notwithstanding the foregoing, counsel

for each Party and the in-house counsel of each Defendant designated under Paragraph 10(e) may

retain all pleadings, briefs, memoranda, exhibits to any pleading, discovery responses, deposition

transcripts, deposition exhibits, expert reports, motions, trial exhibits, and other documents filed

with the Court that refer to or incorporate Covered Information, and will continue to be bound by

this Order with respect to all such retained information. Further, attorney work- product materials

that contain Covered Information need not be destroyed, but, if they are not destroyed, the person

in possession of the attorney work-product will continue to be bound by this Order with respect to

all such retained information.

       24.        PROTECTIVE ORDER REMAINS IN FORCE. This Protective Order shall

remain in force and effect until modified, superseded, or terminated by consent of the Parties or

by order of the Court made upon reasonable written notice. Unless otherwise ordered or agreed

upon by the Parties, this Protective Order shall survive the termination of this Action. The Court

retains jurisdiction even after termination of this Action to enforce this Protective Order and to

make such amendments, modifications, deletions and additions to this Protective Order as the



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Court may from time to time deem appropriate.

       25.        MODIFYING THIS ORDER. Nothing in this Protective Order shall be

construed to prohibit the Parties from agreeing to modify any provision of this Order or seeking

relief from the Court. Nor shall anything in this Order or any Party’s compliance herewith be

construed as a waiver of any Party’s rights under applicable law.

 APPROVED BY:

 PLAINTIFFS:

        By: /s/ Timothy A. Burke
        KLINE & SPECTER
        Thomas Kline
        Tobi Millrood
        Elizabeth Crawford
        Timothy Burke

        KELLER POSTMAN
        Ben Whiting (Pro Hac Vice)
        Mark Weinstein

 DEFENDANTS:

 Abbott Laboratories

       By: /s/ Sean P. Fahey
       TROUTMAN PEPPER HAMILTON
       SANDERS LLP
       Sean P. Fahey
       Ronni E. Fuchs

       CAMPBELL CONROY & O’NEIL,
       P.C.
       Joseph E. O’Neil
       Ryan O’Neil

       JONES DAY
       Marques Hillman Richeson (Pro Hac Vice)
       Jennifer B. Flannery




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Mead Johnson & Company, LLC and Mead
Johnson Nutrition Company

      By: /s/ Kenneth A. Murphy
      TUCKER LAW GROUP, LLC
      Kenneth A. Murphy
      Heather R. Olson

      WELSH & RECKER, P.C.
      Catherine M. Recker
      Amy B. Carver
      Richard D. Walk, III

The Pennsylvania Hospital of the University of
Pennsylvania Health System d/b/a
Pennsylvania Hospital and The Trustees of the
University of Pennsylvania d/b/a Penn
Medicine

      By: /s/ Richard S. Margulies
      BURNS WHITE LLC
      Richard S. Margulies
      James A. Young
      Susan R. Engle

      By: /s/ Gabor Ovari
      MARSHALL DENNEHEY WARNER
      COLEMAN GOGGIN
      Gabor Ovari
      Kathleen Karmer


Temple University Health System, Inc. d/b/a/
Temple University Hospital

      By: /s/ Richard S. Margulies
      BURNS WHITE LLC
      Richard S. Margulies
      James A. Young
      Susan R. Engle

Albert Einstein Medical Center a/k/a Einstein
Medical Center and Albert Einstein
Healthcare Network d/b/a Einstein Healthcare
Network


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      By: /s/ Brooke Scicchitano
      ECKERT SEAMANS CHERIN &
      MELLOT
      Donald J. Brooks, Jr.
      Brooke Scicchitano

Thomas Jefferson University Hospitals, Inc.,
d/b/a Thomas Jefferson University Hospital
and Thomas Jefferson University d/b/a
Jefferson Health System

      By: /s/ Brooke Scicchitano
      ECKERT SEAMANS CHERIN &
      MELLOT
      Donald J. Brooks, Jr.
      Brooke Scicchitano


IT IS SO ORDERED:




        DATED:                          _________________________________________
                                                                            J.




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                                            EXHIBIT A
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, ______________________________________ [ print               or   type   full   name],   of

_____________________________________________________ [print or type full address],

have read and understand the Stipulated Protective Order that was issued by the Philadelphia Court

of Common Pleas on _________________________________ [insert date] in the Action, as

defined in Paragraph 2(a) of the Protective Order.

       I agree to comply with and to be bound by all the terms of this Stipulated Protective Order.

In compliance with this Order, I will not disclose in any manner any information or item that is

subject to this Stipulated Protective Order to any person or entity except in strict compliance with

the provisions of this Order.

       I further agree to submit to the jurisdiction of the Philadelphia Court of Common Pleas for the

purpose of enforcing the terms of this Stipulated Protective Order, even if such enforcement

proceedings occur after termination of this action.

       I declare under penalty of perjury under the laws of the Commonwealth of Pennsylvania

that the foregoing is true and correct. Signed this __________ day of __________________

20_____, at _______________________________________________________ [insert city and

state where sworn and signed].




                                         Signature:_____________________________________
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                   EXHIBIT A-65
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TUCKER LAW GROUP, LLC                        ATTORNEYS FOR MEAD JOHNSON &
Kenneth A. Murphy, Esquire                   COMPANY, LLC AND MEAD
Heather R. Olson, Esquire                    JOHNSON NUTRITION COMPANY
Ten Penn Center
1801 Market Street, Suite 2500
Philadelphia, PA 19103
(215) 875-0609
kmurphy@tlgattorneys.com

HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a Minor                         :
                                      : MARCH TERM, 2022
                        Plaintiffs,   : No. 2588
        v.                            :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.,                               :
                                      :
                        Defendants.   :

                           WITHDRAWAL OF APPEARANCE

TO THE PROTHONOTARY:

      Kindly withdraw the appearance of Heather R. Olson, Esquire as counsel for

Defendants, Mead Johnson & Company, LLC and Mead Johnson Nutrition Company in

the above-referenced matter.

                                      Respectfully submitted,

                                      TUCKER LAW GROUP, LLC

Dated: February 13, 2024              /s/ Heather R. Olson
                                      Heather R. Olson, Esquire
                                      Counsel for Defendants, Mead Johnson &
                                      Company, LLC and Mead Johnson Nutrition
                                      Company
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                           CERTIFICATE OF COMPLIANCE



      I certify that this filing complies with the provisions of the Public Access Policy of

the Unified Judicial System of Pennsylvania, Case Records of the Appellate and Trial

Courts that require filing confidential information and documents differently than non-

confidential information and documents.



Dated: February 13, 2024                         /s/ Heather R. Olson
                                                 Heather R. Olson, Esquire
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                              CERTIFICATE OF SERVICE

       I, Heather R. Olson, Esquire, hereby certify that I caused to be served a true and

correct copy of the foregoing document to all counsel of record via the Court’s electronic

filing system.


                                                /s/ Heather R. Olson
                                                Heather R. Olson, Esquire

Dated: February 13, 2024
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                   EXHIBIT A-66
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                   EXHIBIT A-67
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                   EXHIBIT A-68
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BURNS WHITE LLC                                      Attorneys for Defendant,
By:    James A. Young, Esquire                       The Pennsylvania Hospital of the
       Richard S. Margulies, Esquire                 University of Pennsylvania Health
       Kyle J. Generelli, Esquire                    System d/b/a Pennsylvania Hospital and
Attorney ID Nos. 00213 / 62306 / 333291              The Trustees of the University of
1880 John F. Kennedy Boulevard, 10th Floor           Pennsylvania d/b/a Penn Medicine
Philadelphia, PA 19103
(215) 587-1600
jayoung@burnswhite.com
rsmargulies@burnswhite.com
kjgenerelli@burnswhite.com
_________________________________________
HOLLI CARTER, on her own behalf and as Parent :          COURT OF COMMON PLEAS
and Natural Guardian of J.C., a minor         :          PHILADELPHIA COUNTY
                              Plaintiffs,     :
       v.                                     :          MARCH TERM 2022
                                              :          NO. 2588
MEAD JOHNSON & COMPANY, LLC, et al.           :
                              Defendants.     :

                            WITHDRAWAL OF APPEARANCE

TO THE PROTHONOTARY:
       Kindly withdraw only the appearance of Susan Engle, Esquire as counsel on behalf of
Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a
Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine,
in the above-referenced matter.
                                                  BURNS WHITE LLC

                                          BY:     /s/ Susan R. Engle
                                                  Susan R. Engle, Esquire

                                  ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of Kyle J. Generelli, Esquire as co-counsel on behalf of

Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a

Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine,

in the above-captioned matter.

                                                         BURNS WHITE LLC
Date: April 2, 2024                               BY:    /s/ Kyle J. Generelli
                                                         Kyle J. Generelli, Esquire
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                               CERTIFICATE OF SERVICE

       I, Kyle J. Generelli, Esquire, hereby certify that a true and correct copy of the foregoing

Withdrawal of Appearance/Entry of Appearance was served via the                             on all

counsel of record.



                                                    /s/ Kyle J. Generelli
                                                    Kyle J. Generelli, Esquire
Date: April 2, 2024
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                   EXHIBIT A-69
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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 405 of 496 PageID #:1555



HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
J.C., a minor                         :
                                      : APRIL TERM, 2022
                        Plaintiffs,   : No. 02588
        v.                            :
                                      :
MEAD JOHNSON & COMPANY, LLC,          :
et al.,                               :
                                      :
                        Defendants.   :


                                     ORDER

      AND NOW, this ________ day of _____________, 2024, upon consideration of

the Motion for Admission Pro Hac Vice of T. Allon Renfro, Esquire, to Represent

Defendants, Mead Johnson & Company, LLC and Mead Johnson Nutrition Company, it

is hereby ORDERED that the Motion is GRANTED. This Court hereby admits T. Allon

Renfro, Esquire, pro hac vice in this case on behalf of Defendants, Mead Johnson &

Company, LLC and Mead Johnson Nutrition Company.



                                            BY THE COURT:



                                            _______________________
                                                                  J.
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 WELSH & RECKER, P.C.                       ATTORNEYS FOR DEFENDANTS MEAD
 Catherine M. Recker (PA Bar No. 56813)     JOHNSON & COMPANY, LLC AND
 Amy B. Carver (PA Bar No. 84819)           MEAD JOHNSON NUTRITION
 Richard D. Walk, III (PA Bar No. 329420)   COMPANY
 306 Walnut St.
 Philadelphia, PA 19106
 Tel: (215) 972-6430
 Fax: (985) 617-1021
 cmrecker@welshrecker.com
 abcarver@welshrecker.com
 rwalk@welshrecker.com

HOLLI CARTER, on her own behalf and : COURT OF COMMON PLEAS
as Parent and Natural Guardian of J.C., : PHILADELPHIA COUNTY
a minor                                 :
                                        : APRIL TERM, 2022
                        Plaintiffs,     : No. 02588
      v.                                :
                                        :
MEAD JOHNSON & COMPANY, LLC, et :
al.,                                    :
                                        :
                        Defendants.     :

     MOTION FOR ADMISSION PRO HAC VICE OF T. ALLON RENFRO, ESQUIRE,
                TO REPRESENT MEAD JOHNSON DEFENDANTS

       Defendants, Mead Johnson & Company, LLC and Mead Johnson Nutrition

Company (collectively, the “Mead Johnson Defendants”), by and through their counsel,

Welsh & Recker, P.C., hereby move this Court for an order pursuant to Pa. R. C. P.

1012.1(b) and (e), Rule 301 of the Pennsylvania Bar Admission Rules, and the

Pennsylvania Interest on Lawyer Trust Account Regulations for pro hac vice Admission

(204 Pa. Code § 81.501 et seq.) admitting T. Allon Renfro, Esquire, to the bar of this

Court, pro hac vice, for the purpose of representing the Mead Johnson Defendants, and

aver the following in support thereof:

1.     Mr. Renfro is a partner of the law firm of Swanson, Martin, & Bell, LLP and a

       resident in its Chicago office, located at 330 N. Wabash Avenue Suite 3300,
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     Chicago, IL 60611. Mr. Renfro has an attorney-client relationship with Mead

     Johnson & Company, LLC and Mead Johnson Nutrition Company, and has special

     skills, knowledge and experience relating to this case. The efficient administration,

     prosecution and resolution of this case will be materially advanced by the

     admission pro hac vice of Mr. Renfro. A Verification Statement from Mr. Renfro,

     is attached hereto as Exhibit A.

2.   Mr. Renfro is a member in good standing in the state of Indiana and has been

     admitted to practice since 2011. See Exhibit A.

3.   Mr. Renfro’s law firm serves as national trial counsel for the Mead Johnson

     Defendants. He is familiar with the complex, technical issues presented in this

     matter, and his participation in this case will help clarify the issues before the Court.

     See Exhibit A.

4.   The Mead Johnson Defendants have specifically requested that Mr. Renfro be

     permitted to participate in this matter and represent its interests in this matter. See

     Exhibit A.

5.   Mr. Renfro is not presently suspended or disbarred in any Court, nor is he currently

     subject to any disciplinary proceedings by any organization authorized to discipline

     attorneys at law. Further, Mr. Renfro has never received any public discipline,

     including, but not limited to, suspension or disbarment by any organization with the

     authority to discipline attorneys at law. Exhibit A.

6.   Mr. Renfro is familiar with Pennsylvania Bar Admission Rule 301 and has agreed

     to abide by the Rules of Professional Conduct applicable to Pennsylvania lawyers.

     Mr. Renfro will abide by the Rules of Court, including all disciplinary rules and, if



                                             2
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      this motion is granted, he will serve as associate counsel with Catherine M. Recker,

      Esquire, counsel of record for the Mead Johnson Defendants in this matter.

7.    Mr. Renfro has applied to the Pennsylvania Interest on Lawyers' Trust Account

      Board (Pennsylvania IOLTA Board) and paid the appropriate fee required under

      204 Pa. Code § 81.503. to be admitted pro hac vice. Our office received a copy

      of the fee payment certification letter from the IOLTA Board, a copy of which is

      attached as Exhibit B.

8.    Mr. Renfro will be associated with Catherine M. Recker, Esquire, of Welsh &

      Recker, P.C., at all stages of this action.           Ms. Recker, after reasonable

      investigation, believes that Mr. Renfro is a reputable and competent attorney and

      recommends that he be considered for admission pro hac vice. A true Verification

      Statement from Ms. Recker pursuant to Pa. R. C. P. 1012.1(d)(2) is attached

      hereto as Exhibit C.

9.    Catherine M. Recker, Esquire, of Welsh & Recker, P.C., is a member in good

      standing of the Bar of the Commonwealth of Pennsylvania. Welsh & Recker and

      Catherine M. Recker, Esquire will be counsel of record for the Mead Johnson

      Defendants and will continue to participate fully in this litigation and will sign, serve,

      and accept service of all papers on the Mead Johnson Defendants’ behalf.

10.   All the requirements to satisfy the applicable rules of Court are met.

11.   There is no good cause for denial of this motion.

      WHEREFORE, it is respectfully requested that this Court enter the attached Order

granting T. Allon Renfro, Esquire leave to appear as counsel pro hac vice for Defendants,

Mead Johnson & Company, LLC and Mead Johnson Nutrition Company.



                                              3
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                                           Respectfully submitted,

                                           WELSH & RECKER, P.C.


Date: April 5, 2024                  /s/ Catherine M. Recker
                                            Catherine M. Recker (PA Bar No. 56813)
                                            Amy B. Carver (PA Bar No. 84819)
                                            Richard D. Walk, III (PA Bar No. 329420)
                                            306 Walnut St.
                                            Philadelphia, PA 19106
                                            Tel: (215) 972-6430
                                            Fax: (985) 617-1021
                                            cmrecker@welshrecker.com
                                            abcarver@welshrecker.com
                                            rwalk@welshrecker.com




                                       4
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                              CERTIFICATE OF SERVICE

       I, Catherine M. Recker, Esquire certify that on this date, I caused a copy of the

foregoing Motion for Pro Hac Vice admission of T. Allon Renfro to be electronically filed

through the Court’s electronic filing system and that such filing generates a notice of that

constitutes service on all counsel of record.



                                                 WELSH & RECKER, P.C.



Date: April 5, 2024                       /s/ Catherine M. Recker
                                                 Catherine M. Recker, Esquire
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                        EXHIBIT A
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 412 of 496 PageID #:1562




                  VERIFICATION OF T. ALLON RENFRO, ESQUIRE

      I, T. Allon Renfro, Esquire, hereby submit this Verification Statement in support of

the attached Motion for Admission pro hac vice to represent Defendants, Mead Johnson

& Company, LLC and Mead Johnson Nutrition Company (collectively, the “Mead Johnson

Defendants”), in this action in the Court of Common Pleas of Philadelphia County,

Pennsylvania. In support of this Motion made pursuant to pursuant to Pa. R. C. P.

1012.1(b) and (e), Rule 301 of the Pennsylvania Bar Admission Rules, and the

Pennsylvania Interest on Lawyer Trust Account Regulations for pro hac vice Admission

(204 Pa. Code § 81.501 et seq.), I swear and affirm that the following is true and correct

based upon my personal knowledge:

      1. I am a partner of the law firm Swanson, Martin & Bell, LLP and resident in its

          Chicago office, located at 330 N. Wabash Avenue Suite 3300, Chicago, IL

          60611. Telephone: (312) 222-8525; email address: trenfro@smbtrials.com.

      2. I have been licensed to practice law in the following jurisdictions with the

          corresponding bar license number: State of Indiana (30099-53) State of Illinois

          (6309991)       Additionally, I have been admitted to practice in the following

          courts: U.S. District Court, Northern District of Indiana, U.S. District Court,

          Southern District of Indiana, U.S. District Court, Northern District of Illinois, U.S.

          District Court, Southern District of Illinois, U.S. District Court, Eastern District

          of Wisconsin.

      3. I am a member in good standing of all Bars to which I am admitted.
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      4. With respect to each jurisdiction identified in Paragraph 2 above, I have never

          been suspended, disbarred, or otherwise disciplined by any court, nor am I the

          subject of any disciplinary proceedings.

      5. I am involved in the following pending actions in the Philadelphia County Court

          of Common Pleas in which I am applying for admission pro hac vice:

Case Name                                                              Case Number

Carter, et al. v. Mead Johnson & Company, LLC, et al.                  220302588

Wieger, at al. v. Mead Johnson & Company, LLC, et al.                  220302614

Wieger, et al. v. Mead Johnson & Company, LLC, et al.                  220302601

Taylor, et al. v. Mead Johnson & Company, LLC, et al.                  220302606

Stills, et al. v. Mead Johnson & Company, LLC, et al.                  220302617

Mays, at al. v. Mead Johnson & Company, LLC, et al.                    220302963

Watson, et al. v. Mead Johnson & Company, LLC, et al.                  220302967

Kajuffa, et al. v. Mead Johnson & Company, LLC, et al.                 220302978

Ross, et al. v. Mead Johnson & Company, LLC, et al.                    220302981

Parker, et al. v. Mead Johnson & Company, LLC, et al.                  220302983

Wiggins, at al. v. Mead Johnson & Company, LLC, et al.                 220302986

Henderson, et al. v. Mead Johnson & Company, LLC, et al.               220400127

McMillian, et al. v. Mead Johnson & Company, LLC, et al.               220400140

Williams, et al. v. Mead Johnson & Company, LLC, et al.                220400141

Moment, et al. v. Mead Johnson & Company, LLC, et al.                  220400142

Sanders, at al. v. Mead Johnson & Company, LLC, et al.                 220400153

Walker-Savage, et al. v. Mead Johnson & Company, LLC, et al.           220400156


                                           2
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Thomas, et al. v. Mead Johnson & Company, LLC, et al.                   220400158

Short, et al. v. Mead Johnson & Company, LLC, et al.                    220400159

Goodmond, et al. v. Mead Johnson & Company, LLC, et al.                 220400208

Goodmond, at al. v. Mead Johnson & Company, LLC, et al.                 220400212



      6. If admitted, I agree to comply with and be bound by the applicable statues, case

          law, and procedural rules of the Commonwealth of Pennsylvania, including the

          Pennsylvania Rules of Professional Conduct.

      7. I do not have any pending pro hac vice admissions that I have applied for in

          any other court jurisdictions.

      8. If admitted, I agree to subject myself to the jurisdiction of the Pennsylvania

          courts and the Pennsylvania Disciplinary Board with respect to acts or

          omissions occurring during my appearance in this matter for which admission

          pro hac vice is sought.

      9. I respectfully submit that there is a good cause for my admission pro hac vice

          based upon my personal knowledge.

      10. Further, I have consented to the appointment of Catherine M. Recker, Esquire,

          of Welsh & Recker, P.C., as the agent upon whom services of process shall be

          made for all actions, including disciplinary actions, that may arise out of the

          practice of law in this matter for which admission pro hac vice is being sought.

      I declare under the penalty of perjury the foregoing is true and correct. I hereby

state that the facts above are true and correct to the best of my knowledge, information,




                                            3
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and belief. I understand that statements herein are made subject to the penalties of 18

Pa. CS § 4904 (relating to unsworn falsification to authorities).




Date: April 5, 2024                /s/ T. Allon Renfro
                                   T. Allon Renfro, Esquire




                                             4
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                        EXHIBIT B
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Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 418 of 496 PageID #:1568




                        EXHIBIT C
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 419 of 496 PageID #:1569




WELSH AND RECKER, P.C.                      ATTORNEYS FOR DEFENDANTS MEAD
Catherine M. Recker (PA Bar No. 56813)      JOHNSON & COMPANY, LLC AND
Amy B. Carver (PA Bar No. 84819)            MEAD JOHNSON NUTRITION
Richard D. Walk, III (PA Bar No. 329420)    COMPANY
306 Walnut St.
Philadelphia, PA 19106
Tel: (215) 972-6430
Fax: (985) 617-1021
cmrecker@welshrecker.com
abcarver@welshrecker.com
rwalk@welshrecker.com

 HOLLI CARTER, on her own behalf       : COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of : PHILADELPHIA COUNTY
 J.C., a minor                         :
                                       : APRIL TERM, 2022
                         Plaintiffs,   : No. 0
         v.                            :
                                       :
 MEAD JOHNSON & COMPANY, LLC,          :
 et al.,                               :
                                       :
                         Defendants.   :

              VERIFICATION OF CATHERINE M. RECKER, ESQUIRE

COMMONWEALTH OF PENNSYLVANIA                   )
                                               ) ss:
COUNTY OF PHILADELPHIA                         )


      I, Catherine M. Recker, hereby submit this Verification Statement in support of the

attached Motion to Admit T. Allon Renfro, Esquire pro hac vice to represent Defendants,

Mead Johnson & Company, LLC and Mead Johnson Nutrition Company (collectively, the

Mead Johnson Defendants), in this matter.

      1.     I am a Partner at Welsh & Recker, P.C., located at 306 Walnut St.,

             Philadelphia, PA 19106.

      2.     I have been licensed to practice law in the following jurisdictions with the

             corresponding bar license number: The Commonwealth of Pennsylvania
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            (#56813), the State of New Jersey (#044221989). Additionally, I have been

            admitted to practice in the following courts: U.S. District Court, Eastern

            District of Pennsylvania, U.S. District Court, Middle District of Pennsylvania,

            U.S. District Court, Western District of Pennsylvania, U.S. District Court,

            District of New Jersey, U.S. District Court, Southern District of New York,

            U.S. Court of Appeals, Third Circuit, U.S. Court of Appeals, Fourth Circuit,

            United States Supreme Court.

     3.     I am a member in good standing of the Bar of the Commonwealth of

            Pennsylvania and the other courts to which I am admitted.

     4.     I am licensed to practice law in all the jurisdictions that I have been admitted

            and am counsel of record representing the Mead Johnson Defendants in

            this matter.

     5.     I hereby certify and affirm that after reasonable investigation and on

            personal knowledge, I believe that T. Allon Renfro, is a reputable and

            competent attorney, and I am in a position to recommend that this candidate

            be admitted pro hac vice for practice in the Commonwealth of Pennsylvania

            to represent the Mead Johnson Defendants in this matter.

     6.     I am not currently acting as the sponsor of any other candidate for

            admission pro hac vice in Pennsylvania.

     7.     If applicable, at the conclusion of this matter, I affirm that any proceeds from

            the settlement of this cause of action in which Mr. Renfro is granted

            admission pro hac vice shall be received, held, distributed, and accounted




                                            2
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              for in accordance with Rule 301 of the Pennsylvania Rules of Professional

              Conduct, including the IOLTA provisions thereof, if applicable.



       I declare under the penalty of perjury the foregoing is true and correct. I hereby

state that the facts above are true and correct to the best of my knowledge, information,

and belief. I understand that statements herein are made subject to the penalties of 18

Pa. CS §4904 (relating to unsworn falsification to authorities).



                                                 WELSH & RECKER, P.C.



                                          By:    /s/ Catherine M. Recker
                                                 Catherine M. Recker, Esquire

Date: April 5, 2024




                                             3
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                   EXHIBIT A-70
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BURNS WHITE LLC                                                   Attorneys for Defendants,
By:    James A. Young, Esquire                                    The Pennsylvania Hospital of the
       Richard S. Margulies, Esquire                              University of Pennsylvania Health
       Douglas A. Brockman, Esquire                               System d/b/a Pennsylvania Hospital and
       Kyle J. Generelli, Esquire                                 The Trustees of the University of
Attorney ID Nos. 00213/62306/67185/333291                         Pennsylvania d/b/a Penn Medicine
1880 John F. Kennedy Boulevard, 10th Floor
Philadelphia, PA 19103
(215) 587-1600
jayoung@burnswhite.com; rsmargulies@burnswhite.com
dabrockman@burnswhite.com; kjgenerelli@burnswhite.com

HOLLI CARTER, on her own behalf and as Parent :           COURT OF COMMON PLEAS
and Natural Guardian of J.C., a minor         :           PHILADELPHIA COUNTY
                              Plaintiffs,     :
                                              :
       v.                                     :           MARCH TERM 2022
                                              :           NO. 2588
MEAD JOHNSON & COMPANY, LLC, et al.           :
                              Defendants.     :

                            WITHDRAWAL OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly withdraw only the appearance of Kyle J. Generelli, Esquire as counsel on behalf of

Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a

Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine,

in the above-referenced matter.

                                                   BURNS WHITE LLC
                                            BY:    /s/ Kyle J. Generelli
                                                   Kyle J. Generelli, Esquire

                                  ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of Douglas A. Brockman, Esquire as co-counsel on behalf of

Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 424 of 496 PageID #:1574




Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine,

in the above-captioned matter.

                                                        BURNS WHITE LLC
Date: April 25, 2024                              BY: /s/ Douglas A. Brockman
                                                        Douglas A. Brockman, Esquire
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 425 of 496 PageID #:1575




                               CERTIFICATE OF SERVICE

       I, Kyle J. Generelli, Esquire, hereby certify that a true and correct copy of the foregoing

Withdrawal of Appearance/Entry of Appearance

counsel of record.

                                                    /s/ Kyle J. Generelli
                                                    Kyle J. Generelli, Esquire
Date: April 25, 2024
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                   EXHIBIT A-71
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 427 of 496 PageID #:1577
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 428 of 496 PageID #:1578




                   EXHIBIT A-72
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 429 of 496 PageID #:1579
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 430 of 496 PageID #:1580
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 431 of 496 PageID #:1581




By:




Timothy.burke@klinespecter.com


                                                 :   IN THE COURT OF COMMON PLEAS
HOLLI CARTER, on her own behalf and as           :   PHILADELPHIA COUNTY
Parent and Natural Guardian of J.C., a Minor,    :
                                                 :   CIVIL TRIAL DIVISION
                            Plaintiff,           :
                                                 :   MARCH TERM 2022
       v.
                                                 :   NO. 02588
                                                 :
MEAD JOHNSON & COMPANY, LLC, MEAD
                                                 :
JOHNSON NUTRITION COMPANY, ABBOTT
                                                 :
LABORATORIES, THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                 :
MEDICINE, and THE TRUSTEES OF THE
                                                 :
UNIVERSITY OF PENNSYLVANIA d/b/a
                                                 :
PENNSYLVANIA HOSPITAL,
                                                 :
                                                 :
                             Defendants.
                                                 :
                                                 :
                                                 :

                                         NOTICE TO DEFEND
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 432 of 496 PageID #:1582




 NOTICE                                               ADVISO
 You have been sued in court. If you wish to defend Le han demandado a used en la corte. Si usted
 against the claims set forth in the following pages, quiere defenderse de estas demandas expuestas en
 you must take action within twenty (20) days after las paginas siguientes, usted tiene veinte (20) dias de
 this complaint and notice are served, by entering a plazo al partir de la fecha de la demanda y la
 written appearance personally or by attorney and notificacion. Hace falta asentar una comparencia
 filing in writing with the court your defenses or    escrita o en persona o con un abogado y entregar a la
 objections to the claims set forth against you. You corte en forma escrita sus defensas o sus objeciones
 are warned that if you fail to do so the case may    a las demandas en contra de su persona. Sea avisado
 proceed without you and a judgment may be            que si usted no se defiende, la corte tomara medidas
 entered against you by the court without further     y puede continuar la demanda en contra suya sin
 notice for any money claimed in the complaint or previo aviso o notificacion. Ademas, la corte pueda
 for any other claim or relief requested by the       decidir a favor del demandante y requiere que usted
 plaintiff. You may lose money or property or other cumpla con todas las provisiones de esta demanda.
 rights important to you.                             Usted puede perder dinero o sus propiedades u otros
 YOU SHOULD TAKE THIS PAPER TO YOUR derechos importantes para usted.
 LAWYER AT ONCE. IF YOU DO NOT HAVE LLEVE ESTA DEMANDA A UN ABOGADO
 A LAWYER, GO TO OR TELEPHONE THE                     INMEDIATAMENTE, SI NO TIENE ABOGADO
 OFFICE SET FORTH BELOW. THIS OFFICE O SI NO TIENE EL DINERO SUFICIENTE DE
 CAN PROVIDE YOU WITH INFORMATION                     PAGAR TAL SERVICIO, VAYA EN PERSONA O
 ABOUT HIRING A LAWYER.                               LLAME POR TELEFONO A LA OFICINA CUYA
 IF YOU CANNOT AFFORD TO HIRE A                       DIRECCION SE ENCUENTRA ESCRITA ABAJO
 LAWYER, THIS OFFICE MAY BE ABLE TO                   PARA AVERIGUAR DONDE SE PUEDE
 PROVIDE YOU WITH INFORMATION ABOUT CONSEGUIR ASISTENCIA LEGAL.
 AGENCIES THAT MAY OFFER LEGAL
 SERVICES TO ELIGIBLE PERSONS AT A                    Colegio de Abogados del Lackawanna
 REDUCED FEE OR NO FEE.                               233 Penn Avenue, Scranton, PA 18503
                                                      (570) 961-2714
 Lackawanna Bar Association
 233 Penn Avenue
 Scranton, PA 18503
  (570) 961-2714
Case: 1:24-cv-11760 Document #: 1-5 Filed: 10/31/24 Page 433 of 496 PageID #:1583




 KLINE & SPECTER, P.C.
 By:
     Tobias L. Millrood, Esq.
     Elizabeth A. Crawford, Esq.
     Timothy A. Burke, Esq.
     John P. O’Neill, Esq.
 Attorney I.D. Nos.: 77764 / 313702 / 320927 /
 205677
 125 Locust Street, 19th Floor
 Philadelphia, PA 19102
 Telephone: (215) 772-1000
 Tobi.millrood@klinespecter.com
 Elizabeth.crawford@klinespecter.com
 Jack.oneill@klinespecter.com

                                                     :   IN THE COURT OF COMMON PLEAS
 HOLLI CARTER, on her own behalf and as Parent       :   PHILADELPHIA COUNTY
 and Natural Guardian of J.C., a Minor,              :
                                                     :   CIVIL TRIAL DIVISION
                             Plaintiff,              :
                                                     :   MARCH TERM 2022
        v.
                                                     :   NO. 02588
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD
                                                     :
 JOHNSON NUTRITION COMPANY, ABBOTT
                                                     :
 LABORATORIES, THE TRUSTEES OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA d/b/a PENN
                                                     :
 MEDICINE, and PENNSYLVANIA HOSPITAL OF THE
                                                     :
 UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM
                                                     :
 d/b/a PENNSYLVANIA HOSPITAL,
                                                     :
                                                     :
                              Defendants.
                                                     :


                            SECOND AMENDED COMPLAINT

       Plaintiff brings this Second Amended Complaint and Demand for Jury Trial (the “Second

Amended Complaint”) against Mead Johnson & Company, LLC, Mead Johnson Nutrition

Company, and Abbott Laboratories (collectively “the Defendant Manufacturers”), and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine and Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital (collectively “Penn


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Medicine” or “Pennsylvania Hospital”), together “Defendants.”         Plaintiff alleges the following

upon personal knowledge as to Plaintiff’s own acts and experiences and upon information and

belief, including investigation conducted by Plaintiff’s attorneys, as to all other matters.

                                    I.         INTRODUCTION

1.     This action arises out of the injuries suffered by a premature infant (the “Injured Infant”)

who was given the Defendant Manufacturers’ cow’s milk-based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers’ products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.         This caused the Injured Infant to

develop necrotizing enterocolitis (“NEC”), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow’s milk-based feeding products.         As a result,

the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent (“the Plaintiff Parent”).

2.     Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant’s consumption of the Defendant Manufacturers’

unreasonably dangerous cow’s milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                         II.     PARTIES

3.     Plaintiff Holli Carter is a natural adult person and a resident of New Jersey. Ms. Carter is

the parent and natural guardian of J.C., a minor. Ms. Carter’s address is 16 Carmen Drive, Cape

May Court House, New Jersey 08210-2563.

4.     Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws


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of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, “Mead”) are

manufacturers of cow’s milk-based infant feeding products and market many of these products

under the “Enfamil” brand name.

5.      Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the laws of

the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow’s

milk-based infant feeding products and markets many of its products under the “Similac” brand

name.

6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.               Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                              III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants


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conduct authorized business in the Commonwealth of Pennsylvania.              They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants’ forum-related activities, such that the Court of Common Pleas

of Philadelphia County’s exercise of jurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiff’s causes of action arose, and the county where

the occurrences took place out of which Plaintiff’s causes of action arose.

10.     This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.   FACTUAL ALLEGATIONS

                                       J.C.’s NEC Diagnosis

11.     J.C. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

October 6, 2014.

12.     At birth, J.C.’s gestational age was approximately 24 weeks and he weighed 655 grams.

13.     J.C. was fed breast milk from October 11, 2014 until October 22, 2014.

14.     On October 23, 2014 the Pennsylvania Hospital NICU physicians changed J.C.’s

nutritional orders to be breast milk fortified with bovine-based human milk fortifier (“HMF”),

fortified to 24 cal/oz. Upon in formation and belief, J.C. was exclusively fed this fortified breast

milk from October 23, 2014 to October 31, 2014.


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15.     Upon information and belief, the bovine based Human Milk Fortifier that was fed to infant

J.C. was “Similac Human Milk Fortifier Powder 24 cal/oz”, manufactured by Defendant Abbott.

16.     Upon information and belief, J.C. was fed Similac and/or Enfamil cow’s milk-based

products by staff at Pennsylvania Hospital after his birth despite the fact that Pennsylvania Hospital

knew or should have known that cow’s milk-based products increase the risk of NEC and that

human milk decreases the risk of NEC.

17.     On November 1, 2014 J.C. was diagnosed with stage I necrotizing enterocolitis (“NEC”)

after he developed sepsis, gaseous distention and ileus replogle. He was treated for fourteen days

for Stage I Medical NEC with vancomycin and zosyn from November 1, 2014 to November 14,

2014.

18.     Upon information and belief, J.C. developed NEC after ingesting Defendant

Manufacturers’ products.

19.     J.C. was discharged from the Pennsylvania Hospital NICU on February 22, 2015.

20.     At discharge Plaintiff Holli Carter was instructed to continue feeding J.C. with fortified

breast milk to 24 calories and was provided with Abbott’s Similac Human Milk Fortifier samples

by Defendant Hospital at the time of discharge for use going forward, along with instructions as

to how to procure that herself going forward.

21.     J.C.’s diagnosis of NEC occurred during his course of treatment at Defendant Hospital’s

NICU. J.C. suffered injuries including a diagnosis of NEC, treatment with antibiotics and blood

transfusions, and suffers from developmental delay secondary to NEC.

                    Cow’s Milk-Based Feeding Products Are Known to Cause
                                            NEC

22.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

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causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

23.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow’s milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.

        Safer, Nutritionally Superior Alternatives to Cow’s Milk-Based Products Exist

24.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother’s own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow’s milk-based products.

26.    The Defendant Manufacturers’ products not only pose a threat to infants’ health, but also

displace the human milk they could otherwise receive. This displacement only increases infants’

vulnerability to NEC.

27.    Human milk-based nutrition nourishes infants while creating a significantly lower risk of

NEC.

28.    At the time the Injured Infant was fed the Defendant Manufacturers’ products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the


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likelihood that a baby will develop NEC, leading to severe injury and often death.

29.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products’ packaging, guidelines,

instructions, or warnings.    Instead, they have continued to sell their unreasonably dangerous

products.   In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge. And, in fact,

the Defendant Manufacturers offer contracts to hospitals—which the hospitals accept—that

actually prevent the health care providers from offering alternative products—even safer ones—

on pain of risking the hospital’s advantageous formula pricing strategy.

30.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital fed Similac

and/or Enfamil cow’s milk-based products after her birth instead of mother’s human milk and/or

donor human milk.

31.    Despite the scientific evidence that the Defendant Manufacturers’ cow’s milk-based

products present a dire threat to the health and development of preterm infants and Pennsylvania

Hospital knew or should have known of that threat, staff of Pennsylvania Hospital did not properly

warn Ms. Wiger of those risks and alternatives to have avoided the cow’s milk-based products.

                                 Ms. Carter Discovers Her Claim

32.    Because of the Defendants’ concealment and misrepresentations, described more fully

herein, Ms. Carter did not know, and had no reason to know or suspect, that J.C.’s NEC could


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have been caused by the Defendant Manufacturers’ products.

         Despite Exercising Diligence, a Reasonable Investigation Did Not Reveal and
                      Would Not Have Revealed a Factual Basis Earlier
                 Because Defendants Hid the Cause of NEC from Ms. Carter

33.     Despite exercising reasonable diligence, Ms. Carter was unable to have made the discovery

earlier via a reasonable investigation because the Defendants in this litigation concealed the

wrongful cause of J.C.’s injuries.

34.     Amidst the physical and emotional trauma of preterm childbirth, and having her child in

the neonatal intensive care unit, shortly after learning of J.C.’s NEC diagnosis, Ms. Carter

undertook an investigation into the cause of the NEC by asking the doctors the cause of her NEC.

35.     The health care providers at Penn Medicine responded only that J.C. had gotten NEC

because she was born premature. Penn Medicine’s response did not indicate that her NEC was

caused by the Defendant Manufacturers’ products.

36.     Not one person at Penn Medicine mentioned that the Defendant Manufacturers’ formula

products could have caused J.C.’s injuries. Penn Medicine’s response at the time did not give Ms.

Carter any reason to suspect any wrongdoing on the part of the Defendants.

37.     Ms. Carter is a layperson with no medical background or training that would have given

her any reason to doubt the response she received from her Penn Medicine health care providers

at the time.

38.     Given that Penn Medicine’s health care providers were in charge of the care of her newborn

infant, Ms. Carter had no reason to doubt their word.

39.     Additionally, the risk of necrotizing enterocolitis was not disclosed on the labeling or

packaging of any of the Defendant Manufacturers’ products.




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40.       What is more, necrotizing enterocolitis is a disease that can occur in children who are not

fed the Defendant Manufacturers’ products, and the Defendant Manufacturers have worked to

mislead parents into a false sense of security about the use of those products.                        Publicly

disseminated materials from each Defendant Manufacturer disguise the role their products play in

causing the disease—and affirmatively say, even today, that their products are safe and do not

cause NEC. In fact, some publicly disseminated materials from the formula manufacturers even

suggest that formula may help reduce the risk of this terrible and potentially fatal disease.

41.       For example, Abbott’s website stays that “[t]he specific cause of NEC is unknown, but it’s

most often seen in very low birth weight premature babies,” and that “about 10% of babies who

are born prematurely develop NEC.” The website suggests that “new preliminary studies” suggest

for the first time that “NEC prevention may . . . be possible” with the use of human milk

oligosaccharides to “dramatically curb intestinal inflammation” and reduce the risk of NEC.

Abbott states that these human milk oligosaccharides are found in “certain Similac formulas”

although they are “not currently available in Similac’s premature infant formulas.” 1 Likewise, the

website for Mead Johnson’s products states that necrotizing enterocolitis is “one of the most

common and serious intestinal disease[s] among premature babies.” And it deflects responsibility

from Mead Johnson’s products: “Necrotizing enterocolitis happens when tissue in the small or

large intestine is injured or inflamed.” 2

    42.   Because of the misleading information distributed by the Defendant Manufacturers, as

further detailed infra, any research conducted by Ms. Carter immediately after J.C.’s diagnosis, or



1
 The Role of HMOs in Reducing NEC, https://www.nutritionnews.abbott/pregnancy-childhood/prenatal-
breastfeeding/the-promising-role-of-hmos-in-reducing-risk-of-nec/ (last visited July 28, 2023).

2
  Special Feeding Concerns for Preemies, https://www.enfamil.com/articles/special-feeding-concerns-for-preemies/
(last visited July 29, 2023).
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at any time prior to seeing an advertisement, would not have led a reasonable person to suspect

that the Defendant Manufacturers’ products could have caused J.C.’s injuries.

43.    Ms. Carter also did not know, and had no reason to know or suspect, that Penn Medicine

breached its duty of care by distributing the Defendant Manufacturers’ products to her. Not only

was Ms. Carter unaware that the Defendant Manufacturers’ products caused J.C.’s injuries, but the

Defendant Manufacturers’ distribution agreements with Penn Medicine—which allowed Penn

Medicine to secure sweetheart deals for otherwise expensive premature infant formula in exchange

for product placement and access to the hospital staff—were also not public or knowable to Ms.

Carter, nor could any reasonable investigation outside of litigation have uncovered the terms of

those agreements.

Despite Exercising Reasonable Diligence, the Defendants’ Fraudulently Concealed the Risks
 of NEC from Defendant Manufacturers’ Products to Divert, Prevent, and Mislead Plaintiff
                    Regarding the Cause of Her Child’s NEC Diagnosis

44.    In addition to the averments above, the Defendants have acted in concert to fraudulently

convey false and misleading information concerning the risk of NEC, and potentially death, caused

by Defendant Manufacturers’ preterm infant formula products.

45.    The Defendants’ actions as set forth herein constitute knowing misrepresentation,

omission, suppression, and concealment of material facts, made with the intent that Plaintiff would

rely upon such concealment, suppression, or omission, in connection with the use of Defendants’

preterm infant products.

46.    Plaintiff did not know, and could not learn, the truth concerning the uses, risks and benefits

of Defendant Manufacturers’ preterm infant products due to Defendants’ deliberate

misrepresentations and concealment, suppression and omission of material facts and important

information regarding the risks of NEC, and potentially death, from the products.


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47.    Moreover, Defendant Hospital further participated in the intentional concealment—on

information and belief, it allowed the Defendant Manufacturers’ sales representatives into its

hospital to provide samples and free products that did not warn of their serious dangers, and to

provide “education” to its NICU staff that was incomplete as to the true risks of feeding their

patients the Defendant Manufacturers’ products.

48.    Based upon information and belief, during the relevant time period, Pennsylvania Hospital,

Penn Medicine, and the Hospital of the University of Pennsylvania stocked formula products from

both Abbott and Mead.

 49.   Additionally, Defendant Hospital failed to inform Ms. Carter that the Defendant

Manufacturers’ products caused Plaintiff’s NEC, even when she directly asked the cause. As noted

above, after learning of Plaintiff’s NEC diagnosis, Ms. Carter was understandably concerned about

the degrading health of her newborn infant. As any concerned parent would do, Ms. Carter asked

Plaintiff’s health care providers at Defendant Hospital why a premature infant like J.C. was

suddenly diagnosed with a terrible disease like necrotizing enterocolitis; that is, she asked

Defendant Hospital what caused Plaintiff’s injury. But even though Defendant Hospital knew of

the increased risk of NEC from formula, it did not disclose that the formula provided to J.C. could

increase the risk of NEC to preterm infants, responding only that J.C. had gotten NEC solely

because she was born premature. Not one person at the NICU mentioned that the Defendant

Manufacturers’ formula products could have been the cause of Plaintiff’s injuries.

 50.   Defendant Hospital was aware that the Defendant Manufacturers’ products caused NEC in

premature infants. Defendant Hospital was also aware that the Defendant Manufacturers did not

provide warnings on their products. However, Defendant Hospital did not warn Ms. Carter of the

risks of the products. Instead, and notwithstanding the sweetheart deal Defendant Hospital agreed


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to in exchange for preterm infant formula at little to no cost, Defendant Hospital repeatedly

informed Ms. Carter that it would do everything it could possibly do to keep her infant safe.

Though this was clearly not true given the known risks of preterm formula for babies like J.C., it

was enough for Ms. Carter to trust that Defendant Hospital was providing preterm formula in the

best interest of her child.

51.     Defendants’ affirmative acts of fraud and concealment, as averred herein, diverted,

prevented, and/or mislead Plaintiff from discovering the medical cause of her child’s NEC

diagnosis.

   The Defendant Manufacturers’ False and Misleading Marketing Regarding Cow’s Milk-
                                 Based Infant Products

52.     Abbott and Mead have aggressively marketed their cow’s milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant’s birth.

53.     Abbott’s and Mead’s marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers’ cow’s milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s

supply of breast milk. None of the Defendant Manufacturers’ marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

54.     For example, upon information and belief, Mead creates information booklets for parents

of premature infants to help answer some of their questions and concerns about having a premature

infant in the NICU that it provides to hospitals for dissemination to parents. While Mead’s

booklets explain feeding options for premature infants, including formula, they do not mention

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that Mead’s premature formula and fortifier products increase the risk of premature infants

developing necrotizing enterocolitis.     Instead, the booklets advise parents that sometimes a

combination of breast milk and formula may be best and that premature infants will be happy and

healthy or nourished and healthy regardless of whether they are receiving breast milk or formula.

55.    Similarly, upon information and belief, Abbott publishes a pediatric nutrition product guide

that is available online for anyone, including parents, to access wherein Abbott advises that

“human milk alone does not meet all the nutritional needs of preterm infants” and that the

formulations of its products, which are based on decades of research and scientific publications,

are “specially designed to meet the nutritional requirements of preterm infants and can be fed with

confidence to most of the preterm infants in the NICU.” Nowhere in its product guide does Abbott

reference that its products increase the risk of necrotizing enterocolitis.

56.    Abbott also has a consumer-facing website accessible to anyone online, including parents,

that specifically discusses nutrition for premature infants, wherein Abbott tells parents of

premature infants that “your baby’s nutrient needs are greater than what breast milk alone can

provide” and that a “human milk fortifier” may be added to breastmilk to “add[] proteins, vitamins,

and minerals to help support a preemie’s high nutrition needs for growth and development.”

Nowhere in its discussion of preterm infant fortifiers or formulas does Abbott state that its products

increase the risk of necrotizing enterocolitis or that they pose more of a risk that just providing

preterm infants with breast milk only. Nor does Abbott disclose that the “human milk fortifier” is

actually a cow’s milk based product and not a human milk-based product, which misleads

consumers.

57.    Upon information and belief, both Mead and Abbott also provide materials and programs

to the hospitals and the physicians and medical staff who are treating premature infants about the


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manufacturers’ preterm products. Upon information and belief, these materials represent that the

manufacturers’ preterm products are safe and necessary for preterm infants. Mead and Abbott rely

on the physicians and medical staff to not only use their products in the NICU, but to convey these

messages to the parents of premature infants in their care.

58.     Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message.

59.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes (“the Code”), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.

60.     While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers’ aggressive marketing exploits new parents’ darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

61.    For example, Abbott’s website, on a paged titled “Infant Formula Marketing,” states: “We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren’t

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe




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alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

62.    Abbott markets and sells multiple products specifically targeting preterm and low-

birthweight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets. For example, on

the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby didn’t

get her full 9 months in the womb, so her body is working hard to catch up. During her first full

year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development.” Yet, no mention was made of the accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.

63.    Abbott’s website also contains product information and a downloadable guide for each of

its products specifically targeting preterm and low-birth-weight infants, including Liquid Protein

Fortifier, Similac NeoSure, Similac Human Milk Fortifiers, Similac Special Care 20, Similac

Special Care 24, Similac Special Care 24 High Protein, and Similac Special Care 30. None of

these pages or guides contain any mention of NEC or that the products specifically increase the

risk of NEC. Indeed, a search of Abbott’s website for “necrotizing enterocolitis” returns no hits.

Instead, Abbott states that “enteral feeding” – which includes breast milk and donor milk – have

been “associated with” things like “[s]pitting up, abdominal distension” or “other signs of

intestinal dysfunction.” This statement is entirely misleading, as it improperly indicates that the


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risk of things like “spitting up” are the same for premature infants using Abbott’s products and

premature infants receiving breast milk or donor milk, equates formula to non-cow’s milk-based

feeding options like breast milk and donor milk, fails to mention NEC, and minimizes the risk of

its products.

64.    Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: “Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants” and noted that Enfamil formulas include “expert-recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development.”

65.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil’s formula to breast milk, without any mention

of the product’s extreme risks. Indeed, the terms “human milk” and “breast milk” are used 13 times

in the advertisement, including in such statements as “for decades human milk has inspired the

advancements in Enfamil formulas and now through extensive global research, we are taking an

even closer look at human milk” and “only Enfamil NeuroPro has a fat blend of MFGM and DHA

previously found only in breast milk.” The webpage for the product has made similar manipulative


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claims, stating “Enfamil is backed by decades of breast milk research and multiple clinical studies”

and it claims that “to create our best formulas, we collaborated on some of the most extensive

breast milk studies to date[.]”

66.    Mead’s website also contains product information for each of its products specifically

targeting preterm and low-birth-weight infants, including Enfamil NeuroPro EnfaCare Infant

Formula, Enfamil Premature Infant Formula 24 Cal High Protein, Enfamil Premature Infant

Formula 30 Cal with Iron, Enfamil Premature Infant Formula 24 Cal with Iron, Enfamil Premature

Infant Formula 20 Cal with Iron, Enfamil 24 Cal Infant Formula, and Enfamil Human Milk

Fortifier (acidified liquid and powder). None of these pages contain any mention of NEC or that

the products specifically increase the risk of NEC. Indeed, a search of Mead’s website for

“necrotizing enterocolitis” returns no hits. Instead, Mead advertises on its website that it “has led

the way in developing safe, high-quality, innovative products” – including preterm products – “to

help meet the nutritional needs of infants.”

67.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants’ discharge from the NICU or hospital.

68.    Here, S.P was discharged from CHOP with the recommendation to continue use of

Abbott’s Similac Special Care 24 formula.

69.    Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a “medical blessing,” in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers’ giveaways and


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gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

70.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called “Similac Human Milk Fortifier,” and Mead developed “Enfamil Human Milk Fortifier.”

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow’s milk-based products. The packaging appears as:




71.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that: (1) cow’s milk-based products are safe, including for preterm

infants; (2) cow’s milk-based products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers’ cow’s milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like

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the Injured Infant.

72.     The Defendant Manufacturers have also designed powerful marketing campaigns to both

the general public and health care providers at hospitals like Pennsylvania Hospital.         The

Defendant Manufacturers know that sales made to hospitals are key drivers of brand loyalty, and

thus are a key opportunity to drive better downstream business—i.e., retail purchases by parents

after they have left the hospital. On information and belief, the Defendant Manufacturers know

that the formula products used in a hospital’s NICU are related to getting and keeping the overall

hospital contracts.    And the Defendant Manufacturers know that, just like any celebrity

endorsement, when mothers of newborn infants see medical professionals using a certain brand,

the mothers are more likely to continue to purchase that same brand after discharge. The

Defendant Manufacturers are thus heavily motivated to ensure that NICU departments are using

their products.

73.     Abbott and Mead Johnson focus their sales teams and training heavily on hospital NICU

departments. They train their sales representatives how to increase the number of babies on their

formula, and they emphasize the need to be the dominant formula manufacturer in the NICU so

they can own that profitable ground and secure a great return on their substantial investment in

NICU formula and other products.

74.     To leverage hospitals’ NICUs and secure babies in the hospital and at retail, the

Manufacturer Defendants pull out all the stops to convince hospitals, including Defendant

Hospital, to purchase their products. For example: Abbott and Mead Johnson provide samples of

their products to hospitals for free.

75.     On information and belief, to get the hospitals on board with supplying their formula for

premature infants, Abbott and Mead Johnson work with hospitals to secure contracts that have


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special pricing discounts if a certain level of the formula-fed babies in the hospital receive just that

one manufacturer’s products; similar to a restaurant being a Coke or Pepsi restaurant. And

notwithstanding the increased risk of the Defendant Manufacturers’ products for the hospitals’

most fragile patients—the preterm infants—the decision makers at these hospitals seek out these

types of contracts to better the hospitals’ own bottom lines.

76.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective company’s

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

77.     On information and belief, Abbott and Mead Johnson also seek promises and/or assurances

that the full range of health care providers at the hospitals, including the nurse practitioners and

other staff who would pull the infant formula off the shelf, are grabbing the respective companies’

own formula products to give to the preterm infants. The goal of this tactic was to ensure that the

Defendant Manufacturers and key people at the hospital would be sending a shared message that

the preterm infant formula products were safe and without risk, even though that is not what the

science said.

78.     On information and belief, prior to J.C.’s birth, Abbott sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Abbott’s products to

Defendant Hospital’s staff via conversations, presentations, and written pamphlets. This

information indicated that Abbott’s products were safe to give to preterm infants like J.C. Abbott


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maintains call logs that detail which sales representatives visited the hospitals, which days they

visited, and which products they discussed. These sales representatives did not disclose that

Abbott’s products could cause NEC in preterm infants.

79.    On information and belief, prior to J.C.’s birth, Mead Johnson sent sales representatives to

Defendant Hospital. Those sales representatives provided information about Mead Johnson’s

products to Defendant Hospital’s staff via conversations, presentations, and written pamphlets.

This information indicated that Mead Johnson’s products were safe to give to preterm infants like

J.C. Mead Johnson maintains call logs that detail which sales representatives visited the hospitals,

which days they visited, and which products they discussed. These sales representatives did not

disclose that Mead Johnson’s products could cause NEC in preterm infants.

80.    Mead Johnson and Abbott believed and intended that the misrepresentations that its sale

representatives shared with Defendant Hospital would be used to make feeding decisions for

preterm infants like J.C.

                      The Defendant Manufacturers’ Inadequate Warnings

81.    Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow’s milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

82.    The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

83.    Despite knowing of the risk of NEC, the packaging of Mead’s products does not warn of

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

with Mead’s products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.
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84.    Mead cites no medical literature or research to guide the use of its products.

85.    Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

86.    Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

87.    Mead Johnson failed to provide, and continues to fail to provide, a full accounting of the

risk of NEC as documented, by underrepresenting and misrepresenting the risk to the public and

the medical community.

88.    Despite knowing that its products were being fed to premature infants, often without the

parents’ informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies. Like Mead, Abbott promotes an aggressive marketing campaign

designed to make parents believe that its products are safe and necessary for the growth of

premature infants, despite the products in fact being extremely dangerous for premature infants.

Abbott’s products significantly increase the chances of a premature infant getting potentially fatal

NEC.

89.    The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

90.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the


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magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

91.    Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

92.    Despite knowing of studies documenting an increased risk of NEC from its products,

Abbott did not act to make parents or the medical community aware of those risks, and instead

took steps to conceal or prevent those risks from becoming public. Despite knowing that its

products were being fed to premature infants, often without the parents’ informed consent, Abbott

failed to require or recommend that medical professionals inform parents of the significant risk of

NEC or to require that parental consent be obtained prior to the products being fed to their babies.

                                Penn Medicine’s Failure to Warn

93.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing Abbott’s and

Mead’s cow’s milk-based products to its premature infant patients. It knew or should have known

that feeding these cow’s milk-based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. It also knew or should have known that

human milk decreases the risk of NEC for premature infants. However, instead of warning of

the dangers, or supplying human milk-based feeding products to preterm infants like the Injured

Infant, Penn Medicine has continued to source, distribute, and supply the Defendant

Manufacturers’ products in its hospitals without any adequate warning. Further, the Defendant

Hospital created a study putting infants, such as J.C. at great risk by providing them with bovine

based formula instead of exclusive human milk-based products.


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94.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates. The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

“changing hospital systems and influencing policy,” and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

95.    Other Penn Medicine research has similarly concluded that “[h]uman milk decreases the

incidence and severity of . . . necrotizing enterocolitis (NEC).”

96.    Given it was known that human milk decreases the incidence and severity of NEC, it was

also known or should have been known that cows milk-based formula increases the incidence and

severity of NEC.

97.    Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 98.   Given it was known since at least the early 2000s, and as far back as the 1990s, that human

milk decreases the incidence and severity of NEC, it was also known or should have been known

that cows milk-based formula increases the incidence and severity of NEC.

 99.   Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.
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The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

 100. Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers’ cow’s milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:

                 Donor milk is not inexpensive. It costs about $4.25 per ounce, but
                 the return on investment is huge. “Preemies given mother’s milk
                 get discharged three to four days sooner and also have a six to 10
                 times lower risk of getting a gastrointestinal complication called
                 necrotizing enterocolitis,” Carpenter said, adding that the
                 infection can cost up to $250,000 to treat. The average cost to
                 provide a preemie with donor milk: $125.

 101. These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers’ products.

 102. Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers’ products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.


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 103. Penn Medicine’s failure to warn of the risks posed by the Defendant Manufacturers’

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers’ cow’s milk-based products for free and/or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers’ own marketing strategies” and use of salespersons.

                                    Safer Alternative Designs

 104. The Defendant Manufacturers’ cow’s milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of cow’s milk in their products, which would have produced a safer

product.

 105. Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow’s milk. This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based products

provide, without the same unreasonably dangerous and deadly effects.

 106. On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow’s milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow’s milk as the

foundation of their products.




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                                CAUSES OF ACTION
                  COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

 107. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 108. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

 109. Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.

 110. Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow’s milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer’s expectations.         Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

 111. The Injured Infant ingested Abbott and/or Mead’s unreasonably dangerous cow’s milk-

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

 112. Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

 113. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

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facility.

 114. Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

 115. Abbott’s and/or Mead’s products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

 116. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

               a.      For compensatory damages in an amount to be proven at trial and in

                       excess of $50,000 and this Court’s arbitrational limit;

               b.      For damages for past, present, and future emotional distress, loss of

                       enjoyment of life, pain and suffering, mental anguish, and other non-

                       economic losses sustained as a result of the Defendants Manufacturers’

                       conduct;

               c.      For past, present, and future out-of-pocket costs, lost income and/or lost

                       revenue, and/or lost profits, and/or lost business opportunity, lost earning

                       capacity, and costs related to medical or mental health treatment which have

                       or may be recommended;

               d.      For punitive damages in excess of $50,000 and this Court’s arbitrational

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                         limit resulting from the Defendant Manufacturers’ oppressive, fraudulent,

                         and/or malicious conduct, as permitted by law;

               e.        For interest as permitted by law;

               f.        For attorney’s fees, expenses, and recoverable costs incurred in connection

                         with this action; and

               g.        For such other and further relief as the Court deems proper.

               COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                            (Against Abbott and Mead)

 117. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 118. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of

their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

 119. Abbott’s and Mead’s duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.         By

designing their products with cow’s milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death.        The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

 120.               Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks

of the infant products at issue in this litigation because they knew or should have known that their

cow’s milk-based premature infant products would be fed to premature infants like the Injured

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Infant, and that their products might cause the Injured Infant to develop NEC, severe injury, or

death, yet they failed to provide adequate warnings of those risks.        Among other risks, the

Defendant Manufacturers:

           a. Failed to warn that cow’s milk-based products significantly increase the risk of

              NEC, severe injury, and death for the Injured Infant; and/or

           b. Failed to warn that cow’s milk-based products are unsafe and/or contraindicated

              for premature infants like the Injured Infant; and/or

           c. Inserted warnings and instructions on their products that are severely inadequate,

              vague, confusing, and provide a false sense of security in that they warn and instruct

              specifically on certain conditions, but do not warn of the significantly increased

              risk of NEC and death; and/or

           d. “Black box”-type warning that their cow’s milk-based products are known to

              significantly increase the risk of NEC and death when compared to breast milk in

              premature infant; and/or

           e. Failed to disclose well-researched and well-established studies that linked cow’s

              milk-based products to NEC and death in premature infants; and/or

           f. Failed to insert a warning or instruction to healthcare professionals and other

              medical staff in the hospital that parents should be provided information necessary

              to make an informed choice about whether to allow their babies to be fed the

              Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failed to provide a warning in a method reasonably calculated or expected to reach

              the parents of newborns, like the Plaintiff Parent; and/or

           h. Failed to provide statistical evidence showing the magnitude of increased risk of


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               NEC in premature infants associated with cow’s milk-based products.

 121. Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

 122. As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers’

products, the Injured Infant were fed cow’s milk-based products, which caused and/or increased

risk of their developing NEC.

 123. The unwarned-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow’s milk-based formula, they would not have fed the Injured Infant those products.        Had the

Plaintiff Parent known of the significant risks of feeding the Injured Infant cow’s milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

 124. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.     Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,


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               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                                   COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

 125. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 126. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

 127. At all times relevant to this action, the Injured Infant’s healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

 128. Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, and/or distributed the cow’s milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

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 129. Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death for the Injured Infant; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or

           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

           d. Failing to insert a large and prominent “black box”-type warning that their cow’s

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-established studies that linked cow’s

               milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns, like the Plaintiff Parent; and/or


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            h. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products.

 130. In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.

 131. As a direct and proximate result of the Defendant Manufacturers’ failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow’s milk-based

products, which caused and/or increased the risk of their developing NEC.

 132. Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow’s milk-based products.

 133. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs
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               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendants Manufacturers’ oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                   COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

 134. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 135. At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers’ products in their intended manner and for their intended purpose.

 136. Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

 137. Abbott and Mead breached their duty through misrepresentations made to consumers in

their advertising and promotional materials, as described in previous paragraphs and incorporated

herein, each of whom were foreseeable and intended recipients of this information.

 138. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including patient

consumers and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their

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products:

            a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

            b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

            c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

            d. That cow’s milk-based products were safe for premature infants; and/or

            e. That cow’s milk-based products were necessary for optimum growth; and/or

            f. That cow’s milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

            h. That their products were safe for and provided better nutrition and growth to

               premature infants than donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

            i. That their products can fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and health or nourished and

               health on their products; and/or

            j. That their products were based on up-to-date science, which made them safe for


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               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 139. Abbott and Mead had actual knowledge, or, at a minimum, a reckless indifference, to

whether the aforementioned misrepresentations were false.

 140. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent:

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or

           c. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on coupons, gift bags, other promotional materials, and the

               packaging and labeling of their product samples provided to Plaintiff Parent when

               they knew or should have known that their products were unreasonably dangerous

               and cause NEC, serious injury, and death in premature infants; and/or

           d. Representing that their cow’s milk-based products were safe and beneficial for

               premature infants on the packaging and labeling of their products provided to

               Injured Infant when they knew or should have known that their products were




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            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or

        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or




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        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or

        n. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant when they knew or should have known the contrary to be true; and/or

        o. Representing that their cow’s milk-based products were safe for premature infants

            on coupons, gift bags, other promotional materials, and the packaging and labeling

            of their product samples provided to Plaintiff Parent; and/or

        p. Representing that their cow’s milk-based products were safe for premature infants

            on the packaging and labeling of their products provided to Injured Infant; and/or


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           q. Representing that their cow’s milk-based products were necessary for optimum

               growth on coupons, gift bags, other promotional materials, and the packaging and

               labeling of their product samples provided to Plaintiff Parent; and/or

           r. Representing that their cow’s milk-based products were necessary for optimum

               growth on the packaging and labeling of their products provided to Injured Infant;

               and/or

           s. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on coupons, gift bags, other promotional materials,

               and the packaging and labeling of their product samples provided to Plaintiff

               Parent; and/or

           t. Representing that their products were based on up-to-date science, which made

               them safe for premature infants on the packaging and labeling of their products

               provided to Injured Infant.

 141. The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers’ misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott’s and Mead’s infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers’ messaging.         Had Abbott and Mead not committed these intentional

misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products.

 142. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

 143. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss


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of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

          WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

             a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court’s arbitrational limit;

             b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers’ conduct;

             c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

             d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

                this action; and

             g. For such other and further relief as the Court deems proper.

                     COUNT V: NEGLIGENT MISREPRESENTATIONS
                               (Against Abbott and Mead)

 144. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 145. At all times relevant to this action, the Injured Infant consumed the products at issue in

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their intended manner and for their intended purpose.

 146. Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

 147. In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, in their advertising and promotional materials, as described

in previous paragraphs and incorporated herein, each of whom were foreseeable recipients of this

information.

 148. Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis to the public, including consumers,

and parents like Plaintiff Parent and prior to the time the Injured Infant was fed their products:

           a. That their cow’s milk-based products were safe and beneficial for premature infants

               when they knew or should have known that their products were unreasonably

               dangerous and cause NEC, serious injury, and death in premature infants; and/or

           b. That their cow’s milk-based products were necessary to the growth and nutrition of

               premature infants, when they knew or should have known that their products were

               not necessary to achieve adequate growth; and/or

           c. That their products have no serious side effects, when they knew or should have

               known the contrary to be true; and/or

           d. That cow’s milk-based products were safe for premature infants; and/or

           e. That cow’s milk-based products were necessary for optimum growth; and/or

           f. That cow’s milk-based products were similar or equivalent to breast milk; and/or


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           g. That their products were safe and more like breast milk than other infant products

               and that they had removed the harmful ingredients of cow’s milk when, in fact, the

               cow’s milk in their products was still capable of causing NEC, serious injury, and

               death; and/or

           h. That their products were safe for and provided better nutrition and growth to

               premature infants that donor milk, a non-cow’s milk-based alternative to breast

               milk; and/or

           i. Thet their products can be fed with confidence to most of the preterm infants in the

               NICU and/or that premature infants would be happy and healthy or nourished and

               health on their products; and/or

           j. That their products were based on up-to-date science, which made them safe for

               premature infants; and/or

           k. Omitting the material fact that their products significantly increased the risk of NEC

               in premature infants, including omitting this material fact from their publicly

               available product information, marketing materials, and websites.

 149. In addition to the above, Abbott and Mead, upon information and belief, also made the

following false statements of material fact to Plaintiff Parent.

           a. Omitting from coupons, gift bags, other promotional materials, and the packaging

               and labeling of their product samples provided to Plaintiff Parent that their products

               significantly increased the risk of NEC in premature infants; and/or

           b. Omitting from the packaging and labeling of their products provided to Injured

               Infant that their products significantly increased the risk of NEC in premature

               infants; and/or


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        c. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on coupons, gift bags, other promotional materials, and the

            packaging and labeling of their product samples provided to Plaintiff Parent when

            they knew or should have known that their products were unreasonably dangerous

            and cause NEC, serious injury, and death in premature infants; and/or

        d. Representing that their cow’s milk-based products were safe and beneficial for

            premature infants on the packaging and labeling of their products provided to

            Injured Infant when they knew or should have known that their products were

            unreasonably dangerous and cause NEC, serious injury, and death in premature

            infants; and/or

        e. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on coupons, gift bags, other promotional

            materials, and the packaging and labeling of their product samples provided to

            Plaintiff Parent when they knew or should have known that their products were not

            necessary to achieve adequate growth; and/or

        f. Representing that their cow’s milk-based products were necessary to the growth

            and nutrition of premature infants on the packaging and labeling of their products

            provided to Injured Infant when they knew or should have known that their products

            were not necessary to achieve adequate growth; and/or

        g. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent; and/or




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        h. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on the packaging and labeling of their products provided to Injured

            Infant; and/or

        i. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on coupons,

            gift bags, other promotional materials, and the packaging and labeling of their

            product samples provided to Plaintiff Parent; and/or

        j. Representing that their cow’s milk-based products could be fed with confidence to

            premature infants and/or that premature infants would be healthy regardless of

            whether they were fed their cow’s milk-based products or breast milk on the

            packaging and labeling of their products provided to Injured Infant; and/or

        k. Representing that their cow’s milk-based products have no serious side effects on

            coupons, gift bags, other promotional materials, and the packaging and labeling of

            their product samples provided to Plaintiff Parent when they knew or should have

            known the contrary to be true; and/or

        l. Representing that their cow’s milk-based products have no serious side effects on

            the packaging and labeling of their products provided to Injured Infant when they

            knew or should have known the contrary to be true; and/or

        m. Representing that their cow’s milk-based products were similar or equivalent to

            breast milk on coupons, gift bags, other promotional materials, and the packaging

            and labeling of their product samples provided to Plaintiff Parent when they knew

            or should have known the contrary to be true; and/or


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          n. Representing that their cow’s milk-based products were similar or equivalent to

              breast milk on the packaging and labeling of their products provided to Injured

              Infant when they knew or should have known the contrary to be true; and/or

          o. Representing that their cow’s milk-based products were safe for premature infants

              on coupons, gift bags, other promotional materials, and the packaging and labeling

              of their product samples provided to Plaintiff Parent; and/or

          p. Representing that their cow’s milk-based products were safe for premature infants

              on the packaging and labeling of their products provided to Injured Infant; and/or

          q. Representing that their cow’s milk-based products were necessary for optimum

              growth on coupons, gift bags, other promotional materials, and the packaging and

              labeling of their product samples provided to Plaintiff Parent; and/or

          r. Representing that their cow’s milk-based products were necessary for optimum

              growth on the packaging and labeling of their products provided to Injured Infant;

              and/or

          s. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on coupons, gift bags, other promotional materials,

              and the packaging and labeling of their product samples provided to Plaintiff

              Parent; and/or

          t. Representing that their products were based on up-to-date science, which made

              them safe for premature infants on the packaging and labeling of their products

              provided to Injured Infant.

 150. Abbott and Mead were negligent or careless in not determining those representations to be

false.


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 151. The Defendant Manufacturers’ misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott’s and Mead’s infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers’ messaging. Had Abbott and Mead not committed these negligent

misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow’s milk-based products.

 152. As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 153. As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s

injuries.

        WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers,

individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers’ conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from the Defendant Manufacturers’ oppressive, fraudulent, and/or


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               malicious conduct, as permitted by law;

           e. For interest as permitted by law;

           f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.

                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

 154. Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

 155. Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

 156. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

 157. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

 158. Penn Medicine and Pennsylvania Hospital negligently, outrageously, and recklessly

supplied and distributed the Defendant Manufacturers’ milk-based infant feeding products to these

healthcare professionals and medical staff for use on premature infants, including the Injured

Infant.

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 159. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.        The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

 160. Penn Medicine and Pennsylvania also knowingly, and intentionally, allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 161. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant Manufacturers’ cow’s milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

 162. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to warn that cow’s milk-based products significantly increase the risk of

               NEC, severe injury, and death in those babies; and/or

           b. Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or


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           c. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice

               about whether to allow their babies to be fed the Defendant Manufacturers’

               products, notwithstanding their substantial risk; and/or

           d. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link cow’s milk-based products to NEC

               and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow’s milk-based products; and/or

           g. Failing to prevent the Defendant Manufacturers’ sales representatives from

               misrepresenting to Pennsylvania Hospital’s healthcare professionals and medical

               staff that premature babies would not grow adequately with human milk and human

               milk products and that use of donor milk was not advised for premature infants.

 163. Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers’ products, and would have restricted the

ability of the Defendant Manufacturers’ sales representatives to market the Defendant

Manufacturers’ unreasonably dangerous products without adequate warning.

 164. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.


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 165. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers’ unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

Manufacturers’ cow’s milk-based products.

 166. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

warn of the danger posed by the Defendant Manufacturers’ unreasonably dangerous cow’s milk-

based products, the Injured Infant was fed the Defendant Manufacturers’ cow’s milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 167. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

failure to warn of the Defendant Manufacturers’ unreasonably dangerous products, the Plaintiff

Parent suffered significant emotional distress, loss of income, and/or other harms.      Her life has

been significantly affected by the Injured Infant’s injuries.

       WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

           a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

           b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine’s conduct;

           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit


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               resulting from Penn Medicine and Pennsylvania Hospital’s oppressive, outrageous,

               reckless, and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                   (Against Penn Medicine and Pennsylvania Hospital)

 168. Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

 169. At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

 170. Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

 171. At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

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 172. Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers’ sales

representatives were encouraged to interact with Pennsylvania Hospital’s healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers’

unreasonably dangerous products.

 173. Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant

Manufacturers’ sales representatives to routinely misrepresent the risks and benefits of

Defendants’ products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

 174. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers’ cow’s milk-based infant products, including the access afforded

the Defendant Manufacturer’s sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

 175. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that premature babies are increased risk for NEC.

 176. Since prior to 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should

have known that NEC increases the risk of permanent injury and death.

 177. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have


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known prior to that human milk (mother’s milk) was safest and best for premature infants.

 178. Since 2000, Penn Medicine and Pennsylvania Hospital knew or reasonably should have

known that human milk (mother’s milk) decreased the risk of NEC, serious injury, and death for

premature infants.

 179. By no later than 2012, Penn Medicine and Pennsylvania Hospital knew or reasonably

should have known that donor human milk decreased the risk of NEC, serious injury, and death

for premature infants.

 180. Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

 181. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, outrageously,

and recklessly, and breached its duty by:

           a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               required human milk (mother’s milk and/or donor milk) to be recommended to

               premature babies; and/or

           b. Failing to formulate, adopt, and enforce adequate rules and policies that would have

               restricted or prevented the use of cow’s milk-based products for feeding premature

               babies; and/or

           c. Failing to formulae, adopt, and enforce adequate rules and policies that informed the

               Plaintiff Parent that human milk (mother’s milk and/or donor milk) significantly

               decrease the risk of NEC, severe injury, and death in premature babies, like the

               Injured Infant; and/or

           d. Failing to formulate, adopt, and enforce adequate rules and policies that warned the


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            Plaintiff Parent that cow’s milk-based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

        e. Failing to formulate, adopt, and enforce adequate rules and policies that discussed

            the risks of cow’s milk-based products significantly increasing the risk of NEC,

            severe injury, and death in premature babies, like the Injured Infant; and/or

        f. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

            healthcare professionals and medical staff that cow’s milk-based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

        g. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

            substantial risk; and/or

        h. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

            established studies that link cow’s milk-based products to NEC and death in

            premature infants; and/or

        i. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

            warning in a method reasonably calculated/expected to reach the parents of

            premature newborns, like the Plaintiff Parent; and/or

        j. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant    Manufacturers’ sales      representative from     misrepresenting   to

            Pennsylvania Hospital’s healthcare professionals and medical staff that premature


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                  babies would not grow adequately with human milk and human milk products

                  and/or that use of donor milk was not advised for premature infants; and/or

           k. Failing to establish a donor milk program that was sufficient to meet the needs of

                  the premature babies, like the Injured Infant.

           l. Failing to formulate, adopt, and enforce adequate rules and policies regarding the

                  feeding of premature infants leaving it to the discretion of the medical team and

                  parent without a discussion of risks and benefits.

           m. Allowing parental preference to be the standard for feeding premature infants;

           n. Failing to follow the American Academy of Pediatrics recommendations relating

                  to feeding premature infants;

           o. Failing to follow the American Academy of Pediatrics recommendations to use

                  donor milk if mother’s milk was unavailable instead of cow’s milk-based products;

           p. Failing to recommend donor milk if mother’s milk was unavailable by no later than

                  2012; and

           q. Failing to transfer to a hospital by no later than 2012 where donor milk was

                  available if there was no donor milk available.

 182. A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow’s milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers’ cow’s

milk-based products, and restricting the marketing of the Defendant Manufacturers’ unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.


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 183. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers’ cow’s

milk-based products.

 184. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 185. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent, reckless, and outrageous conduct the Plaintiff Parent suffered significant emotional

distress, loss of income, and/or other harms. Her life has been significantly affected by the Injured

Infant’s injuries.

 186. In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital’s care, including

the Injured Infant.

 187. Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

 188. Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly, and

outrageously breached its duty by:

            a. Failing to oversee its healthcare professionals and medical staff on their use of


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            cow’s milk-based products for feeding premature babies; and/or

        b. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products significantly increase the risk of NEC, severe injury, and death

            in those babies; and/or

        c. Failing to warn or instruct its healthcare professionals and medical staff that cow’s

            milk-based products are unsafe and/or contraindicated for premature babies like the

            Injured Infant; and/or

        d. Failing to oversee its healthcare professionals and medical staff to restrict their

            feeding of cow’s milk-based products to premature babies; and/or

        e. Failing to warn or instruct its healthcare professionals and medical staff on the

            information that should be provided to parents in order to make an informed choice

            about whether to allow their babies to be fed the Defendant Manufacturers’

            products, notwithstanding their substantial risk; and/or

        f. Failing to provide its healthcare professionals and medical staff with the well-

            researched and well-established studies that link cow’s milk-based products to NEC

            and death in premature infants; and/or

        g. Failing to provide its healthcare professionals and medical staff with warnings

            about the dangers of the Defendants’ Manufacturers products in a method

            reasonably calculated/expected to reach the parents of newborns; and/or

        h. Failing to provide statistical evidence to its healthcare professionals and medical

            staff showing the magnitude of increased risk of NEC in premature infants

            associated with cow’s milk-based products; and/or

        i. Failing to oversee its healthcare professionals and medical staff to ensure that the


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               Defendant Manufacturers’ sales representatives’ misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant Manufacturers’ products.

 189. A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

the Defendant Manufacturers’ products, and would have restricted the ability of the Defendant

Manufacturers’ sales representatives to market the Defendant Manufacturers’ unreasonably

dangerous products without adequate warning.

 190. A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with feeding cow’s milk-based formula to premature infants.

 191. Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant Manufacturers’ cow’s milk-based products.

 192. As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

 193. As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital’s

negligent and reckless conduct, the Plaintiff Parent suffered significant emotional distress, loss of

income, and/or other harms.      Her life has been significantly affected by the Injured Infant’s


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injuries.

        WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania

Hospital, individually, jointly and severally, as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court’s arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine and Pennsylvania Hospital’s conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court’s arbitrational limit

               resulting from Penn Medicine’s oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

            e. For interest as permitted by law;

            f. For attorney’s fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.

                                  DEMAND FOR JURY TRIAL
 194. Plaintiff hereby demands a jury trial for all claims triable.



Dated: July 16, 2024

                                                        Respectfully submitted,

                                                        KLINE & SPECTER, P.C.
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                                     By:    /s/ Tobias L. Millrood
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BURNS WHITE LLC                                                 Attorneys for Defendants,
By:    James A. Young, Esquire                                  The Pennsylvania Hospital of the
       Richard S. Margulies, Esquire                            University of Pennsylvania Health
       Douglas A. Brockman, Esquire                             System d/b/a Pennsylvania Hospital and
       Meredith A. Lowry, Esquire                               The Trustees of the University of
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HOLLI CARTER, on her own behalf and as Parent :          COURT OF COMMON PLEAS
and Natural Guardian of J.C., a minor         :          PHILADELPHIA COUNTY
                              Plaintiffs,     :
                                              :
       v.                                     :          MARCH TERM 2022
                                              :          NO. 2588
MEAD JOHNSON & COMPANY, LLC, et al.           :
                              Defendants.     :

                                 ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of Meredith A. Lowry, Esquire as co-counsel on behalf of

Defendants, The Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a

Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine,

in the above-captioned matter.

                                                        BURNS WHITE LLC
Date: July 22, 2024                               BY: /s/ Meredith A. Lowry
                                                        Meredith A. Lowry, Esquire
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                               CERTIFICATE OF SERVICE

       I, Meredith A. Lowry, Esquire, hereby certify that a true and correct copy of the foregoing

Entry of Appearance

                                                    /s/ Meredith A. Lowry
                                                    Meredith A. Lowry, Esquire
Date: July 22, 2024
